     Case 4:22-md-03047-YGR       Document 504   Filed 12/18/23     Page 1 of 325




 1 [Submitting Counsel on Signature Page]

 2

 3

 4

 5

 6

 7

 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11
      IN RE: SOCIAL MEDIA ADOLESCENT             No. 4:22-MD-3047
12    ADDICTION/PERSONAL INJURY
      PRODUCTS LIABILITY LITIGATION              MDL No. 3047
13

14
      This Document Relates to:                  PLAINTIFFS’ MASTER COMPLAINT
15                                               (LOCAL GOVERNMENT AND
      ALL ACTIONS                                SCHOOL DISTRICT)
16
                                                 JURY TRIAL DEMANDED
17

18

19

20

21

22

23

24

25

26

27

28                                                              PLAINTIFFS’ MASTER COMPLAINT
                                                     (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                    CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR                     Document 504                  Filed 12/18/23               Page 2 of 325




 1                                                    TABLE OF CONTENTS
 2 I.      INTRODUCTION ................................................................................................................... 1

 3 II.     JURISDICTION AND VENUE............................................................................................ 12
   III.    PARTIES ............................................................................................................................... 13
 4
           A.         Plaintiffs .................................................................................................................... 13
 5
           B.         Meta Defendants ....................................................................................................... 14
 6         C.         Defendant Snap, Inc. ................................................................................................. 15
 7         D.         TikTok Defendants .................................................................................................... 16

 8         E.         YouTube Defendants................................................................................................. 17
     IV.   FACTUAL ALLEGATIONS ................................................................................................ 18
 9
           A.         GENERAL FACTUAL ALLEGATIONS APPLICABLE TO ALL
10                    DEFENDANTS ......................................................................................................... 18

11                    1.         Defendants have targeted school-aged children as a core market. ................ 18
                      2.         Children are uniquely susceptible to harm from Defendants’
12                               platforms........................................................................................................ 22
13                    3.         Defendants’ automated recommendation systems fuel addictive use
                                 by children. .................................................................................................... 29
14
                      4.         Defendants designed, developed, produced, operated, promoted,
15                               distributed, and marketed their platforms to attract, capture, and
                                 addict youth, with minimal parental oversight. ............................................. 32
16
                      5.         Defendants’ illegally harvest children’s data. ............................................... 39
17                    6.         Defendants’ Conduct has created a youth mental health crisis. .................... 41
18                    7.         Defendants’ Encourage Dangerous “Challenges.”........................................ 59
19                    8.         Defendants’ Conduct Has Harmed School Districts. .................................... 63
                      9.         Defendants’ Conduct Has Harmed Local Governments. .............................. 81
20
                      10.        Defendants could have avoided harming Local Government and
21                               School District Plaintiffs. .............................................................................. 86
22         B.         FACTUAL ALLEGATIONS AS TO META ........................................................... 89

23                    1.         Background and overview of Meta’s platforms. ........................................... 89
                      2.         Meta intentionally encourages youth to excessively use its platforms
24                               and then leverages that usage to increase revenue. ..................................... 108
25                    3.         Meta intentionally designed its platforms to addict children and
                                 adolescents. ................................................................................................. 117
26
                      4.         Meta has concealed from Plaintiffs, the public, and Congress the
27                               harmful effects that Instagram’s and Facebook’s design features have
                                 on children. .................................................................................................. 165
28                                                                   i
                                                                                                PLAINTIFFS’ MASTER COMPLAINT
                                                                                     (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                                    CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504                 Filed 12/18/23               Page 3 of 325




 1              5.      Meta facilitates the spread of CSAM and child exploitation. ..................... 184

 2              6.      Meta failed to adequately warn Plaintiffs or the public about the
                        dangers and harms caused by Instagram and Facebook, or provide
 3                      instructions regarding safe use. ................................................................... 191

 4         C.   FACTUAL ALLEGATIONS AS TO SNAP .......................................................... 193
                1.      Background and overview of Snapchat. ...................................................... 193
 5
                2.      Snap targets children. .................................................................................. 196
 6
                        a.        Snap designed its Snapchat platform to cause excessive use
 7                                by children to drive the company’s revenue. .................................. 196
                        b.        Snap promotes Snapchat to children ............................................... 198
 8
                3.      Snapchat is designed to addict children through features that use
 9                      targeted psychological manipulation techniques......................................... 202
10                      a.        Snap designed Snapchat to drive compulsive using a variety
                                  of social metrics invented by Snap. ................................................. 202
11
                        b.        Snap’s features feed on content-agnostic user interaction data
12                                to create tailor-made experiences which promote compulsive
                                  and excessive use. ........................................................................... 211
13
                4.      Snap designed Snapchat with features that harm children directly or
14                      expose children to harm. ............................................................................. 213
                        a.        Disappearing “Snaps” and “My Eyes Only” thwart parental
15                                control and encourage destructive behavior among Snap’s
16                                teen users. ........................................................................................ 213
                        b.        Snapchat’s “Quick Add” feature endangers children. ..................... 215
17
                        c.        Snapchat’s “Snap Map” feature endangers children. ...................... 215
18
                        d.        Snapchat’s Lenses and Filters features promote negative
19                                appearance comparison. .................................................................. 216
                5.      Snap implemented ineffective and misleading parental controls,
20
                        further endangering children. ...................................................................... 218
21              6.      Snap failed to adequately warn Plaintiffs and the public about the
                        harms its platform causes or provide instructions regarding safe use. ........ 219
22
                7.      Snap facilitates the spread of CSAM and child exploitation....................... 220
23
                8.      Snap possesses the technology to detect, identify, and prevent the
24                      spread of CSAM on its platform. ................................................................ 223
           D.   FACTUAL ALLEGATIONS AS TO BYTEDANCE ............................................ 225
25
                1.      Background and overview of TikTok. ........................................................ 225
26
                2.      TikTok’s operations are controlled by ByteDance. .................................... 227
27                                                           ii
                                                                                    PLAINTIFFS’MASTER COMPLAINT
28                                                                       (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                        CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504                   Filed 12/18/23              Page 4 of 325




 1              3.     TikTok has aggressively marketed by Defendants to children, driving
                       revenue for ByteDance. ............................................................................... 232
 2
                4.     TikTok is designed to promote addictive use by children and
 3                     adolescents. ................................................................................................. 233

 4                     a.         TikTok’s deficient age-verification practices encourage use
                                  by children. ...................................................................................... 234
 5                     b.         TikTok’s approach to parental controls are dangerously
 6                                deficient. .......................................................................................... 236
                       c.         TikTok relies on manipulative design techniques to maximize
 7                                compulsive use by children. ............................................................ 238
 8                     d.         TikTok inflicts impossible beauty standards on young users. ........ 252

 9                     e.         TikTok encourages dangerous, costly “challenges”. ...................... 254
                5.     TikTok puts in place significant impediments to discontinuing use. .......... 256
10
                6.     TikTok facilitates the spread of CSAM and child exploitation................... 258
11
                7.     ByteDance failed to adequately warn Plaintiffs and the public about
12                     the harms its platform causes and failed to provide instructions
                       regarding safe use. ....................................................................................... 262
13
                8.     ByteDance Knows That TikTok Harms Many Young Users...................... 264
14         E.   FACTUAL ALLEGATIONS AS TO GOOGLE .................................................... 265
15              1.     Background and overview of YouTube. ..................................................... 265
                2.     Google intentionally encourages youth to excessively use YouTube
16
                       and then leverages that use to increase revenue. ......................................... 267
17              3.     Google intentionally designed platform features to addict children
                       and adolescents. ........................................................................................... 272
18
                       a.         Google’s age-verification measures and parental controls are
19                                ineffective. ....................................................................................... 273
20                     b.         YouTube is designed to inundate users with features that use
                                  intermittent variable rewards and reciprocity.................................. 275
21
                       c.         Google’s algorithms are designed to maximize “watch time”
22                                by continuously collecting monstrous amounts of user data to
                                  fuel recommendation engines.......................................................... 280
23
                       d.         YouTube’s features include impediments to discontinuing
24                                use.................................................................................................... 289
                4.     Google facilitates the spread of CSAM and child exploitation. .................. 290
25

26

27                                                            iii
                                                                                     PLAINTIFFS’MASTER COMPLAINT
28                                                                        (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                         CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR                  Document 504                  Filed 12/18/23               Page 5 of 325




 1                   5.        Google failed to adequately warn Plaintiffs and the public about the
                               harm its platforms cause and failed to provide instructions regarding
 2                             safe use. ....................................................................................................... 295
 3 V.      CAUSES OF ACTION ....................................................................................................... 297

 4         COUNT One — Public Nuisance ....................................................................................... 297
           COUNT Two — Negligence............................................................................................... 307
 5
     VI.   DEMAND FOR JURY TRIAL ........................................................................................... 318
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27                                                                    iv
                                                                                             PLAINTIFFS’MASTER COMPLAINT
28                                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504         Filed 12/18/23     Page 6 of 325




 1       I.    INTRODUCTION

 2             1.     Local Governments and School Districts across the nation—including the Plaintiff
 3       school districts, counties, and municipal governments—are battling an unprecedented mental health
 4       crisis among the children they serve.1 Ever-increasing numbers of children compulsively use
 5       Defendants’ platforms, resulting in a situation that not only harms individual children and their
 6       loved ones but also causes substantial and financially burdensome interference with school district,
 7       county, and municipal operations.
 8             2.     School districts and local governments are on the front lines of redressing the damage
 9       caused by Defendants’ deliberate choice to design, develop, operate, promote, distribute, and market
10       their social media platforms to attract and addict youth.
11             3.     Public education serves as the cornerstone of a just and equitable society, with its
12       mission extending far beyond merely imparting knowledge. It is a fundamental duty to nurture the
13       minds of our children. Public school districts are facing serious financial and resource disruptions,
14       interfering with their educational mission, caused by Defendants’ design, development, production,
15       operation, promotion, distribution, and marketing of addictive and dangerous social media platforms
16       targeting minors. As a result of Defendants’ conduct, public school districts have been forced into
17       a constant struggle for students’ attention, as well as a constant struggle to provide the social,
18       emotional, mental health, and learning support they need. From addressing the use of Defendants’
19       platforms during class, in violation of school policy, to increased need for anxiety and depression
20       counseling, the Plaintiff school districts have devoted substantial resources to combatting students’
21       addiction to social media and the many resulting harms. School districts have even needed to revise
22       lesson plans and teaching methods to account for the unique way that this social-media generation
23       thinks, including reduced attention spans and reduced capacity for critical thinking.
24

25

26   1
     The phrases “Local Government and School District Plaintiffs” and “Plaintiffs” refer to all public
   school districts, counties, county district attorneys, and municipal governments that have brought, or
27 in the future will bring, lawsuits in this MDL against some or all of these social media Defendants.

28                                                       1
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504         Filed 12/18/23      Page 7 of 325




 1             4.      Defendants’ conduct has left school districts struggling to provide emotional and

 2       mental health support to students. School districts are the primary providers of mental health

 3       services to youth,2 and are charged with an important public service of educating youth consistent

 4       with citizens’ right to public education. Responding to the mental health crisis caused by Defendants

 5       is stealing resources from schools’ primary objective of educating youth in a safe and healthy

 6       environment. In addition to teaching our children how to read and write, school districts’

 7       fundamental duty to educate students extends to teaching them how to lead healthy lives, including

 8       navigating the digital world we live in. Schools cannot ignore the importance of the online world in

 9       today’s society. But teaching youth how to avoid the pitfalls of that world, including the addictive

10       and dangerous features of Defendants’ platforms, requires ever-increasing time and resources.
11       Schools’ limited resources are pitted against Defendants’ virtually unlimited resources in that fight.
12       This is not a fair fight, and despite considerable effort, schools are losing the battle.
13             5.      Municipal and county governments are similarly burdened with time and expenses
14       necessary to treat and address the youth mental health crisis that Defendants have caused. Municipal
15       and county governments around the country provide a variety of mental health services as well as
16       other community-based services such as outpatient therapy, behavioral health services, and after-
17       school programming for youth. They are unable to keep up with the demand for these services due
18       in large part to the mental health crisis caused by addiction to, and excessive use of, Defendants’
19       social media platforms.

20             6.      For example, Defendants have caused municipal and county governments to expend,

21       divert, and increase resources (including tax dollars) to provide additional mental health resources

22       to hire additional counselors and personnel; to train staff on the harmful effects of social media; to

23

24   2
    K-12 Schools Now Primary Providers of Mental Health Services for Adolescents, EAB (Feb. 13,
25 2020) https://eab.com/insights/press-release/district-leadership/k12-schools-primary-provider-
   mental-health; National Survey on Drug Use and Health, SAMHSA (2019 & 1st & 4th Qs. 2020),
26 https://www.samhsa.gov/data/report/2020-nsduh-detailed-tables (reporting that over 3.7 million
   children ages 12–17 received mental health services in an education setting in 2019, more than any
27 other non-specialty mental health service setting).

28                                                         2
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23      Page 8 of 325




 1    create educational materials addressing social media addiction and harm; to investigate and

 2    prosecute crimes that result from Defendants’ conduct and addictive platforms and the resulting

 3    youth mental health crisis; to investigate threats made against schools, students, and members of the

 4    community over social media; to alleviate the strain placed on local governments’ departments of

 5    health and human services, as well as community-based services such as outpatient therapy,

 6    behavioral health services, after school programs, and other similar services and programming; and

 7    to repair property damage resulting from Defendants’ conduct and addictive platforms.

 8          7.      In the past decade, American children’s engagement with social media has grown

 9    exponentially. That explosion in usage is no accident. Defendants, through their social media

10    platforms—specifically Instagram, Facebook, TikTok, Snapchat, and YouTube—intentionally
11    induced young people to use their platforms compulsively. Borrowing from the behavioral and
12    neurobiological techniques used by makers of slot machines and tobacco products, Defendants
13    deliberately embedded design features in their platforms to maximize youth engagement to drive
14    advertising revenue. Defendants know young people are in a developmental stage that leaves them
15    particularly vulnerable to the addictive effects of these features. Defendants target them anyway in
16    pursuit of additional profit.
17          8.      The specific design features of Defendants’ platforms vary, but all exploit children
18    and adolescents to the detriment of all of the Local Government and School District Plaintiffs. These
19    dangerous and harmful design features include, but are not limited to, failure to implement robust

20    age verification processes to determine users’ ages; failure to implement effective parental controls;

21    failure to implement effective parental notifications; failure to implement opt-in restrictions to the

22    length and frequency of use sessions; failure to enable default protective limits to the length and

23    frequency of use sessions; creating barriers that make it more difficult for users to delete and/or

24    deactivate their accounts than to create them in the first instance; failure to label content that has

25    been edited, such as by applying a filter; making filters available to users so they can, among other

26    things, manipulate their appearance; failure to create adequate processes for users to report

27    suspected Child Sexual Abuse Material (“CSAM”) to Defendants’ platforms; and automated

28                                                    3
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23    Page 9 of 325




 1    attention farming through content-agnostic algorithms and recommendations fed by data about user

 2    interactions.

 3          9.        These design features deliberately exploit the psychology and neurophysiology of

 4    young people. Because children’s and adolescents’ brains are not fully developed, they lack the

 5    same emotional maturity, impulse control, and psychological resiliency as adults. As a result, they

 6    are uniquely susceptible to addictive features in digital products and highly vulnerable to the

 7    resulting harm. Knowing this, Defendants wrote code designed to manipulate dopamine release in

 8    children’s developing brains and, thereby, create compulsive use of their platforms.

 9          10.       The resulting ubiquity of Defendants’ platforms in the palms, brains, and lives of

10    students and other young people across the country—and the ensuing harm to school districts and
11    local governments—is hard to overstate. Today, over one-third of 13- to 17-year-old children report
12    using one of the Defendants’ apps “almost constantly” and admit this is “too much.” Yet, more than
13    half of these kids report that they would struggle to cut back on their social media use—which is
14    due to the addictive design of the platforms. Instead of feeding coins into slot machines, kids feed
15    Defendants’ platforms with an endless supply of attention, time, and data.
16          11.       A growing body of scientific research, including Defendants’ own (previously
17    concealed) studies, draws a direct line between Defendants’ conscious, intentional design choices
18    and the youth mental health crisis gripping our nation. Instagram, Facebook, TikTok, Snapchat, and
19    YouTube have rewired how adolescents think, learn, feel, and behave. Disconnected “Likes” have

20    replaced the intimacy of adolescent friendships. Mindless scrolling has displaced the creativity of

21    art, play, and sport. While presented as “social,” Defendants’ platforms have promoted

22    disconnection and disassociation, resulting in substantial mental harms that are now left to school

23    districts and local communities to address.

24

25

26

27

28                                                    4
                                                                        PLAINTIFFS’MASTER COMPLAINT
                                                             (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                            CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504          Filed 12/18/23    Page 10 of 325




 1              12.    The U.S. Surgeon General recently explained that children versus Big Tech is “just

 2        not a fair fight.”3 “You have some of the best designers and product developers in the world who

 3        have designed these products to make sure people are maximizing the amount of time they spend

 4        on these platforms. And if we tell a child, use the force of your willpower to control how much time

 5        you’re spending, you’re pitting a child against the world’s greatest product designers.”

 6              13.    Young people, including the students in the Plaintiffs’ school districts and

 7        communities, are in this battle against Big Tech because they are central to Defendants’ business

 8        models.4 Young people are highly connected to the Internet, more likely to have social media

 9        accounts, and more likely to devote their downtime to social media usage. Additionally, young

10        people influence the behavior of their parents and younger siblings. As one Defendant put it,
11        “los[ing] the teen foothold in the U.S.” would mean “los[ing] the pipeline” for growth.5
12              14.    Defendants’ strategy paid off, literally. Users of their platforms now number in the
13        billions, and the frequency and time spent by them has grown exponentially. Their enormous reach
14        allows Defendants to harvest a vast amount of personal user data from minors—from the school
15        they attend, to the sneakers they covet, to the places they’ve been and the people they’ve met. This,
16        in turn, allows Defendants to mint a fortune by selling to others the ability to micro-target
17        advertisements to incredibly specific slices of Defendants’ user bases.6
18
      3
19  Allison Gordon & Pamela Brown, Surgeon General says 13 is ‘too early’ to join social media,
   CNN (Jan. 29, 2023), https://www.cnn.com/2023/01/29/health/surgeon-general-social-
20 media/index.html.
      4
21   Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram
   Kids, Documents Show, Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-
22 instagram-kids-tweens-attract-11632849667; see also Haugen_00022339.
      5
23     Sheera Frenkel et al., Instagram Struggles with Fears of Losing Its ‘Pipeline’: Young Users, N.Y.
      Times (Oct. 26, 2021), https://www.nytimes.com/2021/10/16/technology/instagram-teens.html.
24    6
    See Snap, Inc., 2022 Annual Report (Form 10-K) at 15 (Jan. 31, 2023) (“[W]e rely heavily on our
25 ability to collect and disclose data[] and metrics to our advertisers so we can attract new advertisers
   and retain existing advertisers. Any restriction or inability, whether by law, regulation, policy, or
26 other reason, to collect and disclose data and metrics which our advertisers find useful would
   impede our ability to attract and retain advertisers.”).
27

28                                                        5
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504          Filed 12/18/23    Page 11 of 325




 1              15.    Defendants’ choices to design, develop, produce, operate, promote, distribute, and

 2        market their social media platforms in ways that are harmful to minors have generated extraordinary

 3        corporate profits—and yielded immense tragedy. Fueled by social media addiction, youth suicide

 4        rates are up an alarming 57%. Emergency room visits for anxiety disorders are up 117%. In the

 5        decade leading up to 2020, there was a 40% increase in high school students reporting persistent

 6        sadness and hopelessness, and a 36% increase in those who attempted to take their own lives. In

 7        2019, one in five high school girls had made a suicide plan. In 2021, one in three girls seriously

 8        considered attempting suicide.

 9              16.    Defendants knew their actions seriously impacted young people and school districts,

10        yet Defendants have refused to change their conduct.7 Indeed, Defendants recognized the
11        importance of infiltrating high schools to their platforms’ success. Meta,
12

13                                                       .8 Similarly, TikTok’s internal documents reveal that
14        it knew
15                                         .9 Once Snapchat knew it appealed to school-aged children, it “ran
16        with it and never looked back.”10 And YouTube directly advertises itself for use in schools, creating
17        “tips and tricks for bringing YouTube into the classroom.”11 Defendants also sell information
18        regarding students’ social media use to advertisers who wish to target youth at school, when they
19        are around other youth, thereby increasing the spread of their advertisements.

20              17.    The U.S. Surgeon General recently issued an advisory “to highlight the urgent need to

21

22    7
          See, e.g., META3047MDL-003-00084526.
      8
23        See, e.g., META3047MDL-003-00134688; META3047MDL-003-00022355.
      9
24        See, e.g., TIKTOK3047MDL-001-00061318.
   10
      How Snapchat Gained Success By Going Viral At High Schools Across Los Angeles, Forbes (Feb.
25 16, 2018, 1:20 pm) https://www.forbes.com/sites/quora/2018/02/16/how-snapchat-gained-success-

26 by-going-viral-at-high-schools-across-los-angeles/?sh=6f1676083b36.
      11
           Teachers, YouTube, https://www.youtube.com/Teachers (last visited Dec. 12, 2023).
27

28                                                        6
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23     Page 12 of 325




 1     address the nation’s youth mental health crisis.”12 In a scathing rebuke of the assault on our children,

 2     the Surgeon General recognized the dangerous designs in Defendants’ platforms and Defendants’

 3     abdication of responsibility for the resulting harms:

 4                   In these digital public spaces, which are privately owned and tend to be run
                     for profit, there can be tension between what’s best for the technology
 5                   company and what’s best for the individual user or for society. Business
                     models are often built around maximizing user engagement as opposed to
 6
                     safeguarding users’ health and ensuring that users engage with one another
 7                   in safe and healthy ways . . . .

 8                   [T]echnology companies must step up and take responsibility for
                     creating a safe digital environment for children and youth. Today, most
 9                   companies are not transparent about the impact of their products, which
                     prevents parents and young people from making informed decisions and
10                   researchers from identifying problems and solutions.13
11
             18.     President Biden has since echoed the Surgeon General’s comments. In both his 2022
12
       and 2023 State of the Union Addresses, the President urged the nation to “hold social media
13
       platforms accountable for the national experiment they’re conducting on our children for profit.”14
14
       In a January 11, 2023, op-ed, President Biden amplified this point: “The risks Big Tech poses for
15
       ordinary Americans are clear. Big Tech companies collect huge amounts of data on the things we
16
       buy, on the websites we visit, on the places we go, and, most troubling of all, on our children.”15
17
       The President observed that millions of children and adolescents struggle with “violence, trauma,
18
      12
19    Press Release, U.S. Dep’t of Health & Hum. Servs., U.S. Surgeon General Issues Advisory on
   Youth Mental Health Crisis Further Exposed by COVID-19 Pandemic (Dec. 7, 2021),
20 https://www.hhs.gov/about/news/2021/12/07/us-surgeon-general-issues-advisory-on-youth-mental-
   health-crisis-further-exposed-by-covid-19-pandemic.html.
21
   13
      U.S. Surgeon General’s Advisory, Protecting Youth Mental Health (Dec. 7, 2021),
22 https://www.hhs.gov/sites/default/files/surgeon-general-youth-mental-health-advisory.pdf.
      14
23    The White House, President Biden’s State of the Union Address (Mar. 1, 2022),
   https://www.whitehouse.gov/state-of-the-union-2022/; see also The White House, President
24 Biden’s State of the Union Address (Feb. 7, 2023), https://www.whitehouse.gov/state-of-the-union-
   2023/.
25
   15
      Joe Biden, Republicans and Democrats, Unite Against Big Tech Abuses, Wall St. J. (Jan. 11,
26 2023), https://www.wsj.com/articles/unite-against-big-tech-abuses-social-media-privacy-
   competition-antitrust-children-algorithm-11673439411.
27

28                                                      7
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504          Filed 12/18/23     Page 13 of 325




 1     and mental health” as a result of Defendants’ conduct and platforms, and again stated that “[w]e

 2     must hold social-media companies accountable” for their role in this crisis.16

 3               19.   These statements by President Biden and the Surgeon General align with a substantial

 4     body of peer-reviewed scientific literature documenting the harmful impact of Defendants’ conduct

 5     and platforms on children. This body of research confirms that Defendants’ conduct and platforms

 6     cause addiction, compulsive use, anxiety, depression, eating disorders, body dysmorphia, self-harm,

 7     sexual exploitation, suicidal ideations, other serious diseases and injuries, and suicide itself. Overall

 8     rates of these disorders have increased dramatically because of widespread consumption of

 9     Defendants’ platforms by children in the United States and around the world due to Defendants’

10     design, development, production, operation, promotion, distribution, and marketing of their social
11     media platforms to attract and addict minors.
12               20.   In 2022, the American Federation of Teachers—one of the largest teachers’ unions in
13     the United States—joined the #MakeMarkListen campaign, referring to Meta CEO Mark
14     Zuckerberg. Recognizing the harm of social media on students, the campaign is organizing activities
15     to demand oversight and accountability at Meta on behalf of children, based on the substantial harms
16     caused by Meta’s social media platforms. AFT President Randi Weingarten stated, “We’re raising
17     a giant red flag on the impact of Meta on kids’ lives and how its platforms exacerbate the anxiety
18     that comes with navigating our complicated world at a young age.”17 While this particular effort
19     was aimed at Meta, the behavior of all social media Defendants contributes to the harms raised by

20     this group.

21

22

23

24

25    16
           Id.
      17
26   Press Release, AFT Joint National Effort to Demand Corporate Governance Reforms at Meta
   (May 17, 2022), at pp. 1-2. https://www.aft.org/press-release/aft-joins-national-effort-demand-
27 corporate-governance-reforms-meta.

28                                                       8
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504          Filed 12/18/23      Page 14 of 325




 1           21.     A recent study commissioned by several organizations, including groups representing

 2     teachers, parents, children, and psychologists, wrote, "[o]ur schools are in crisis.”18 As a direct result

 3     of the Defendants’ successful promotion, distribution, and marketing of their addictive platforms to

 4     youth, there has been a “dramatic disruption in the teaching and learning ecosystems of all our

 5     nation’s schools.”19 In addition, the rates of mental health issues among children have climbed

 6     steadily since 2010. By 2018, suicide was the second leading cause of death for youth.20 As some

 7     of the country's largest providers of youth counseling, school districts have been forced to devote

 8     ever-increasing resources to mental health and learning support.

 9           22.     Compulsive social media use and addiction are negatively affecting student behavior

10     in districts across the country. For example, Pinellas (Florida) County School Board Chairperson
11     Laura Hine noted that, in her district, social media has resulted in “reduced attention spans, reduced
12     cognitive development or delayed cognitive development, learning impacts, behavior, discipline,
13     physical health, mental health, depression [and the] loss of life.”21 Tucson (Arizona) Unified School
14     District has experienced students becoming violent and damaging classrooms when a teacher tries
15     to take a student’s phone away, which the District attributes to students’ social media addiction.
16     Additionally, an English teacher in Rutherford County, North Carolina, reports that “[s]ocial media
17     has crippled my students when it comes to interacting with one another in person. Their very ability
18     to communicate is deteriorating.”22
19

20
      18
      Likes vs. Learning: The Real Cost of Social Media for Schools, American Federation of Teachers
21
   et al., (July 2023),
22 https://www.aft.org/sites/default/files/media/documents/2023/LikesVSLearning_Report.pdf\..
   19
      Id.
23
   20
      CDC, Deaths: Leading Causes for 2018, 70(4) National Vital Statistics Reports at 10 (May 17,
24 2021), https://www.cdc.gov/nchs/data/nvsr/nvsr70/nvsr70-04-508.pdf..
      21
25      VerHelst, Megan, Pinellas Schools to Sue Social Media Giants Over Mental Healht Crisis.
      https://patch.com/florida/stpete/pinellas-schools-sue-social-media-giants-over-mental-health-crisis.
26    22
     Social Media’s Impact on Students’ Mental Health Comes Into Focus at 2, NEA Today (Sept. 27,
27 2018)

28                                                       9
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23    Page 15 of 325




 1           23.    The youth mental health crisis, fueled by social media, also has a serious negative

 2     impact on school districts’ ability to hire and retain qualified teachers. For example, Palm Beach

 3     County (Florida) Schools and the Tucson Unified School District have experienced a decline in

 4     teacher morale due to the extreme disruption that student social media use has caused in the

 5     classroom, which makes the teachers’ job much more difficult. In Wichita, Kansas, teachers have

 6     repeatedly appealed to their district for help combatting students’ social media use, even raising the

 7     issue during contract negotiations.23 Other districts nationwide have dealt with similar problems due

 8     to Defendants’ conduct in creating youth social media addiction.

 9           24.    School districts nationwide have made substantial expenditures to combat the drain on

10     learning caused by students’ social media compulsive use and addiction. For example, Clark County
11     (Nevada) School District has spent millions of dollars on support for students who are lacking in
12     proficiency, including purchasing “Tier 2” educational materials to help students get back on pace
13     with their peers. The district has seen a higher percentage of students fall behind as student use of
14     social media increases. Clark County schools have also revised school policies to combat
15     problematic social media use. Districts nationwide have made similar expenditures on personnel
16     and learning materials to combat social media addiction.
17           25.    Many districts nationwide have purchased or are considering purchasing Faraday
18     bags, which block cell phone service so that students cannot access social media platforms during
19     school hours. For example, several schools in the Philadelphia School District have purchased

20     Faraday bags, and the district is considering buying them for all schools at a cost of approximately

21     $5 million. Penn Hills School District near Pittsburgh, Pennsylvania, has purchased the bags for

22     every student. Virginia Beach School District wanted to buy Faraday bags for all its students, but it

23     determined that it did not have the funds necessary to purchase.

24
   https://www.nea.org/nea-today/all-news-articles/social-medias-impact-students-mental-health-
25 comes-focus..
      23
26   Donna St. George, Students can’t get off their phones. Schools have had enough. Washington
   Post (May 9, 2023), https://www.washingtonpost.com/education/2023/05/09/school-cellphone-ban-
27 yondr/.

28                                                     10
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23      Page 16 of 325




 1           26.     The youth mental health crisis fueled by social media addiction has also had a

 2     profound effect on county and municipal governments. For instance, Plaintiff Montgomery County

 3     (Pennsylvania) funds and operates numerous services to address youth mental health issues and six

 4     local community behavior centers. The funding for these services is unable to keep up with the

 5     demand, which the social media-induced youth mental health crisis has greatly exacerbated. Many

 6     local governments also assist with school funding. For instance, Plaintiff Providence, Rhode Island,

 7     budgeted more than $134 million for public schools in 2022.

 8           27.     Defendants knew or should have known about the risks of such addiction, and they

 9     could have changed their conduct and their platforms to avoid the harm. They could have warned

10     the public and Plaintiffs about the danger. Instead, Defendants placed growth first.
11           28.     Defendants could have worked with the Local Government and School District
12     Plaintiffs to warn, educate, and protect youth from the risks of their platforms. They could have
13     provided warnings about the danger to prevent the foreseeable injuries they have caused to the Local
14     Government and School District Plaintiffs. Instead, they prioritized their growth and financial gain
15     over the drain their actions would cause on the Local Government and School District Plaintiffs’
16     budgets and resources.
17           29.     Defendants’ wrongful conduct has caused or contributed to a nuisance within Local
18     Government and School District Plaintiffs’ schools and communities. Compulsive social media use
19     and addiction are widespread within the Local Government and School District Plaintiffs’

20     communities, including in their respective school districts, counties, and municipalities, resulting in

21     a myriad of harms to Plaintiffs. Those harms are continuing today. Plaintiffs’ harms are different in

22     kind from those suffered by the general public at large.

23           30.     Defendants were also negligent. They breached their duty to the Local Government

24     and School District Plaintiffs by purposefully addicting children to their platforms, thereby

25     foreseeably causing harm to Local Government and School District Plaintiffs around the country

26     who are the first responders forced to address the serious consequences of Defendants’ actions given

27     their mission (and obligation) to provide an adequate education, public facilities, mental health

28                                                     11
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23    Page 17 of 325




 1     services, counseling, and other social and disciplinary services.

 2           31.    As described in more detail above and below, Defendants’ wrongful conduct includes,

 3     but is not limited to: (a) designing, developing, producing, operating, promoting, distributing, and

 4     marketing platforms that disrupted and otherwise harmed Plaintiffs’ operations, schools,

 5     communities, students, and residents; (b) failing to provide adequate warnings about serious and

 6     reasonably foreseeable health risks from use of the platforms; (c) failing to utilize reasonable care

 7     in designing, developing, producing, operating, promoting, distributing, and marketing their

 8     platforms; and (d) as to Meta, at least, engaging in the deliberate concealment, misrepresentation,

 9     and obstruction of public awareness of serious health risks to users of its platforms.

10           32.    As described in more detail above and below, the harms caused by Defendants’
11     wrongful conduct include, but are not limited to, expending, diverting, and increasing human and
12     financial resources to prevent social media use in school, such as equipment to disable phones;
13     spending, diverting, and increasing human and financial resources to hire counselors and other
14     professionals to address compulsive social media use and addiction, and its negative impact on
15     youth; the consistent and pervasive disruption to the learning process caused by social media use in
16     schools; expending, diverting, and increasing human and financial resources to address property
17     damage on school and municipal property, caused by compulsive social media use and addiction;
18     and the need for additional government personnel and expending, diverting, and increasing human
19     and financial resources to address the youth mental health crisis caused by Defendants’ conduct and

20     platforms.

21           33.    Defendants should be held to account for the harms their conduct has inflicted on

22     America’s youth, our country’s educational system, and our local governments and communities.

23     Currently, the Local Government and School District Plaintiffs across the nation are left footing the

24     bill for assisting America’s struggling youth while Defendants count their profits.

25     II.   JURISDICTION AND VENUE
26           34.    This Court has subject-matter jurisdiction over various constituent cases in this

27     multidistrict litigation pursuant to 28 U.S.C. § 1332(a) because Plaintiffs and Defendants in such

28                                                     12
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504           Filed 12/18/23     Page 18 of 325




 1     cases are residents of different states, and the amount in controversy exceeds $75,000.

 2           35.     This Court has personal jurisdiction over Defendants because they are incorporated in

 3     and have their principal places of business in California, and because they have contacts with

 4     California that are so continuous and systematic that they are essentially at home in this state. Meta,

 5     Google, and ByteDance, Inc. maintain their principal places of business within this District. Snap

 6     and TikTok Inc. maintain their headquarters in this State. All Defendants regularly conduct and

 7     solicit business in California, provide their platforms by or to persons here, and derive substantial

 8     revenue from the same. All Defendants affirmatively and extensively engage with a significant

 9     percentage of this State’s residents through messages, notifications, recommendations, and other

10     communications.
11           36.     This Court also has personal jurisdiction over Defendants because they committed the
12     acts complained of herein in this State and District and, in some cases, caused injury to persons
13     located in this State and District.
14           37.     Venue is proper in this multidistrict litigation for one or more of the following reasons:
15     (1) at least one Defendant is headquartered and subject to personal jurisdiction in this District and
16     all Defendants are residents of this State; (2) a substantial part of the events and omissions giving
17     rise to Plaintiffs’ causes of action occurred in this District; (3) venue is proper in the transferor court
18     in each constituent case; and/or (4) venue is proper in this District for pretrial purposes pursuant to
19     28 U.S.C. § 1407 and the October 6, 2022 Transfer Order of the Judicial Panel on Multidistrict

20     Litigation.

21           38.     Declaratory relief is proper under 28 U.S.C. §§ 2201 and 2202.

22     III. PARTIES

23           A.      Plaintiffs
24           39.     This Complaint is filed on behalf of Plaintiff school districts, counties, district
25     attorneys and municipalities who file a Short Form Complaint alleging that they have suffered harm
26     due to Defendants’ conduct alleged herein. By operation of an anticipated implementation order by
27     the Court, all allegations pled in this Complaint are deemed pled in any Short Form Complaint as
28                                                       13
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504           Filed 12/18/23    Page 19 of 325




 1     to the Defendants identified therein.

 2           B.      Meta Defendants

 3           40.     Defendant Meta Platforms, Inc. (“Meta”) is a multinational technology conglomerate,
 4     having its principal place of business in Menlo Park, California. Meta designs, develops, owns,
 5     operates, and markets social media platforms, including Facebook and Instagram, which are
 6     available to minors throughout the United States.24 Meta Platforms was incorporated in Delaware
 7     on July 29, 2004, as “TheFacebook, Inc.” On September 20, 2005, the company changed its name
 8     to “Facebook, Inc.” On October 28, 2021, the company assumed its current designation. While
 9     Plaintiffs have attempted to identify the specific Meta Platforms subsidiary(s) that committed each
10     of the acts alleged in this Complaint, Plaintiffs were not always able to do so, in large part due to
11     ambiguities in Meta Platforms’ and its subsidiaries’ own documents, public representations, and
12     lack of public information. However, upon information and belief, Meta Platforms oversees the
13     operations of its various platforms and subsidiaries, some of which have been identified and are
14     listed below. For this reason, unless otherwise specified, the shorthand “Meta” contemplates the
15     apparent control that Meta Platforms wields over its subsidiaries’ overall operations and, therefore,
16     further refers to its various subsidiaries and predecessors. To the extent this assumption is incorrect,
17     the knowledge of which Meta Platforms subsidiary, current or former, is responsible for specific
18     conduct is knowledge solely within Meta’s possession, the details of which Plaintiffs should be
19     permitted to elucidate during the discovery phase.
20           41.     Metas’ subsidiaries include but may not be limited to: Facebook Holdings, LLC;
21     Facebook Operations, LLC; Instagram, LLC; and a dozen other entities whose identity or relevance
22     is presently unclear.
23           42.     Defendant Facebook Holdings, LLC was incorporated in Delaware on March 11,
24     2020, and is a wholly owned subsidiary of Meta Platforms. Facebook Holdings is primarily a
25
      24
26   These products include Facebook (its self-titled app, Messenger, Messenger Kids, Marketplace,
   Workplace, etc.), Instagram (and its self-titled app), and a line of electronic virtual reality devices
27 called Oculus Quest (soon to be renamed “Meta Quest”).

28                                                      14
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23    Page 20 of 325




 1     holding company for entities involved in Meta Platforms’ supporting and international endeavors,

 2     and its principal place of business is in Menlo Park, California.

 3           43.    Defendant Facebook Operations, LLC was incorporated in Delaware on January 8,

 4     2012, and is a wholly owned subsidiary of Meta Platforms. Facebook Operations is likely a

 5     managing entity for Meta Platforms’ other subsidiaries, and its principal place of business is in

 6     Menlo Park, California.

 7           44.    Defendant Meta Payments Inc. (“Meta Payments”) is a wholly owned subsidiary of

 8     Meta Platforms, Inc. Meta Payments processes and manages payments made through Meta. Meta

 9     Payments principal place of business is in Menlo Park, California. Meta Payments was incorporated

10     in Florida on December 10, 2010, as Facebook Payments Inc. In July 2022, the entity’s name was
11     amended to Meta Payments Inc.
12           45.    Defendant Siculus, Inc. (“Siculus”) was incorporated in Delaware on October 19,
13     2011. Siculus is a wholly owned subsidiary of Meta. Siculus constructs data facilities that support
14     Meta platforms. Siculus’s principal place of business is in Menlo Park, California.
15           46.    Defendant Instagram, LLC was founded by Kevin Systrom and Mike Krieger in
16     October 2010. In April 2012, Meta Platforms purchased the company for $1 billion (later statements
17     from Meta Platforms have indicated the purchase price was closer to $2 billion). Meta Platforms
18     reincorporated the company on April 7, 2012, in Delaware. Currently, the company’s principal place
19     of business is in Menlo Park, California. Instagram is a social media platform tailored for photo and

20     video sharing.

21           C.     Defendant Snap, Inc.

22           47.    Defendant Snap, Inc. is a Delaware corporation with its principal place of business in
23     Santa Monica, California. Snap designs, develops, owns, operates, and markets the Snapchat social
24     media platform, an application that is widely marketed by Snap and available to minors throughout
25     the United States. Snapchat is a social media platform for engaging in text, picture, and video
26     communication, as well as other features of Snapchat’s own design. Snapchat was founded in 2011,
27     by three Stanford college students: Reggie Brown, Evan Spiegel, and Bobby Murphy.
28                                                     15
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23    Page 21 of 325




 1           D.      TikTok Defendants

 2           48.     Defendant TikTok, Inc. is a California corporation with its principal place of business
 3     in Culver City, California. TikTok designs, owns, and operates the TikTok social media platform,
 4     an application that is widely marketed by TikTok and available to minors throughout the United
 5     States. TikTok is known as a video-sharing application, where users can create, share, and view
 6     short video clips.
 7           49.     Defendant ByteDance Inc. is a Delaware corporation with its principal place of
 8     business and headquarters at 250 Bryant St, Mountain View, California. ByteDance design, owns,
 9     and/or operates TikTok, and designs, develops, owns, operates, and/or markets the TikTok social
10     media platform, an application that is widely marketed by TikTok and available to users throughout
11     the United States.
12           50.     Defendant TikTok Inc. is a for-profit entity incorporated in the State of California,
13     which operates a social media application and platform known as “TikTok.” TikTok Inc. is
14     headquartered at 5800 Bristol Pkwy, Culver City, California. TikTok Inc. has a valuation of at least
15     $50-75 billion. TikTok Inc. made nearly $4 billion in revenue in 2021 and an estimated $10-12
16     billion in 2022.
17           51.     Defendant TikTok Pte. Ltd. is a related corporate entity, which is headquartered at 8
18     Marina View, #43-00, Asia Square Tower 1, Singapore 018960. This related corporate entity is
19     nominally listed on the Apple App Store, Google Play Store, and Microsoft Store.
20           52.     Defendant ByteDance Ltd. is a multinational internet technology holding company
21     and is the parent company of TikTok Inc., TikTok Pte. Ltd., and ByteDance Inc. ByteDance Ltd. is
22     headquartered in Room 503 5F, Building 2, 43 North Third Ring West Road, Beijing, 100086 China
23     and registered in the Cayman Islands at C/O Vistra (Cayman) Limited, P.O. Box 31119, Grand
24     Pavilion, Hibiscus Way, 802 West Bay Road, Grand Cayman, KY1 — 1205. ByteDance Ltd. is a
25     Chinese corporation with its principal place of business in Beijing, China. ByteDance Ltd. designs,
26     owns, and/or operates TikTok, and designs, owns, and/or operates the TikTok social media
27     platform, an application that is widely marketed by TikTok and available to minors throughout the
28                                                    16
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504           Filed 12/18/23     Page 22 of 325




 1     United States.

 2           53.     Defendants TikTok, Inc., ByteDance Inc., TikTok Pte. Ltd and ByteDance Ltd. Are

 3     collectively referred to as “ByteDance.”

 4           E.      YouTube Defendants

 5           54.     Defendant Google LLC (“Google”) is a limited liability company organized under the
 6     laws of the state of Delaware, and its principal place of business is in Mountain View, California.
 7     Google is a wholly owned subsidiary of XXVI Holdings Inc., and the managing member of
 8     YouTube, LLC. Google transacts or has transacted business in this District and throughout the
 9     United States. At all times material to this Complaint, acting alone or in concert with others, Google
10     has advertised, marketed, and distributed its YouTube video sharing platform to minors throughout
11     the United States. At all times material to this Complaint, acting alone or in concert with YouTube,
12     LLC, Google formulated, directed, controlled, had the authority to control, or participated in the
13     acts and practices set forth in this Complaint. Further, upon information and belief, Google oversees
14     the operations of its various platforms and subsidiaries including YouTube LLC.
15           55.     Defendant YouTube LLC (“YouTube”) is a limited liability company organized under
16     the laws of the state of Delaware, and its principal place of business is in San Bruno, California.
17     YouTube is a wholly-owned subsidiary of Google. YouTube transacts or has transacted business in
18     this District and throughout the United States. At all times material to this Complaint, acting alone
19     or in concert with defendant Google, YouTube has designed, developed, advertised, marketed,
20     operated, and distributed its YouTube social media platform to minors throughout the United States.
21     At all times material to this Complaint, acting alone or in concert with Google, YouTube formulated,
22     directed, controlled, had the authority to control, or participated in the acts and practices set forth in
23     this Complaint.
24

25

26

27

28                                                       17
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23    Page 23 of 325




 1 IV.        FACTUAL ALLEGATIONS

 2            A.    GENERAL FACTUAL ALLEGATIONS APPLICABLE TO ALL
                    DEFENDANTS
 3
                    1.   Defendants have targeted school-aged children as a core market.
 4

 5            56.   Defendants’ platforms prey on the time and attention of children who use them

 6     compulsively. Their powerfully addictive nature is intentional; each Defendant has designed,

 7     developed, produced, operated, promoted, distributed, and marketed its platforms not only to

 8     maximize the number of child users but to monopolize as much of their attention as possible.

 9            57.   Capturing young users is central to Defendants’ business model. Because children use

10     Defendants’ platforms more than adults, they see more ads and, as a result, generate more ad revenue

11     for Defendants. Young users also generate a trove of data about their preferences, habits, and

12     behaviors. Information about their users is Defendants’ most valuable commodity. Defendants mine

13     and commodify that data, selling to advertisers the ability to reach incredibly narrow tranches of the

14     population, including children. Each Defendant placed its platforms into the stream of commerce

15     and generated revenues through the distribution of those platforms at the expense of the Local

16     Government and School District Plaintiffs. This exploitation of children has become central to

17     Defendants’ profitability.

18            58.   For example, an internal presentation titled

19

20                               by

21                   ”25 Similarly, an internal Meta planning document from November 2018 stated:

22     “

23

24                                                                                  .”26

25
      25
26         META3047MDL-003-00172024.
      26
           META3047MDL-003-00017809.
27

28                                                     18
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504         Filed 12/18/23    Page 24 of 325




 1               59.   Defendants have been staggeringly successful in their efforts to attract young users to

 2     their platforms. In 2021, 32% of 7- to 9-year-olds,27 49% of 10- to 12-year-olds,28 and 90% of 13-

 3     to 17-year-olds in the United States used social media.29 A majority of U.S. teens use Instagram,

 4     TikTok, Snapchat, and/or YouTube. Thirty-two percent say they “wouldn’t want to live without”

 5     YouTube, while 20% said the same about Snapchat, and 13% said the same about both TikTok and

 6     Instagram.30

 7               60.   U.S. teenagers who use Defendants’ platforms are likely to use them every day. Sixty-

 8     two percent of U.S. children ages 13-18 use social media daily.31 And daily use often means constant

 9     use. About one-in-five U.S. teens visit or use YouTube “almost constantly,” while about one-in-six

10     report comparable usage of Instagram.32 Nearly half of U.S. teens use TikTok at least “several times
11     a day.”33 TikTok’s internal data shows that children
12
                                                                                34
13                                                                                   In one study,
14

15

16    27
      Sharing Too Soon? Children and Social Media Apps, C.S. Mott Child’s Hosp. Univ. Mich.
17 Health   (Oct. 18, 2021), https://mottpoll.org/sites/default/files/documents/101821_SocialMedia.pdf.
   28
      Id.
18
   29
      Social Media and Teens, Am. Acad. Child & Adolescent Psychiatry (Mar. 2018),
19 https://www.aacap.org/AACAP/Families_and_Youth/Facts_for_Families/FFF-Guide/Social-
   Media-and-Teens-100.aspx; see also Victoria Rideout et al., The Common Sense Census: Media
20 Use by Tweens and Teens, 2021 at 5, Common Sense Media (2022),

21 https://www.commonsensemedia.org/sites/default/files/research/report/8-18-census-integrated-
   report-final-web_0.pdf.
22 30 Id. at 31.
      31
23         Id.
      32
24       Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug. 10, 2022),
      https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-technology- 2022/.
25    33
           Id.
26    34
        Complaint and Jury Demand (“UT AG Compl.”) at 3, para. 5, Division of Consumer Protection of
      the State of Utah v. TikTok Inc. (ECF No. 495-5).
27

28                                                      19
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504         Filed 12/18/23    Page 25 of 325




 1                                                                       .35

 2               61.   Many teenagers know they are addicted to Defendants’ platforms:

 3                                              .36

 4

 5                                                                                           .”37

 6               62.

 7

 8                                                                                                  .38

 9               63.   Despite using social media frequently, most young people don’t particularly enjoy it.

10     In 2021, only 27% of boys and 42% of girls ages 8-18 reported liking social media “a lot.”39
11     Moreover, one survey found that young people think social media is the main reason youth mental
12     health is getting worse.40 About twice as many of the surveyed youth believed that social media is
13     the main reason for declining mental health than the next likely cause, and over seven times more
14     believed it to be the main cause rather than drugs and alcohol.41
15               64.   The most recent data shows these trends persist. According to a 2023 report, 45 percent
16     of teen girls who use TikTok say they feel addicted to it or use it more than intended at least
17

18

19    35
           Id.
20    36
           Id.
21    37
           Id.
      38
22         Id.
      39
      Victoria Rideout et al., Common Sense Census: Media use by tweens and teens, 2021 at 34,
23
   Common Sense Media (2022),
24 https://www.commonsensemedia.org/sites/default/files/research/report/8-18-census-integrated-
   report-final-web_0.pdf.
25 40 Headspace National youth mental health survey 2018, Nat’l Youth Mental Health Found. (2018),

26 https://headspace.org.au/assets/headspace-National-Youth-Mental-Health-Survey-2018.pdf.
   41
      Id.
27

28                                                      20
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504         Filed 12/18/23    Page 26 of 325




 1     weekly.42 Similarly, 37 percent of teen girls said they felt addicted to Snapchat, 34 percent said they

 2     felt addicted to YouTube, and 33 percent said they felt addicted to Instagram.43 Notably, teenage

 3     girls reported higher rates of feeling addicted to these social media platforms than messaging

 4     platforms.44

 5               65.   Defendants have also deliberately designed their platforms to encourage the

 6     compulsive use of these platforms during the school day. Indeed, a recent study performed by

 7     Common Sense Media and the C.S. Mott Children’s Hospital confirms the ubiquity and intensity of

 8     notifications in a young person’s life. The research found that young users “received a median of

 9     237 notifications” in a “typical day,” and that “[n]otification frequency varied widely, with

10     maximums of over 4,500 delivered and over 1,200 seen and” [n]early a quarter of those notifications
11     arrived during school hours.45
12               66.   When youth are able to stop or limit their social media use, it is often because of the
13     negative impacts they experience using social media. In one sample, 38 percent of adolescent social
14     media users reported that “they had ever stopped using a platform or limited how much they use it
15     because they felt it had a negative impact on them.”46 Indeed, many teenage girls reported feeling
16     they were spending too much time on social media or that it was getting in the way of other
17     activities; 43 percent of teenage girls described these feelings in relation to YouTube, 23 percent
18

19    42
      Jacqueline Nesi et al, Teens and Mental Health: How Girls Really Feel about Social Media at 6,
20 Common Sense Media (2023),
   https://www.commonsensemedia.org/sites/default/files/research/report/how-girls-really-feel-about-
21 social-media-researchreport_web_final_2.pdf.
      43
22         Id.
      44
           Id.
23
      45
     https://www.commonsensemedia.org/sites/default/files/research/report/2023-cs-smartphone-
24 research-report_final-for-web.pdf.
      46
25    Jacqueline Nesi et al, Teens and Mental Health: How Girls Really Feel about Social Media at 27,
   Common Sense Media (2023),
26 https://www.commonsensemedia.org/sites/default/files/research/report/how-girls-really-feel-about-
   social-media-researchreport_web_final_2.pdf.
27

28                                                      21
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504         Filed 12/18/23    Page 27 of 325




 1     said the same of TikTok, 23 percent said the same of Instagram, and 10 percent said the same of

 2     Snapchat.47

 3               67.   Defendants have encouraged the use of their platforms as educational tools and

 4     teaching aides both in school and for homework but have failed to adequately warn educators,

 5     parents, students, and Plaintiffs of the known risks and harms of using their platforms.

 6                     2.     Children are uniquely susceptible to harm from Defendants’ platforms.

 7               68.   To hook young users, Defendants rely on psychologically manipulative design choices
 8     to which children are uniquely susceptible.
 9               69.   The frontal lobes of the brain—particularly the prefrontal cortex—control higher-
10     order cognitive functions. This region of the brain is central to planning and executive decision-
11     making, including the evaluation of future consequences and the weighing of risk and reward. It
12     also helps inhibit impulsive actions and “regulate emotional responses to social rewards.”48
13               70.   Children and adolescents are especially vulnerable to developing harmful behaviors
14     because their prefrontal cortex is not fully developed.49 Indeed, it is one of the last regions of the
15

16

17

18

19

20

21

22

23
      47
           Id.
24    48
     Zara Abrams, Why young brains are especially vulnerable to social media, Am. Psych. Ass’n
25 (Aug. 25, 2022), https://www.apa.org/news/apa/2022/social-media-children-
   teenshttps://www.apa.org/news/apa
26 /2022/social-media-children-teens.
      49
27         Nino Gugushvili et al., Facebook use intensity and depressive symptoms: A moderated mediation

28                                                     22
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504          Filed 12/18/23    Page 28 of 325




 1     brain to mature.50, 51 In the images below, the blue color depicts brain development.52

 2               71.   Because the prefrontal cortex develops later than other areas of the brain, children and

 3     adolescents, as compared with adults, have less impulse control and less ability to evaluate risks,

 4     regulate emotions, and regulate their responses to social rewards.

 5               72.   Social rewards deliver a rush of dopamine and oxytocin, sometimes called the “happy

 6     hormones,” to the ventral striatum.53 Dopamine is a neurotransmitter that is central to the brain’s

 7     reward system.54 While the same hormones are released in youth and adults, there are two key

 8     differences. As Professor Mitch Prinstein, Chief Science Officer of the American Psychological

 9     Association, explained: “First, adults tend to have a fixed sense of self that relies less on feedback

10     from peers. Second, adults have a more mature prefrontal cortex, an area that can help regulate
11     emotional responses to social rewards.”55
12               73.   Although the decision-making region of the brain is still not fully developed, regions
13     such as the ventral striatum, which are involved in the reward pathway and closely tied to social
14     media activity, begin to develop during adolescence.56
15               74.   Between the ages of 10 and 12, dopamine receptors multiply in the ventral striatum,
16

17 model of problematic Facebook use, age, neuroticism, and extraversion at 3, BMC Psych. 10, 279
   (Nov. 28, 2022), .https://doi.org/10.1186/s40359-022-00990-7.
18 50 Id.

19    51
      Fulton Crews et al., Adolescent cortical development: A critical period of vulnerability for
   addiction, 86 Pharm., Biochem. and Behav. 189-199 (2007),
20 https://doi.org/10.1016/j.pbb.2006.12.001.

21    52
      Heiner Boettger, & Deborah Koeltezsch, The fear factor: Xenoglossophobia or how to overcome
   the anxiety of speaking foreign languages, 4, Training Language and Culture, 43-55 (June 2020),
22 https://www.researchgate.net/figure/Development-of-the-cortex-functions-The-

23 PFC_fig1_342501707.
   53
      Zara Abrams, Why young brains are especially vulnerable to social media, Am. Psych. Ass’n
24 (Aug. 25, 2022), https://www.apa.org/news/apa/2022/social-media-children-teens.
      54
25         Id.
      55
26         Id.
      56
           Id.
27

28                                                       23
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504          Filed 12/18/23     Page 29 of 325




 1     which makes social rewards—like compliments or laughter from a friend—more pleasant, and

 2     adolescents become more sensitive to attention from others.57 Adolescents are at a stage where their

 3     personalities and identities are forming, much of which “is now reliant on social media.”58

 4               75.   During development, the brain is exposed to stimuli (e.g., Instagram) that becomes

 5     associated with a reward (e.g., Likes) and a release of dopamine throughout the reward pathway.

 6     The feeling derived during the reward experience drives an individual to seek out the stimulus again,

 7     and the association between stimulus and reward grows stronger with repetitive activation.59

 8     Repeated spikes of dopamine over time may cause “neuroadaptation,” where the brain adapts to the

 9     increased dopamine levels caused by external stimuli by downregulating its production of and

10     sensitivity to dopamine.60 As a result, the individual develops tolerance, and the brain requires
11     increasingly more of a stimulus to experience the same feeling of reward.
12               76.   Imaging studies show that during a period of craving, there are also decreases in frontal
13     cortex activity and executive functioning, leading to impaired “decision making, self-regulation,
14     inhibitory control, and working memory.”61
15               77.   As New York University professor and social psychologist Adam Alter has explained,
16     features such as “Likes” give users a dopamine hit similar to drugs and alcohol: “The minute you
17     take a drug, drink alcohol, smoke a cigarette . . . when you get a like on social media, all of those
18

19    57
           Id.
20    58
      Betul Keles et al., A systematic review: the influence of social media on depression, anxiety and
   psychological distress in adolescents, 25(1) Int’l J. Adolescence & Youth 79-93 (2019),
21
   https://www.tandfonline.com/doi/full/10.1080/02673843.2019.1590851.).
22 59 Bryon Adinoff, Neurobiologic processes in drug reward and addiction, 12(6) Harv Rev
   Psychiatry 305-20 (2004),
23
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1920543/https://www.ncbi.nlm.nih.gov/pmc/article
24 s/PMC1920543/.
   60
      George Koob, & Nora Volkow. Neurobiology of addiction: A neurocircuitry analysis, 3(8)
25 Lancet Psychiatry 760-73 (Aug. 2016),

26 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6135092/pdf/nihms-985499.pdf.
      61
           Id.
27

28                                                       24
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504           Filed 12/18/23     Page 30 of 325




 1     experiences produce dopamine, which is a chemical that’s associated with pleasure. When someone

 2     likes an Instagram post . . . it’s a little bit like taking a drug. As far as your brain is concerned, it’s

 3     a very similar experience.”62

 4           78.     Notably, once the brain has learned to make this association, dopaminergic neurons

 5     “shift their . . . activation from the time of reward delivery to the time of presentation of [a]

 6     predictive cue.”63 In other words, the anticipation of a reward can itself trigger a dopamine rush.

 7           79.     Conversely, if the stimulus is withheld, feelings of fatigue and anxiety or depression

 8     may be experienced, along with decreased sensitivity to the stimulant, which is associated with the

 9     withdrawal component of addiction.64 Youth are more susceptible than adults to feelings of

10     withdrawal when a dopamine hit wears off. Depending on the intensity, delivery, and timing of the
11     stimulus, and the severity of its withdrawal, these feelings can include anxiety, dysphoria, and
12     irritability.65 Children and adolescents also are more likely to engage in compulsive behaviors to
13     avoid these symptoms, due to their limited capacity for self-regulation, relative lack of impulse
14     control, and struggle to delay gratification. Together, this means that children and adolescents are
15
      62
      Eames Yates, What happens to your brain when you get a like on Instagram, Business Insider
16 (Mar. 25, 2017), https://www.businessinsider.com/what-happens-to-your-brain-like-instagram-
   dopamine-2017-3; see also Sӧren Krach et al., The rewarding nature of social interactions, 4(22)
17
   Frontiers in Behav. Neuro. (May 28, 2010),
18 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2889690/pdf/fnbeh-04-00022.pdf; Julian Morgans,
   The Secret Ways Social Media Is Built for Addiction, Vice (May 17, 2017),
19 https://www.vice.com/en/article/vv5jkb/the-secret-ways-social-media-is-built-for-
   addictionhttps://www.vice.com/en/article/vv5jkb/the-secret-ways-social-media-is-built-for-
20 addiction.
      63
21      Luisa Speranza et al., Dopamine: The Neuromodulator of Long-Term Synaptic Plasticity, Reward
      and Movement Control, 10 Cells 735 (Mar. 16, 2021), https://pubmed.ncbi.nlm.nih.gov/33810328/.
22    64
      Substance Abuse and Mental Health Services Administration (US); Office of the Surgeon
23 General (US). Facing Addiction in America: The Surgeon General’s Report on Alcohol, Drugs,
   and Health. Washington (DC): US Department of Health and Human Services; 2016 Nov., Chapter
24 1, Introduction and Overview of the Report,
   https://www.ncbi.nlm.nih.gov/books/NBK424860/?report=reader
25
   65
      George Koob, and Nora Volkow. Neurobiology of addiction: a neurocircuitry analysis, 3 (8)
26 Lancet Psychiatry 760-773 (August 2016),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6135092/pdf/nihms-985499.pdf.
27

28                                                       25
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504           Filed 12/18/23    Page 31 of 325




 1     uniquely vulnerable and easy targets for the reward-based systems that Defendants build into their

 2     social media platforms.

 3           80.     A recent article, coauthored by former Google CEO Eric Schmidt and social

 4     psychologist Jonathan Haidt, warns that “the greatest damage from social media seems to occur

 5     during the rapid brain rewiring of early puberty, around ages 11 to 13 for girls and slightly later for

 6     boys.”66 Schmidt and Haidt urged action, writing that “we must protect children from predation and

 7     addiction most vigorously during this time, and we must hold companies responsible for recruiting

 8     or even just admitting underage users . . . .” As they point out, “as long as children say that they are

 9     13, the platforms let them open accounts, which is why so many children are heavy users of

10     Instagram, Snapchat, and TikTok by age 10 or 11.”67
11           81.     Studies indicate that social rewards such as reputation, maternal and romantic love,
12     positive emotional expressions, and the stimuli of perceived beautiful faces are processed along the
13     same neural reward network as non-social rewards and drug addiction.68 Dopamine receptors were
14     found reduced in the striatum (central component of the reward system) of the brain in individuals
15     with Internet addiction.69 Like other addicting products, Defendants’ platforms hook their users by
16     disrupting their brains’ reward circuitry.
17           82.     When the release of dopamine in young brains is manipulated by Defendants’
18     platforms, it interferes with the brain’s development and can have long-term impacts on an
19

20    66
      Jonathan Haidt and Eric Schmidt, AI is about to make social media (much) more toxic, The
   Atlantic (May 5, 2023), https://www.theatlantic.com/technology/archive/2023/05/generative-ai-
21
   social-media-integration-dangers-disinformation-addiction/673940/.
22 67 AI is About to Make Social Media (Much) More Toxic, The Atlantic (May 5, 2023),
   https://www.theatlantic.com/technology/archive/2023/05/generative-ai-social-media-integration-
23
   dangers-disinformation-addiction/673940/..
24 68 Sӧren Krach, et al., The rewarding nature of social interactions, 4(22) Frontiers in Behav.
   Neuro., (May 28, 2010), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2889690/pdf/fnbeh-04-
25 00022.pdf.

26    69
        Sang Hee Kim, et al., Reduced striatal dopamine D2 receptors in people with Internet addiction,
      22 NeuroReport 407-11 (June 11, 2011), https://pubmed.ncbi.nlm.nih.gov/21499141/.
27

28                                                      26
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504          Filed 12/18/23     Page 32 of 325




 1     individual’s memory, affective processing, reasoning, planning, attention, inhibitory control, and

 2     risk-reward calibration.

 3               83.   “Everyone innately responds to social approval . . . but some demographics, in

 4     particular teenagers, are more vulnerable to it than others.”70 Given their limited capacity to self-

 5     regulate and their vulnerability to peer pressure, children (including teens) are at greater risk of

 6     developing a mental disorder from use of Defendants’ platforms.71

 7               84.   This can lead to a vicious cycle. Repeated spikes of dopamine over time may cause a

 8     child to build up a tolerance for the stimulus. In this process of “neuroadaptation,” the production

 9     of dopamine and the sensitivity of dopamine receptors are both reduced.72 As a consequence, the

10     child requires more and more of the stimulus to feel the same reward. Worse, this cycle can cause

11     decreases in activity in the prefrontal cortex, leading to further impairments of decision-making and

12     executive functioning.73

13               85.   As described further below, each Defendant deliberately designed, developed,
14     engineered, and implemented dangerous features in their platforms that limit the ability for children
15     and their parents to control social media use and present social-reward and other stimuli in a manner
16     that has caused youth in Plaintiffs’ schools and communities to compulsively seek out those stimuli,
17     develop negative symptoms when they are withdrawn, and exhibit reduced impulse control and
18     emotional regulation.
19               86.   Children find it particularly difficult to exercise the self-control required to regulate

20
      70
      Von Tristan Harris, The Slot Machine in Your Pocket, Spiegel Int’l (July 27, 2016),
21
   https://www.spiegel.de/international/zeitgeist/smartphone-addiction-is-part-of-the-design-a-
22 1104237.html.
   71
      Betul Keles et al., A systematic review: the influence of social media on depression, anxiety and
23
   psychological distress in adolescents, 25(1) Int’l J. Adolescence & Youth 79-93 (2019),
24 https://www.tandfonline.com/doi/full/10.1080/02673843.2019.1590851.
   72
      George Koob, and Nora Volkow. Neurobiology of addiction: a neurocircuitry analysis, 3
25 (8)Lancet Psychiatry 760-773 (2016),

26 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6135092/pdf/nihms-985499.pdf..
      73
           Id.
27

28                                                       27
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23    Page 33 of 325




 1     their use of Defendants’ platforms, given the stimuli and rewards embedded in those platforms, and

 2     as a foreseeable and probable consequence of Defendants’ design choices tend to engage in

 3     addictive and compulsive use.74 Defendants engaged in this conduct even though they knew or

 4     should have known that their design choices substantially harmed the youth in Plaintiffs’ schools

 5     and communities, and that they would lead to Plaintiffs’ increased expenditures.

 6             87.    Adding to the harm caused to children and teens, Defendants’ social media platforms

 7     generate never-ending and heightened social comparison. The need to compare oneself to other

 8     individuals is a hard-wired characteristic of being human and is biologically powerful. But

 9     Defendants’ platforms create an unnatural environment of constant social comparison due to filters

10     and other features that Defendants have designed and developed. This is by design: social
11     comparison is yet another aspect of human psychology that Defendants intentionally manipulate
12     through the design of their platforms and features to maximize “user engagement” and, in turn,
13     profits. For children and teens, this has significant public health consequences. As the U.S. Surgeon
14     General has warned, “[s]ocial comparison driven by social media is associated with body
15     dissatisfaction, disordered eating, and depressive symptoms.”75 This also has significant
16     consequences for the Local Government and School District Plaintiffs in the form of increased
17     expenditures of financial and human resources to combat the youth mental health crisis.
18             88.    The health consequences of Defendants’ conduct are no surprise. Since the early
19     2000s, studies have shown that frequent upward social comparison results in lower self-esteem and

20     reduced overall mental health.76

21             89.    Social media-induced social comparison often results in a discrepancy between the

22
   74
      Fulton Crews et al., Adolescent cortical development: A critical period of vulnerability for
23 addiction, 86 Pharmacology, Biochemistry and Behavior 189-99 (Feb. 2007),

24 https://www.sciencedirect.com/science/article/pii/S009130570600400X.
      75
           United States Surgeon General advisory “Social Media and Youth Mental Health” May 2023.
25
      76
     Claire Midgley, When Every Day is a High School Reunion: Social Media Comparisons and Self-
26 Esteem (2020), https://www.researchgat
   e.net/publication/342490065_When_Every_Day_is_a_High_School_Reunion
27 Social_Media_Comparisons_and_Self-Esteem.

28                                                    28
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23    Page 34 of 325




 1     idealized self and the real self, evoking a sense of depression, deprivation, and distress. This is

 2     further exacerbated by Defendants’ use of physical-augmentation technology, which allows users

 3     to utilize photo and video filters to remove blemishes, make their faces appear thinner, and lighten

 4     skin tone—all to make themselves appear more “attractive.” Appearance-altering filters are widely

 5     used across Defendants’ platforms. Especially in combination with the platforms’ general-feed

 6     algorithm, these filters cause users to make false comparisons between their real-life appearances

 7     and the appearances in the feed. These features also cause users to make negative comparisons

 8     between their appearance with a filter and without one. As alleged below, whistleblower documents

 9     show that Meta has long been aware of the harm these features can cause.

10           90.     Put more succinctly, Defendants’ platforms are highly addictive because Defendants
11     intended them to be so.
12                   3.     Defendants’ automated recommendation systems fuel addictive use by
                            children.
13
             91.     Key to Defendants’ implementation of the psychological principles described above
14
       is their use of content-agnostic automated recommender systems, which measure and exploit data
15
       about every aspect of a users’ interaction with their platforms—from click patterns to location to
16
       social networks—to maximize the amount of time users spend on Defendants’ platforms. By
17
       weaponizing user interaction to fuel Defendants’ attention farming, these systems driving
18
       compulsive use by children.
19
             92.     Crucially, these aspects of Defendants’ recommended systems do not consider the
20
       substantive information conveyed by the posts, and Plaintiffs do not challenge the portions of
21
       Defendants’ algorithms and recommendation systems that do consider the informational content of
22
       specific posts.
23
             93.     Meta, for example, explains that “[w]e combine predictions of different events using
24
       an arithmetic formula, called value model, to capture the prominence of different signals in terms
25
       of deciding whether the content is relevant. We use a weighted sum of predictions such as [w_like
26
       * P(Like) + w_save * P(Save) - w_negative_action * P(Negative Action)]. If, for instance, we think
27

28                                                    29
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23     Page 35 of 325




 1     the importance of a person saving a post on Explore is higher than their liking a post, then the weight

 2     for the save action should be higher.”77 At no point does this process examine the information

 3     conveyed by the content.

 4           94.     The following is a subset of the reams of content-agnostic user interaction data that

 5     Defendants collect—tracking users’ actions without considering the substantive information that is

 6     the object of the interactions:

 7                   a.      a user’s demographics;

 8                   b.      what posts a user clicks on;
 9                   c.      how long a user reads or watches a post;
10                   d.      which posts a user hovers their mouse over—and for how long they do so;
11
                     e.      which posts users don’t engage with—i.e., which posts fail to draw attention or
12                           engagement;

13                   f.      what times of day users access the product;

14                   g.      physical location where users access the product;
15                   h.      devices connected to the Wi-Fi networks a user connects through;
16                   i.      length of a video;
17                   j.      time spent viewing a video;
18
                     k.      users’ connections to other users;
19
                     l.      the number of users who viewed a particular post;
20
                     m.      the number of “shares”;
21
                     n.      the number of “saves”; and,
22
                     o.      the number “likes.”
23
             95.     Armed with this content-agnostic user interaction data, Defendants’ machine learning
24

25
      77
26       Powered by AI: Instagram’s Explore recommender system, Meta (Nov. 25, 2019),
      https://ai.meta.com/blog/powered-by-ai-instagrams-explore-recommender-system/.
27

28                                                      30
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23    Page 36 of 325




 1     systems maximize user attention to their platforms, untethered from any consideration of what that

 2     attention is being directed to.

 3           96.     These systems work not on the basis of mechanical, constant rules, but through

 4     complex, dynamic mathematical systems that examine data about users’ interactions with pieces of

 5     content—but not the content itself—to predict how the content is likely to affect a specific users’

 6     engagement by showing them only information that is likely to achieve the endpoint that Defendants

 7     set: maximizing the time users spend on the platform.

 8           97.     To Defendants’ recommendation systems, user posts are data points on a graph, nodes

 9     in a vast web of meticulously cataloged interactions rather than messages being shared.

10           98.     Defendants’ recommendation systems thus resemble sailors who know land is
11     approaching when they see shore birds, or astronomers measuring the light emitted by distant stars.
12     The sailor does not see the land, the astronomer does not see the star, and the algorithm does not
13     consider the actual information conveyed in a post. Rather, each considers associated data—birds,
14     light, and “demographics”—to draw a conclusion: land is near, the age of a star, and the probability
15     that a user is, or is not, maximally engaged on the platform.
16           99.     Indeed, so divorced is the actual information being shared on Defendants’ platforms
17     from Defendants’ unceasing mission to hold users’ attention that, unlike a newspaper editor who
18     can check every story before it goes to print, Defendants must run ex post facto observational studies
19     to have even a basic understanding of the substance of the content—rather than the user interaction

20     statistics that are the north star of both their algorithms and their business strategies more

21     generally—being disseminated on their platforms.

22           100.    Perversely, Defendants’ paramount focus on holding users’ attention above all else

23     frequently results in users being denied the content they are actually interested in.

24           101.    To condition users to keep scrolling, swiping, and refreshing, Defendants’ platforms

25     will hold back rewards (content a user actually wants to find) that might result in them closing out

26     the platform once viewed.

27           102.    The fact that Defendants’ content-agnostic recommendation algorithms are neither

28                                                      31
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23     Page 37 of 325




 1     designed to curate the actual information that is disseminated, nor to provide users information that

 2     they want, is unsurprising given the truth of their business models. Defendants are not in the

 3     business of fostering human connections or helping people further their knowledge. Defendants sell

 4     ads. For them to profit, it doesn’t matter what their users are looking at, only that they are looking—

 5     offering up a captive audience that can be carved up and sold to whichever advertiser is the highest

 6     bidder.

 7                   4.     Defendants designed, developed, produced, operated, promoted,
                            distributed, and marketed their platforms to attract, capture, and addict
 8                          youth, with minimal parental oversight.
 9           103.    Defendants’ products share a set of core features that are engineered to induce
10     compulsive use by young people.78
11           104.    First, Defendants failed to provide features such as robust age verification, effective
12     parental controls, and effective parental notifications. The lack of effective (and, in some cases
13     legally-mandated) age-based controls harmed the Local Government and School District Plaintiffs
14     by contributing to the social media addiction epidemic among the children in their school districts
15     and communities, and by introducing or exponentially increasing the harm of other addictive design
16     features and the corresponding cost of fighting the youth mental health crisis.
17           105.    Second, Defendants’ design features failed to reasonably protect child users by failing
18     to place default limits on the length and frequency of user sessions; utilize opt-in restrictions as
19     opposed to opt-out restrictions on the length and frequency of sessions; provide self-limiting tools;
20     provide blocks to use at certain times of day for minor users such as during school hours; and
21     provide a deactivation and deletion process free from unnecessary barriers.
22           106.    Third, Defendants caused harm to minors by utilizing addictive design features that
23

24    78
      See Kevin Hurler, For Sites Like Instagram and Twitter, Imitation Is the Only Form of Flattery,
25 Gizmodo (Aug. 16, 2022), https://gizmodo.com/instagram-tiktok-snapchat-facebook-meta-
   1849395419 (“Over the last decade, some of the most popular social media apps have blatantly
26 ripped off features from some of the other most popular social media apps, in a tech version of
   Capture the Flag where the only losers are the users who are forced to persist through this cat- and-
27 mouse game.”).

28                                                     32
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23     Page 38 of 325




 1     weaponized user data and preyed on adolescent minds such as endless scroll on users’ feeds;

 2     algorithms that paired intermittent variable rewards (or “IVR”) to user-specific data; strategically

 3     timing and clustering notifications to lure users back to Defendants’ platforms; and otherwise

 4     sending psychologically manipulative notifications and communications to keep minors hooked.

 5           107.     Fourth, Defendants failed to protect children and help limit and prevent child sexual

 6     exploitation, sextortion, and distribution of known Child Sexual Assault Material (“CSAM”) by

 7     failing to implement certain design features that prioritize children’s safety. These features include:

 8     using the freely available and industry-proven child protection Application Programming Interface

 9     (“API”) tools such as Project Arachnid Shield to help limit and prevent child sexual exploitation,

10     sextortion, and distribution of known CSAM through their platforms; using reporting protocols to
11     allow users or visitors to Defendants’ platforms to report CSAM and adult predator accounts without
12     the need to create or log in to the platforms prior to reporting; using the legal definition of CSAM
13     under 18 U.S.C. § 2256(8) and related case law when scanning for CSAM using tools such as
14     PhotoDNA and CSAI to prevent underreporting of known CSAM; prioritizing “tolerance” rather
15     than “efficiency” and “distinctness” of the detection model when using scanning tools such as
16     PhotoDNA and CSAI to prevent underreporting of known CSAM; implementing client-side
17     scanning and hashing and/or secure enclaves in the direct messaging features of Meta’s, Snap’s, and
18     ByteDance’s platforms, to prevent underreporting of known CSAM; implementing proactive
19     detection measures to scan for known CSAM within all Defendants’ social media platforms and

20     remove it; limiting or eliminating the use of geolocating for minors; and eliminating features that

21     recommend minor accounts to adult strangers. These actions by Defendants have foreseeably led to

22     individuals committing crimes, a foreseeable consequence of which is school districts and local

23     governments having to expend financial and human resources to combat these crimes and/or assist

24     the victims.

25           108.     Fifth, Defendants knowingly implemented filters that promote negative social

26     comparison. These filters—especially without any demarcation that a filter is in place—both fuel

27     children’s addiction to the Defendants’ platforms and heighten the mental health toll on children in

28                                                     33
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504          Filed 12/18/23    Page 39 of 325




 1     Plaintiffs’ schools and communities.

 2           109.    Sixth, Defendants caused harm to Plaintiffs by knowingly implementing dangerous

 3     platform features that promote viral challenges through financial and social rewards, which result

 4     in property damage and trauma to children in Plaintiffs’ schools and communities.

 5           110.    All of these features worked together and individually to addict young users to social

 6     media and to create the youth mental health crisis these Plaintiffs are fighting today.

 7           111.    For example, Defendants’ platforms are designed and engineered to methodically, but

 8     unpredictably, space out dopamine-triggering rewards with dopamine gaps. Unpredictability is key

 9     because, paradoxically, IVR creates stronger associations (conditioned changes in the neural

10     pathway) than fixed rewards. Platforms that use this technique are highly addictive or habit-forming.
11     IVR is based on insights from behavioral science dating back to research in the 1950s by Harvard
12     psychologist B. F. Skinner. Skinner found that laboratory mice respond most voraciously to
13     unpredictable rewards. In one famous experiment, mice that pushed a lever received a variable
14     reward (a small treat, a large treat, or no treat at all). Compared with mice who received the same
15     treatment every time, the mice who received only occasional rewards were more likely to exhibit
16     addictive behaviors such as pressing the lever compulsively. This exploitation of neural circuitry is
17     precisely how addictive platforms like slot machines keep users coming back.
18           112.    Slot machines are a pertinent example of how IVR works in an addictive product to
19     keep users coming back.79 Users pull a lever to win a prize and with each pull, the user may or may

20     not win a prize (i.e., an intermittent reward that varies in value).

21           113.    The IVR aspect of slot machines is limited by the fact that they deliver rewards in a

22     randomized manner, irrespective of the person pulling the lever. By contrast, Defendants’ platforms

23     are designed to purposely withhold and release rewards on a schedule its algorithms have

24     determined is optimal to heighten a specific user’s craving and keep them using the platform.

25

26    79
        See, e.g., Julian Morgans, The Secret Ways Social Media is Built for Addiction, Vice (May 17,
      2017), https://www.vice.com/en/article/vv5jkb/the-secret-ways-social-media-is-built-for-addiction.
27

28                                                      34
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504           Filed 12/18/23    Page 40 of 325




 1     Defendants incorporate IVR into the design and operation of their respective platforms in various

 2     ways by “link[ing] a user’s action (like pulling a lever) with a variable reward.”80 For example,

 3     when “we swipe down our finger to scroll the Instagram feed, we’re playing a slot machine to see

 4     what photo comes next.”81 Meta also times and clusters notifications to delay gratifications and

 5     thereby build user anticipation. Without that delay, there would be no time for users’ anticipation

 6     and craving to build. In slot machine terms, there would be “no sense of will I win?” because the

 7     user would know instantly.”82

 8               114.   Former Google CEO Schmidt and psychologist Haidt also compared the manipulative

 9     design of social media platforms to a slot machine: “[T]hink of a slot machine, a contraption that

10     employs dozens of psychological tricks to maximize its addictive power. Next, imagine … if they
11     could create a new slot machine for each person, tailored in its visuals, soundtrack, and payout
12     matrices to that person’s interests and weaknesses. That’s essentially what social media already
13     does, using algorithms and AI[.]”83
14               115.   As further described below, each of Defendants’ platforms exploits this psychological
15     reaction among its users, typically using “Likes,” “Hearts,” or other forms of approval that serve as
16     the reward and are purposefully delivered in a way to create stronger associations and maximize
17     addiction. For example, Instagram’s notification algorithm will at times determine that a particular
18     user’s engagement will be maximized if the app withholds “Likes” on their posts and then later
19     delivers them in a large burst of notifications.

20               116.   Defendants’ use of IVR is particularly effective and dangerous for adolescents, given

21
      80
22    Von Tristan Harris, The Slot Machine in Your Pocket, Spiegel Int’l (July 27, 2016),
   https://www.spiegel.de/international/zeitgeist/smartphone-addiction-is-part-of-the-design-a-
23 1104237.html.
      81
24         Id.
      82
           Id.
25
      83
     Jonathan Haidt and Eric Schmidt, AI is about to make social media (much) more toxic, The
26 Atlantic (May 5, 2023), https://www.theatlantic.com/technology/archive/2023/05/generative-ai-
   social-media-integration-dangers-disinformation-addiction/673940/.
27

28                                                        35
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504         Filed 12/18/23    Page 41 of 325




 1     that their brains have not completely matured and the tools that would allow them to moderate their

 2     use of Defendants’ apps—impulse control and executive function—are still under development.

 3               117.   Defendants’ platforms also manipulate young users through their exploitation of

 4     “reciprocity”—the psychological phenomenon by which people respond to positive or hostile

 5     actions in kind. Reciprocity means that people respond in a friendly manner to friendly actions, and

 6     with negative retaliation to hostile actions.84 In the 1970s, sociologists Phillip Kunz and Michael

 7     Woolcott famously illustrated the powerful effect of reciprocity through an experiment using

 8     holiday cards. They sent cards to a group of complete strangers, and included a return address

 9     indicating that they were from either “Dr. and Mrs. Kunz” or “Phil and Joyce.”85 People whom

10     Kunz had never met before reciprocated, flooding him with holiday cards in return, some even
11     including handwritten notes and pictures of their families.86 Most of the responses did not even ask
12     who “Dr. Kunz” was—they simply responded to his initial gesture with a reciprocal action.87
13               118.   Platforms such as Instagram and Snapchat exploit reciprocity by, for example,
14     automatically telling the sender, via an image attached to a post, when their message is seen, instead
15     of letting the recipient avoid disclosing whether it was viewed. Consequently, the recipient feels
16     more obligated to respond immediately, keeping users on the product.88 Similarly, alerts and
17     notifications of delivered messages or comments compel the recipient to return to the platform to
18     respond.
19
      84
20    Ernst Fehr & Simon Gächter, Fairness and Retaliation: The Economics of Reciprocity, 14(3) J.
   Econ. Persps. 159-81 (2000),
21 https://www.researchgate.net/publication/23756527_Fairness_and_Retaliation_The_Economics_of
   Reciprocity.
22
   85
      Phillip R. Kunz & Michael Woolcott, Season’s Greetings: From my status to yours, 5(3) Soc.
23 Sci. Rsch. 269-78 (Sept. 1976), https://doi.org/10.1016/0049-089X(76)90003-X.
      86
24         Id.
      87
           Id.
25
      88
      Von Tristan Harris, The Slot Machine in Your Pocket, Spiegel Int’l (July 27, 2016),
26 https://www.spiegel.de/international/zeitgeist/smartphone-addiction-is-part-of-the-design-a-
   1104237.html.
27

28                                                     36
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23    Page 42 of 325




 1               119.   Defendants’ platforms and design features addict young users by preying on their

 2     already heightened need for social comparison and interpersonal feedback-seeking.89 Because of

 3     their developmental stage, adolescents are primed to focus on social status, social comparisons, and

 4     a desire for social validation.90 Defendants’ platforms encourage repetitive usage by dramatically

 5     amplifying those insecurities.

 6               120.   Professor Prinstein has explained that online and real-world interactions are

 7     fundamentally different.91 For example, in the real world, no public ledger tallies the number of

 8     consecutive days friends speak. Similarly, “[a]fter you walk away from a regular conversation, you

 9     don’t know if the other person liked it, or if anyone else liked it.”92 By contrast, a design like the

10     “Snap Streak” creates exactly such artificial forms of feedback.93 On Defendants’ platforms, friends
11     and even complete strangers can publicly deliver (or withhold) dopamine-laced likes, comments,
12     views, and follows.94
13               121.   The “Like” feature on Facebook, Instagram, TikTok, and YouTube, and other
14     comparable features common to Defendants’ platforms has an especially powerful effect on
15     teenagers and can neurologically alter their perception of online posts. Researchers at UCLA used
16
      89
17    Jacqueline Nesi & Mitchell J Prinstein, Using Social Media for Social Comparison and
   Feedback-Seeking: Gender and Popularity Moderate Associations with Depressive Symptoms, 43 J.
18 Abnormal Child Psych. 1427-38 (2015), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5985443/.
   90
      Susan Harter, The Construction of the Self: Developmental and Sociocultural Foundations
19
   (Guilford Press, 2d ed., 2012) (explaining how, as adolescents move toward developing cohesive
20 self-identities, they typically engage in greater levels of social comparison and interpersonal
   feedback-seeking).
21 91
      Zara Abrams, Why young brains are especially vulnerable to social media, Am. Psych. Ass’n
22 (Aug. 25, 2022), https://www.apa.org/news/apa/2022/social-media-children-teens.
      92
           Id.
23
      93
     A “Snap Streak” is designed to measure a user’s Snapchat activity with another user. Two users
24 achieve a “Snap Streak” when they exchange at least one Snap in three consecutive 24-hour
   periods. When successively longer “Streaks” are achieved, users are rewarded with varying tiers of
25 emojis. See infra paras. 606-612.

26    94
        Zara Abrams, Why young brains are especially vulnerable to social media, Am. Psych. Ass’n
      (Aug. 25, 2022), https://www.apa.org/news/apa/2022/social-media-children-teens.
27

28                                                     37
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504         Filed 12/18/23    Page 43 of 325




 1     magnetic resonance imaging to study the brains of teenagers as they used a program simulating

 2     Instagram. They found that the teens’ perceptions of a photo changed depending on the number of

 3     likes it had generated.95 That an image was highly liked—regardless of its content—instinctively

 4     caused the girls to prefer it. As the researchers put it, teens react to perceived “endorsements,”

 5     regardless of whether they know the source.96

 6               122.   Other features of Defendants’ platforms also amplify the heightened awareness of

 7     status and appearance that is part of adolescence. Built into Defendants’ platforms are appearance-

 8     altering filters, which underscore conventional (and often racially biased) standards of beauty, by

 9     allowing users to remove blemishes, make bodies and faces appear thinner, and lighten skin tone.

10     Those features contribute to a harmful body image among adolescents, who begin to negatively
11     perceive their own appearance and believe their bodies, and indeed their lives, to be comparatively
12     worse.97
13               123.   Defendants’ respective platform features work in combination to create and maintain
14     a user’s “flow-like state”: a hyper-focused, hypnotic state, where bodily movements are reflexive,
15     and the user is totally immersed in smoothly rotating through aspects of the social media platform.98
16     This experience of “flow,” as psychologists describe it, “fully immerse[s]” users, distorts their
17

18
      95
19    Lauren E. Sherman et al., The Power of the Like in Adolescence: Effects of Peer Influence on
   Neural and Behavioral Responses to Social Media, 27(7) Psychol Sci. 1027 (2016),
20 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5387999/.
      96
21         Id.
      97
22   Id.; See also Nino Gugushvili et al., Facebook use intensity and depressive symptoms: a
   moderated mediation model of problematic Facebook use, age, neuroticism, and extraversion at 3,
23 BMC Psych. 10, 279 (2022), https://doi.org/10.1186/s40359-022-00990-7 (explaining that youth
   are particularly vulnerable because they “use social networking sites for construing their identity,
24 developing a sense of belonging, and for comparison with others”).
      98
25    See, e.g., What Makes TikTok so Addictive?: An Analysis of the Mechanisms Underlying the
   World’s Latest Social Media Craze, Brown Undergraduate J. of Pub. Health (Dec. 13, 2021),
26 https://sites.brown.edu/publichealthjournal/2021/12/13/tiktok/ (describing how IVR and infinite
   scrolling may induce a flow state in users).
27

28                                                      38
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23    Page 44 of 325




 1     perception of time, and is associated with excessive use of social media sites.99

 2           124.    As discussed in more detail below, features like the ones just described can cause or

 3     contribute to the following injuries in young people: eating and feeding disorders; depressive

 4     disorders; anxiety disorders; sleep disorders; trauma- and stressor-related disorders; obsessive-

 5     compulsive and related disorders; disruptive, impulse-control, and conduct disorders; suicidal

 6     ideation; self-harm; and suicide.100

 7           125.    As a result, the Local Government and School District Plaintiffs have been forced to

 8     expend significant resources addressing the mental health and behavior of impacted young people

 9     and providing education and support to young people, staff, parents, and Plaintiffs’ communities.

10                   5.      Defendants’ illegally harvest children’s data.

11           126.    Defendants’ exploitation of and harm to children has been driven by their illegal
12     collection of children’s data.
13           127.    Recognizing the vulnerability of children under 13, particularly in the Internet Age,
14     Congress enacted the Children’s Online Privacy Protection Act (“COPPA”) in 1999.101 COPPA
15     regulates the conditions under which Defendants can collect, use, or disclose the personal
16     information of children under 13. Under COPPA, developers of platforms and websites that are
17     directed to or known to be used by children under 13 cannot lawfully obtain the individually
18     identifiable information of such children without first obtaining verifiable consent from their
19     parents.102
20
      99
21    Nino Gugushvili et al., Facebook use intensity and depressive symptoms: a moderated mediation
   model of problematic Facebook use, age, neuroticism, and extraversion at 3, BMC Psych. 10, 279
22 (Nov. 28, 2022). See, e.g., What Makes TikTok so Addictive?: An Analysis of the Mechanisms
   Underlying the World’s Latest Social Media Craze, Brown Undergraduate J. of Pub. Health (2021),
23
   https://sites.brown.edu/publichealthjournal/2021/12/13/tiktok/ (describing how IVR and infinite
24 scrolling  may induce a flow state in users).
   100
       Id. (collecting sources).
25
   101
       See 15 U.S.C. §§ 6501-6506.
26 102
       The FTC recently clarified that acceptable methods for obtaining verifiable parental consent
27 include: (a) providing a form for parents to sign and return; (b) requiring the use of a credit/card

28                                                     39
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504          Filed 12/18/23    Page 45 of 325




 1                128.   As a June 1998 report by the FTC observed, “[t]he immediacy and ease with which

 2     personal information can be collected from children online, combined with the limited capacity of

 3     children to understand fully the potentially serious safety and privacy implications of providing that

 4     information, have created deep concerns about current information practices involving children

 5     online.”103 The same report observed that children under the age of 13 “generally lack the

 6     developmental capacity and judgment to give meaningful consent to the release of personal

 7     information to a third party.”104

 8                129.   Contemporaneous testimony by the Chairman of the FTC further observed that the

 9     Internet “make[s] it easy for children to disclose their personal information to the general public

10     without their parents’ awareness or consent. Such public disclosures raise safety concerns.”105
11     Further, “the practice of collecting personal identifying information directly from children without
12     parental consent is clearly troubling, since it teaches children to reveal their personal information to
13     strangers and circumvents parental control over their family’s information.”106
14                130.   But heedless of these risks, and the black letter requirements of COPPA, no Defendant
15     conducts proper age verification or authentication. Instead, each Defendant relies on users to self-
16     report their age. This facially inadequate system allows children under 13 to easily create accounts
17     on Defendants’ platforms.
18                131.   Defendants have long been on notice of the defects in this system. For instance, in
19

20 online payment that provides notification of each transaction; (c) connecting to trained personnel
   via video conference; (d) calling a staffed toll-free number; (e) asking knowledge-based questions;
21 or (f) verifying a photo-ID from the parent compared to a second photo using facial recognition
   technology. Complying with COPPA: Frequently Asked Questions, FTC (July 2020),
22 https://www.ftc.gov/business-guidance/resources/complying-coppa- frequently-asked-questions.
      103
23          Privacy Online: A Report to Congress, Federal Trade Commission (1998) at 5.
      104
24          Id.
   105
       S. 2326, Children’s Online Privacy Protection Act of 1998: Hearing Before the U.S. Sen.
25 Subcom. On Communications, Comm. On Commerce, Science, and Transportation, 105th Cong. 11

26 (1998) (statement of Robert Pitofsky, Chairman, Federal Trade Commission).
      106
            Id.
27

28                                                        40
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504         Filed 12/18/23    Page 46 of 325




 1     May 2011, Consumer Reports reported the “troubling news” that 7.5 million children under 13 were

 2     on Facebook.107

 3           132.      Given that Defendants have developed and utilized age-estimation algorithms for the

 4     purpose of selling user data and targeted advertisements, Defendants could readily use these

 5     algorithms to prevent children under 13 from accessing their platforms.

 6           133.      But doing so would imperil Defendants’ ability to profit from children—the exact

 7     business strategy that COPPA was enacted to prevent. So they have instead chosen to be willfully

 8     blind to the deep inadequacies of their age verification systems and the rampant use of their products

 9     by children under 13.

10                     6.     Defendants’ Conduct has created a youth mental health crisis.

11           134.      The result of Defendants' destructive design choices has been a crisis in children’s
12     mental health.
13           135.      Nearly a decade of scientific and medical studies demonstrate that dangerous features
14     engineered into Defendants’ platforms—particularly when used multiple hours a day—can have a
15     “detrimental effect on the psychological health of [their] users,” including compulsive use,
16     addiction, body dissatisfaction, anxiety, depression, and self-harming behaviors such as eating
17     disorders.108
18           136.      Defendants’ platforms employ features that are designed for ease of access, rewards
19     and reinforcement, gamification, escapism, and lack of regulation.109 These features cause online
20
      107
21       Emily Bazelon, Why Facebook is After Your Kids, N.Y. Times (Oct. 12, 2011),
      https://www.nytimes.com/2011/10/16/magazine/why-facebook-is-after-your-kids.html.
22    108
      See, e.g., Fazida Karim et al., Social Media Use and Its Connection to Mental Health: A
23 Systemic Review, Cureus Volume 12(6) (June 15, 2020),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7364393/; Alexandra R. Lonergan et al., Protect
24 me from my selfie: Examining the association between photo-based social media behaviors and
   self-reported eating disorders in adolescence, Int. J. of Eating Disorders 756 (Apr. 7, 2020),
25 https://onlinelibrary.wiley.com/doi/epdf/10.1002/eat.23256.

26    109
         Puruesh Chaudhary, A Slow Scroll Into Addiction, Aurora Dawn, (Sept. 4, 2023)
      https://aurora.dawn.com/news/1144883.
27

28                                                     41
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504         Filed 12/18/23    Page 47 of 325




 1     social media experiences to become addictive such that adolescents experience depression, anxiety,

 2     loneliness, and lower self-esteem and life satisfaction.110

 3                137.   Addiction and compulsive use of Defendants’ platforms can entail a variety of

 4     behavioral problems, including but not limited to: (1) a lessening of control, (2) persistent,

 5     compulsive seeking out of access to the platform, (3) using the platform more, and for longer, than

 6     intended, (4) trying to cut down on use but being unable to do so, (5) experiencing intense cravings

 7     or urges to use the platform, (6) tolerance (needing more of the platform to achieve the same desired

 8     effect), (7) developing withdrawal symptoms when not using the platform, or when the platform is

 9     taken away, (8) neglecting responsibilities at home, work, or school because of the intensity of

10     usage, (9) continuing to use the platform even when doing so interferes and causes problems with
11     important family and social relationships, (10) giving up important or desirable social and
12     recreational activities due to use, and (11) continuing to use despite the platform causing significant
13     harm to the user’s physical and mental health.
14                138.   Each Defendant has long been aware of research connecting use of their platforms
15     with harm to its users’ wellbeing, but chose to ignore or brush it off.111 For example, in 2018, Meta
16     employees mocked it as “BS . . . pseudo science,” [sic] and “a bunch of people trying to get air
17     time.”112 Yet, as discussed at length below, Defendants conducted much of this research
18     themselves—and then hid their unfavorable findings from the public.113
19
      110
20          Id.
   111
       In August 2019, a social psychologist, and leading expert on the effects that technology devices
21 have on the mental health of their users, wrote to Mr. Zuckerberg ahead of a meeting to note that a

22 new study “point[ed] heavily to a connection, not just from correlational studies but from true
   experiments, which strongly indicate[d] causation, not just correlation” between Meta’s platforms
23 and harms to users’ wellbeing. META3047MDL-003-00089107 at META3047MDL-003-
   00089108. In some cases, Meta was not only aware of research connecting its platforms to
24 detrimental effects but actively sought to undermine that research. See META3047MDL-003-
   00082165 at META3047MDL-003-00082165 (discussing methods to undermine research on
25 addiction to apps).

26    112
            META3047MDL-003-00082165.
      113
27          See, e.g., Haugen_00016373 at Haugen_00016381 (“The best external research indicates that

28                                                      42
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504         Filed 12/18/23    Page 48 of 325




 1                139.   Scientists have studied the impacts of the overuse of social media since at least 2008,

 2     with social media addiction recognized in literature around that time after a pervasive upsurge in

 3     Facebook use. The Bergen Social Media Addiction Scale assesses social media addiction along six

 4     core elements: 1) salience (preoccupation with the activity), 2) mood modification (the behavior

 5     alters the emotional state), 3) tolerance (increasing activity is needed for the same mood-altering

 6     effects), 4) withdrawal (physical or psychological discomfort when the behavior is discontinued),

 7     5) conflict (ceasing other activities or social interaction to perform the behavior), and 6) relapse

 8     (resuming the behavior after attempting to control or discontinue it).114

 9                140.   Social media addiction is more prevalent among younger age groups.115 Researchers

10     note that such “high prevalence in adolescence unveils the need to allocate more public resources
11     on mental health services to prevent or treat social media addiction in this high-risk group.”116
12                141.   Beginning in at least 2014, researchers began demonstrating that addictive and
13     compulsive use of Defendants’ platforms leads to negative mental and physical outcomes for kids.
14                142.   Subsequent literature has shown that social media addiction causes a wide range of
15     negative effects. These negative effects generally fall into four categories, as further discussed
16

17

18
   Facebook’s impact on people’s well-being is negative.”); Haugen_00016373 at Haugen_00016414
19 (Mar. 9, 2020 presentation stating “All problematic users were experiencing multiple life impacts,”
   including loss of productivity, sleep disruption, relationship impacts, and safety risks);
20 Haugen_00005458 at Haugen_00005500 (Sept. 18, 2019 presentation containing a slide stating
   “But, We Make Body Image Issues Worse for 1 in 3 Teen Girls”).
21
   114
       Cecilie Andreassen et al., The relationship between addictive use of social media and video
22 games and symptoms of psychiatric disorders: a large-scale cross-sectional study, 30(2) Psychol.
   of Addictive Behav., 252-62 (2016), http://dx.doi.org/10.1037/adb0000160.
23
   115
       See Cecilia Cheng et al, Prevalence of Social Media Addiction Across 32 Nations: Meta-analysis
24 with Subgroup Analysis of Classification Schemes and Cultural Values, Addictive Behaviors 117
   (2023), https://doi.org/10.1016/j.addbeh.2021.106845; Lucia Monacis, Exploring Individual
25 Differences in Online Addictions: The Role of Identity and Attachment, International Journal of

26 Mental Health and Addiction 15, 853-868 (2017).
      116
            Id.
27

28                                                        43
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23    Page 49 of 325




 1     below: (1) emotional; (2) relational; (3) health-related; and (4) performance problems.117

 2           143.   In 2014, a study of 10- to 12-year-old girls found that increased use of Facebook was

 3     linked with body image concerns, the idealization of thinness, and increased dieting.118 This study

 4     was sent to Mark Zuckerberg in 2018, in a letter signed by 118 public health advocates.119

 5           144.   In 2016, a study demonstrated that young people who frequently use Defendants’

 6     platforms are more likely to suffer sleep disturbances than their peers who use them infrequently.120

 7     Defendants’ platforms, fueled by recommendation systems that rely on content-agnostic user

 8     interaction data deprive users of sleep by using a variety of design features that prompt children to

 9     re-engage with the platforms when they should be sleeping. Disturbed and insufficient sleep is

10     associated with poor health outcomes,121 including increased risk of major depression—by a factor
11

12

13

14

15    117
       Andreassen, C. S., Online Social Network Site Addiction: A Comprehensive Review, Current
16 Addiction Reports, 2, 175–184 at 179 (2015), https://doi.org/10.1007/s40429-015-0056-9.
   118
       Marika Tiggemann & Amy Slater, NetTweens: The Internet and body image concerns in
17
   preteenage girls, 34(5), J. Early Adolesc. 606-20 (June 2014),
18 https://journals.sagepub.com/doi/epub/10.1177/0272431613501083.
   119
       Campaign for a Commercial-Free Childhood, Letter to Mark Zuckerberg Re: Facebook
19 Messenger Kids (Jan. 30, 2018), https://fairplayforkids.org/wp-content/uploads/archive/devel-

20 generate/gaw/FBMessengerKids.pdf..
   120
       Jessica C. Levenson et al., The Association Between Social Media Use and Sleep Disturbance
21 Among Young Adults, 85 Preventive Med. 36-41 (Apr. 2016),

22 https://www.sciencedirect.com/science/article/abs/pii/S0091743516000025.
   121
       Jessica C. Levenson et al., The Association Between Social Media Use and Sleep Disturbance
23 Among Young Adults, 85 Preventive Med. 36–41 (Apr. 2016), https://www.sciencedirect.com

24 /science/article/abs/pii/S0091743516000025; National Institute of Mental Health. 2016. The teen
   brain: 6 things to know, https://www.nimh.nih.gov/health/publications/the-teen-brain-still-under-
25 construction/index.shtml.; R. Sather& A. Shelat, Understanding the teen brain, Univ. of Rochester
   Med. Ctr.,
26 https://www.urmc.rochester.edu/encyclopedia/content.aspx?ContentTypeID=1&ContentID=3051
   (last visited Dec. 12, 2023).
27

28                                                    44
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504             Filed 12/18/23    Page 50 of 325




 1     of more than three122—and future suicidal behavior in adolescents.123 The American Academy of

 2     Sleep Medicine has recommended that, in a 24-hour period, children aged 6-12 years should

 3     regularly sleep 9-12 hours and teenagers aged 13-18 years should sleep 8-10 hours.124 Yet studies

 4     show that young children are losing approximately one night’s worth of sleep every week, staying

 5     up to use social media or even waking themselves up in the middle of the night to check

 6     notifications, driven by fear of missing out.125

 7           145.    High numbers of teens also self-report their experiences with the negative

 8     consequences of extended social media use on their sleep. In a 2023 survey, 41% of teenage girls

 9     who use TikTok said it interferes with their sleep at least weekly, with 24% saying it interferes with

10     their sleep daily.126 Similarly, 28% of teenage girls who use YouTube said it interferes with their
11     sleep at least weekly; the same is true for 29% of teenage girls who use Instagram and 31% of
12     teenage girls who use Snapchat.127
13           146.    In another 2016 study, 52% of girls said they use image filters every day, and 80%
14     reported using an app to change their appearance before the age of 13.128 In fact, 77% of girls
15

16    122
       E. Roberts & H Doung, The Prospective Association between Sleep Deprivation and Depression
17 among Adolescents Sleep, Volume 37, Issue 2, 1 Feb. 2014.
   123
       X. Liu, D. Buysse, Sleep and youth suicidal behavior: a neglected field, Current Opinion in
18 Psychiatry (May 2006).
      124
19    S. Paruthi, L. Brooks, C. D’Ambrosio, et al, Consensus statement of the American Academy of
   Sleep Medicine on the recommended amount of sleep for healthy children: methodology and
20 discussion, 12 J Clin Sleep Med 1549–61 (2016).
      125
21    Beatrice Nolan, Kids are waking up in the night to check their notifications and are losing about
   1 night’s worth of sleep a week, study suggests, Bus. Insider (Sept. 19, 2022),
22 https://www.businessinsider.com/social-media-costing-children-one-night-sleep-study-2022-9.
      126
23     Jacqueline Nesi et al, Teens and Mental Health: How Girls Really Feel about Social Media at
   26, Common Sense Media (2023),
24 https://www.commonsensemedia.org/sites/default/files/research/report/how-girls-really-feel-about-
   social-media-researchreport_web_final_2.pdf.
25
   127
       Id.
26 128
       Anna Haines, From “Instagram Face” to “Snapchat Dysmorphia”: How Beauty Filters Are
27 Changing the Way We See Ourselves, Forbes (Apr. 27, 2021),

28                                                        45
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504         Filed 12/18/23    Page 51 of 325




 1     reported trying to change or hide at least one part of their body before posting a photo of themselves,

 2     and 50% believe they did not look good enough without editing.129

 3                147.   In 2017, British researchers asked 1,500 teens to rate how Instagram, Snapchat, and

 4     YouTube affected them on certain well-being measures, including anxiety, loneliness, body image,

 5     and sleep.130 Teens rated all three platforms as having a negative impact on body image, “FOMO”

 6     (fear of missing out), and sleep. Teens also noted that Instagram and Snapchat had a negative impact

 7     on anxiety, depression, and loneliness.

 8                148.   In 2018, a Journal of Social and Clinical Psychology study examined a group of

 9     college students whose use of Instagram, Facebook, and Snapchat was limited to 10 minutes per

10     day per platform. The study found that this limited-use group showed “significant reductions in
11     loneliness and depression over three weeks” compared to a control group that used social media as
12     usual.131
13                149.   Similarly, in another 2018 study of 40,000 children and adolescents ages 2–17,
14     children and adolescents who spent more time using screen media were “lower in psychological
15     well-being than low users.”132 Further, users with high screen time were “significantly more likely
16     to display poor emotion regulation (not staying calm, arguing too much, being difficult to get along
17
   https://www.forbes.com/sites/annahaines/2021/04/27/from-instagram-face-to-snapchat-dysmorphia-
18 how-beauty-filters-are-changing-the-way-we-see-ourselves/?sh=3c32eb144eff.
      129
19          Id.
      130
20    Royal Society for Public Health, #StatusOfMind,
   https://www.rsph.org.uk/static/uploaded/d125b27c-0b62-41c5-a2c0155a8887cd01.pdf, (last visited
21 Dec. 12, 2023); see also Jonathan Haidt, The Dangerous Experiment on Teen Girls, The Atlantic
   (Nov. 21, 2021), https://www.theatlantic.com/ideas/archive/2021/11/facebooks-dangerous-
22 experiment-teen-girls/62077/.
      131
23    Melissa G. Hunt et al., No More FOMO: Limiting Social Media Decreases Loneliness and
   Depression, 37 J. of Social & Clinical Psych. (Dec. 5, 2018),
24 https://guilfordjournals.com/doi/epdf/10.1521/jscp.2018.37.10.751.
      132
25    Jean M. Twenge & W. Keith Campbell, Associations between screen time and lower
   psychological well-being among children and adolescents: Evidence from a population-based
26 study, 12 Prev. Med. Rep. 271-83 (2018),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6214874/.
27

28                                                       46
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504         Filed 12/18/23    Page 52 of 325




 1     with), an inability to finish tasks, lower curiosity, and more difficulty making friends.”133 And

 2     among adolescents, high screentime users were twice as likely to receive a diagnosis of depression

 3     or anxiety or need treatment for mental or behavioral health problems.134

 4                150.   A 2019 survey of American adolescents ages 12-14 found that a user’s displeasure

 5     with their body could be predicted based on their frequency of using social media (including

 6     Instagram and Facebook) and based on the extent to which they engaged in behaviors that adopt an

 7     observer’s point-of-view (such as taking selfies or asking others to “rate one’s looks”). This effect

 8     was more pronounced among girls than boys.135

 9                151.   Another study in 2019 of more than 6,500 American adolescents ranging in age from

10     12 to 15 years old found that those who used social media for three hours or more per day were
11     more likely to suffer from mental health problems such as anxiety and depression.136 Notably, this
12     association remained significant even after adjusting for demographics, past alcohol and marijuana
13     use, and history of mental health problems, mitigating the possibility of reverse causality.137 This
14     study also showed that “[a]dolescents who engage in high levels of social media use may experience
15     poorer quality sleep” and that increased social media use could be associated with an increased risk
16     of “cyberbullying, which has a strong association with depressive symptoms.” Further, the study
17     noted “negative body image,” “anxiety” and “depression” as connected to social media use.138
18                152.   In 2020, a study of Australian adolescents found that investment in others’ selfies
19

20    133
            Id.
21    134
            Id.
      135
22    Ilyssa Salomon & Christia Spears Brown, The Selfie Generation: Examining the Relationship
   Between Social Media Use and Early Adolescent Body Image, Journal of Early Adolescence (Apr.
23 21, 2018), https://journals.sagepub.com/doi/abs/10.1177/0272431618770809.
      136
24    Kira Riehm et al., Associations between time spent using social media and internalizing and
   externalizing problems among US youth, 76(12) JAMA Psychiatry (2019),
25 https://jamanetwork.com/journals/jamapsychiatry/fullarticle/2749480.
      137
26          Id.
      138
            Id.
27

28                                                       47
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23    Page 53 of 325




 1     (through likes and comments) was associated with greater odds of meeting criteria for

 2     clinical/subclinical bulimia nervosa, clinical/subclinical binge-eating disorder, night eating

 3     syndrome, and unspecified feeding and eating disorders.139

 4           153.   In 2020, a longitudinal study investigated whether “Facebook Addiction Disorder”

 5     predicted suicide-related outcomes and found that children and adolescents addicted to Facebook

 6     are more likely to engage in self-injurious behavior, such as cutting and suicide.140 Other studies

 7     examining the link between these increases found that adolescents who spent more time on screen

 8     activities were significantly more likely to have high depressive symptoms or have at least one

 9     suicide-related outcome, and that the highest levels of depressive symptoms were reported by

10     adolescents with high social media use and fewer in-person social interactions.141
11           154.   One of the primary reasons the use of social media is associated with depressive
12     symptoms among adolescents is because Defendants’ platforms encourage unhealthy social
13     comparison and feedback-seeking behaviors.142 As a result, they are likely to engage in negative
14

15

16    139
       Alexandra R. Lonergan et al., Protect Me from My Selfie: Examining the Association Between
   Photo-Based Social Media Behaviors and Self-Reported Eating Disorders in Adolescence, Int’l J.
17
   of Eating Disorders (Apr. 7, 2020), https://onlinelibrary.wiley.com/doi/epdf/10.1002/eat.23256.
18 140 See, e.g., Julia Brailovskaia et al., Positive mental health mediates the relationship between
   Facebook addiction disorder and suicide-related outcomes: a longitudinal approach, 00(00)
19 Cyberpsychology, Behavior, and Social Networking (2020),

20 https://doi.org/10.1089/cyber.2019.0563; Jean M. Twenge et al., Increases in Depressive
   Symptoms, Suicide-Related Outcomes, and Suicide Rates Among U.S. Adolescents After 2010 and
21 Links to Increased New Media Screen Time, 6 Clinical Psych. Sci. 3–17 (2018).
      141
22     Jean M. Twenge et al., Increases in Depressive Symptoms, Suicide-Related Outcomes, and
   Suicide Rates Among U.S. Adolescents After 2010 and Links to Increased New Media Screen Time,
23 6 Clinical Psych. Sci. 3–17 (2017), https://doi.org/10.1177/2167702617723376; see also Anthony
   Robinson et al, Social comparisons, social media addiction, and social interaction: An examination
24 of specific social media behaviors related to major depressive disorder in a millennial population,
   Journal of Applied Biobehavioral Research (Jan. 8, 2019), https://doi.org/10.1111/jabr.12158.
25
   142
       Jacqueline Nesi & Mitchell J Prinstein, Using Social Media for Social Comparison and
26 Feedback-Seeking: Gender and Popularity Moderate Associations with Depressive Symptoms, 43 J.
   Abnormal Child Psych. 1427-38 (2015), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5985443/.
27

28                                                    48
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504          Filed 12/18/23    Page 54 of 325




 1     comparisons with their peers.143 Specifically, adolescents are likely to engage in harmful upward

 2     comparisons with others they perceive to be more popular.144

 3                155.   In 2020, clinical research demonstrated an observable link between youth social media

 4     use and disordered eating behavior.145 The more time young girls spend using Defendants’

 5     platforms, the more likely they are to develop disordered eating behaviors.146 And the more social

 6     media accounts adolescents have, the more disordered eating behaviors they exhibit.147

 7                156.   Eating disorders often occur simultaneously with other self-harm behaviors such as

 8     cutting and are often associated with suicide.148

 9                157.   A 2022 study of Italian adolescent girls ages 12-17 and young women ages 18-28

10     found that Instagram’s image editing and browsing features, combined with an emphasis on
11     influencer interactions, promulgated unattainable body ideals that caused users to compare their
12     bodies to those ideals.149 These trends were more prominent among adolescent girls, given their
13     higher susceptibility to social pressures related to their bodies and given the physical changes
14     associated with puberty.
15
      143
16    Id.; see also Nino Gugushvili et al., Facebook use intensity and depressive symptoms: a
   moderated mediation model of problematic Facebook use, age, neuroticism, and extraversion at 3,
17 BMC Psych. 10, 279 (2022), https://doi.org/10.1186/s40359-022-00990-7 (explaining that youth
   are particularly vulnerable because they “use social networking sites for construing their identity,
18 developing a sense of belonging, and for comparison with others”).

19    144
            Id.
      145
20    Simon M. Wilksch et al., The relationship between social media use and disordered eating in
   young adolescents, 53 Int’l J. Eating Disorders 96-106 (2020),
21 https://pubmed.ncbi.nlm.nih.gov/31797420/.
      146
22          Id.
      147
            Id.
23
      148
     Sonja Swanson et al., Prevalence and correlates of eating disorders in adolescents, 68(7) Arch
24 Gen Psychiatry 717-23 (2011), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5546800/.
      149
25    Federica Pedalino and Anne-Linda Camerini, Instagram use and body dissatisfaction: The
   mediating role of upward social comparison with peers and influencers among young females,
26 19(3) Int’l J of Environmental Research and Public Health 1543 (2022),
   https://www.mdpi.com/1660-4601/19/3/1543.
27

28                                                        49
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504          Filed 12/18/23    Page 55 of 325




 1          158.    In 2023, a study of magnetic resonance images demonstrated that compulsive use of

 2     Defendants’ platforms measurably alters children’s brains.150 This study measured fMRI responses

 3     in 12-year-old adolescents who used Facebook, Instagram, and Snapchat over a three-year period

 4     and found that neural patterns diverged. Specifically, those who engaged in high social media

 5     checking behavior “showed lower neural sensitivity to social anticipation” than those who engaged

 6     in low to moderate checking behavior.151

 7          159.    Problematic social media use is also linked to self-reported and diagnosed attention-

 8     deficit/hyperactivity disorder (“ADHD”) in adolescents.152 One longitudinal study of adolescents

 9     found that over two years, high-frequency use of digital media, including social media, was

10     associated with statistically significant increased odds of developing ADHD symptoms.153 As
11     another study notes, social media presents “potentially distracting activities [that] may co-occur
12     with other behaviours such as short-term attention, restlessness, forgetfulness, impulsiveness and
13     decreased ability to retain information. These behaviours are symptoms of ADHD that can lead to
14     maladaptive functioning in academic, home and recreational settings.”154
15

16
      150
       Maria Maza et al., Association of habitual checking behaviors on social media with longitudinal
17
   functional brain development, JAMA Ped., (Jan. 3, 2023),
18 https://jamanetwork.com/journals/jamapediatrics/article-abstract/2799812.
   151
       Id.
19
   152
       Dekkers, T. J., & van Hoorn, J., Understanding Problematic Social Media Use in Adolescents
20 with AttentionDeficit/Hyperactivity Disorder (ADHD): A Narrative Review and Clinical
   Recommendations, Brain Sciences, 12(12), 1625 (Nov. 26, 2022),
21 https://doi.org/10.3390/brainsci12121625; Maartje Boer et al, Attention Deficit Hyperactivity

22 Disorder-Symptoms, Social Media Use Intensity, and Social Media Use Problems in Adolescents:
   Investigating Directionality, Child Development Vol. 91(4), 853-865 (Oct. 26, 2019),
23 https://doi.org/10.1111/cdev.13334.
      153
24     Ra, C. K., Cho, J., Stone, M. D., De La Cerda, J., Goldenson, N. I., Moroney, E., Tung, I., Lee,
   S. S., & Leventhal, A. M., Association of Digital Media Use With Subsequent Symptoms of
25 Attention-Deficit/Hyperactivity Disorder Among Adolescents. JAMA, 320(3), 255-63 (Jul. 17,
   2018). https://doi.org/10.1001/jama.2018.8931.
26 154
       Zaheer Hussain and Mark D. Griffiths, The Associations Between Problematic Social
27 Networking Site Use and Sleep Quality, Attention-Deficit Hyperactivity Disorder, Depression,

28                                                   50
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23    Page 56 of 325




 1           160.   Social media addiction can also cause individuals to perform worse in other activities.

 2     In the academic context, several studies have shown that excessive social media use and addiction

 3     is related to poorer academic performance and receiving lower grades.155 Such poor academic

 4     performance is often linked to (1) distraction from multitasking on social media, thereby adversely

 5     affecting learning, and (2) high enough usage to amount to addiction, which increases academic

 6     procrastination and reduces sleep time and quality, increasing academic stress.156 And studies show

 7     that the amount of time a student spends on social media is negatively correlated with their academic

 8     performance, meaning the more a student spends on social media the worse their grades are.157 In

 9

10 Anxiety and Stress, International Journal of Mental Health and Addiction 19, 686-700 (2021),
   https://doi.org/10.1007/s11469-019-00175-1.
11
   155
       Emre Çam and Onur Isbulan, A new addiction for teacher candidates: social networks. Turk
12 Online J. Educ Technology11(3) 14–19 (July 2012),
   https://www.researchgate.net/publication/267556427_A_new_addiction_for_teacher_candidates_S
13 ocial_networks; Mustafa Koc and Seval Gulyagci, Facebook addiction among Turkish college
   students: the role of psychological health, demographic, and usage characteristics, Cyberpsychol
14
   Behav Soc Netw. 16(4) 279–84 (Apr. 2013), https://doi.org/10.1089/cyber.2012.0249; Paul
15 Kirschner and Aryn Karpinski, Facebook and academic performance, Computers in Human
   Behavior Vol. 26(6), 1237–45 (Nov. 2010), https://doi.org/10.1016/j.chb.2010.03.024; Manjur
16 Kolhar et al, Effect of Social Media Use on Learning, Social Interactions, and Sleep Duration
   Among University Students, Saudi Journal of Biological Sciences Vol. 28 (4) 2216-2222 (Apr.
17 2021), https://doi.org/10.1016/j.sjbs.2021.01.010.
      156
18       Ajay M. Bhandarkar, Impact of social media on the academic performance of undergraduate
      medical students, Med. J. Armed Forces India 77 (Suppl. 1) S37-41 (Feb. 2, 2021),
19    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7873710/ (citing Karpinski A.C., Kirschner P.A.,
      Ozer I., Mellott J.A., Ochwo P. An exploration of social networking site use, multitasking, and
20
      academic performance among United States and European university students, Comput Hum.
21    Behav. 2013 May 1;29(3):1182–1192; Azizi S.M., Soroush A., Khatony A. The relationship
      between social networking addiction and academic performance in Iranian students of medical
22    sciences: a cross-sectional study, BMC Psychol. 2019 May 3;7(1):28,
      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6500070/; see Yubo Hou et al, Social Media
23    Addiction: Its Impact, Mediation, and Intervention, Cyberpsychology: Journal of Psychosocial
24    Research on Cyberspace 13(1) Article 4, https://www.researchgate.net/profile/Lili-Song-
      15/publication/331294811_Social_media_addiction_Its_impact_mediation_and_intervention/links/
25    5cd0dd5c92851c4eab87db46/Social-media-addiction-Its-impact-mediation-and-
      intervention.pdf?_sg%5B0%5D=started_experiment_milestone&origin=journalDetail.
26    157
      Jamal Al-Menayes, Social Media Use, Engagement and Addiction as Predictors of Academic
27 Performance, International Journal of Psychological Studies Vol. 7(4) (Nov. 10, 2015),

28                                                    51
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504          Filed 12/18/23    Page 57 of 325




 1     fact, eight out of ten Gen Z students say social media distracts from schoolwork, with 72% of

 2     students saying they frequently viewed their social media platform notifications while completing

 3     schoolwork or studying.158 Noting the “negative and significant relationship between the overall use

 4     of social networks and academic performance of students,” one study author has stated it is

 5     “imperative” for school authorities to “take interventional steps to help students who are dependent

 6     on these [social media] networks and, through workshops, inform them about the negative

 7     consequences of addiction to social networks.”159

 8                161.   Defendants’ platforms have triggered depression, anxiety, eating disorders, self-harm,

 9     and suicidality among thousands of children, including those in Plaintiffs’ schools and communities.

10     Defendants have created nothing short of a national crisis.
11                162.   From 2009 to 2019, the rate of high school students who reported persistent sadness
12     or hopelessness increased by 40% (to one out of every three students).160 The share of kids who
13     seriously considered suicide increased by 36%, and those that created a suicide plan increased by
14     44%.161
15                163.   From 2007 to 2019, suicide rates among youth aged 10-24 in the United States
16     increased by 57%.162 By 2018, suicide was the second leading cause of death for youth ages 10–
17

18

19
      http://dx.doi.org/10.5539/ijps.v7n4p86.
20
      158
      Karen D’Souza, Eight out of 10 Gen Zers say social media districts from schools, EdSource,
21 https://edsource.org/updates/eight-out-of-10-gen-zers-say-social-media-distracts-from-school.
      159
22    Azizi S.M., Soroush A., Khatony A. The relationship between social networking addiction and
   academic performance in Iranian students of medical sciences: a cross-sectional study, BMC
23 Psychol. 2019 May 3;7(1):28, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6500070/.
      160
24    Protecting Youth Mental Health: The U.S. Surgeon General’s Advisory at 8, U.S. Dep’t of
   Health & Hum. Servs. (Dec. 7, 2021), https://www.hhs.gov/sites/default/files/surgeon-general-
25 youth- mental-health-advisory.pdf.
      161
26          Id.
      162
            Id.
27

28                                                        52
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504          Filed 12/18/23    Page 58 of 325




 1     24.163

 2                164.   From 2007 to 2016, emergency room visits for youth aged 5-17 rose 117% for anxiety

 3     disorders, 44% for mood disorders, and 40% for attention disorders.164

 4                165.   By 2019, one-in-five children aged 3-17 in the United States had a mental, emotional,

 5     developmental, or behavioral disorder.165

 6                166.   In December 2021, the United States Surgeon General issued an advisory on the youth

 7     mental health crisis.166 The Surgeon General explained, “[m]ental health challenges in children,

 8     adolescents, and young adults are real and widespread. Even before the pandemic, an alarming

 9     number of young people struggled with feelings of helplessness, depression, and thoughts of

10     suicide—and rates have increased over the past decade.”167 Those “mental health challenges were
11     the leading cause of disability and poor life outcomes in young people.”168
12                167.   In February 2023, the CDC released new statistics revealing, the horrible state of youth
13

14
      163
      AAP-AACAP-CHA Declaration of a National Emergency in Child and Adolescent Mental
15 Health, Am. Acad. Pediatrics (Oct. 19, 2021), https://www.aap.org/en/advocacy/child-and-
   adolescent-healthy-mental-development/aap-aacap-cha-declaration-of-a-national-emergency-in-
16 child-and-adolescent-mental-health/.
      164
17       Charmaine Lo, Children’s mental health emergency department visits: 2007-2016, 145(6)
      Pediatrics e20191536 (June 2020), https://doi.org/10.1542/peds.2019-1536.
18    165
       U.S. Surgeon General Issues Advisory on Youth Mental Health Crisis Further Exposed by
19 COVID-19 Pandemic, U.S. Dep’t of Health & Hum. Servs. (Dec. 14, 2021),
   https://adasoutheast.org/u-s-surgeon-general-issues-advisory-on-youth-mental-health-crisis- further-
20 exposed-by-covid-19-pandemic/; see also Jean M. Twenge et al., Increases in Depressive
   Symptoms, Suicide-Related Outcomes, and Suicide Rates Among U.S. Adolescents After 2010 and
21
   Links to Increased New Media Screen Time, 6 Clinical Psych. Sci. 3–17 (2017),
22 https://doi.org/10.1177/216770261772337 (noting that mental health issues are particularly acute
   among females).
23 166
       U.S. Surgeon General Issues Advisory on Youth Mental Health Crisis Further Exposed by
24 COVID-19     Pandemic, U.S. Dep’t of Health & Hum. Servs. (Dec. 14, 2021),
   https://adasoutheast.org/u-s-surgeon-general-issues-advisory-on-youth-mental-health-crisis- further-
25 exposed-by-covid-19-pandemic/.
      167
26          Id.
      168
            Id.
27

28                                                         53
                                                                               PLAINTIFFS’MASTER COMPLAINT
                                                                    (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                   CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23    Page 59 of 325




 1     mental health.169

 2           168.   This CDC survey showed that “[i]n 2021, 42% of high school students felt so sad or

 3     hopeless almost every day for at least two weeks in a row that they stopped doing their usual

 4     activities”; 57% of female high school students reported feeling “persistent feelings of sadness or

 5     hopelessness” in 2021, compared to 36% in 2011; 41% of female respondents and 29% of all

 6     respondents report experiencing “poor mental health” in the past 30 days; 30% of female high school

 7     students had “seriously considered attempting suicide” in the past year, compared to 19% in 2011.170

 8           169.   In 2022, an analysis of datasets comprising 84,011 participants found that the cross-

 9     sectional relationship between use of Defendants’ platforms and life satisfaction ratings is most

10     negative in younger adolescents.171 Longitudinal analyses revealed windows of sensitivity to social
11     media and adolescents between ages 11 and 19 years old, and that decreases in life satisfaction
12     ratings also predict subsequent increases in social media use.172
13           170.   In 2023, young adolescent participants in a cohort study who engaged in habitual
14     social media checking behaviors showed a distinct neurodevelopmental trajectory within regions of
15     the brain comprising the affective salience, motivational, and cognitive control networks in response
16     to anticipating social rewards and punishments compared with those who engaged in nonhabitual
17     checking behaviors.173 In other words, these results showed that “teens who grow up checking social
18
      169
       Azeen Ghorayashi & Roni Caryn Rabin, Teen Girls Report Record Levels of Sadness, C.D.C.
19
   Finds, N.Y. Times (Feb. 13, 2023), https://www.nytimes.com/2023/02/13/health/teen-girls- sadness-
20 suicide-violence.html.
   170
       Youth Risk Behavior Survey Data Summary & Trends Report, CDC (2021),
21
   https://www.cdc.gov/healthyyouth/data/yrbs/pdf/YRBS_Data-Summary-
22 Trends_Report2023_508.pdf.
      171
       Amy Orben, Andrew K. Przybylski, Sarah-Jayne Blakemore, and Roger A. Kievit, Windows of
23
   developmental sensitivity to social media, Nature Communications (Mar. 28, 2022)
24 https://www.nature.com/articles/s41467-022-29296-3.
   172
       Id.
25
   173
       Maria T. Maza, Kara A. Fox, She-Joo Kwon, et al. Association of Habitual Checking Behaviors
26 on Social Media with Longitudinal Functional Brain Development, (Jan. 3. 2023)
   https://jamanetwork.com/journals/jamapediatrics/article-abstract/2799812?resultClick=3.
27

28                                                    54
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504         Filed 12/18/23    Page 60 of 325




 1     media more often are hypersensitive to feedback from their peers.”174 Previous studies confirm that

 2     social media use is associated with changes to users’ brain anatomy. In another study, MRI scans

 3     of 20 social media users with varying degrees of social media addiction showed social media

 4     addiction is associated with a more efficient impulsive brain system, demonstrated by reduced gray

 5     matter volumes in the amygdala (bilaterally).175 This pruning of the amygdala presumably leads to

 6     generating strong impulsive behaviors. Such brain alteration is similar to that associated with other

 7     addictive activities like gambling and substance abuse.

 8                171.   Published in 2023, a systemic search from January 2004 to July 2022 evaluated the

 9     impact of social media interventions on mental well-being and demonstrated that abstinence from

10     Defendants’ platforms is effective in improving mental well-being, especially for depression.176
11                172.   Use of Defendants’ platforms by adolescent females significantly affects their
12     wellbeing.177 Moreover, the use of specific features on Defendants’ platforms is a strong predictor
13     of negative body image perception, increase in social media addiction, and scores on the Appearance
14     Related Social Media Consciousness Scale, the Social Media Addiction Scale for Adolescents, and
15     the Body Image Scale.178
16                173.   A 2023 study from May to August of high school students demonstrated that as the
17

18    174
       Ellen Barry, Social Media Use Is Linked to Brain Changes in Teens, Research Finds, New York
   Times (Jan. 3, 2023), https://www.nytimes.com/2023/01/03/health/social-media-brain-
19
   adolescents.html.
20 175 Quinghua He, Ofit Turel, & Antoine Bechara, Brain Anatomy Alterations Associated with Social
   Networking Site (SNS) Addiction, Scientific Reports, 7, 45064 (2017),
21
   https://www.nature.com/articles/srep45064.
22 176 Ruth Plackett, Alexandra Blyth, Patricia Schartau, Impact of Social Media Use Interventions on
   mental Well-Being: Systemic Review, Journal of Medical Internet Research (Aug. 11, 2023)
23
   https://www.jmir.org/2023/1/e44922/.
24 177 Sevim Cimke, PhD, and Dilek Gurkan, PhD, Factors affecting body image perception, social
   media addiction, and social media consciousness regarding physical appearance in adolescents,
25 Journal of Pediatric Nursing (Sept. 16, 2023)

26 https://www.sciencedirect.com/science/article/abs/pii/S0882596323002506.
      178
            Id.
27

28                                                      55
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504         Filed 12/18/23    Page 61 of 325




 1     level of social media addiction increases, adolescents are becoming increasingly socially ostracized

 2     and experiencing harmful levels of loneliness.179

 3                174.   In another 2023 experimental study, 50 students were allocated randomly into groups

 4     either using social media as normal or reducing their usage by 15 minutes a day. Over the three-

 5     month period, the group reducing social media activity reported “less social media dependence, and

 6     improved general health and immune functioning, as well as reduced feelings of loneliness and

 7     depression.”180 Not only did this study confirm prior cross-sectional studies showing an association

 8     between reduced social media use and improved health, this study had the advantage “in showing

 9     an experimentally-controlled relationship between reduced social media activity and improved

10     wellbeing . . . adding to the suggestion of a causal connection.”181
11                175.   In May 2023, the United States Surgeon General issued an advisory titled “Social
12     Media and Youth Mental Health.”182 The advisory “calls attention to the growing concerns about
13     the effects of social media on youth mental health.”183 The advisory noted that “[s]ocial media
14     platforms are often designed to maximize user engagement” and highlighted the use of “algorithms
15     that leverage user data” to achieve maximum engagement.184 Consistent with Defendants having
16     known of the harm their platforms cause users, particularly youth, the Surgeon General’s advisory
17     noted “[t]here is broad concern … that a lack of access to data and lack of transparency from
18     technology companies have been barriers to understanding the full scope and scale of the impact of
19
   179
       Necmettin Ciftci, Metin Yildiz, Kamile Ciftci, The mediating role of social ostracism in the
20 effect of social media addiction on loneliness in adolescents, Journal of Pediatric Nursing, Vol. 73

21 (Dec.2023) https://www.sciencedirect.com/science/article/abs/pii/S0882596323002452.
   180
       Reed, P., Fowkes, T. & Khela, M. Reduction in Social Media Usage Produces Improvements in
22 Physical Health and Wellbeing: An RCT, Journal of Technology in Behavioral Science 8, 140-47

23 (2023). https://doi.org/10.1007/s41347-023-00304-7.
      181
            Id.
24    182
      United States Surgeon General advisory “Social Media and Youth Mental Health” (May 2023),
25 https://www.hhs.gov/sites/default/files/sg-youth-mental-health-social-media-advisory.pdf.
      183
26          Id.
      184
            Id.
27

28                                                       56
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504          Filed 12/18/23     Page 62 of 325




 1     social media on mental health and well-being.”185 Put another way, Defendants have gone to great

 2     lengths to prevent the public from gaining knowledge of the serious harms that result from excessive

 3     use of social media.186

 4                176.   Also in May 2023, the American Psychological Association issued a health advisory

 5     on social media use in adolescence due to the harmful effects of social media use on adolescents’

 6     social, educational, psychological, and neurological development.187 Both visible and unknown

 7     features built into social media platforms inform adolescent experiences on such platforms. The

 8     Association recommends that Defendants tailor platform features such as the “Like” button,

 9     recommended posts, unrestricted time limits, endless scrolling, notices, and alerts to the social and

10     cognitive abilities of adolescent users.188
11                177.   The scientific literature recognizes that design features of social media platforms cause
12     problematic social media use, social media addiction, and resulting negative mental health
13     outcomes.189 These harms result from the Defendants’ conduct in designing, developing, producing,
14     operating, promoting, distributing, and marketing their social media platforms to attract and addict
15     minors.
16                178.   Further, “[n]early all researchers now agree that there are correlations between … time
17
      185
            Id.
18    186
            Id.
19    187
       Health Advisory on Social Media Use in Adolescence, American Psychological Association,
20 (May    2023) https://www.apa.org/topics/social-media-internet/health-advisory-adolescent-social-
   media-use.pdf.
21 188 Id.

22    189
         Christian Montag et al, Addictive Features of Social Media/Messenger Platforms and Freemium
      Games against the Background of Psychological and Economic Theories, International Journal of
23    Environmental Research and Public Health (July 23, 2019),
24    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6679162/; Christian Montag & Jon D. Elhai, On
      Social Media Design, (Online-) Time Well-spent and Addictive Behaviors in the Age of Surveillance
25    Capitalism, Current Addiction Reports (May 31, 2023), https://doi.org/10.1007/s40429-023-00494-
      3; Maeva Flayelle et al, A Taxonomy of Technology Design Features that Promote Potentially
26    Addictive Online Behaviors, Nature Reviews Psychology (Feb. 14, 2023),
      https://doi.org/10.1038/s44159-023-00153-4.
27

28                                                         57
                                                                               PLAINTIFFS’MASTER COMPLAINT
                                                                    (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                   CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23    Page 63 of 325




 1     spent on social media and … mental health problems.”190 The literature indicates that higher use

 2     and higher social media addiction scores are more positively associated with more severe health

 3     outcomes.191

 4           179.     As discussed herein, each of Defendants’ platforms manipulates young users’ brains

 5     by building in stimuli and social reward mechanisms (e.g., “Likes”) that cause users, including

 6     children in Plaintiffs’ schools and communities, to compulsively seek social rewards. That, in turn,

 7     leads to neuroadaptation; a child requires more and more stimuli to obtain the desired dopamine

 8     release, along with further impairments of decision-making. It also leads to reward-seeking. These

 9     consequences are the foreseeable results of Defendants’ engineering decisions.

10           180.     Moreover, the harm to Plaintiffs is a foreseeable result of Defendants’ conduct, as
11     school districts and local governments care for minors on a nearly daily basis and provide critical
12     educational, counseling, mental health, and other social and disciplinary services to minors.
13     Plaintiffs have been required to expend, divert, and increase resources to address the negative
14     impacts of Defendants’ conduct and the resulting youth mental health crisis.
15           181.     Defendants’ actions have led to a national youth mental health crisis. Notably, the
16     American Academy of Pediatrics, the American Academy of Child and Adolescent Psychiatry, and
17     the Children’s Hospital Association have declared a national emergency based on the current state
18
      190
19     Jonathan Haidt, Zach Rausch, & Jean Twenge, Social media and mental health: A collaborative
   review, Unpublished manuscript, N.Y. Univ. (Feb 7, 2019),
20 https://docs.google.com/document/d/1w-HOfseF2wF9YIpXwUUtP65-
   olnkPyWcgF5BiAtBEy0/edit..
21
   191
       Yaoguo Geng, Jingjing Gu, Jing Wang, Ruiping Zhang. Smartphone addiction and depression,
22 anxiety: The role of bedtime procrastination and self-control, Journal of Affective Disorders Vol.
   293 415-21 (Oct. 1, 2021), https://doi.org/10.1016/j.jad.2021.06.062; Pu Peng & Yanhui Liao, Six
23 Addiction Components of Problematic Social Media Use in Relation to Depression, Anxiety, and

24 Stress Symptoms: a Latent Profile Analysis and Network Analysis, BMC Psychiatry 23, 321 (May 8,
   2023), https://doi.org/10.1186/s12888-023-04837-2; Robinson, Bonnette, Howard, Ceballos,
25 Dailey, Lu, & Grimes Social comparisons, social media addiction, and social interaction: An
   examination of specific social media behaviors related to major depressive disorder in a millennial
26 population, Journal of Applied Biobehavioral Research (Jan. 8, 2019),
   https://doi.org/10.1111/jabr.12158.
27

28                                                    58
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23    Page 64 of 325




 1     of youth mental health.192 Moreover, in 2021, the U.S. Surgeon General issued an advisory alerting

 2     the public that “[r]ecent national surveys of young people have shown alarming increases in the

 3     prevalence of certain mental health challenges” and that “[i]n 2019 one in three high school students

 4     and half of female students reported persistent feelings of sadness or hopelessness, an overall

 5     increase of 40% from 2009.”193

 6           182.   While Defendants have profited from their design, development, production,

 7     operation, promotion, distribution, and marketing of their social media platforms to America’s

 8     youth, Local Government and School District Plaintiffs have expended significant human and

 9     financial resources to address the youth mental health crisis caused by Defendants.

10                  7.      Defendants’ Encourage Dangerous “Challenges.”

11           183.   Encouraging dangerous and destructive “viral” challenges is another harmful
12     ramification of Defendants’ addictive design decisions. “Online challenges or dares typically
13     involve people recording themselves doing something difficult, which they share online to
14     encourage others to repeat.”194 These challenges often generate significant engagement—sometimes
15     millions of likes or views—and resulting social rewards to the users who post videos of themselves
16     carrying out the challenges. ByteDance product research has found
17

18

19

20

21
      192
       Protecting Youth Mental Health, U.S. Surgeon General Advisory (Apr. 11, 2023),
22 https://www.hhs.gov/sites/default/files/surgeon-general-youth-mental-health-advisory.pdf. 3 AAP-
   AACAP-CHA Declaration of a National Emergency in Child and Adolescent Mental Health, Am.
23
   Acad. Pediatrics (Oct. 19, 2021), https://www.aap.org/en/advocacy/child-and-adolescent-healthy-
24 mental-development/aapaacap-cha-declaration-of-a-national-emergency-in-child-and-adolescent-
   mental-health/.
25 193 Protecting Youth Mental Health, U.S. Surgeon General Advisory (Apr. 11, 2023),

26 https://www.hhs.gov/sites/default/files/surgeon-general-youth-mental-health-advisory.pdf.
   194
       TikTok, Online Challenges, https://www.tiktok.com/safety/en-us/online-challenges/.
27

28                                                    59
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23    Page 65 of 325




 1                                     ”195 Predictably, a substantial portion of online challenges—created

 2     for the purpose of generating social rewards—are very dangerous.

 3             184.   For example, the “devious licks” TikTok challenge incentivized youth to post videos

 4     of them vandalizing school bathrooms. As a result, soap dispensers were stolen, mirrors broken, and

 5     sinks ripped off of walls of school bathrooms nationwide.196 Officials in California's Lucia Mar

 6     Unified School District, for example, reported about $7,000 worth of damage from the devious licks

 7     challenge.197 As one researcher observed, the goal of the challenge is not to have the thing that

 8     you’ve stolen from the school, but instead “to have what seems like approval of your peers online.

 9     And that’s a really powerful incentive for teens.”198

10             185.   Another common social media challenge is the “Blackout Challenge,” which
11     encourages youth to make themselves faint by holding their breath and constricting their chest
12     muscles, or by restricting airflow with a ligature around their neck. This challenge is dangerous
13     because, should the participant fail to remove the ligature around their neck prior to fainting, they
14     may strangle themselves. Similarly, the “I Killed Myself” challenge involves participants faking
15     their own deaths to record their family members’ reactions upon believing their loved one has died.
16     This challenge is dangerous because certain methods of participating can actually kill (or inflict
17     catastrophic injury) on participants. Likewise, the game Russian Roulette—in which a participant
18     loads a revolver with a single bullet, spins the chamber until it falls on a random slot, and then
19

20    195
            TIKTOK3047MDL-001-00002975. Similarly, ByteDance internal documents have identified
21
                                         . TikTok3047MDL-001-00002375.
22    196
       Megan Marples, The ‘devious licks’ TikTok challenge has students stealing toilets and
   vandalizing bathrooms, CNN (Sept. 18, 2021), https://www.cnn.com/2021/09/18/health/devious-
23
   licks-tiktok-challenge-wellness/index.html; Viral ‘devious licks’ TikTok challenge encourages kids
24 to steal from school, PBS (Oct. 25, 2021), https://www.pbs.org/newshour/show/viral-devious-licks-
   tiktok-challenge-encourages-kids-to-steal-from-school.
25 197 https://www.npr.org/2021/09/19/1038681786/schools-close-bathrooms-due-to-vandalization-

26 from-tiktok-devious-licks-trend.
   198
       Id.
27

28                                                     60
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504         Filed 12/18/23    Page 66 of 325




 1     shoots themselves—has taken on new life as a social media challenge.

 2                186.   Another challenge, the “devious licks” TikTok challenge, incentivized youth to post

 3     videos of them vandalizing school bathrooms. As a result, soap dispensers were stolen, mirrors

 4     broken, and sinks ripped off of walls of school bathrooms nationwide.199 Officials in California’s

 5     Lucia Mar Unified School District, for example, reported about $7,000 worth of damage from the

 6     devious licks challenge.200 As one researcher observed, the goal of the challenge is not to have the

 7     thing that you’ve stolen from the school, but instead to have “what seems like approval of your

 8     peers online. And that’s a really powerful incentive for teens.”201

 9                187.   These injuries, deaths, and property destruction cause financial harm to the Local

10     Government and School District Plaintiffs who must deal with the injuries and property damage
11     caused by these activities, which are a foreseeable consequence of Defendants’ conduct and their
12     addictive platform designs. Addictive products cause injury or death because neuroadaptation
13     causes addicts to use increasingly extreme methods to maintain dopamine levels. That compulsive
14     use of social media would do the same was, at all relevant times, foreseeable, particularly as to
15     young users whose abilities to assess risks, make wise decisions, and regulate their responses to
16     perceived social needs are still developing.
17                188.   Defendants are aware of the foreseeable risks to youth presented by their incentivizing
18     of participation in these dangerous and destructive challenges. As ByteDance internal documents
19     observe, “[y]oung people are more susceptible to copying a dangerous challenge than adults

20     because, developmentally, their ability to weigh up risk and to think beyond the immediate

21     consequences of their actions is not yet fully formed. They are also more likely to take risks, to

22     make impulsive choices, and to overestimate their ability to cope with risk . . . . The ability to

23

24    199
      https://www.npr.org/2021/09/19/1038681786/schools-close-bathrooms-due-to-vandalization-
25 from-tiktok-devious-licks-trend.
      200
26          Id.
      201
            Id.
27

28                                                        61
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504          Filed 12/18/23     Page 67 of 325




 1     understand the finality of death is also not fully fledged.”202

 2             189.   Defendants’ platform features have encouraged the viral challenge phenomenon in

 3     spite of the fact that their encouragement furthers dangerous challenges themselves and a broader

 4     ecosystem in which those dangerous challenges occur.

 5             190.   Meta, TikTok, and YouTube use engagement-optimized algorithms to control users’

 6     main feeds. Such algorithms spread extreme content as a consequence of its propensity to generate

 7     engagement. That design defect foreseeably leads to dangerous challenges spreading easily on these

 8     Defendants’ platforms. In addition, Meta’s algorithms were once structured to triple amplification

 9     of posts that used the word “challenge” in a hashtag—which Meta product engineers would later

10     observe was “super high risk” and prompted “#killchallenge” to go viral.203
11             191.   Defendants have encouraged challenges in other ways. ByteDance regularly creates
12     overlays and filters that facilitate viral challenges. It offers advertisers the ability to launch Branded
13     Hashtag Challenges and promotes them on user feeds.204 It boasts that challenges are “geared
14     towards building awareness and engagement,” and that “research shows that they can deliver strong
15     results”—i.e., increased return on ad spending — “at every stage of the funnel.” This, in turn,
16     generates advertising revenue for ByteDance. ByteDance employees have described challenges as
17     “one of our core features.”205
18             192.   Snap also promotes viral challenges through Snapchat’s Snap Spotlight feature. It
19     gives cash prizes to challenge participants whose challenges receive the most views on Snap

20

21

22
      202
23          TikTok3047MDL-001-00002375.
      203
24          META3047MDL-003-00030070.
   204
       TikTok for Business, Branded Hashtag Challenge: Harness the Power of Participation (Mar.
25 16, 2022), https://www.tiktok.com/business/en-US/blog/branded-hashtag-challenge-harness-the-

26 power-of-participation.
      205
            TikTok3047MDL-001-00000177.
27

28                                                       62
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504           Filed 12/18/23      Page 68 of 325




 1     Spotlight.206 It has also created overlays that encourage challenges—such as a Speed Filter, showing

 2     how fast a given user was going at the time they took a particular Snap.207 Other Defendants have

 3     also promoted viral challenges based on the recognition that such challenges drive engagement and

 4     advertising revenue.

 5                   8.       Defendants’ Conduct Has Harmed School Districts.

 6           193.    The widespread and compulsive use of Defendants’ platforms has consequences
 7     beyond the harm to the minors using the platforms. It has fundamentally changed the learning and
 8     teaching environment at Plaintiffs’ schools, affecting students, parents, teachers, administrators,
 9     coaches, counselors, and other members of Plaintiffs’ communities.
10           194.    School districts have been, and continue to be, uniquely harmed by students’
11     compulsive use of, and addiction to, social media. Students’ compulsive, problematic use of
12     Defendants’ platforms results in significant disruption to schools’ operations, greatly frustrates their
13     ability to achieve their mandate of educating students in a safe and healthy environment, and forces
14     school districts to expend or divert significant resources in response.
15           195.    Students’ compulsive overuse of Defendants’ platforms results in significant
16     disruption to schools’ operations, greatly frustrates their ability to achieve their mandate of
17     educating students in a safe and healthy environment, and forces school districts to expend or divert
18     significant resources in response. Addressing the wide range of impacts from students’ social media
19     addiction requires a multi-faceted approach that far exceeds school districts’ available resources.
20     School districts are forced to divert human and financial resources to address social media-related
21     student behavior or mental health issues, taking away resources from other important school district
22     operations, including teaching.
23           196.    Staff and teachers cannot ignore students who are in crisis and need to support those
24

25    206
       “Snapchat adds ‘challenges’ with cash prizes to its TikTok competitor,“ The Verge, Oct. 6,
26 2021, https://www.theverge.com/2021/10/6/22711632/snapchat-spotlight-challenges-announced-
   cash-prizes-tiktok.
27 207 See Lemmon v. Snap, Inc., 995 F.3d 1085, 1085 (9th Cir. 2021).

28                                                      63
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23    Page 69 of 325




 1     students, even if this comes at the expense of the educational goals and experience for the larger

 2     student body. School campuses are public spaces, and classes and activities are communal

 3     experiences. Increases in anxiety, depression, suicidal ideation, and other mental health crises

 4     impact both the students suffering from these problems and the other students, teachers, and staff

 5     who need to interact with these students.

 6           197.   To address this complex issue, school districts must provide significant support for

 7     students in crisis and also educate staff, parents, and the community about the dangers presented by

 8     Defendants’ platforms. Such education includes how to safeguard children from those dangers, and

 9     how to support students and families impacted by social media addiction and problematic use.

10     School districts are one of the primary providers of mental health services to youth. Youth addiction
11     to social media platforms diverts time away from the educational mission of school districts and
12     from other valuable engagement time.
13           198.   A recent report by the American Federation of Teachers, a teachers union representing
14     1.7 million educators, “details how school districts across the country are experiencing significant
15     burdens as they respond to tech’s predatory and prevalent influence in the classroom … .”208 An
16     article describing the report—titled “Likes vs. Learning: The Real Cost of Social Media for
17     Schools”—commented:
18                  School districts have mustered significant resources to mitigate in-
                    classroom disruptions and grapple with an increase in depression and
19                  suicidal ideation among students, dangerous and disruptive behavior, and
                    bullying and harassment by and directed at students, as well as the
20
                    popularity of dangerous viral challenges that originate from social media.
21                  Notably, the increased attention to tackling tech companies’ omnipresent
                    role in children’s lives has pulled resources away from the core mission of
22                  education.209
23

24    208
       New Report Calls Out Social Media Platforms for Undermining Schools, Increasing Costs,
   Driving Youth Mental Health Crisis, American Federation of Teachers (July 20, 2023),
25 https://www.aft.org/press-release/new-report-calls-out-social-media-platforms-undermining-

26 schools-increasing-costs.
   209
       Id.
27

28                                                    64
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23    Page 70 of 325




 1           199.   The report itself, published by the American Federation of Teachers, the American

 2     Psychological Association, Design It For Us, Fairplay, and ParentsTogether, highlights the impact

 3     of students’ social media use on the educational environment, noting the “dramatic disruption in the

 4     teaching and learning ecosystems of all our nation’s schools.”210 The report confirms that “[d]ealing

 5     with social-media related issues detracts from the primary mission of our schools, which is to

 6     educate our children,” and it details the myriad ways in which “[s]chool districts have born increased

 7     costs and expenses in response to the impacts of social media.”211

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25    210
       Likes vs. Learning: The Real Cost of Social Media for Schools, American Federation of Teachers
26 et al., (July 2023),
   https://www.aft.org/sites/default/files/media/documents/2023/LikesVSLearning_Report.pdf.
27 211 Id.

28                                                     65
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23    Page 71 of 325




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21
             200.   Schools are one of the main providers for mental health services for school-aged
22
       children.212 Indeed, over 3.1 million children ages 12–17 received mental health services through
23
       an education setting in 2020, more than any other non-specialty mental health service setting.213
24

25    212
       National Survey on Drug Use and Health, SAMHSA (2019 & 1st & 4th Qs. 2020),
26 https://www.samhsa.gov/data/report/2020-nsduh-detailed-tables [https://perma.cc/NA32-JYQX].
   213
       Id.
27

28                                                    66
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504          Filed 12/18/23    Page 72 of 325




 1                201.   Most schools offer mental health services to students. In the 2021–22 school year,

 2     96% of public schools reported offering at least one type of mental health service to their students.214

 3     But 88% of public schools did not strongly agree that they could effectively provide mental health

 4     services to all students in need.215 The most common barriers to providing effective mental health

 5     services in public schools are (1) insufficient number of mental health professionals; (2) inadequate

 6     access to licensed mental health professionals; and (3) inadequate funding.216 Student opinions also

 7     reflect that schools are unable to provide adequate mental health services. Less than a quarter of

 8     students in grades 6–12 report accessing counseling or psychological services when they are upset,

 9     stressed, or having a problem.217 And, of the students who access mental health services, only 41%

10     of middle schoolers and 36% of high schoolers are satisfied with the services they receive.218
11                202.   In part, schools are struggling to provide adequate mental health services because of
12     the increase in students seeking these services. More than two-thirds of public schools reported an
13     increase in the percent of students seeking mental health services from school since the start of the
14     pandemic.219
15                203.   During this same period, adolescents increased their social media use, also raising
16

17

18

19    214
      Roughly Half of Public Schools Report That They Can Effectively Provide Mental Health
   Services to All Students In Need, Nat’l Ctr. Educ. Stat. (May 31, 2022),
20 https://nces.ed.gov/whatsnew/press_releases/05_31_2022_2.asp [https://perma.cc/P4K9-4HF7].

21    215
            Id.
      216
22          Id.
      217
       Insights From the Student Experience, Part I: Emotional and Mental Health at 2, YouthTruth
23
   (2022), https://youthtruthsurvey.org/wp-content/uploads/2022/10/YouthTruth_EMH_102622.pdf
24 [https://perma.cc/UHV7-RNQ6].
   218
       Id.
25
   219
       Roughly Half of Public Schools Report That They Can Effectively Provide Mental Health
26 Services to All Students In Need, Nat’l Ctr. Educ. Stat. (May 31, 2022),
   https://nces.ed.gov/whatsnew/press_releases/05_31_2022_2.asp [https://perma.cc/P4K9-4HF7].
27

28                                                        67
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504          Filed 12/18/23    Page 73 of 325




 1     levels of excessive and problematic use of digital media.220 And these higher rates of social media

 2     use are related to higher “ill-being.”221 Thus, the increase in adolescent social media use during the

 3     pandemic has caused an increase in adolescents experiencing mental health problems.

 4                204.   That relationship is reflected in reports from public schools. Over 75% of public

 5     schools reported an increase in staff expressing concerns about student depression, anxiety, and

 6     other disturbances since the start of the pandemic.222 Students receiving mental health services in

 7     educational settings predominately do so because they “[f]elt depressed,” “[t]hought about killing

 8     [themselves] or tried to” or “[f]elt very afraid and tense.”223

 9                205.   Anxiety disorders are also up, affecting 31.9% of adolescents between 13 and 18 years

10     old.224 “Research shows that untreated teenagers with anxiety disorders are at higher risk to perform
11     poorly in school, miss out on important social experiences, and engage in substance abuse.”225
12                206.   According to the National Alliance on Mental Illness, “[s]tudents ages 6–17 with
13     mental, emotional or behavioral concerns are 3x times more likely to repeat a grade,” and “[h]igh
14     school students with significant symptoms of depression are more than twice as likely to drop out
15

16

17    220
       Laura Marciano et al., Digital Media Use and Adolescents’ Mental Health During the Covid-19
18 Pandemic: A Systematic Review and Meta-Analysis, Frontiers Pub. Health (Feb. 2022),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8848548/ [https://perma.cc/3ZSA-UBDF].
19 221
       Id.
20 222 Roughly Half of Public Schools Report That They Can Effectively Provide Mental Health
   Services to All Students In Need, Nat’l Ctr. Educ. Stat. (May 31, 2022),
21
   https://nces.ed.gov/whatsnew/press_releases/05_31_2022_2.asp [https://perma.cc/P4K9-4HF7].
22 223 Rachel N. Lipari et al., Adolescent Mental Health Service Use and Reasons for Using Services in
   Specialty, Educational, and General Medical Settings, SAMHSA (May 5, 2016),
23
   https://www.samhsa.gov/data/sites/default/files/report_1973/ShortReport-1973.html
24 [https://perma.cc/X4YF-ZAB7].
   224
       Anxiety Disorders: Facts and Statistics, Anxiety & Depression Ass’n Am.,
25 https://adaa.org/understanding-anxiety/facts-statistics [https://perma.cc/EBF6-CXBF] (last visited

26 June 26, 2023).
      225
            Id.
27

28                                                        68
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23    Page 74 of 325




 1     compared to their peers.”226

 2           207.   Schools are struggling not only to provide students with mental health services but

 3     also to deliver an adequate education because of the youth mental health crisis. Students in grades

 4     6–12 identify depression, stress, and anxiety as the most prevalent obstacles to learning.227 These

 5     negative mental health outcomes are also the most common symptoms of excessive social media

 6     use. Most middle school and high school students also fail to get enough sleep on school nights,

 7     which contributes to poor academic performance.228 Compulsive social media use is linked to

 8     reduced sleep time and quality.229 Social media use also contributes to poor academic performance

 9

10
   226
       Mental Health By the Numbers, Nat’l All. Mental Health (June 2022),
11 https://www.nami.org/mhstats [https://perma.cc/DNB4-SA2R] (citing 2018-2019 National Survey

12 of Children’s Health, Data Res. Ctr. Child & Adolescent Health, Child and Adolescent Health
   Measurement Initiative,
13 https://www.childhealthdata.org/browse/survey/results?q=7839&r=1&g=812
   [https://perma.cc/Y5ZQ-4XQN] (last visited June 26, 2023)); and Véronique Dupèrè et al.,
14 Revisiting the Link Between Depression Symptoms and High School Dropout: Timing of Exposure
   Matters, J. Adolescent Health 62 (2018) 2015-211 (Sept. 24, 2017),
15 https://www.jahonline.org/article/S1054-139X(17)30491-3/fulltext

16 [https://doi.org/10.1016/j.jadohealth.2017.09.024].
   227
       Insights From the Student Experience, Part I: Emotional and Mental Health at 2–3, YouthTruth
17 (2022), https://youthtruthsurvey.org/wp-content/uploads/2022/10/YouthTruth_EMH_102622.pdf

18 [https://perma.cc/UHV7-RNQ6].
   228
       Anne G. Wheaton et al., Short Sleep Duration Among Middle School and High School Students-
19 United States, 2015, 67(3) Morbidity & Mortality Wkly. Rpt. 85–90 (Jan. 26, 2018),
   http://dx.doi.org/10.15585/mmwr.mm6703a1 [https://perma.cc/873Q-D5PC].
20
   229
       Ajay M. Bhandarkar, Impact of social media on the academic performance of undergraduate
21 medical students, Med. J. Armed Forces India 77 (Suppl. 1) S37-41 (Feb. 2 2021),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7873710/ (citing Karpinski A.C., Kirschner P.A.,
22
   Ozer I., Mellott J.A., Ochwo P. An exploration of social networking site use, multitasking, and
23 academic performance among United States and European university students, Comput Hum.
   Behav. 2013 May 1;29(3):1182–1192; Azizi S.M., Soroush A., Khatony A. The relationship
24 between social networking addiction and academic performance in Iranian students of medical
   sciences: a cross-sectional study, BMC Psychol. 2019 May 3;7(1):28,
25 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6500070/; see Yubo Hou et al, Social Media
   Addiction: Its Impact, Mediation, and Intervention, Cyberpsychology: Journal of Psychosocial
26
   Research on Cyberspace 13(1) Article 4, https://www.researchgate.net/profile/Lili-Song-
27 15/publication/331294811_Social_media_addiction_Its_impact_mediation_and_intervention/links/

28                                                   69
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504          Filed 12/18/23    Page 75 of 325




 1     by distracting students during class or study time and causing procrastination on school assignments.

 2     Accordingly, Defendants’ conduct has also undermined students’ rights to public education and

 3     undermined school districts’ ability to provide students with a safe and high-quality public

 4     education.

 5                208.   The youth mental health crisis has also caused a wide range of other behavioral issues

 6     among students that interfere with schools’ ability to teach. In 2022, 61% of public schools saw an

 7     increase in classroom disruptions from student misconduct compared to school years before the

 8     pandemic.230 In that same year, 58% of public schools also saw an increase in rowdiness outside of

 9     the classroom, 68% saw increases in tardiness, 27% saw increases in students skipping classes, 55%

10     saw increases in the use of electronic devices when not permitted, 39% saw an increase in physical
11     fights between students, and 46% saw an increase in threats of fights between students.231
12                209.   Further exacerbating schools’ struggles to teach is that students are skipping school.
13     Indeed, student absenteeism has greatly increased as the youth mental health crisis has intensified
14     as a result of youth addiction to social media platforms. In the 2021–22 school year, 39% of public
15     schools experienced an increase in chronic student absenteeism compared to the 2020–21 school
16     year, and 72% of public schools saw increased chronic student absenteeism compared to school
17     years before the pandemic.232 Vandalism also increased in 2022, with 36% of public schools
18     reporting increased acts of student vandalism on school property.233 Schools have seen a rise in
19     vandalism of school property coinciding with the youth mental health crisis that Defendants’

20     platforms have been a substantial factor in causing—particularly given that specific aspects of the

21

22 5cd0dd5c92851c4eab87db46/Social-media-addiction-Its-impact-mediation-and-

23 intervention.pdf?_sg%5B0%5D=started_experiment_milestone&origin=journalDetail.
   230
       2022 School Pulse Panel, U.S. Dep’t Educ., Inst. Educ. Sci. (2022),
24 https://ies.ed.gov/schoolsurvey/spp/ [https://perma.cc/364R-H5U4].
      231
25          Id.
      232
26          Id.
      233
            Id.
27

28                                                        70
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504           Filed 12/18/23    Page 76 of 325




 1     platforms encourage users to participate in attention-seeking behaviors that have led to damage of

 2     school property.

 3           210.    Further, social media distraction “moderates the relationship between students’

 4     cognitive engagement and their evaluation of teaching faculty.”234 Social media distractions “disrupt

 5     student engagement inside the classroom,” leading to wrong or biased assessments of a teacher’s

 6     performance while also exacerbating struggles with academic achievement.235 Declines in academic

 7     performance can affect school district funding, governmental review metrics, and teacher reviews,

 8     in addition to taxing students’ mental health. These issues and others stemming from students’ social

 9     media use, discussed above, also drive declining teacher and staff morale, making retaining and

10     hiring qualified staff more difficult for school districts.236
11           211.    School districts have contacted one or more of Defendants and asked for assistance
12     relating to problems caused by Defendants’ platforms and often received inadequate responses or
13     no response at all.237 For example,
14

15

16    234
       Priyanka Nema, Impact of social media distraction on student evaluation of teacher
   effectiveness, International Journal of Education Management (March 22, 2023),
17
   https://www.emerald.com/insight/content/doi/10.1108/IJEM-10-2022-0389/full/html.
18 235 Id.; Teun Sivers, Social Media and Distraction: An Experience Sampling Study among
   Adolescents, Medical Psychology, Vol. 25, Issue 3 (August 23, 2021),
19 https://www.tandfonline.com/doi/full/10.1080/15213269.2021.1959350; Jia-Qiong Xie, The

20 association between excessive social media use and distraction: An eye movement tracking study.

21

22                     META3047MDL-003-00096266.
      236
23    See Ruiz, Rebecca, How social media in the classroom is burning teachers out, Mashable (Sept.
   16, 2023) (teacher noting feeling “burnt out and demoralized” trying to deal with “tectonic shifts in
24 classroom behavior” from students’ social media use and “rank[ing] the issue among the top factors
   contributing to teacher burnout in her educator community; “the emotional and mental strain on
25 teachers managing this problem won’t lessen until the technology driving it changes”).

26    237
          See Likes vs. Learning, supra n.209 (“it is nearly impossible to get a timely response from a
      platform when there is a social media-enabled crisis”).
27

28                                                       71
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23    Page 77 of 325




 1
                                             238
 2

 3                                                                           .”239

 4             212.   Some of the costs and resource expenditures of school districts forced to address

 5     students’ problematic social media use include, but are not limited to:

 6                    a.     Expending, diverting, and increasing resources and increasing staff time to
                             confiscate cell phones and other devices;
 7
                      b.     Hiring additional counselors, staff, and personnel in response to increased
 8                           mental health and behavioral issues caused by students’ social media use;
 9
                      c.     Expending, diverting, and increasing resources to repair property damaged as
10                           a result of students’ addiction to social media and compulsive participation in
                             social media challenges that direct destruction or theft of school property;
11
                      d.     Expending, diverting, and increasing resources to repair property damaged as
12                           a result of students acting out because of mental, social, and emotional
                             problems Defendants’ conduct caused;
13
                      e.     Expending, diverting, and increasing time and resources, and increasing staff,
14
                             to communicate and engage with parents and guardians of students regarding
15                           youth mental health, behavioral issues, and attendance problems;

16                    f.     Expending, diverting, and increasing resources to investigate and respond to
                             threats made against schools and students over social media that are pushed by
17                           Defendants’ platforms to drive user engagement;
18                    g.     Expending, diverting and increasing resources to add additional information
19                           technology resources in an attempt limit students’ access to social media
                             platforms and mitigate risks posed by students’ social media use;
20
                      h.     Investing in physical barriers (such as magnetic pouches) to keep students from
21                           accessing social media platforms on school property;

22                    i.     Developing new and revised teaching plans to address students’ altered
                             learning habits, e.g., reduced attention span, inability to communicate
23                           effectively;
24

25
      238
26          META3047MDL-003-00047518.
      239
            META3047MDL-003-00021695.
27

28                                                     72
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504           Filed 12/18/23     Page 78 of 325




 1                       j.     Providing additional learning support to address students’ declining
                                achievement, e.g., after school support, as a result of the negative impact of
 2                              problematic social media use on students’ ability and capacity to learn;
 3                       k.     Hiring additional mental health personnel (41% of public schools added staff
 4                              to focus on student mental health);240

 5                       l.     Expending and diverting resources and increasing staff to address student
                                discipline issues caused by Defendants’ attracting and addicting students to
 6                              their social media platforms;
 7                       m.     Expending, diverting and increasing resources for modifications to mental
                                health curricula;
 8
                         n.     Expending, diverting, and increasing resources to create education materials
 9
                                for youth, parents, and staff addressing social media addiction and harm;
10
                         o.     Expending and diverting time and resources, and increasing staff, to route
11                              students and youth to counselors and mental health service providers;

12                       p.     Expending, diverting, and increasing resources to develop additional mental
                                health resources (46% of public schools created or expanded mental health
13                              programs for students, 27% added student classes on social, emotional, and
14                              mental health and 25% offered guest speakers for students on mental
                                health);241
15
                         q.     Training teachers to help students with their mental health and expending, and
16                              diverting time and resources to increase staff and train staff to identify students
                                and youth exhibiting symptoms of mental health issues (56% of public schools
17                              offered professional development to teachers on helping students with mental
                                health);242
18

19                       r.     Expending, diverting, and increasing resources to update student handbooks
                                and similar materials to address use of Defendants’ platforms; and,
20
                         s.     Expending, diverting, and increasing resources to update school policies to
21                              address use of Defendants’ platforms.
22                213.   Defendants knew their actions were having a serious impact on school districts and
23

24
      240
25          Id.
      241
26          Id.
      242
            Id.
27

28                                                         73
                                                                               PLAINTIFFS’MASTER COMPLAINT
                                                                    (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                   CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504          Filed 12/18/23     Page 79 of 325




 1     have nonetheless refused to change their conduct.243

 2                214.   This impact on schools is no surprise. Defendants have deliberately targeted school-

 3     aged children, while knowing the impact this could have on schools. In fact, Defendants counted on

 4     use of their addictive platforms spreading through entire school communities. For example, Meta

 5     set out to infiltrate schools specifically, noting in a presentation reviewed by Mark Zuckerberg

 6     himself that

 7            ”244 Meta knew that getting into high schools was key, reporting that

 8                                                                                         and

 9                                                                                            ”245 For example,

10     Meta conducted a school analysis and concluded that “‘
11

12                             ”246 As a result of this research, Meta set out to make a              on
13                                                ”247 The goal of this work was to
14                                                                     ,                                   .”248
15                215.   Meta adopted similar policies for Instagram, noting that
16                                                                                     ”249 In their own words,
17
                                                                                250
18

19

20    243
            See, e.g., META3047MDL-003-00084526
21
      244
            META3047MDL-003-00134688.
22
      245
            Id.
23    246
            Id.
24    247
            Id.
      248
25          Id.
      249
26          META3047MDL-003-00023595.
      250
            Id.
27

28                                                        74
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR                  Document 504        Filed 12/18/23       Page 80 of 325




 1

 2
                         251
 3

 4                216.     Instagram also intentionally reached into schools by partnering with the National PTA

 5     and Scholastic to get materials into the hands of                                                       and

 6     to “

 7                       .252 Instagram reported that partnering with

 8

 9                                                                              and to                   .253 While

10     Instagram may try to characterize this work as helpful to addressing youth mental health problems,
11     they were more candid in other documents about using this as a strategy to get more teen users,
12     explaining that the goal of the parents plan was to get “parents to think, my kids are on social media,
13     and my FAVORITE app for them to be on is Instagram, bar none.” Thus,
14                for Instagram is to have
15                         ”254 Instagram also tested new features by high school, noting that “
16                                                                                                         and one
17     way to do this was
                                                                  255
18                                                                      They explained
                                                                                                                256
19

20                217.     Schools are so important to Meta because

21

22
      251
            META3047MDL-003-00022355.
23    252
            META3047MDL-003-00084526.
24    253
            Id.
      254
25          META3047MDL-003-00082536.
      255
26          META3047MDL-003-00138616.
      256
            Id.
27

28                                                          75
                                                                                   PLAINTIFFS’MASTER COMPLAINT
                                                                        (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                       CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504           Filed 12/18/23    Page 81 of 325



                                                                                                        257
 1

 2                                                                                            ”258

 3                218.   TikTok is likewise well aware of school-age children using its platform. When TikTok
                                                                                        259
 4     decides to age-verify youth users, one of the tools it uses is                         TikTok created and

 5

 6

 7

 8

 9

10

11

12

13

14
       shared a chart with its staff showing how age correlated to grade in school and birth year:260
15
                  219.   TikTok also admits that its platform
16
                                                                                                      261
                                                                                                            Internal
17
       research confirmed that users try to
18
                                            ”262 However, the same research noted that the
19

20

21

22
      257
            META3047MDL-003-00021467.
23    258
            META3047MDL-003-00023583.
24    259
            TIKTOK3047MDL-001-00060190.
      260
25          Id.
      261
26          TIKTOK3047MDL-001-00061318.
      262
            Id.
27

28                                                        76
                                                                               PLAINTIFFS’MASTER COMPLAINT
                                                                    (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                   CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504         Filed 12/18/23     Page 82 of 325




 1                                                         .263

 2                220.   TikTok acknowledged that users believe its                                    and that

 3     “                                                                         ” such as “                   ,”

 4     “                          ,” and “                           .”264 TikTok admitted that it is interfering

 5     with the school day and student sleep, stating “

 6                                                                              .”265 Therefore, it stated

 7

 8

 9                                              ”266

10                221.   TikTok also sought to directly enter schools, noting that “
11                                   ” that it would be sending its TikTok toolkit for “                       ,”
12     and that it was “
13                                                                                                      .”267 As
14     with Meta, TikTok recognized the importance of controlling the narrative, noting in a different
15     document that recent years had been “
16                                 ,” which “
17                                                          ” Combating these issues would “
18                                                                                         ”268
19                222.   Similarly, a large part of Snapchat’s success has been its virality on school

20

21

22
      263
            Id.
23    264
            TIKTOK3047MDL-001-00060485.
24    265
            TIKTOK3047MDL-001-00061318.
      266
25          Id.
      267
26          TIKTOK3047MDL-001-00005239.
      268
            TIKTOK3047MDL-001-00060485.
27

28                                                       77
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504          Filed 12/18/23    Page 83 of 325




 1     campuses.269 According to an interview regarding Snapchats’ early adoption, “the app started

 2     catching on with high schoolers in LA as they could send digital notes back and forth during

 3     classes.”270 Snapchat “grew very quickly in tight-knit communities at high schools and colleges,

 4     where students interact at a very high frequency and can (and did) tell each other to download

 5     Snapchat in between classes.”271 Once Snapchat knew it had appeal among school-aged children,

 6     Snapchat “ran with it and never looked back.”272

 7                223.   Snapchat has long been aware of its connection to schools and the large impact it has

 8     had on classrooms. After Snapchat added new features to the app, news organizations noted the

 9     havoc it was wrecking on classrooms: “No one was more excited about the update than Snapchat’s

10     target demographic: teens. And no one could have used a warning about the huge in-app changes
11     more than high-school teachers,” one of whom noted that “[i]n 16 years of teaching I can’t think of
12     anything that has ever disrupted my classroom more than today’s Snapchat update.”273 The teacher
13     explained that during class kids were so focused on updating their Snapchat, “you would have
14     thought it was crack. They seriously could not keep away from it. I even had one girl crawl under
15     the table with her phone.”274
16

17

18

19

20

21
      269
22       https://www.forbes.com/sites/quora/2018/02/16/how-snapchat-gained-success-by-going-viral-at-
      high-schools-across-los-angeles/?sh=6f1676083b36.
23    270
            Id.
24    271
            Id.
      272
25          Id.
      273
26          https://www.businessinsider.com/high-school-teacher-on-snapchat-update-2014-5.
      274
            Id.
27

28                                                        78
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504         Filed 12/18/23    Page 84 of 325




 1

 2

 3

 4

 5

 6

 7

 8

 9              224.   Snapchat also highlights its connection to schools when communicating with

10     advertisers, promoting “Back to School on Snapchat” and “Snap to School.”275 The company
11     explained that it had an “unparalleled student and parent audience”276 and noted that 90% of students
12     (ages 13-24) in the US and UK are on Snapchat.277 Last year, Snapchat promoted new features and
13     the ability to access Snapchat from a desktop computer, not just a phone, “just in time for back to
14     school” to let students “keep conversations with friends going from any device,” underscoring the
15     importance of student users and further emphasizing Snapchat’s desire to maximize                user
16     engagement, i.e., continuous interaction with the platform, by this key group.278
17              225.   Similarly, YouTube is well aware of both its high levels of use by school age children
18     and the impact on schools. YouTube is the most popular social media platform with students.
19     Ninety-five percent of children ages 13–17 have used YouTube.279 Seventy-seven percent of teens

20     report using YouTube every day, and nearly 20% of teens report using YouTube almost constantly,

21

22    275
            See, e.g., https://forbusiness.snapchat.com/back-to-school-2021.
      276
23          https://forbusiness.snapchat.com/back-school.
      277
24          See, e.g., https://forbusiness.snapchat.com/back-to-school-2021.
      278
            https://newsroom.snap.com/fresh-fall-features.
25
      279
       Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug. 10, 2022),
26 https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-technology-2022/
   [https://perma.cc/BH7W-ZUPM].
27

28                                                      79
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR                Document 504        Filed 12/18/23     Page 85 of 325




 1     the most of any of Defendants’ platforms.280

 2                226.   YouTube     has    also   advertised     itself   for   use   in   schools,   creating

 3     YouTube.com/Teachers, which provides “tips and tricks for bringing YouTube into the

 4     classroom.”281

 5                227.   YouTube has leveraged its popularity among school children to increase its revenue

 6     from advertisements by marketing its platform to popular brands of children’s products. For

 7     example, Google pitched Mattel, the maker of Barbie and other popular kids’ toys, by telling its

 8     executives that “YouTube is today’s leader in reaching children age 6–11 against top TV

 9     channels.”282 When presenting to Hasbro, the maker of Play-Doh, My Little Pony, and other kids’

10     toys, Google touted that “YouTube was unanimously voted as the favorite website for kids 2-12,”
11     and that “93% of tweens visit YouTube to watch videos.”283 In a different presentation to Hasbro,
12     YouTube was referred to as “the “#1 website regularly visited by kids.”284
13                228.   Compulsive use of YouTube by school children is causing serious problems for
14     students and school districts, as students struggle with their mental health, become sleep-deprived,
15     and act out. Public reporting has confirmed that students are “glued to the[ir] devices during class
16     — posting on social media [and] searching YouTube.”285 As a result, school districts across the
17     country have been imposing bans on the cellphones used to access Defendants’ platforms to attempt
18     to “to curb student obsession, learning disruption, disciplinary incidents and mental health
19     worries.”286

20                229.   School District Plaintiffs have expended significant resources addressing student

21
      280
            Id.
22
      281
            https://www.youtube.com/Teachers.
23    282
       Complaint for Permanent Injunction, Civil Penalties, and Other Equitable Relief, Exhibit A, FTC
24 v. Google LLC et al., No. 1-19-cv-02642-BAH (D.D.C. Sept. 4, 2019), ECF No. 1-1.
   283
       Id. at Exhibit B.
25
   284
       Id. at Exhibit C.
26 285
       https://www.washingtonpost.com/education/2023/05/09/school-cellphone-ban-yondr/.
27 286 Id.

28                                                        80
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23    Page 86 of 325




 1     social media use and addiction.

 2           230.   Each of these steps taken by School District Plaintiffs’ staff and administrators detracts

 3     from School District Plaintiffs’ core educational mission and the public service they provide,

 4     siphoning much-needed resources.

 5           231.   Ultimately, School District Plaintiffs require significant and long-term funding to

 6     address the nuisance Defendants have created and contributed to. School District Plaintiffs cannot

 7     ignore the ever-increasing behavioral and mental health needs of their students, even if this means

 8     diverting resources away from important school functions and lessening the educational experience

 9     for all students and their families. Such funding should not come at the expense of the students and

10     fall at the feet of the public. Rather, Defendants must bear the burden of remedying their wrongs. It
11     is time, as President Biden declared, to get “all Americans the mental health services they need”287
12     and “hold social media companies accountable[.]”288
13                  9.      Defendants’ Conduct Has Harmed Local Governments.

14           232.   Defendants’ platforms have also placed severe burdens and financial strains on local
15      governments.
16           233.   These governments have been tasked with addressing the surge in mental, emotional,
17      and social issues among youth in their communities due to Defendants’ conduct. Minors in Local
18      Government Plaintiffs’ communities confront mental health issues now more than ever due to their
19      excessive social media usage.
20           234.   As social media addiction causes and exacerbates young people’s mental health
21      disorders, Local Government Plaintiffs serve as first responders, providing youth mental health
22      services. These governments have been overburdened by the increase in youth mental health issues
23      caused by social media addiction.
24

25    287
       President Biden, State of the Union Address (Mar. 1, 2022) (transcript
26 https://www.whitehouse.gov/state-of-the-union-2022/).
   288
       President Biden, State of the Union Address (Feb. 7, 2023) (transcript
27 https://www.whitehouse.gov/state-of-the-union-2023/).

28                                                     81
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23     Page 87 of 325




 1          235.     Local Government Plaintiffs fund and operate numerous services to address youth

 2     mental health and behavioral disorders, which are being strained and require additional financial

 3     and human resources due to minors’ compulsive social media use and addiction and the attendant

 4     youth mental health crisis caused by Defendants. Examples of services provided include planning,

 5     funding, and monitoring mental health services provided to children and adolescents within Local

 6     Government Plaintiffs’ communities.

 7          236.     Many local governments, such as Providence, Rhode Island, also assist with school

 8     funding, and therefore suffered financial harm similar to that borne by the school districts.

 9          237.     Many Local Government Plaintiffs also operate community behavioral health centers,

10     which provide services such as mental health assessment, blended case management, administrative

11     case management, treatment, and medication management. These services are overburdened by the

12     youth mental health crisis caused by Defendants.

13          238.     Many Local Government Plaintiffs offer community-based medical services, such as

14     outpatient therapy, behavior health services, therapeutic after-school programs, partial hospital

15     services, and inpatient services in a hospital setting. Some municipal and county governments also

16     offer inpatient psychiatric services for children and adolescents who have exhausted community-

17     based services. These services are overburdened by the youth mental health crisis caused by

18     Defendants.

19          239.     Many Local Government Plaintiffs offer special services to support school children

20     within their borders, with programs designed to meet the mental health needs of minors. Such

21     programs may include psychological services, social work, counseling services, bullying

22     prevention programs, and/or crisis response teams. These services are overburdened by the youth

23     mental health crisis caused by Defendants.

24          240.     Some Local Government Plaintiffs have worked with children’s hospitals and other

25     organizations to create programs to create mental health programs for students and other youth

26     within their communities. The youth mental health crisis caused by compulsive use of and addiction

27     to Defendants’ social media programs has created or enhanced the need for such programs. As one

28                                                    82
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23    Page 88 of 325




 1     example, Montgomery County (Pennsylvania) announced a $7.2 million initiative to “develop a

 2     sustainable infrastructure for school-based mental health programs and services.”289 The project

 3     aims to “expand suicide awareness training opportunities for students (K-12), implement a universal

 4     mental health screener to be utilized by school district or nonpublic school staff members and create

 5     an electronic data system to connect school mental health practitioners (e.g., psychologists, social

 6     workers and counselors) with community-based mental health providers that have immediate

 7     availability to support students in all levels of care (outpatient therapy to inpatient psychiatric

 8     care).”290

 9           241.   Local Government Plaintiffs have also dealt with cleaning up and repairing property

10 damage to public property caused by young people burdened by mental health issues caused by

11 Defendants.

12           242.   Local Government Plaintiffs do not have sufficient funding or mental health staff to

13 address today’s youth mental health crisis. They are struggling to provide children and adolescents

14 within their communities with adequate mental health services and are forced to expend additional

15 financial and human resources because of the youth mental health crisis driven by addiction to

16 Defendants’ social media platforms.

17           243.   Some Local Government Plaintiffs have used their own funds to establish child and

18 adolescent behavioral health services available to students, to address the unprecedented need for

19 these services in response to the mental health crisis fueled by compulsive use of and addiction to

20 Defendants’ social media platforms.

21           244.   Local governments communities and schools do not have sufficient funding or mental

22 health staff to address today’s youth mental health crisis. As shown in the chart below, there is a

23 nationwide shortage of child and adolescent psychiatrists:

24

25    289
       $7.2 Million Grant to Help Provide Mental Health Services to Montgomery County Students,
26 Mercury (Jan. 20, 2023, 4:09 P.M.), https://www.pottsmerc.com/2023/01/20/7-2-million-grant-to-
   help-provide-mental-health-services-to-montgomery-county-students/
27 290 Id.

28                                                    83
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR        Document 504         Filed 12/18/23    Page 89 of 325




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19          245.   Because of this shortage of psychiatrists and the extent of the youth mental health
20 crisis fueled by social media addiction, the number of teens and adolescents waiting in emergency

21 rooms for mental health treatment for suicide nationwide tripled from 2019 to 2021.291

22          246.   To address the decline in minors’ mental, emotional, and social health and resulting
23 misconduct, Local Government Plaintiffs have been forced to expend critical and limited financial

24 resources that would otherwise be used to deliver education and other community services.

25
      291
26   Stephen Stock et al., Children languish in emergency rooms awaiting mental health care, CBS
   News (Feb. 27, 2023, 8:02 am), https://www.cbsnews.com/news/emergency-rooms-children-
27 mental-health/.

28                                                 84
                                                                       PLAINTIFFS’MASTER COMPLAINT
                                                            (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                           CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR        Document 504          Filed 12/18/23    Page 90 of 325




 1         247.    Local Government Plaintiffs need additional funding to address the mental health

 2 crisis and nuisance Defendants have created by fostering social media addiction among youth

 3 nationwide, which they continue to exacerbate with their design of their social media platforms.

 4         248.    Local Government Plaintiffs have borne increased costs in response to the youth

 5 mental health crisis caused and/or contributed to by Defendants, including but not limited to costs

 6 associated with:

 7                     a. Expending, diverting, and increasing human and financial resources
                          (including tax dollars) to provide additional mental health resources to
 8                        minors;
 9                     b. Hiring additional counselors, staff, and personnel for mental health and
10                        disciplinary services;

11                     c. Expending and diverting resources, and increasing staff to address youth
                          discipline issues caused by the mental health crisis;
12
                       d. Expending and diverting time and resources, and increasing staff, to route
13                        youth to counselors and mental health service providers;
14                     e. Expending and diverting time and resources, and increasing staff to train staff
                          to identify exhibiting symptoms of mental health issues;
15

16                     f. Expending, diverting, and increasing resources for creating education
                          materials for youth, parents, and staff addressing social media addiction and
17                        harm;

18                     g. Expending, diverting, and increasing resources to investigate and prosecute
                          crimes that result from use of Defendants’ platforms and the youth mental
19                        health crisis;
20
                       h. Expending, diverting, and increasing resources to investigate threats made
21                        against schools, students, and members of the community over social media;

22                     i. Expending, diverting, and increasing resources to account for the strain
                          placed on local government’s departments of health and human services;
23
                       j. Expending, diverting, and increasing resources to account for the strain
24                        placed on local government’s community-based services such as outpatient
                          therapy, behavioral health services, after school programs, and other similar
25
                          services and programming; and,
26

27

28                                                  85
                                                                        PLAINTIFFS’MASTER COMPLAINT
                                                             (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                            CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23    Page 91 of 325




 1                       k. Expending, diverting, and increasing resources to repair property damage as
                            a result of Defendants’ addictive platforms targeted to attract and addict
 2                          minors.
 3           249.    This need for expanded resources to provide mental health services to young people
 4     has been directly caused by the mental health crisis among youth fueled by Defendants as local
 5     communities have been tasked with addressing the surge in mental, emotional, and social issues
 6     among this population. Local Government Plaintiffs’ young residents confront mental health issues
 7     now more than ever due to their excessive social media usage.
 8           250.    Local Government Plaintiffs have borne the cost of the increased need for youth
 9     mental health services caused by Defendants. To address the decline in minors’ mental, emotional,
10     and social health, and resulting misconduct, Local Government Plaintiffs have been forced to
11     expend resources that would otherwise be used to deliver education and other community services.
12           251.    Local Government Plaintiffs require funding to address the mental health crisis that
13     Defendants have created and continue to exacerbate with their design of, and engineered addiction
14     to, their social media platforms.
15           10.     Defendants could have avoided harming Local Government and School District
16                   Plaintiffs.

17           252.    Each Defendant solicited youth on the open market and encouraged the compulsive

18     use of their addictive platforms.

19           253.    Each Defendant offers its platform to the public with dangerous, standardized features

20     and designs (discussed herein) that users cannot change.

21           254.    Young people within the Plaintiffs’ schools and communities (along with millions of

22     other U.S. users) are incredibly valuable to Defendants. Although Defendants’ platforms are

23     ostensibly free of charge, in reality, Defendants charge users by collecting their data, which they

24     then leverage into advertising revenue. For example, Instagram’s terms of use state, in part:

25                   We agree to provide you with the Instagram Service. . . . Instead of paying
                     to use Instagram, by using the Service covered by these Terms, you
26                   acknowledge that we can show you ads that businesses and organizations
                     pay us to promote on and off the Meta Company Products. We use your
27

28                                                    86
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504        Filed 12/18/23    Page 92 of 325




 1                   personal data, such as information about your activity and interests, to show
                     you ads that are more relevant to you.292
 2
             255.    Each Defendant knew or should have known that its platforms were causing serious
 3
       harm, and negative impacts on public schools and other local government entities.
 4
             256.    Each Defendant could have, but purposefully failed to, design its platforms to protect
 5
       and avoid injury to kids and adolescent users and avoid harm to Local Government and School
 6
       District Plaintiffs’ operations.
 7
             257.    Each Defendant knew or should have known that adolescents’ developing brains leave
 8
       them relatively less able to delay gratification, control impulses, or resist immediately pleasurable
 9
       social rewards.
10
             258.    Each Defendant knew or should have known that the more children use social media,
11
       the harder it is for them to quit.
12
             259.    Each Defendant knew or should have known that excessive use of its platforms has
13
       severe and wide-ranging effects on youth mental and physical health.
14
             260.    Each Defendant knew or should have known that youth are especially vulnerable to
15
       long-term harm from its addictive platforms.
16
             261.    Each Defendant knew or should have known that many of its users are under the age
17
       of 13, despite the limitations set out in COPPA.
18
             262.    Each Defendant knew or should have known its conduct would harm Local
19
       Government and School District Plaintiffs, as Plaintiffs are on the front lines of providing education
20
       and mental health and social services to minors.
21

22

23    292
          The other defendants have similar provisions. For example, TikTok Terms of Service state, in
      part: “You acknowledge that we may generate revenues, increase goodwill or otherwise increase our
24
      value from your use of the Services, including … through the sale of usage data….” Snap Terms of
25    Service permit Snap to use content submitted by users for any purpose, including revenue generating
      purposes, and acknowledge Snap leverages the collection of user data to sell advertising. YouTube’s
26    Terms of Service similarly permit YouTube to use content uploaded by users for business purposes,
      including monetization of that content, and Google’s Privacy Policy (applicable to YouTube) details
27    the wide range on user data Google collects, whether you are a registered user or not.
28                                                       87
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23    Page 93 of 325




 1           263.   Each Defendant knew or should have known that the harm caused by permitting

 2     minors onto their platforms would lead to serious mental health issues for children exposed to these

 3     platforms, which are dangerous for their developing minds because of the ways that Defendants

 4     design, develop, produce, and operate their social media platforms. Further, Defendants knew or

 5     should have known that Local Government and School District Plaintiffs would be required to spend

 6     their financial and human resources to address the fallout of Defendants’ attracting and addicting

 7     minors to their platforms.

 8           264.   The harm to Plaintiffs caused by Defendants’ actions was foreseeable. Defendants

 9     purposefully sought to attract and addict minors—who attend Plaintiffs’ schools and reside in

10     Plaintiffs’ communities—to their social media platforms and engaged in substantial efforts to
11     promote, distribute and market their social media platforms to minors, despite knowing that their
12     design choices made the social media platforms incredibly dangerous to adolescents. Moreover,
13     while deliberately seeking to attract and addict minors to their platforms, Defendants were aware
14     that school districts and local communities—both of which provide adolescents with critical
15     educational, counseling, mental health, social, and disciplinary services—would be forced to
16     address, through financial and human resources, the devastating impact compulsive social media
17     use and addiction is known to have on youth mental health. Accordingly, Plaintiffs were in the
18     foreseeable zone of risk from Defendants’ targeting of minors who reside in Plaintiffs’ local
19     communities and attend Plaintiffs’ schools.

20           265.   Despite all that, each Defendant failed to adequately warn youth, their parents, and

21     Plaintiffs of the known risks and harms of using its platforms. Each Defendant avoided design

22     changes that would have increased youth safety. And, each Defendant pressed ahead with changes

23     designed to keep kids hooked, even though they knew or should have known those changes

24     presented risks to the wellbeing of youth, and that Local Government and School District Plaintiffs

25     would be forced to divert and increase human and financial resources to address the youth mental

26     health crisis that Defendants caused.

27           266.   Each Defendant was in a superior position to control the risks of harm, ensure the

28                                                    88
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504         Filed 12/18/23     Page 94 of 325




 1     safety of its platforms, and insure against and spread the costs of any harm resulting from their

 2     dangerous choices.

 3             B.     FACTUAL ALLEGATIONS AS TO META

 4                    1.     Background and overview of Meta’s platforms.
 5             267.   Meta coded, engineered, manufactured, produced, assembled, and operates Facebook
 6     and Instagram, two of the world’s most popular social media platforms, and placed them into the
 7     stream of commerce. In 2022, two billion users worldwide were active on Instagram each month,
 8     and almost three billion were monthly active users of Facebook.293 This enormous reach has been
 9     accompanied by enormous damage for adolescent users.
10             268.   Meta understands that its platforms are used by kids under 13: “[T]here are definitely
11     kids this age on IG [Instagram].”294 Meta understands that its platforms are addictive: “(1) teens feel
12     addicted to IG and feel a pressure to be present, (2) like addicts, they feel that they are unable to
13     stop themselves from being on IG, and (3) the tools we currently have aren’t effective at limiting
14     their time on the ap (sic).”295 Meta also understands that addictive use leads to problems: “it just
15     keeps people coming back even when it stops being good for them.”296 Further, Meta understands
16     that these problems can be so extreme as to include encounters between adults and minors—with
17     such “sex-talk” 32 times more prevalent on Instagram than on Facebook.297
18             269.   Despite this knowledge, Meta has abjectly failed at protecting child users of Instagram
19     and Facebook. Rather than resolving the problems created by its platforms, “the mental health team
20

21

22    293
       Alex Barinka, Meta’s Instagram Users Reach 2 Billion, Closing In on Facebook, Bloomberg
23 (Oct. 26, 2022), https://www.bloomberg.com/news/articles/2022-10-26/meta-s-instagram-users-
   reach-2-billion-closing-in-on-facebook.
24 294 META3047MDL-003-00123666 at META3047MDL-003-00123666.
      295
25          META3047MDL-003-00157036 at META3047MDL-003-00157036.
      296
26          META3047MDL-003-00011760 at META3047MDL-003-00011761.
      297
            META3047MDL-003-00119838 at META3047MDL-003-00119838.
27

28                                                     89
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504          Filed 12/18/23     Page 95 of 325




 1     stopped doing things . . . it was defunded . . . [and] completely stopped.”298 “We’ve consistently

 2     deprioritized addiction as a work area.”299 Zuckerberg himself was personally warned: “We are not

 3     on track to succeed for our core well-being topics (problematic use, bullying & harassment,

 4     connections, and [suicide and self-injury] [“]SSI[”]), and are at increased regulatory risk and

 5     external criticism. These affect everyone, especially Youth and Creators; if not addressed, these will

 6     follow us into the Metaverse. . . .”300

 7             270.   Yet Meta did nothing. Its reason was simple: “the growth impact was too high.”301

 8     Taking action would lower usage of (and therefore lower profits earned from) a critical audience

 9     segment. “Youth and Teens are critically important to Instagram . . . there’s a new group of 13-year-

10     olds every year and the competition over their Social Media engagement has never been more
11     fierce.”302
12             271.   Meta’s gestures toward youth safety were never serious and always driven by public
13     relations: “it’s all theatre.”303 Meta offered tools to kids and parents, like “time spent,” that it knew
14     presented false data—“Our data as currently shown is incorrect. . . . We’re sharing bad metrics
15     externally. . . . [although] we vouch for these numbers.”304 At the same time, Meta engaged in a
16     cynical campaign to “counter-messag[e] around the addiction narrative” by discrediting existing
17     research as “completely made up. . .”305 Meta knew better. Indeed, both Zuckerberg and Instagram
18     CEO Adam Mosseri heard firsthand from a leading researcher that Instagram and Facebook posed
19
      298
            META3047MDL-003-00011697 at META3047MDL-003-00011698.
20
      299
            META3047MDL-003-00157133 at META3047MDL-003-00157134.
21    300
      META3047MDL-003-00188109 at META3047MDL-003-00188114 (footnote omitted). “SSI”
22 refers to “suicide and self-injury.” META3047MDL-003-00068863.
      301
23          META3047MDL-003-00013254 at META3047MDL-003-00013254.
      302
            META3047MDL-003-00030070 at META3047MDL-003-00030071.
24    303
            META3047MDL-003-00053803 at META3047MDL-003-00053803.
25    304
            META3047MDL-003-00157133.
26    305
         META3047MDL-003-00082165 at META3047MDL-003-00082165 - META3047MDL-003-
      00082166.
27

28                                                      90
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23    Page 96 of 325




 1     unique dangers to young people.

 2           272.   Meta failed to prevent the harms suffered by youth, despite having ample ability and

 3     knowledge.

 4                          a.     Meta’s origins and the development of Facebook.
 5           273.   In October 2003, a sophomore at Harvard College named Mark Zuckerberg hacked

 6     into the websites of Harvard’s residential dorms to collect photos of students. He then designed a

 7     website called “Facemash” that invited users to rank the “hotness” of female students by comparing

 8     their photos side-by-side. In just one day, Facemash users cast over 22,000 votes judging the looks

 9     of women at Harvard.306 This was precisely the point of Facemash, as its homepage made clear:

10     “Were we let in for our looks? No. Will we be judged on them? Yes.” When interviewed about
11     Facemash, Zuckerberg stated, “I’m a programmer and I’m interested in the algorithms and math
12     behind it.” Zuckerberg was summoned to appear before Harvard’s disciplinary body.
13           274.   After narrowly escaping expulsion, Zuckerberg began writing code for a new website,
14     thefacebook.com. The growth of the platform that subsequently became Facebook has been
15     extensively documented and was the subject of an Academy Award-winning film.307 By the end of
16     2005, Facebook had expanded its reach to thousands of colleges and high schools in the United
17     States and abroad. Over the coming years, Facebook grew well beyond campuses, reaching over
18     100 million total active users by Fall 2008. By February 2011, Facebook had become the largest
19     online photo host, holding nearly 100 billion photos.308 By the end of 2011, Facebook, Inc. had

20
   306
       Katherine Kaplan, Facemash Creator Survives Ad Board, Harvard Crimson (Nov. 19, 2003),
21 https://www.thecrimson.com/article/2003/11/19/facemash-creator-survives-ad-board-the/; Bari

22 Schwartz, Hot or Not? Website Briefly Judges Looks, Harvard Crimson (Nov. 4, 2003),
   https://www.thecrimson.com/article/2003/11/4/hot-or-not-website-briefly-judges/; Sam Brodsky,
23 Everything to Know About Facemash, the Site Zuckerberg Created in College to Rank ‘Hot’
   Women, Metro (Apr. 12, 2018), https://www.metro.us/everything-to-know-about-facemash-the-site-
24 zuckerberg-created-in-college-to-rank-hot-women/; Noam Cohen (@noamcohen), Twitter (Mar. 20,
   2018, 3:27 PM).
25
   307
       The Social Network (Columbia Pictures 2010).
26 308
       Richard MacManus, Facebook Mobile Usage Set to Explode, Read Write Web (Oct. 27, 2011),
27 https://web.archive.org/web/20120520003847/http://www.readwriteweb.com/archives/facebook_m

28                                                   91
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504         Filed 12/18/23    Page 97 of 325




 1     turned its initial losses into immense profitability, bringing in annual revenues of $3.7 billion and

 2     working with an operating income of $1.7 billion.309

 3                275.   However, Facebook knew its future success was not guaranteed. On February 1, 2012,

 4     Facebook, Inc. filed with the SEC for an initial public offering. The company’s filing noted that its

 5     historic performance might not continue indefinitely: “A number of other social networking

 6     companies that achieved early popularity have since seen their active user bases or levels of

 7     engagement decline, in some cases precipitously. There is no guarantee that we will not experience

 8     a similar erosion of our active user base or engagement levels. A decrease in user retention, growth,

 9     or engagement could render Facebook less attractive to developers and advertisers, which may have

10     a material and adverse impact on our revenue, business, financial condition, and results of
11     operations.”310
12                276.   Facebook, Inc. also disclosed that the proliferation of smartphones could materially
13     affect its ongoing prospects. “[O]ur users could decide to increasingly access our products primarily
14     through mobile devices. We do not currently directly generate any meaningful revenue from the use
15     of Facebook mobile products, and our ability to do so successfully is unproven. Accordingly, if
16     users continue to increasingly access Facebook mobile products as a substitute for access through
17     personal computers, and if we are unable to successfully implement monetization strategies for our
18     mobile users, our revenue and financial results may be negatively affected.”311
19                277.   Facebook actively pursued changes to its platform, including adding design features

20

21
   obile_usage_set_to_explode.php; Athima Chansanchai, One Third of Year’s Digital Photos Are on
22 Facebook, NBC News (Sept. 20, 2011), https://www.nbcnews.com/news/world/one-third-years-
   digital-photos-are-facebook-flna120576.
23 309
       Erick Schonfeld, Facebook’s Profits: $1 Billion, On #3.7 Billion in Revenues, TechCrunch (Feb.
24 1, 2012), https://techcrunch.com/2012/02/01/facebook-1-billion-profit/.
   310
       Facebook, Inc., Registration Statement (Form S-1) (Feb. 1, 2012) at 11,
25 https://www.sec.gov/Archives/edgar/data/1326801/000119312512034517/d287954ds1.htm#toc287

26 954_2.
      311
            Id.
27

28                                                       92
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504         Filed 12/18/23     Page 98 of 325




 1     offered to the public. As a result of these actions, Facebook achieved its goal. As of October 2021,

 2     Facebook had ballooned to roughly 2.91 billion monthly active users, thus reaching 59% of the

 3     world’s social networking population, the only social media platform to reach over half of all social

 4     media users. At least 6% of these users are children in the U.S. between the ages of 9 and 11.312

 5                278.   Since its inception, Facebook has implemented several changes, developments, and

 6     designs to its platform to prolong user engagement and impose alterations to the user experience.

 7     As discussed further below, several changes, developments, and designs render the platform

 8     dangerous, addictive, and harmful.

 9                              b.     Modifications of Facebook’s platform features over time.

10                279.   When Meta launched thefacebook.com on February 4, 2004, only Harvard students
11     could create accounts using their university-issued email addresses. In March 2004, students at
12     Stanford, Columbia, and Yale were permitted to join, and eventually, any student with a college- or
13     university-issued email address could join Facebook.313 In 2005, Facebook was opened to high
14     school students, provided they were invited by someone who was already using the site.314 By
15     September 2006, Facebook was opened to all users.315 At the time, Meta claimed that it was open
16     only to individuals aged 13 and older with a valid email address.316 However, Meta did not require
17     verification of a user’s age or identity and did not verify users’ email addresses. As a result, underage
18

19    312
       Katherine Schaeffer, 7 facts about Americans and Instagram, Pew Research Center (Oct. 7,
20 2021), https://www.pewresearch.org/fact-tank/2021/10/07/7-facts-about-americans-and-instagram/.
   313
       Saul Hansell, Site Previously for Students Will Be Opened to Others, N.Y. Times (Sept. 12,
21
   2006), https://www.nytimes.com/2006/09/12/technology/site-previously-for-students-will-be-
22 opened-to-others.html.
      314
       Ellen Rosen, THE INTERNET; Facebook.com Goes to High School, N.Y. Times (Oct. 16,
23
   2005), https://www.nytimes.com/2005/10/16/nyregion/the-internet-facebookcom-goes-to-high-
24 school.html.
   315
       Saul Hansell, Site Previously for Students Will Be Opened to Others, N.Y. Times (Sept. 12,
25 2006), https://www.nytimes.com/2006/09/12/technology/site-previously-for-students-will-be-

26 opened-to-others.html.
      316
            Id.
27

28                                                      93
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23    Page 99 of 325




 1     users could easily register an account with and access Facebook.

 2                280.   At first, Facebook was a collection of personal profiles and single photos. It was

 3     described by the New York Times as “a fancy electronic version of the whiteboard that students often

 4     mount on their doors to leave and receive messages.”317 Users could post a single profile picture,

 5     add personal details such as gender, birthdate, phone number, and interests, or connect with other

 6     users by “friending” them, either by searching for them or inviting them by email. Users could also

 7     display their relationship statuses or, alternatively, what they were “[l]ooking for” (e.g., friendship,

 8     dating, a relationship, “random play,” or “whatever I can get”) and “[i]nterested in” (e.g., women,

 9     men). In September 2004, however, Meta introduced the “Wall,” which allowed users to interact

10     with “friends” by posting on each other’s profiles. This platform feature kept users returning to
11     Facebook to monitor Wall activity.
12                281.   In 2005, Facebook began allowing users to upload an unlimited number of photos,
13     making it the first photo hosting website to do so.318
14                282.   In 2006, Meta introduced the Newsfeed to Facebook.319 While previously “[e]very
15     browsing session was like a click-powered treasure hunt,”320 the Newsfeed provided a centralized
16     home page where users could view their friends’ activity, including any changes to their profiles or
17     activity on the app, such as, for example, uploading new pictures, or a change in relationship
18     status.321 It was the first “social feed” of its kind, and, as intended, increased time spent on the
19

20
      317
            Id.
21    318
       Craig Kanalley, A History of Facebook Photos (Infographic), The Huffington Post (Aug. 2,
22 2011), https://www.huffpost.com/entry/facebook-photos-infographic_n_916225.
   319
       Think Marketing, This Is How Facebook Has Changed Over the Past 14 Years (February 6,
23
   2018), https://thinkmarketingmagazine.com/facebook-celebrates-14-years-of-milestones-a-
24 timeline/.
   320
       Jillian D’Onfro, Facebook’s News Feed is 10 years old. This is how the site has changed, World
25 Economic Forum (Sept. 9, 2016), https://www.weforum.org/agenda/2016/09/facebooks-news-feed-

26 is-10-years-old-this-is-how-the-site-has-changed.
      321
            Id.
27

28                                                      94
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504         Filed 12/18/23    Page 100 of 325




 1     platform.322 Users immediately decried this feature as an invasion of privacy.323 Mark Zuckerberg

 2     rationalized the feature by saying: “we agree, stalking isn’t cool; but being able to know what’s

 3     going on in your friends’ lives is.”324 The Newsfeed algorithm was originally designed to maximize

 4     a user’s time spent in one session. However, Meta later changed the code to maximize as many use

 5     sessions as possible. The frequency of sessions is a strong indicator of problematic use, a point

 6     internal Facebook researchers have made when suggesting that Facebook should “help people

 7     consolidate their use of Facebook into fewer sessions.”325 Despite this knowledge, Meta continued

 8     to focus on maximizing sessions, including for teens,326 even prioritizing the metric over “integrity”

 9     improvements to its platforms.327

10                283.   In May 2007, Meta launched a video service on Facebook, which allowed it to
11     compete with YouTube and the then-popular Myspace.328 Users could upload videos or record them
12     from a webcam.
13                284.   In April 2008, Meta launched Facebook Chat, which later became Facebook
14     Messenger, allowing users to have private conversations with each other.329 Facebook Chat
15     appeared as a permanent bar across the bottom of users’ screens; it also provided users the ability
16
      322
17          Id.
   323
       Moneywatch, Facebook Under Fire for New Feature, CBS News (Sept. 7, 2006),
18 https://www.cbsnews.com/news/facebook-under-fire-for-new-feature/.

19    324
       Gillian D’Onfro, Facebook's News Feed is 10 years old. This is how the site has changed, World
   Economic Forum (Sept. 9, 2016), https://www.weforum.org/agenda/2016/09/facebooks-news-feed-
20 is-10-years-old-this-is-how-the-site-has-changed.

21    325
            Haugen_00010114 at Haugen_00010121.
      326
22      See, e.g., META3047MDL-003-00161881 at META3047MDL-003-00161915 (highlighting
      moderate decline in sessions among teen Instagram users in the United States).
23    327
       See META3047MDL-003-00170806 at META3047MDL-003-00170822 (Instagram sessions
24 “cannot  decrease”).
   328
       Pete Cashmore, Facebook Video Launches: YouTube Beware!, Mashable (May 24, 2007),
25 https://mashable.com/archive/facebook-video-launches.

26    329
         Dan Farber, Facebook Chat begins to roll out, CNET (April 6, 2008),
      https://www.cnet.com/culture/facebook-chat-begins-to-roll-out/.
27

28                                                     95
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23    Page 101 of 325




 1     to see which friends were “online” and presumably available to chat. Facebook Chat allowed users

 2     to immerse themselves even deeper into Meta’s platform; one commentator noted that, “[b]y making

 3     Facebook more real time/presence oriented, Facebook session length should go up a lot.”330

 4                285.   In May 2008, Meta added a “People You May Know” feature to the platform, touting

 5     it as a way to “connect [users] to more of your friends” on Facebook.331 Facebook’s algorithms

 6     utilize the vast amount of data it collects from its users to make personalized suggestions to users

 7     for “friending.”332 It utilizes information such as a user’s friends list, their friends’ friends list,

 8     education information, and work information, along with other data, to make these suggestions.333

 9     Some users dislike the feature, complaining that it constantly shows them people they do not want

10     to friend, or even suggests people in sexually explicit poses,334 but Facebook does not provide the
11     option to disable this feature.
12                286.   In February 2009, Meta launched the “Like” button on Facebook.335 The button
13     allowed users to provide a quick reaction, as opposed to typing out a comment. Facebook’s
14     algorithm counts and displays Likes to other users. The measure also served as a social measuring
15     stick, by which users could gauge the success of their posts, photographs, and videos. Soon after,
16     Meta expanded the Like feature to comments as well. Users could also use the Like button to follow
17     public figures, such as brands or publishers. When a user Liked a brand, for example, Meta would
18

19
      330
            Id.
20
      331
       Kashmir Hill, ‘People You May Know:’ A Controversial Facebook Feature’s 10-Year History,
21 Gizmodo (Aug. 8, 2018), https://gizmodo.com/people-you-may-know-a-controversial-facebook-
   features-1827981959.
22
   332
       Id.
23 333
       Id.
24 334 Id.
      335
25    Will Oremus, How Facebook Designed the Like Button—and made social media into a
   Popularity Contest, Fast Company (Nov. 15, 2022), https://www.fastcompany.com/90780140/the-
26 inside-story-of-how-facebook-designed-the-like-button-and-made-social-media-into-a-popularity-
   contest.
27

28                                                      96
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504            Filed 12/18/23    Page 102 of 325




 1     use that information to show ads for that brand to the user’s friends on Facebook.336 In April 2010,

 2     Meta launched “social plug-ins” that would allow people to “Like” things on the Internet outside of

 3     Facebook. Meta used the button to track Facebook users’ engagement across the Internet, leveraging

 4     the data it gathered to sell targeted ads and fuel the Newsfeed algorithm.337 The button also shaped

 5     users’ own behavior, as they were conditioned to act and interact in whatever ways would generate

 6     the Like rewards, or risk having their activity hidden from their friends’ Newsfeeds.338

 7                287.   Also in 2009, Meta changed the Newsfeed experience from chronological to

 8     algorithmic ordering, with Meta now dictating which posts users would see by highlighting “Top

 9     Stories” in each user’s Newsfeed.339

10                288.   In December 2010, Meta began using facial recognition to identify people in users’
11     Facebook photos and suggest that users tag them.340 Rather than letting users opt-in to the feature,
12     Meta automatically enabled it for all users.341
13                289.   Meta also debuted infinite scrolling in 2010, initially for photos, but later for its core
14     Newsfeed, ensuring that users would never reach the bottom of a page and would, instead, keep
15     scrolling without end or limits, leading to excessive and compulsive platform use.342
16                290.   In August 2012, Meta introduced the Facebook Messenger app, a feature that allowed
17
      336
            Id.
18
      337
            Id.
19    338
            Id.
20    339
       Alex Hern, Facebook to Restore Chronological Feed of Posts from Friends, The Guardian (July
   21, 2022), https://www.theguardian.com/technology/2022/jul/21/facebook-to-restore-chronological-
21
   feed-of-posts-from-friends.
22 340 Ben Parr, Facebook Brings Facial Recognition to Photo Tagging, Mashable (Dec. 16, 2010),
   http://www.cnn.com/2010/TECH/social.media/12/16/facebook.facial.recognition.mashable/index.ht
23
   ml.
24 341 Charles Arthur, Facebook In New Privacy Row Over Facial Recognition Feature, The Guardian
   (June 8, 2011), https://www.theguardian.com/technology/2011/jun/08/facebook-privacy-facial-
25 recognition?INTCMP=SRCH.

26    342
         Bob Leggit, How the Internet Destroyed Your Attention Span, Popzazzle (Apr. 30, 2021),
      https://popzazzle.blogspot.com/2021/04/how-the-internet-destroyed-your-attention-span.html.
27

28                                                          97
                                                                                 PLAINTIFFS’MASTER COMPLAINT
                                                                      (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                     CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504         Filed 12/18/23    Page 103 of 325




 1     users to see when their friends were last active on the platform.343

 2                291.   In August 2015, Meta launched Facebook Live, which allowed users to live-stream

 3     videos.344 It immediately prompted more engagement with the platform and furthered Meta’s goal

 4     of keeping users coming back, both to create the videos and to interact with them.345

 5                292.   In February 2016, Meta expanded Facebook’s “Like” feature for posts, adding

 6     “Reactions” such as “like,” “love,” “haha,” “wow,” “sad,” and “angry.”346 The following year,

 7     reactions were extended to comments.347 In a manner similar to Likes, these reactions further

 8     manipulated adolescents’ behavior, preying on their psychological vulnerabilities to produce

 9     compulsive use.

10                293.   In March 2017, following the launch of a similar platform on Instagram, Meta
11     introduced Facebook Stories, with the hope of competing with the success of Snapchat among young
12     people.348 With Stories, users could post short, ephemeral videos that appeared for 24-hours at the
13     top of friends’ Newsfeeds.349 Stories is designed to keep users coming back to the platform at least
14     daily, feeding performance metrics that are crucial to Meta’s bottom line, or otherwise risk missing
15     out.
16
      343
      Billy Gallagher, Facebook Brings Notifications, Album-Specific Uploads to Standalone Camera
17 App, Tech Crunch (Aug. 28, 2012), https://techcrunch.com/2012/08/28/facebook-brings-
   notifications-album-specific-uploads-to-standalone-camera-app/?icid=tc_dan-
18 schawbel_art&blogger=dan-schawbel#.

19    344
         Joe Lazauskus, The Untold Story of Facebook Live, Fast Company (Sept. 29, 2016),
      https://www.fastcompany.com/3064182/the-untold-story-of-facebook-live.
20
      345
            Id.
21    346
       Casey Newton, Facebook Rolls Out Expanded Like Button Reactions Around the World, The
22 Verge (Feb. 24, 2016), https://www.theverge.com/2016/2/24/11094374/facebook-reactions-like-
   button.
23 347
       Natt Garun, Facebook Reactions Have Now Infiltrated Comments, The Verge (May 3, 2017),
24 https://www.theverge.com/2017/5/3/15536812/facebook-reactions-now-available-comments.
   348
       Casey Newton, Facebook Launches Stories to Complete its All-out Assault on Snapchat, The
25 Verge (Mar. 28, 2017), https://www.theverge.com/2017/3/28/15081398/facebook-stories-snapchat-

26 camera-direct.
      349
            Id.
27

28                                                     98
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504         Filed 12/18/23    Page 104 of 325




 1                294.   Later that year, in December 2017, Meta rolled out Facebook Kids, a messaging app

 2     designed for kid’s ages 6 to 12,350 for the purpose of getting younger users on its platform sooner.

 3     The app does not require a Facebook account, and instead allows children to create accounts that

 4     are managed through parents’ Facebook accounts.351 Meta touted it as a way to “give[] parents more

 5     control.”352 The app, however, still collects an extraordinary amount of data about its child users,

 6     including their messages, any photos they send, and what features they use on the app.353 Currently,

 7     there are no other official Facebook platforms marketed publicly by Meta as intended for children

 8     under 13 (despite the proliferation of such users on Instagram and Facebook). However, as of April

 9     2021, Meta was actively seeking to develop ways for children as young as six to use the platform.354

10                295.   In August 2020, Meta introduced “Reels” on Instagram.355 Reels are short videos
11     posted by other Instagram users, presented in an algorithmically generated feed, and in a full-screen
12     format popularized by TikTok. Meta subsequently introduced Reels to Facebook in 2021.356 As
13     explained more fully below, Meta committed to making videos more and more prevalent on their
14     platforms to attract and keep younger users in the face of competition from TikTok.
15
      350
16    Nick Statt, Facebook Launches a Version of Messenger for Young Children, The Verge (Dec. 4,
   2017), https://www.theverge.com/2017/12/4/16725494/facebook-messenger-kids-app-launch-ios-
17 iphone-preview.
      351
18          Id.
      352
       Loren Chang, Introducing Messenger Kids, a New App for Families to Connect, Meta (Dec. 4,
19
   2017), https://about.fb.com/news/2017/12/introducing-messenger-kids-a-new-app-for-families-to-
20 connect/.
   353
       Nitasha Tiku, Facebook for 6-Year-Olds? Welcome to Messenger Kids, Wired (Dec. 5, 2017),
21
   https://www.wired.com/story/facebook-for-6-year-olds-welcome-to-messenger-kids/.
22 354 Ezra Kaplan and Jo Ling Kent, Documents reveal Facebook targeted children as young as 6 for
   consumer base, NBC News (Oct. 29, 2021), https://www.nbcnews.com/tech/social-
23
   media/facebook-documents-reveal-company-targeted-children-young-6-
24 rcna4021?cid=sm_npd_nn_tw_ma.
   355
       Instagram, Introducing Instagram Reels (Aug. 5, 2020),
25 https://about.fb.com/news/2020/08/introducing-instagram-reels/.

26    356
         Facebook, Launching Reels on Facebook in the US (Sept. 29, 2021),
      https://about.fb.com/news/2021/09/launching-reels-on-facebook-us/.
27

28                                                      99
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 105 of 325




 1                          c.      Facebook’s acquisition and control of Instagram.
 2           296.    On or around April 6, 2012, Zuckerberg called Kevin Systrom, one of the co-founders

 3     of Instagram, offering to purchase his company.357

 4           297.    Instagram launched as a mobile-only app that allowed users to create, filter, and share

 5     photos. On the first day of its release in October 2010, it gained a staggering 25,000 users.358 By

 6     April 2012, Instagram had approximately 27 million users. When Instagram released an Android

 7     version of its app—right around the time of Zuckerberg’s call—it was downloaded more than a

 8     million times in less than a day.359 Instagram’s popularity is so widespread and image-based, a new

 9     term has grown up around it for the perfect image or place: “Instagrammable.”360 Its users also use

10     a variety of slang derived from the platform, such as “IG”; “The Gram”; “Do it for the Gram,” a
11     phrase used by a user performing a risky or unusual action to garner attention; “Finsta,” a contraction
12     of fun or fake Instagram used to refer to secondary accounts; among other slang.
13           298.    On April 9, 2012, just days after Zuckerberg’s overture to Systrom, Facebook, Inc.
14     purchased Instagram, Inc. for $1 billion in cash and stock. This purchase price was double the
15     valuation of Instagram implied by a round of funding the company had closed days earlier.361
16           299.    Facebook, Inc. held its initial public offering less than two months after acquiring
17
   357
       Nicholas Carlson, Here’s The Chart That Scared Zuckerberg Into Spending $1 Billion On
18 Instagram, Insider (Apr. 14, 2012), https://www.businessinsider.com/heres-the-chart-that-scared-
   zuckerberg-into-spending-1-billion-on-instagram-2012-4.
19
   358
       Dan Blystone, Instagram: What It Is, Its History, and How the Popular App Works, Investopedia
20 (Oct. 22, 2022), https://www.investopedia.com/articles/investing/102615/story-instagram-rise-1-
   photo0sharing-app.asp#:~:text=History%20of%20Instagram.
21
   359
       Kim-Mai Cutler, From 0 to $1 billion in two years: Instagram's rose-tinted ride to glory
22 TechCrunch (Apr. 9, 2012), https://techcrunch.com/2012/04/09/instagram-story-facebook-
   acquisition/.
23
   360
       Sarah Frier, No Filter, New York, Simon & Schuster (2020). https://www.amazon.com/No-
24 Filter-Inside-Story-Instagram/dp/1982126809
      361
25    Alexia Tsotsis, Right Before Acquisition, Instagram Closed $50M At A $500M Valuation From
   Sequoia, Thrive, Greylock And Benchmark, TechCrunch (Apr. 9, 2012),
26 https://techcrunch.com/2012/04/09/right-before-acquisition-instagram-closed-50m-at-a-500m-
   valuation-from-sequoia-thrive-greylock-and-benchmark/.
27

28                                                     100
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23     Page 106 of 325




 1     Instagram, Inc.362

 2                300.   Zuckerberg’s willingness to pay a premium for Instagram was driven by his instinct

 3     that Instagram would be vital to reaching a younger, smartphone-oriented audience—and thus

 4     critical to his company’s future success.

 5                301.   This was prescient. Instagram’s revenue grew exponentially from 2015 to 2022.363 A

 6     study conducted in the second quarter of 2018 showed that, over the prior year, advertisers’ spending

 7     on Instagram grew by 177%—more than four times the growth of ad spending on Facebook.364

 8     Likewise, visits to Instagram rose by 236%, nearly thirty times the growth in site visits experienced

 9     by Facebook during the same period.365 By 2021, Instagram accounted for over half of Meta’s $50.3

10     billion in net advertising revenues.366
11                302.   Meta has claimed credit for Instagram’s success since its acquisition. Zuckerberg told
12     market analysts that Instagram “wouldn’t be what it is without everything that we put into it, whether
13     that’s the infrastructure or our advertising model.”367
14                303.   Instagram has become the most popular photo-sharing social media platform among
15     teenagers and young adults in the United States. 62% of American teens use Instagram, with 10%
16

17    362
       Evelyn Rusli & Peter Eavis, Facebook Raises $16Billion in I.P.O., N.Y. Times (May 17, 2012),
18 https://archive.nytimes.com/dealbook.nytimes.com/2012/05/17/facebook-raises-16-billion-in-i-p-o/.
   363
       See Josh Constine, Instagram Hits 1 Billion Monthly Users, Up From 800M in September,
19
   TechCrunch (June 20, 2018), https://techcrunch.com/2018/06/20/instagram-1-billion-users/
20 (showing meteoric rise in monthly active users over period and reporting year-over-year revenue
   increase of 70% from 2017-2018).
21 364
       Merkle, Digital Marketing Report 3 (Q2 2018), https://www.merkleinc.com/thought-
22 leadership/digital-marketing-report/digital-marketing-report-q2-2018.
      365
            Id.
23
      366
       Sara Lebow, For the First Time, Instagram Contributes Over Half of Facebook’s US Ad
24 Revenues, eMarketer (Nov. 2, 2021), https://www.emarketer.com/content/instagram-contributes-
   over-half-of-facebook-us-ad-revenues.
25
   367
       Salvador Rodriguez, Mark Zuckerberg Is Adamant that Instagram Should Not Be Broken Off
26 from Facebook, CNBC (Oct. 20, 2019), https://www.cnbc.com/2019/10/30/mark-zuckerberg-is-
   adamant-that-instagram-should-remain-with-facebook.html.
27

28                                                       101
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504       Filed 12/18/23     Page 107 of 325




 1     of users reporting that they use it “almost constantly.”368 Instagram’s young user base has become

 2     even more important to Meta as the number of teens using Facebook has decreased over time.369

 3          304.    Facebook’s and Instagram’s success, and the riches they have generated for Meta,

 4     have come at an unconscionable cost in human suffering.

 5          305.    In September 2021, The Wall Street Journal began publishing internal documents

 6     leaked by former Facebook product manager Frances Haugen.370 The documents are disturbing.

 7     They reveal that, according to Meta’s researchers, 13.5% of U.K. girls reported more frequent

 8     suicidal thoughts, and 17% of teen girls reported worsening eating disorders after starting to use

 9     Instagram.371 Over 40% of Instagram users who reported feeling “unattractive” said that feeling

10     began while using Instagram,372 and 32% of teen girls who already felt bad about their bodies felt
11

12

13
   368
       Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Research. Ctr. (Aug. 10,
14 2022), https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-technology-2022/;
   see also Piper Sandler, Taking Stock With Teens 19 (Fall 2021),
15
   https://piper2.bluematrix.com/docs/pdf/3bad99c6-e44a-4424-8fb1-
16 0e3adfcbd1d4.pdf?utm_source=newsletter&utm_medium=email&utm_campaign=newsletter_axios
   am&stream=top (eighty-one percent of teens use Instagram at least once a month).
17 369
       Sheera Frenkel et al., Instagram Struggles with Fears of Losing Its ‘Pipeline’: Young Users,
18 N.Y.  Times (Oct. 26, 2021), https://www.nytimes.com/2021/10/16/technology/instagram-
   teens.html.
19 370 The collection of Wall Street Journal articles are available online via the following link:

20 https://www.wsj.com/articles/the-facebook-files-11631713039?mod=bigtop-breadcrumb.
   371
       Morgan Keith, Facebook’s Internal Research Found its Instagram Platform Contributes to
21 Eating Disorders and Suicidal Thoughts in Teenage Girls, Whistleblower Says, Insider (Oct. 3,

22 2021), https://www.businessinsider.com/facebook-knows-data-instagram-eating-disorders-suicidal-
   thoughts-whistleblower-2021-10.
23 372 Georgia Wells, Jeff Horwitz, Deepa Seetharaman, Facebook Knows Instagram is Toxic for Teen

24 Girls, Company Documents Show, Wall St. J. (Sept. 14, 2021),
   https://www.wsj.com/articles/facebook-knows-instagram-is-toxic-for-teen-girls-company-
25 documents-show-11631620739; Facebook Staff, Teen Girls Body Image and Social Comparison on
   Instagram – An Exploratory Study in the U.S. 9 (Mar. 26, 2020),
26 https://s.wsj.net/public/resources/documents/teen-girls-body-image-and-social-comparison-on-
   instagram.pdf.
27

28                                                  102
                                                                        PLAINTIFFS’MASTER COMPLAINT
                                                             (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                            CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504       Filed 12/18/23      Page 108 of 325




 1     even worse because of the app.373

 2           306.    Internal Meta presentations from 2019 and 2020 were transparent in their conclusions

 3     about the harms caused by Instagram: “We make body image issues worse for one in three teen

 4     girls.” “Mental health outcomes related to this can be severe.” “Aspects of Instagram exacerbate

 5     each other to create a perfect storm.”374

 6           307.    Haugen’s revelations made clear to the public what Meta has long known: In an effort

 7     to addicts kids and drive increased usage, Meta’s platforms exploit the neurobiology of developing

 8     brains, and all the insecurities, status anxieties, and beauty comparisons that come along with it. In

 9     a bid for higher profits, Meta ignored or actively concealed the harms resulting from its addiction-

10     based business model, which are widespread, serious, long-term, and in tragic instances, fatal.
11                           D.      Modifications of Instagram’s platform features over time.
12           308.    In its earliest form, Instagram was a photo-sharing app. Users could post still images—
13     enhanced by the platform’s suite of built-in photo filters—“follow” other users, and “Like” or
14     comment on posts by other users, all in a centralized chronological feed. Instagram also allowed
15     users to see their friends’ activity—such as liking or commenting on a post, or following other
16     accounts—on the app, through its “Following” tab.
17           309.    In January 2011, Instagram added hashtags, which allowed users to group together
18     posts about particular topics.375
19

20    373
      Billy Perrigo, Instagram Makes Teen Girls Hate Themselves. Is That a Bug or a Feature?, Time
21 (Sept. 16, 2021), https://time.com/6098771/instagram-body-image-teen-girls/.
      374
22    Georgia Wells, Jeff Horwitz, Deepa Seetharaman, Facebook Knows Instagram is Toxic for Teen
   Girls, Company Documents Show, Wall St. J. (Sept. 14, 2021),
23 https://www.wsj.com/articles/facebook-knows-instagram-is-toxic-for-teen-girls-company-
   documents-show-11631620739; Teen Girls Body Image and Social Comparison on Instagram – An
24 Exploratory Study in the U.S., Wall St. J. (Sept. 29, 2021),
   https://s.wsj.net/public/resources/documents/teen-girls-body-image-and-social-comparison-on-
25 instagram.pdf.

26    375
         Diving Deep into the Science of the Instagram Algorithm, Signalytics,
      https://about.fb.com/news/2020/08/introducing-instagram-reels/.
27

28                                                    103
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504         Filed 12/18/23      Page 109 of 325




 1                310.   Since acquiring Instagram, Meta has introduced to the platform a host of additional

 2     features to drive pre-teen and teenage engagement and, in doing so, increase advertising revenues.

 3                311.   In June 2013, in addition to the still, filtered images for which the platform was known,

 4     Instagram began to support videos of up to 15 seconds.376 This feature also included 13 new,

 5     specially created filters that could be applied to the videos. At the time, this feature satisfied what

 6     some characterized as the “years-long search for an ‘Instagram for video,’”377 and allowed

 7     Instagram to compete with a popular video-sharing platform at the time, Vine. It also allowed users

 8     posting videos to select their “favorite” scene from the video to be displayed as the cover image on

 9     video posts. According to Systrom, this ensured that user’s videos were “beautiful even when

10     they’re not playing.”378 Despite this, Instagram remained largely a photo-sharing app.
11                312.   In December 2013, Meta added Instagram Direct, a feature that allows users to send
12     messages or posts to specific people directly from the app.379 This function allowed Instagram to
13     compete against messaging platforms like Snapchat that were gaining popularity among teens and
14     pre-teens.
15                313.   In June 2015, Meta opened Instagram to all advertisers, weaving advertisements into
16     users’ Feeds.380
17                314.   In March 2016, Meta did away with Instagram’s chronological feed and implemented
18

19
      376
20    Colleen Taylor, Instagram Launches 15-Second Video Sharing Feature, With 13 Filters And
   Editing, Tech Crunch (June 20, 2013), https://techcrunch.com/2013/06/20/facebook-instagram-
21 video/.
      377
22          Id.
      378
         Kevin Systrom, Introducing Video on Instagram, Instagram (June 20, 2013),
23
      https://about.instagram.com/blog/announcements/introducing-video-on-instagram.
24    379
         Jordan Crook, Instagram Introduces Instagram Direct, Tech Crunch (Dec. 12, 2013),
      https://techcrunch.com/2013/12/12/instagram-messaging/.
25
      380
      Vindu Goel & Sydney Ember, Instagram to Open its Photo Feed to Ads, N.Y. Times (June 2,
26 2015), https://www.nytimes.com/2015/06/03/technology/instagram-to-announce-plans-to-expand-
   advertising.html.
27

28                                                         104
                                                                               PLAINTIFFS’MASTER COMPLAINT
                                                                    (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                   CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR                Document 504     Filed 12/18/23    Page 110 of 325




 1     engagement-based ranking algorithms.381 Now, upon opening the app, users would no longer see

 2     posts from people they followed in the order they were posted; instead, they would encounter an

 3     algorithmic feed, like the one employed on Meta’s other platform, Facebook. At the time, Meta said

 4     that the new algorithmic feed would rank the order of posts in users’ feeds based on the “likelihood

 5     that [they would] be interested in the [post], [their] relationship with the person posting[,] and the

 6     timeliness of the post. . . .”382

 7                315.   In February 2016, with the popularity of video rising on Instagram, Meta added view

 8     counts to videos, allowing users to see how many times users had viewed their posts.383 Later that

 9     year, in December 2016, Instagram added the ability to “Like” comments to posts (symbolized by

10     a heart emoji).384 Both features became a source of additional motivation by users to seek social
11     acceptance and validation.
12                316.   In August 2016, Meta introduced Instagram Stories,385 another feature intended to
13     compete against Snapchat for the youth market. Systrom has admitted that the feature was copied
14     from a Snapchat feature popular with children called “Snapchat Stories.”386 Later that year, in
15

16
      381
17       Alex Heath, Instagram is about to go through its most radical change ever, Insider (Mar. 15,
      2016), https://www.businessinsider.com/instagram-to-introduce-algorithmic-timeline-2016-3.
18    382
            Id.
      383
19       Michael Zhang, Instagram is Adding View Counts to Your Videos, PetaPixel (Feb. 11, 2016),
      https://petapixel.com/2016/02/11/instagram-adding-view-counts-videos/.
20    384
      Hayley Tsukayama, Instagram will soon let you like comments – or even turn them off
21 completely, Wash. Post (Dec. 6, 2016), https://www.washingtonpost.com/news/the-
   switch/wp/2016/12/06/instagram-will-soon-let-you-like-comments-or-even-turn-them-off-
22 completely/.
      385
23     Instagram, Introducing Instagram Stories (Aug. 2, 2016),
   https://about.instagram.com/blog/announcements/introducing-instagram-
24 stories#:~:text=Today%2C%20we're%20introducing%20Instagram,a%20slideshow%20format%3A
   %20your%20story.
25
   386
       Rachel Kraus, Instagram Founder Admits He Blatantly Stole Stories from Snapchat, Mashable
26 (Mar. 11, 2019), https://www.nytimes.com/2021/10/16/technology/instagram-
   teens.htmlhttps://mashable.com/article/kevin-systrom-instagram-stories-snapchat.
27

28                                                        105
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 111 of 325




 1     November 2016, Meta introduced Instagram Live,387 designed to compete with both Snapchat’s

 2     ephemeral, disappearing posts, and the live-streamed videos of a then-popular platform called

 3     Periscope. Instagram Live permitted users to livestream video, which disappeared as soon as the

 4     live stream stopped.

 5            317.   In December 2016, Meta introduced a platform feature that allowed users to “save”

 6     posts from other users.388 By tapping a bookmark icon underneath posts in their feeds, users could

 7     save posts for later, in a private tab that was viewable only to the saving user.

 8            318.   In April 2017, Meta introduced another feature with appeal to children, an offline

 9     mode that allows users to view posts and interact with Instagram even when they do not have access

10     to an Internet connection,389 for example when riding a bus to or from school or when parents have
11     disabled home internet to prevent overuse of social media by their kids.
12            319.   In January 2018, Meta launched a feature allowing Instagram users to see when others
13     they had messaged with were active, or most recently active, on Instagram. This feature exploits
14     social reciprocity, which, as explained above, results in more time spent using the platform.
15            320.   In June 2018, at the same time it announced that Instagram had grown to one billion
16     users, Meta introduced IGTV, both in the Instagram app and as a standalone platform.390 IGTV was
17     intended to rival YouTube. IGTV allowed users to upload videos up to one-hour long.
18            321.   In September 2018, Systrom and Instagram co-founder Mike Krieger resigned from
19     Instagram, and Facebook named Adam Mosseri, a 10-year veteran of Facebook, as Instagram’s new

20     CEO.

21
      387
22       Josh Constine, Instagram launches disappearing Live video and messages, Tech Crunch (Nov.
      21, 2016), https://techcrunch.com/2016/11/21/instagram-live/.
23    388
       Lisa Eadicicco, Instagram Just Added a New Feature that Lets You Save Other Users’ Posts,
24 Time   (Dec. 14, 2016), https://time.com/4602063/instagram-new-update-features-2016/.
   389
       Josh Constine, Instagram on Android gets offline mode, Tech Crunch (Apr. 18, 2017),
25 https://techcrunch.com/2017/04/18/instagram-offline/.

26    390
         Kevin Systrom, Welcome to IGTV, our New Video App, Instagram (June 20, 2018),
      https://about.instagram.com/blog/announcements/welcome-to-igtv.
27

28                                                     106
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 112 of 325




 1           322.    Under Mosseri’s leadership, Instagram aggressively focused on acquiring and

 2     maximizing the engagement of young users. In 2018, Instagram allotted most of its global annual

 3     marketing budget to targeting 13-to 15-year-old children, a marketing demographic it calls “early

 4     high school.”391 According to Meta, these users represent the platform’s “teen foothold” for its “US

 5     pipeline.”392 “Youth and Teens are critically important to Instagram. While Instagram has strong

 6     market-fit with Teens, we know we need to constantly ‘re-win’ this segment.”393 Meta has expressly

 7     sought to maximize metrics like “teen time spent” on the Instagram platform.394

 8           323.    One way Meta sought to increase its teen metrics was through its launch of “Reels” in

 9     August 2020, which mimicked the format of videos on TikTok. As noted, Reels mirrors TikTok by

10     algorithmically presenting short, “full-screen” videos posted by other Instagram users. Like TikTok,
11     Reels counts and displays the number of likes, follows, comments, shares, and views of a video.
12     The following year, Meta did away with IGTV, which had allowed longer videos to be posted by
13     users in a more traditional format. In late July 2022, Mosseri announced that “more and more of
14     Instagram is going to become video over time.”395
15           324.    Instagram creates images and GIFs for users to incorporate into their videos and
16     picture postings. Instagram has also acquired publishing rights to thousands of hours of music and
17     video, which it provides to its users to attach to the videos and pictures that they post on Instagram.
18

19    391
       Sheera Frenkel et al., Instagram Struggles With Fears of Losing Its ‘Pipeline’: Young Users,
20 N.Y. Times (Oct. 16, 2021), https://www.nytimes.com/2021/10/16/technology/instagram-
   teens.html.
21 392
       Id.
22 393 META3047MDL-003-00030070 at META3047MDL-003-00030071.
      394
23    Sheera Frenkel et al., Instagram Struggles with Fears of Losing Its ‘Pipeline’: Young
   Users, N.Y. Times (Oct. 26, 2021), https://www.nytimes.com/2021/10/16/technology/instagram-
24 teens.html.
      395
25    Marisa Dellatto, Instagram Exec Defends Shift to Video Despite Complaints from Creators like
   Kylie Jenner, Forbes (July 26, 2022),
26 https://www.forbes.com/sites/marisadellatto/2022/07/26/instagram-exec-defends-shift-to-video-
   despite-complaints-from-creators-like-kylie-jenner/?sh=4099badd5c6e.
27

28                                                     107
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504     Filed 12/18/23      Page 113 of 325




 1                  2.      Meta intentionally encourages youth to excessively use its platforms and
                            then leverages that usage to increase revenue.
 2
             325.   Facebook and Instagram owe their success to their design choices, including their
 3
       underlying computer code and algorithms. Meta’s tortious conduct begins before a user has viewed,
 4
       let alone posted, any content.
 5
             326.   Meta describes the Instagram platform as a “mobile-first experience.”396 Indeed, the
 6
       great majority of Instagram users in the U.S. access Instagram through a mobile application for
 7
       either the iOS or Android operating systems.
 8
             327.   To use the Facebook or Instagram app, one must first obtain it. On a mobile device,
 9
       this is accomplished by visiting a store from which the platform can be downloaded—either the
10
       Apple App Store (for iPhone users) or the Google Play Store (for Android users). Once installed
11
       onto an individual’s smartphone, they can open the app. They are then asked to create a new account
12
       by entering an email address, adding a name, and creating a username and password.
13
             328.   A prospective Instagram or Facebook user is then invited to press a colorful “Sign up”
14
       button. In small print above this button, the user is informed: “By tapping Sign up, you agree to our
15
       Terms, Data Policy and Cookies Policy.” The text of those policies is not presented on the sign-up
16
       page. While the words “Terms,” “Data Policy,” and “Cookies Policy” are slightly bolded, the user
17
       is not informed that they can or should click on them, or otherwise told how they can access the
18
       policies.
19

20

21

22

23

24

25
      396
26       Yorgos Askalidis, Launching Instagram Messaging on Desktop, Instagram (Sept. 25, 2020),
      https://about.instagram.com/blog/engineering/launching-instagram-messaging-on-desktop.
27

28                                                     108
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504        Filed 12/18/23      Page 114 of 325




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20           329.   Meta’s Data Policy (rebranded as a “Privacy Policy” in 2022), which applies to a range
21     of Meta platforms, including Facebook and Instagram,397 indicates Meta collects a breathtaking
22     amount of data from the users of its platforms, including:
23                  a.      “[c]ontent that you create, such as posts, comments or audio”;
24

25
      397
26       Meta, Privacy Policy, Meta (Jan. 1, 2023),
      https://mbasic.facebook.com/privacy/policy/printable/#annotation-1.
27

28                                                   109
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504         Filed 12/18/23      Page 115 of 325




 1                  b.      “[c]ontent you provide through our camera feature or your camera roll settings,
                            or through our voice-enabled features”;
 2
                    c.      “[I]nformation you’ve shared with us through device settings, such as GPS
 3                          location, camera access, photos and related metadata”;
 4
                    d.      “[m]essages that you send and receive, including their content”;
 5
                    e.      “Metadata about content and messages”;
 6
                    f.      “[t]ypes of content that you view or interact with, and how you interact with it”;
 7
                    g.      “[t]he time, frequency and duration of your activities on our products”;
 8
                    h.      “your contacts’ information, such as their name and email address or phone
 9                          number, if you choose to upload or import it from a device, such as by syncing
                            an address book”;
10

11                  i.      information about “What you’re doing on your device (such as whether our app
                            is in the foreground or if your mouse is moving)”;
12
                    j.      “device signals from different operating systems,” including “things such as
13                          nearby Bluetooth or Wi-Fi connections”;
14                  k.      “[i]nformation about the network that you connect your device to,” which
                            includes “The name of your mobile operator or Internet service provider (ISP),
15
                            Language, Time zone, Mobile phone number, IP address, Connection speed,
16                          Information about other devices that are nearby or on your network, Wi-Fi
                            hotspots you connect to using our products”; and,
17
                    l.      “information from . . . third parties, including . . . [m]arketing and advertising
18                          vendors and data providers, who have the rights to provide us with your
                            information.”
19
             330.   While the Data Policy indicates the scope of user information collected by Meta
20
       through Facebook and Instagram, it is far less forthcoming about the purposes for which this data is
21
       collected, and its consequences for younger users.
22
             331.   The Data Policy presents those goals as benign and even positive for its users — “to
23
       provide a personalized experience to you” and to “make suggestions for you such as people you
24
       may know, groups or events that you may be interested in or topics that you may want to follow.”398
25

26
   398
       Meta, Privacy Policy, Meta (Jan. 1 2023),
27 https://mbasic.facebook.com/privacy/policy/printable/#annotation-1.

28                                                    110
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504       Filed 12/18/23      Page 116 of 325




 1           332.    The Data Policy does not inform users that the more time individuals spend using

 2     Facebook and Instagram, the more ads Meta can deliver and the more money it can make; or that

 3     the more time users spend on Facebook and Instagram, the more Meta learns about them, and the

 4     more it can sell to advertisers the ability to micro-target highly personalized ads.399

 5           333.    Meta monetizes its users and their data by selling ad placements to marketers. Meta

 6     generated $69.7 billion from advertising in 2019, more than 98% of its total revenue for the year.400

 7           334.    Given its business model, Meta has every incentive to—and knowingly does—addict

 8     users to Facebook and Instagram. It accomplishes this through the algorithms that power its

 9     platforms, which are fueled by user data and designed to induce compulsive and continuous

10     scrolling for hours on end, operating in conjunction with the other dangerous features described
11     throughout this Complaint.401
12
   399
       Nor does it inform users that Meta previously allowed third-party apps to harvest from Facebook
13 “vast quantities of highly sensitive user and friends permissions.” In re Facebook, Inc., No. 18-md-

14 02843-VC, ECF No. 1104 at 9 (N.D. Cal. Feb. 9, 2023). This has included an app called Sync.Me,
   which—according to Meta’s internal investigative documents — “had access to many
15 ‘heavyweight’ permissions,” “including the user’s entire newsfeed, friends’ likes, friends’ statuses,
   and friends’ hometowns.” In re Facebook, Inc., No. 18-md-02843-VC, ECF No. 1104 at 9 (N.D.
16 Cal. Feb. 9, 2023). It has included Microstrategy, Inc., which accessed data from “16 to 20 million”
   Facebook users, despite only being installed by 50,000 people. In re Facebook, Inc., No. 18-md-
17 02843-VC, ECF No. 1104 at 9 (N.D. Cal. Feb. 9, 2023). And it has included one Yahoo app that

18 made “billions of requests” for Facebook user information, including “personal information about
   those users’ friends, including the friends’ education histories, work histories, religions, politics,
19 ‘about me’ sections, relationship details, and check-in posts.” In re Facebook, Inc., No. 18-md-
   02843-VC, ECF No. 1104 at 9-10 (N.D. Cal. Feb. 9, 2023).
20 400
       Rishi Iyengar, Here’s How Big Facebook’s Ad Business Really Is, CNN (July 1, 2020),
21 https://www.cnn.com/2020/06/30/tech/facebook-ad-business-boycott.
      401
         See Christian Montag, et al., Addictive Features of Social Media/Messenger Platforms and
22
      Freemium Games against the Background of Psychological and Economic Theories, 16 Int’l J.
23    Env’t Rsch. and Pub. Health 2612, 5 (July 16, 2019),
      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6679162/ (“One technique used to prolong usage
24    time in this context is the endless scrolling/streaming feature.”); see generally, Ludmila Lupinacci,
      ‘Absentmindedly scrolling through nothing’: liveness and compulsory continuous connectedness in
25    social media, 43 Media, Culture & Soc’y 273 (2021),
26    https://journals.sagepub.com/doi/epdf/10.1177/0163443720939454 (describing the ways that users
      use and experience social media apps).
27

28                                                     111
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 117 of 325




 1           335.     Meta’s Data Policy contains no warnings whatsoever that use of its platforms at the

 2     intensity and frequency targeted by Meta creates known risks of mental, emotional, and behavioral

 3     problems, nor does it mention the increased likelihood of injury for children, Instagram’s key

 4     audience.

 5           336.     Instagram’s collection and utilization of user data begins the instant a user presses

 6     “Sign Up.” At that point, Instagram prompts a new user to share a substantial amount of personal

 7     data. First, Instagram asks the user to share their personal contacts, either by syncing contacts from

 8     their phone and/or syncing their “Friends” from Facebook — “We’ll use your contacts to help you

 9     find your friends and help them find you.” Next, Instagram asks the new user to upload a photo of

10     themselves. After that, Instagram asks the user to “Choose your interests” to “Get started on
11     Instagram with account recommendations tailored to you.” Finally, Instagram invites the new user
12     to “Follow accounts to see their photos and videos in your feed,” offering a variety of
13     recommendations. After sign-up is completed, Instagram prompts the new user to post either a photo
14     or a short video.
15           337.     Meta’s collection and utilization of user data—including data from youth and children
16     under 13—continues unabated as new users begin to interact with its platforms. Meta’s tracking of
17     behavioral data—ranging from what the user looks at, to how long they hover over certain images,
18     to what advertisements they click on or ignore—helps Meta determine how to best lure each user
19     into remaining on the platform for as long as possible. And the longer users remain on the platform,

20     the more information Meta can collect, allowing Meta to monopolize users’ attention ever more

21     effectively.

22           338.     Both the user data that Meta gathers and the compulsive use of the platform the data

23     enables are key to Meta’s true business: selling ads.

24           339.     Meta’s horde of user data allows advertisers to micro-target advertising to very

25     specific categories of users, while also serving up a captive audience of users to view the ad.

26           340.     Currently, advertisers can target Instagram and Facebook ads to young people based

27

28                                                    112
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23       Page 118 of 325




 1     on age, gender, and location.402 While Meta has claimed that it stopped collecting advertising data

 2     from teens in July 2021, the non-profit Fairplay has stated that the collection continued unabated.403

 3             341.   Meta clearly understands the revenue and growth potential presented by its youngest

 4     users, and it is desperate to retain them. Documents obtained by The New York Times indicate that,

 5     since 2018, almost all of Instagram’s $390 million global marketing budget has gone towards

 6     showing ads to teenagers.404

 7             342.   Before the rise of Instagram, Facebook was the social media platform by which Meta

 8     targeted young users. Until recently, this targeting was devastatingly effective. In January 2014,

 9     90% of U.S. teens used Facebook monthly; as late as January 2016, 68% did.405

10             343.   While the number of teen Facebook users has declined in recent years, Facebook
11     remains critical to Meta’s strategy towards young users. Meta views Facebook as the nexus of teen
12     users’ lives on social media, “where all social circles intersect,” and as filling a similar role for such
13     users as the career-focused social media platform LinkedIn fills for adults.406 According to the
14     summary of a 2018 meeting, Meta’s expressed goal was to have users “move through” Meta’s
15     platforms “as they grow, i.e. Messenger Kids → Instagram → Facebook.”407
16             344.   To create this cycle, Meta embarked on a “major investment in youth,” researching
17     and pursuing platforms targeted at kids as young as six.408 The centerpiece of these efforts is
18

19    402
       Andrea Vittorio, Meta’s Ad-Targeting to Teens Draws Advocacy Group Opposition, Bloomberg
20 (Nov. 16, 2021), https://news.bloomberglaw.com/privacy-and-data-security/metas-ad-targeting-to-
   teens-draws-advocacy-group-opposition.
21 403
       Id.
22 404 Sheera Frenkel, et al, Instagram Struggles With Fears of Losing Its ‘Pipeline’: Young Users

23 N.Y. Times (Oct. 16, 2021), https://www.nytimes.com/2021/10/16/technology/instagram-
   teens.html.
24 405 META3047MDL-003-00171899 at META3047MDL-003-00171904.
      406
25          META3047MDL-003-00171899 at META3047MDL-003-00171909.
      407
26          META3047MDL-003-00003731 at META3047MDL-003-00003732.
      408
            Haugen_00017238 at Haugen_00017238.
27

28                                                      113
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504       Filed 12/18/23     Page 119 of 325




 1     Messenger Kids.409 In 2019, Meta conducted at least two research projects on growing Messenger

 2     Kids. One study explored how to use “Playdates as a Growth Lever for Messenger Kids.”410 During

 3     this study, Meta sought to understand better how playdates might be an area to increase usage among

 4     kids by interviewing parents of active users and the young users themselves.411 Investigators

 5     suggested there was an opportunity to “brainstorm features and/or prompts encouraging use of the

 6     app, before and after playdates, to improve retention and active threads.”412 Later that year, they

 7     released a finding from a second investigation of parents and children who used Messenger Kids

 8     and those who did not.413 To drive Messenger Kids growth, the study recommended “encourag[ing]

 9     more K2K [kid-to-kid] connections in [Messenger Kids]” by “surfac[ing] and develop[ing]

10     additional in-app activities that involve others,” while emphasizing to parents the “play-based
11     messaging” and the “play aspect of [Messenger Kids] —camera filters, games, filters via notifs and
12     QPs.”414 Many of the same features are found on Instagram.
13             345.   Meta was also eager to market its platforms to tweens—users aged 10-12. Although
14     Meta employees publicly denied using children as “guinea pigs” to develop platform features,
15     internally Meta was intensely interested in children’s use of their platforms.415 Meta conducted
16     research projects, with titles such as “Tweens JTBD Survey”416 and “Exploring Tweens Social
17

18
   409
       Nick Stat, Facebook launches a version of Messenger for young children, The Verge (December
19 4, 2022) https://www.theverge.com/2017/12/4/16725494/facebook-messenger-kids-app-launch-ios-
   iphone-preview.
20
   410
       Haugen_00023087 at Haugen_00023087.
21 411
       Haugen_00023087 at Haugen_00023088, Haugen_00023097.
22 412 Haugen_00023087 at Haugen_00023090.
      413
23          Haugen_00023066 at Haugen_00023066.
      414
24          Haugen_00023066 at Haugen_00023085.
   415
       John Twomey, Molly Russell Inquest Latest: Teenager Viewed Suicide Videos of ‘Most
25 Distressing Nature’, Express (Sept. 23, 2022), https://www.express.co.uk/news/uk/1673461/Molly-

26 Russell-inquest-latest-Teenager-suicide-videos-instagram.
      416
            “JTBD” appears to stand for “Jobs to Be Done.” Haugen_00024450 at Haugen_00024454.
27

28                                                   114
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504       Filed 12/18/23     Page 120 of 325




 1     Media Habits.”417 In the latter study, Meta compared tween perceptions of their competitors’

 2     platforms to understand “tween product needs,”418 noting that tweens can “connect and have fun

 3     using existing apps, even though they’re not made with a 10-to-12-year-old in mind.”419 Meta’s

 4     takeaway was to “use entertainment/interest as a starting point for engagement” and to “highlight

 5     fitting in.”420

 6                346.   In 2019, Meta conducted a series of interviews in Los Angeles and Denver with tween

 7     friend groups, friend pairs, and individuals.421 Meta used this research to craft “product

 8     recommendations” to appeal to tweens, suggesting features to help “decrease friction in the digital

 9     interaction funnel.”422 The recommendations included developing ways to “provide automatic

10     signals that indicate whether friends are available to interact,” “[e]nable tweens to instrumentally
11     signal their availability,” “[p]rovide light conversations starters that tweens can use to test the
12     reciprocity of an interaction (e.g., poking, waves),” and “build in a way that enables quick
13     communication across all messaging modalities.”423
14                347.   Meta’s interest, efforts, and success in expanding the presence of its platforms in
15     children’s lives is clear. Given the delicate, developing nature of the young brain and Meta’s
16     creation of social media platforms designed to promote repetitive, compulsive use, it is not
17     surprising that American society is now grappling with the ramifications of Meta’s growth-at-any-
18     cost approach. In a candid moment, a Software Engineer at Meta admitted: “It’s not a secret that
19     we’ve often resorted to aggressive tactics in the name of growth, and we’ve been pretty unapologetic

20

21
      417
            Haugen_00023849 at Haugen_00023850.
22
      418
            Haugen_00023849 at Haugen_00023888.
23    419
            Haugen_00023849 at Haugen_00023886.
24    420
            Haugen_00023849 at Haugen_00023888.
      421
25          Haugen_00024450 at Haugen_00024450.
      422
26          Haugen_00024450 at Haugen_00024466.
      423
            Id.
27

28                                                      115
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504         Filed 12/18/23      Page 121 of 325




 1     about it.”424

 2              348.   Meta has studied features and designs from its other platforms to make Instagram as

 3     attractive and addictive as possible to young users. Meta’s flagship platform Facebook was the

 4     original testing ground for many of Instagram’s addictive and otherwise harmful features, which the

 5     two platforms share to this day. This feature overlap is no accident: it represents a conscious strategy

 6     adopted by Meta to keep social media users hooked on its “family” of platforms for their entire

 7     lives.

 8              349.   From the beginning, both the Facebook and Instagram platforms have exploited

 9     vulnerabilities in human psychology to addict users and maximize user time and engagement.

10     Facebook’s first President, Sean Parker, summed up the devastating impact of this platform design
11     in a 2017 interview:
12                     God only knows what it's doing to our children’s brains. . . . The thought
                       process that went into building these applications, Facebook being the first
13                     of them . . . was all about: ‘How do we consume as much of your time and
                       conscious attention as possible? And that means that we need to sort of give
14
                       you a little dopamine hit every once in a while, because someone liked or
15                     commented on a photo or a post . . . . And that’s going to get you to
                       contribute more content, and that’s going to get you . . . more likes and
16                     comments. . . . It’s a social-validation feedback loop . . . exactly the kind of
                       thing that a hacker like myself would come up with, because you’re
17                     exploiting a vulnerability in human psychology. . . . The inventors, creators
                       — it’s me, it’s Mark [Zuckerberg], it’s Kevin Systrom on Instagram, it’s all
18
                       of these people — understood this consciously. And we did it anyway.425
19
      Tellingly, many tech leaders, including individuals with inside knowledge of the defects of Meta’s
20
      social media platforms, either ban or severely limit their own children’s access to screen time and
21
      social media.426 Such leaders in the field include Tim Cook and former Facebook executives Tim
22
      424
23          Haugen_00000934 at Haugen_00000934.
      425
24     Mike Allen, Sean Parker unloads on Facebook: “God only knows what it’s doing to our
   children’s brains,” Axios (Nov. 9, 2017), https://www.axios.com/2017/12/15/sean-parker-unloads-
25 on-facebook-god-only-knows-what-its-doing-to-our-childrens-brains-1513306792.
   426
       Samuel Gibbs, Apple’s Tim Cook: “I Don’t Want My Nephew on a Social Network,” The
26
   Guardian (Jan. 19. 2018), https://www.theguardian.com/technology/2018/jan/19/tim-cook-i-dont-
27 want-my-nephew-on-a-social-

28                                                       116
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 122 of 325




 1 Kendall and Chamath Palihapitiya.427

 2                   3.     Meta intentionally designed its platforms to addict children and
                            adolescents.
 3
             350.    Meta designed Facebook and Instagram with harmful features that users encounter at
 4
       every stage of interaction with the platform and that led to serious problems in Plaintiffs’ schools
 5
       and communities. These include, but are not limited to (a) recommendation systems, fueled by
 6
       extensive content-agnostic user data, which are designed to promote use in quantities and frequency
 7
       harmful to youth; (b) features that prey upon children’s desire for validation and need for social
 8
       comparison; (c) features that are designed to create harmful loops of repetitive and excessive
 9
       platform usage; (d) lack of effective age-verification mechanisms, despite having the ability to
10
       implement them; (d) inadequate parental controls and facilitation of unsupervised use of the
11
       platforms; and (e) intentionally placed obstacles to discourage cessation of use of the platforms.
12
                            a.      Meta has failed to implement effective age-verification measures to
13                                  keep children off Facebook and Instagram
14
             351.    Even as Meta has carefully horded data about the children using its products for its
15
       own business purposes, Meta has refused to use the data it collects to mitigate harm to child users
16
       by implementing effective age verification tools. Meta purports to ban children under the age of 13
17
       from using its products but, at all relevant times, has lacked any reliable form of age verification to
18
       prevent such use.
19

20
   network#:~:text=The%20head%20of%20Apple%2C%20Tim,it%20was%20announced%20on%20
21 Friday; James Vincent, Former Facebook Exec Says Social Media is Ripping Apart Society, The

22 Verge (Dec. 11, 2017), https://www.theverge.com/2017/12/11/16761016/former-facebook-exec-
   ripping-apart-society.
23 427 Samuel Gibbs, Apple’s Tim Cook: “I Don’t Want My Nephew on a Social Network”, The

24 Guardian (Jan. 19. 2018), https://www.theguardian.com/technology/2018/jan/19/tim-cook-i-dont-
   want-my-nephew-on-a-social-
25 network#:~:text=The%20head%20of%20Apple%2C%20Tim,it%20was%20announced%20on%20
   Friday; James Vincent, Former Facebook Exec Says Social Media is Ripping Apart Society, The
26 Verge (Dec. 11, 2017), https://www.theverge.com/2017/12/11/16761016/former-facebook-exec-
   ripping-apart-society.
27

28                                                     117
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23       Page 123 of 325




 1           352.    Other online platforms employ substantially more effective and reliable age

 2     verification schemes before granting children access. These include, but are not limited to,

 3     connecting new users to parents’ accounts, credit card verification, verification by presentation of

 4     an identification card (or other government-issued document), or linking a verified undergraduate

 5     or professional email, among other methods. Meta chooses not to implement any of these systems,

 6     even though they are technologically feasible, used by many companies across the Internet, and

 7     could be employed at relatively low cost. Indeed, Meta itself uses an age verification technique for

 8     its Facebook Dating product that it claims can verify ages without identifying users—but does not

 9     use the same technology at account startup for Facebook or Instagram.428

10           353.    Underscoring the fig leaf nature of Meta’s age “verification” system, for most of its
11     history, Meta has known that children under the age of 13 are using its platforms. This was clearly
12     evidenced by, for example, posted photos of elementary school age users. Yet as long as a new user
13     simply clicked a box confirming that they were at least 13 years old, Meta asked no questions,
14     engaged in zero follow-up, and let the user access the platforms indefinitely. This did not go
15     unnoticed by certain of its employees who criticized the company’s policy: “[I]f we collected age
16     on IG we could age-gate this [referring to suicide and self-injury (“SSI”) posts] . . . and if we used
17     age classifiers we could detect under 13s and kick them off the platform.”429
18           354.    Indeed, Meta did not ask for the age of new Instagram users until December 2019,
19     after Instagram had been on the market for more than seven years.430 Even then, Meta did not ask

20     existing users to disclose their ages, effectively grandfathering in underage users. Indeed, an internal

21

22
      428
       Erica Finkle, Meta Director of Data Governance, Bringing Age Verification to Facebook Dating,
23
   Meta (Dec. 5, 2022), https://about.fb.com/news/2022/12/facebook-dating-age-
24 verification/.https://about.fb.com/news/2022/12/facebook-dating-age-verification/.
   https://about.fb.com/news/2022/12/facebook-dating-age-verification/.
25 429 META3047MDL-003-00086015 at META3047MDL-003-00086015.

26    430
         META3047MDL-003-00157020 at META3047MDL-003-00157020 (“[W]e have very limited
      age information on IG (we only started collecting age in December at registration)”).
27

28                                                     118
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504        Filed 12/18/23      Page 124 of 325




 1     document confirms that, in April 2020, Meta had an age for only approximately 55% of its users,431

 2     which Meta did not attempt to correct until August 30, 2021. Meta did not begin requiring age

 3     verification for users who attempt to change their age from under to over 18 until 2022.432

 4           355.   But even this minimal age verification procedure is toothless. Even now, over two

 5     years after Frances Haugen testified before Congress regarding the harm Meta knowingly causes to

 6     minors, users are only asked to self-report their birthday when signing up for a Facebook or

 7     Instagram account:

 8

 9

10

11

12

13

14

15

16

17

18

19
             356.   If users report a birthday indicating they are less than 13 years old, the platforms
20
       redirect them to the messages below:
21

22
      431
23       META3047MDL-003-00042548 at META3047MDL-003-00042551- META3047MDL-003-
      00042552.
24    432
      Instagram, Introducing New Ways to Verify Age on Instagram, Meta (June 23, 2022),
25 https://about.fb.com/news/2022/06/new-ways-to-verify-age-on-instagram/. Meta explained the
   choice of age by saying that they provide users under 18 with an experience that is appropriate for
26 their age, including “preventing unwanted contact from adults they don’t know.” However, as
   described below, each week hundreds of thousands of children are inappropriately contacted by
27 adults on Instagram.

28                                                   119
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 125 of 325




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12           357.   After acknowledging this message, users can immediately reattempt to create an
13     account and input an eligible birthday. When a user enters an eligible birthday, there are no
14     restrictions to creating an account other than having it linked to a cell phone number or an email. In
15     a matter of seconds—without meaningful age verification, identity verification, or parental
16     consent—children of all ages can create a Facebook or Instagram account, then immediately become
17     subject to recommendation systems designed to induce endless interaction with algorithmically
18     tailored user experiences, all while their behavior is closely but inconspicuously monitored, without
19     actual consent, to make a progressively more addicting experience.

20           358.   There can be no serious debate about whether Meta has more effective age verification

21     tools at its disposal. Meta has internal age identification models, such as the “teen_non_teen” model

22     or the “dim_ig_age_prediction_adult_classifier” that can estimate a user’s age.433 Although this tool

23

24    433
      Haugen_00003463, at Haugen_00003463- Haugen_00003465; see also Ibrahim Mousa Al-
25 Zaubi, Assef Jafar, & Kadan Aljoumaa, Predicting customer’s gender and age depending on mobile
   phone data, 6 Journal of Big Data 18 (Feb 19, 2029),
26 https://journalofbigdata.springeropen.com/articles/10.1186/s40537-019-0180-9 (discussing
   generally how a similar age prediction algorithm works).
27

28                                                    120
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23     Page 126 of 325




 1     could be used to identify when a user is under 13 (or, for that matter, if a user is a teenager and

 2     should therefore be safeguarded from particularly injurious aspects of Meta’s platforms), Meta does

 3     not use this safeguard.434

 4             359.   Perversely, Meta does employ age verification on Instagram—but only when a user

 5     self-reports they are younger than 13. In that case, Meta provides a user with what amounts to an

 6     appeal right: “if you believe we made a mistake, please verify your age by submitting a valid photo

 7     ID that clearly shows your face and date of birth.”

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
               360.   At best, this reflects a completely upside-down view of Meta’s duty of care, using age
25

26    434
            Haugen_00003463, at Haugen_00003463-Haugen_00003465.
27

28                                                    121
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504         Filed 12/18/23       Page 127 of 325




 1     verification to screen in minor users but not to screen them out. At worst, Meta’s “are you sure

 2     you’re really under 13” question invites pre-teens to falsify their identification to gain access to

 3     Instagram. Similarly, Meta imposes unnecessary barriers to the removal of accounts created by

 4     children under 13. Since at least April 2018, Instagram and Facebook both accept reports of accounts

 5     created by children under 13.435 However, before an Instagram or Facebook account is deleted, Meta

 6     requires verification that the child is under the age of 13. For example, Instagram’s reporting page

 7     states:

 8                  If you’re reporting a child’s account that was made with a false date of birth,
                    and the child’s age can be reasonably verified as under 13, we’ll delete the
 9                  account. You will not get confirmation that the account has been deleted,
                    but you should no longer be able to view it on Instagram. Keep in mind that
10
                    complete and detailed reports (example: providing the username of the
11                  account you’re reporting) help us take appropriate action. If the reported
                    child’s age can’t reasonably be verified as under 13, then we may not be
12                  able to take action on the account.436
13 Facebook’s reporting page contains almost identical language.437 By choosing to implement age

14 verification only before deleting accounts of users suspected to be children, but not when those

15 accounts are first created, Meta makes it more difficult to prove a user is under age 13 than it does for

16 a minor to pretend to be over 13.

17           361.   It is unclear how long Meta takes to delete a reported account, if it does so at all. Meta
18     has ignored some parents’ attempts to report and deactivate accounts of children under 13 years old.
19           362.   Between the first quarter of 2019 and the second quarter of 2023, Meta received over
20     1.1 million reports of under-13 users on Instagram via its underage reporting webform and in-app
21

22    435
       Report an Underage User on Instagram, Instagram,
   https://help.instagram.com/contact/723586364339719?fbclid=IwAR3E5rZo8zvp9Uw3giRoQRMy5
23 qFmIGpy-NOLLtpctHOwkalXtfJ1ft9O09Q; Report an Underage Child, Facebook,

24 https://www.facebook.com/help/contact/209046679279097
   436
       Report an Underage User on Instagram, Instagram,
25 https://help.instagram.com/contact/723586364339719?fbclid=IwAR3E5rZo8zvp9Uw3giRoQRMy5

26 qFmIGpy-NOLLtpctHOwkalXtfJ1ft9O09Q.
   437
       Reporting an Underage Child, Facebook,
27 https://www.facebook.com/help/contact/209046679279097.

28                                                    122
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 128 of 325




 1     underage reporting process. These processes were only a few of many ways that Meta acquired

 2     actual knowledge of under-13 users on its Social Media Platforms. Despite this actual knowledge,

 3     Meta disabled only a fraction of those accounts and routinely continued to collect children’s data

 4     without parental consent.

 5           363.   Meta even has a policy of automatically ignoring certain external reports that

 6     Instagram users are under 13 years old. After Meta receives a report that an Instagram user is under

 7     13 years old, Meta’s policy is to allow the user to continue using their Instagram account and

 8     disregard the report if the account does not contain a user bio or photos.

 9           364.   Zuckerberg has stated that he believes children under 13 should be allowed on

10     Facebook,438 so Meta’s lax approach to age verification appears to reflect true company policy.
11           365.   Meta’s approach to underage users has consistently been one of feigned ignorance. On
12     October 10, 2021, Senator Marsha Blackburn reported that a young celebrity told Instagram CEO
13     Adam Mosseri that she had been active on Instagram since she was eight. Mosseri replied that he
14     “didn’t want to know that.” 439
15           366.   But Meta does know that its age-verification protocols are inadequate to keep minors
16     off Facebook and Instagram. According to a May 2011 ABC News report, “about 7.5 million
17     [Facebook] users in the U.S. are under the age of 13, and about 5 million are under the age of 10.”440
18     Meta knows through retrospective cohort analyses that “up to 10 to 15% of even 10-year-olds in a
19

20
      438
21    Kashmir Hill, Mark Zuckerberg Is Wrong About Kids Under 13 Not Being Allowed on Facebook
   (May 20, 2011), https://www.forbes.com/sites/kashmirhill/2011/05/20/mark-zuckerberg-is-wrong-
22 about-kids-under-13-not-being-allowed-on-facebook/?sh=2ea85e825506.
      439
23     Protecting Kids Online: Testimony from a Facebook Whistleblower Hearing before Subcomm.
   On Consumer Protection, Product Safety, and Data Security (Oct. 5, 2021),
24 https://www.commerce.senate.gov/2021/10/protecting%20kids%20online:%20testimony%20from
   %20a%20facebook%20whistleblower.
25
   440
       Ki Mae Heussner, Underage Facebook Members: 7.5 Million Users Under Age 13, ABC (May
26 9, 2011), https://abcnews.go.com/Technology/underage-facebook-members-75-million-users-age-
   13/story?id=13565619.
27

28                                                    123
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504       Filed 12/18/23      Page 129 of 325




 1     given cohort may be on Facebook or Instagram.”441

 2             367.   Meta knows that its chosen method of registration does not adequately protect minor

 3     users from reporting inaccurate and implausible age information. As one product engineer cautioned

 4     while analyzing the age of Facebook users, “Don’t believe anything in the stated age graph for under

 5     30. They are all mixed up … We have way more people who say they are born in the early 90’s than

 6     exist in the population.”442

 7             368.   Meta’s internal studies confirm its knowledge that kids, tweens, and teens use its

 8     platforms. In one study, Meta researched children as young as seven and found that, in the fifth

 9     grade, “social media becomes a part of their digital diet.”443 Moreover, they identified that 24% of

10     children ages 7-9 and 38% of tweens ages 10-12 have at least one social media account,444 and
11     specifically stated that Instagram’s perceived user base included middle schoolers.445
12             369.   Another internal post reveals Meta’s knowledge of the widespread use of Instagram
13     by preteens, as well as its targeting of children under the age of 13. In a study from around January
14     2021, titled “The Role of the Teen in Shaping a Household’s Experience of Instagram,” Meta
15     expressed a desire to utilize teenagers as the doorway into capturing an entire household of users,
16     including children under age 13.446 The post explains that teens can be used to teach their preteen
17     siblings how to join while underage, and to help them develop a habit of using and posting
18     indiscriminately.447 The article expresses concern that some teens may teach their preteen siblings
19
      441
20     Protecting Kids Online: Testimony from a Facebook Whistleblower Hearing before Subcomm.
   On Consumer Protection, Product Safety, and Data Security (Oct. 5, 2021),
21 https://www.commerce.senate.gov/2021/10/protecting%20kids%20online:%20testimony%20from
   %20a%20facebook%20whistleblower.
22
   442
       Haugen_00012303 at Haugen_00012314.
23 443
       Haugen_00023849 at Haugen_00023910.
24 444 Haugen_00023849 at Haugen_00023866.
      445
25          Haugen_00023849 at Haugen_00023879.
      446
26          Haugen_00016728 at Haugen_00016728.
      447
            Haugen_00016728 at Haugen_00016728-Haugen_00016732.
27

28                                                    124
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23      Page 130 of 325




 1     to post less, and recommends that Meta combat this by changing perceptions among teens so that

 2     they will instruct their preteen siblings to use Instagram more spontaneously.448 Key discussion

 3     points from this document include:

 4                    Teens strongly influenced preteens’ understanding of what and how
                      frequently to share on IG, even discouraging them from sharing . . . . We
 5                    need to understand IG myths circulating among teens to inform comms and
                      shift the perception of sharing on IG. . . .
 6

 7                    Historically, teens have been a key focus for IG. Acquiring and maintaining
                      them continues to be a priority, reflected by investment in new features like
 8                    Reels. Additionally, capturing the teen user cohort on IG is critical as we
                      think about Instagram’s role within the broader family of apps. . . . [Teens]
 9                    are typically the first in a household to join. In many cases they’re also
                      critical to the onboarding process of parents and preteens alike. . . .
10

11                    Older teens were IG catalysts for preteens. Most preteens became curious
                      about and wanted an IG account because of their older sibling. In some
12                    cases, preteens even relied on their older sibling to create and set up their
                      account, seeking their guidance on a username, profile, and accounts to
13                    [F]ollow. . . . If we’re looking to acquire (and retain) new users we need to
                      recognize a teen’s influence within the household to help do so, and the
14
                      potential ripple effect. . . .449
15
               370.   But Meta has not used its copious knowledge about preteen engagement with its
16
       platforms to comply with the law. Far to the contrary, it has leveraged its research to manipulate
17
       households and target preteens through their siblings.
18
                             b.      Facebook’s and Instagram’s parental controls are ineffective
19
               371.   Once a child has begun scrolling on Meta’s platforms, they can use the platforms
20
       without any form of parental control or guidance.
21
               372.   Despite its obligations under COPPA, Meta does not require “verifiable parental
22
       consent” for minors to use Facebook or Instagram. Instead, Meta has chosen to avoid its obligations
23
       by purporting to ban children younger than 13, despite knowing that such children continue to
24

25
      448
            Haugen_00016728 at Haugen_00016736-Haugen_00016740.
26    449
            Haugen_00016728 at Haugen_00016728- Haugen_00016734.
27

28                                                     125
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 131 of 325




 1     access and use its platforms due to its inadequate age verification methods.

 2             373.   Meta’s lackadaisical approach to keeping young children off its products, as required

 3     by COPPA, or in any way recognizing that children have different social and emotional needs is

 4     clear from its internal documents. To Meta, “the COPPA line is simple: we treat 13+ like other users

 5     and ask younger people not to use our products.”450

 6             374.   While COPPA requires parental consent only for users under the age of 13, a

 7     reasonable company that knows or should have known its products are harmful to adolescents would

 8     require parental consent for any minor to use them. But Meta’s lack of parental consent requirement

 9     for any underage users robs parents of an important way to protect their children from the harms

10     caused by Instagram and Facebook.
11             375.   Meta has chosen to not: (a) require children’s accounts on Facebook and Instagram to
12     be linked to their parents’, as it does with another one of its platforms—Messenger Kids;451 (b) send
13     reports of a child’s activity to parents; (c) allow parents to implement maximum daily usage
14     limitations or to prohibit use during certain hours (e.g., school and sleep hours); (d) notify parents
15     about interactions with accounts associated with adults; or (e) require parental approval before a
16     minor can follow new accounts.
17             376.   Controls like these would enable parents to track the frequency, time of day, and
18     duration of their child’s use, and identify and address problems arising from such use. It is
19     reasonable for parents to expect that social media companies that actively promote their platforms

20     to minors will undertake reasonable efforts to notify parents when their children’s use becomes

21     excessive, occurs overnight, or becomes otherwise problematic. Meta could feasibly design

22     Instagram and Facebook to address these concerns at negligible cost.

23             377.   Meta creates a foreseeable risk to children in Plaintiffs’ schools and communities

24

25    450
            Haugen_00017238 at Haugen_00017240.
      451
26    Loren Chang, Introducing Messenger Kids, a New App for Families to Connect, Meta (Dec. 4,
   2017), https://about.fb.com/news/2017/12/introducing-messenger-kids-a-new-app-for-families-to-
27 connect/.

28                                                    126
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23     Page 132 of 325




 1     through its design choices, and then attempts to shift the burden of protection from those platforms

 2     onto parents. Meanwhile, Meta intentionally designs Facebook and Instagram to aid children’s

 3     efforts to undermine parental supervision. For example, Instagram and Facebook allow children to

 4     create a limitless number of anonymous accounts without parental approval or knowledge and

 5     allows kids to block parent profiles.452 On Instagram, children can post stories to “Close Friends

 6     Only,” i.e., to a select group of followers, excluding their parents. On Facebook, children can place

 7     their parents on a “restricted list” of people who are unable to view their stories. Meta has

 8     intentionally designed many aspects of Instagram and Facebook to undermine parental supervision

 9     in an effort to maximize teen usage: “If Mom starts using an app all the time, the app can lose a

10     ‘cool’ factor, if we’re not conscious of separation.”453 “We should be thinking about how parents
11     being on Instagram might effect [sic] graph management and teen engagement over time.
12     Discovery/usage of additional accounts could prove critical for authentic sharing by teens.”454
13             378.   As one internal document described the issue:
14                    [A]re teens able to maintain spaces that feel sacred to them (and their
                      friends) or do we see decreased usage or new behavior patterns emerge as
15                    household members join? . . . Preservation of protected spaces will require:
16                    [1] Learning how to create spaces within the app where teens feel like they
                      have privacy from both their own parents but also privacy from non-peers
17                    (e.g. Aunt Sally, neighbor down the street, teachers, etc.). [2] Finding

18    452
          In 2018, Meta observed that “the participation rate of multiple account switching (basically the
      equivalent of Finstas) [was] going up,” with 36% of teens engaging in multiple account switching.
19    Haugen_00017698 at Haugen_00017784. “Finsta,” a widely used slang term, is a contraction of
20    “fake” and “Insta” (short for Instagram). Caity Weaver and Danya Issawi, ‘Finsta,’ Explained, N.Y.
      Times (Sept. 30, 2021), https://www.nytimes.com/2021/09/30/style/finsta-instagram-accounts-
21    senate.html. “It is neither an official designation nor a type of account offered by Facebook. Rather,
      it is a term many users ascribe to secondary accounts they create for themselves on Instagram,
22    where their identities — and, often, the content of their posts — are obscured to all but a small,
      carefully chosen group of followers.” Caity Weaver and Danya Issawi, ‘Finsta,’ Explained, N.Y.
23
      Times (Sept. 30, 2021), https://www.nytimes.com/2021/09/30/style/finsta-instagram-accounts-
24    senate.html.
      453
            Haugen_00016728 at Haugen_00016735.
25
      454
      Haugen_00011969 at Haugen_00011974-75. “Graph management” apparently refers to efforts
26 by a user to unfollow accounts, i.e. “prun[e].” META3047MDL-003-00146492 at
   META3047MDL-003-00146495; META3047MDL-003-00178437.
27

28                                                     127
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504         Filed 12/18/23      Page 133 of 325




 1                       opportunities, such as [“]close friends[”] where teens have their own,
                         protected peer communities. [3] Understanding the value of certain features
 2                       being more complex (i.e. indirectly made for teens because more
                         challenging for parents or preteens). Both snapchat and TikTok are
 3
                         somewhat confusing to parents, in turn affording teens a protected place to
 4                       play/engage.455

 5                379.   Meta’s internal documents recognize that parents are largely ill-equipped to protect

 6     children from its platforms. As one employee asserted in the discussion of a focus group survey

 7     regarding the mental health impact of Meta’s platforms on teenagers:

 8                       The other big reason that parents are not a source of support has to do with
                         parents’ ability (or really, their inability) to understand what adolescence in
 9                       the age of social media looks and feels like. The parents of today’s teens
                         came of age before social media, so they don’t know and *can’t* know what
10
                         it’s like to live in what feels like a constant spotlight. When today’s parents
11                       were teens, social comparison was much more limited both in terms of
                         scope and scale. Teens today compare themselves to many more people,
12                       much more often, and about more parts of life than their parents did during
                         their adolescence. In addition, today’s parents were able to turn it off when
13                       they went home, while teens feel compelled to be on social media all the
14                       time.456

15                380.   When employees have raised the possibility of additional safeguards — “could we

16     offer a parental control feature so that parents and kids could learn and cope together?”—Meta has

17     consistently ignored them.457

18                381.   Finally, Meta has failed to develop effective reporting tools to deal with abuse directed

19     at underage Instagram and Facebook users. Meta does not have a phone number that a parent,

20     caregiver, teacher, school counselor, school administrator, or child can call to report such abuse in

21     real-time, and its online reporting mechanisms lack immediate response protocols, regardless of the

22     seriousness of the harm at issue. In fact, Meta has, in some instances, declined to respond to reports

23     filed through its online reporting tool, citing technical issues.

24

25
      455
            Haugen_00016728 at Haugen_00016735.
26    456
            Haugen_00017069 at Haugen_00017173.
27    457
            Id.
28                                                         128
                                                                               PLAINTIFFS’MASTER COMPLAINT
                                                                    (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                   CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 134 of 325




 1                           c.     Facebook’s and Instagram’s algorithms maximize engagement,
                                    promoting use at levels and frequency that is harmful to kids
 2
               382.   Meta has invested its vast resources to intentionally design Facebook and Instagram
 3
       to be addictive to adolescents, all the while concealing these facts from its users and the public,
 4
       including Plaintiffs and those in Plaintiffs’ schools and communities.
 5
               383.   As discussed above, in their original forms, Meta’s Facebook and Instagram feeds
 6
       were organized chronologically, meaning that a particular user’s feed was organized according to
 7
       when material was posted or sent by the people the user followed. In 2009, Meta did away with
 8
       Facebook’s chronological feed in favor of engagement-based ranking; in 2016, it did the same on
 9
       Instagram. This “engagement-based” system meant that posts that received the most likes and
10
       comments were highlighted first for users. But facing declining engagement, Meta redesigned its
11
       algorithms once again in or around early 2018. This change prioritized “meaningful social
12
       interaction” (“MSI”), with the goal of using data collected to show users feeds with which they were
13
       most likely to engage. The MSI-oriented algorithms purportedly emphasize the interactions of
14
       users’ connections, e.g., Likes and comments, and give greater significance to the interactions of
15
       connections that appear to be closest to users based on user data. Thus, the current algorithms
16
       consider a post’s Likes, shares, and comments, as well as a respective user’s past interactions with
17
       posts with similar user-reaction characteristics and displays the post in the user’s feed if it meets
18
       these and certain other benchmarks.
19
               384.   While Meta has publicly attempted to cast MSI as making time spent on its platforms
20
       more “meaningful,” MSI was actually just another way for Meta to increase user engagement on
21
       Instagram and Facebook. While the feature increases the likelihood that an interaction will be
22
       “meaningful” by Meta’s definition—more likes, comments, and interactions—it does not consider
23
       whether recommended content is “meaningful” to the user. This sets up users who may have reacted
24
       negatively to upsetting or dangerous posts to see more of the same. That, in turn, can lead to what
25
       Meta itself calls a “horrible feedback loop / downward spiral”458—with negative reactions leading
26

27    458
            META3047MDL-003-00068860 at META3047MDL-003-00068861.
28                                                    129
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504       Filed 12/18/23      Page 135 of 325




 1     to Meta’s recommendation systems presenting similar posts because the system is simply seeking

 2     out reactions, without any understanding of what they are directed to or what they signify.

 3             385.   In internal discussions, Meta employees acknowledged the fact that Meta’s

 4     Recommendation Algorithms tend to pull young users into “negative spirals” and “feedback loops”

 5     whereby the algorithmic sequencing of content has detrimental effects on the well-being of young

 6     users. For example, in one internal communication discussing potential “[c]ontent policies” for the

 7     unlaunched “Instagram Youth” Platform, Meta employees expressed concern with the “well-being

 8     challenge” of “content on IG triggering negative emotions among tweens and impacting their mental

 9     well-being (and) our ranking algorithms taking [them] into negative spirals & feedback loops that

10     are hard to exit from.”
11             386.   Much of what Meta shows users is material that they did not sign up for but cannot
12     avoid. In a 2019 internal document, a Meta data scientist explained: “users have told us the pages
13     they would like to see content from, but we often override those explicit preferences because our
14     predictions of what will get shared and engaged with disagree.”459 This same employee pointed to
15     additional data demonstrating that users get relatively little connected posts (from pages they chose
16     to like) as opposed to unconnected posts that are reshared by others, even as Meta knows that such
17     material is less valued by users.460
18             387.   Meta also optimizes the design of its platforms for overall “network value”—that is,
19     what will get the most downstream engagement by other users—rather than what that specific user

20     would like.461 As one Meta employee put it, “we show things to users that we think they have a

21     small chance of sharing, leading to comments between people who see it downstream over things

22

23
      459
24    Haugen_00021247 at Haugen_000212448; see also Haugen_00006798 at Haugen_00006799
   (Meta Research Scientist in 2019: “it’s at best unclear whether users ‘want’ us to put unconnected
25 stories in their feed, even if they like some of them.”).
      460
26          Haugen_00021247 at Haugen_000212448.
      461
            Haugen_00021247 at Haugen_00021251.
27

28                                                    130
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23        Page 136 of 325




 1     that have a greater chance of being explicitly liked by that user.”462

 2              388.   Through these algorithms, Meta intentionally supplants the material that users have

 3     elected to see with items that it believes will drive more use and engagement. Thus, the platforms

 4     that Meta touts as “[g]iv[ing] people the power to build community and bring[ing] the world closer

 5     together,” are designed in a way that prioritizes not social connection but platform use, even when

 6     the cost is the health and safety of young people.463 The result for Meta is an increase in its bottom

 7     line. The result for young users is platforms that are so addictive that they return again and again,

 8     even when their mental and physical health suffers greatly.

 9              389.   Meta knew that its engagement-based ranking algorithm (and its subsequent, iterative

10     MSI ranking algorithm) was structured so that posts that produce intense reactions (i.e., strong
11     engagement) triggers amplification by the apps. This propels users into tailor-made reactive
12     experiences, favoring posts that generate engagement from the specific user because they are
13     extreme in nature. Zuckerberg publicly recognized this in a 2018 post, in which he demonstrated
14     the correlation between engagement and sensational content that is so extreme that it impinges upon
15     Meta’s own ethical limits, with the following chart:464 While Zuckerberg went on to claim that Meta
16     had designed its algorithms to avoid this natural propensity of engagement-based algorithms, his
17     claim to the public is belied by the extensive internal and external research indicating Meta’s
18

19

20

21

22

23

24    462
            Haugen_00021247 at Haugen_00021251.
      463
25          Meta, Mission Statement, Meta, https://about.meta.com/company-info/.
      464
26       Mark Zuckerberg, A Blueprint for Content Governance and Enforcement, Facebook,
      https://www.facebook.com/notes/751449002072082/.
27

28                                                     131
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 137 of 325




 1     platforms did amplify extreme material.

 2

 3

 4

 5

 6

 7

 8

 9

10

11             390.   Other documents show that Meta’s employees also discussed their motive for
12     changing the design of the algorithms—namely, that users began to interact less with the platform,
13     which became a worrisome trend for Meta’s bottom-line. Meta’s engagement-based algorithm
14     (including its MSI variant) was designed to drive more engagement, which, in turn, helped Meta
15     sell more of the digital ads that generated most of their revenue. In 2016, one Facebook Tech Lead
16     wrote: “[W]e only cared about things like time spent, open links, etc. That’s what we optimized for.
17     That’s what we used to define success and failure. And that’s the problem.”465
18             391.   To predict what posts will capture users’ attention, Meta intentionally designed its
19     MSI-focused algorithms to collect and analyze user behavior data, including data from adolescent
20     users, such as a user’s profile information, what posts the user reports, what the user posts, posts
21     viewed, posts engaged with, navigation paths, watch time, hover time (the amount of time a user
22     viewed a piece of content), whether a user mutes or unmutes a video, and whether a user makes a
23     full video screen, among other data.466 The aspects of this data relevant to Plaintiffs’ Complaint do
24     not take into account the actual message of the posts a user interacts with, instead focusing only on
25

26    465
            Haugen_00001033 at Haugen_00001033.
27    466
            Haugen_00017177 at Haugen_00017177.
28                                                    132
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 138 of 325




 1     the fact of the interaction, consistent with Meta’s laser-like focus on increasing the time users spend

 2     on their platforms.

 3           392.    Meta also tracks and utilizes data from various other sources, such as users’ off-

 4     platform activities and the activities on websites that contain Facebook or Instagram “Like” or share

 5     buttons or incorporate a Facebook Pixel.467

 6           393.    Meta’s algorithmic ranking is utilized in a variety of platform features that are

 7     designed by Meta to maximize user engagement. For example, the Instagram platform consists

 8     primarily of a never-ending and user-specific Feed. In the app’s “Home” pane, this feed includes

 9     (but is not limited to) photos and videos posted by Instagram users that the user has elected to

10     “follow,” as well as recommended photos and videos. In the app’s “Explore” pane, the feed consists
11     almost exclusively of photos and videos from users the user has not elected to “follow.” In both
12     cases, Instagram’s recommendation system evaluates data about each users’ behavior to predict
13     what posts will maximize their attention and time spent using the platform—not on the basis of the
14     actual information conveyed by the posts but by combing through data about users’ reactions to
15     posts and connections and correlations between users.
16           394.    Other “recommendation” system features that are similarly algorithmically powered
17     to drive compulsive use include Facebook’s Newsfeed, Instagram’s Feed, Instagram Reels,
18     Facebook Reels, Facebook Watch (and its “For You” page), Accounts to Follow, People You May
19     Know (introductions to persons with common connections or backgrounds), Groups You Should

20     Join, and Discover (recommendations for Facebook groups to join).

21           395.    While Meta has publicly attempted to cast MSI as making time spent on its platforms

22     more “meaningful,” MSI was just another way for Meta to increase user engagement by

23     weaponizing user data to fuel its addition machine. MSI only increases the chance that platform

24     interaction will be “meaningful” by Meta’s definition—more “Likes,” comments, and interactions,

25
      467
26    Allen St. John, How Facebook Tracks You, Even When You're Not on Facebook, Consumer
   Reports (April 11, 2018), https://www.consumerreports.org/privacy/how-facebook-tracks-you-
27 even-when-youre-not-on-facebook-a7977954071/.

28                                                     133
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504            Filed 12/18/23    Page 139 of 325




 1     the data points that drive Meta’s bottom line—it does not consider whether it will be meaningful to

 2     users. This sets up users who may have rejected upsetting or dangerous posts to see more of the

 3     same, because any interaction with a post prompts more posts with similar user behavior data

 4     indicators, resulting in what Meta itself calls a “horrible feedback loop / downward spiral.”468 Also

 5     referred to as “fee[d]ing the spiral,”469 the MSI algorithm increases the likelihood that a user sees

 6     posts “that makes them feel bad, they engage with it [even if only to reject it], and then their [user

 7     experience] is flooded w[ith] it.”470 Meta recognizes that Instagram users at risk of suicide or self-

 8     injury—information that it collects—are more likely to “encounter more harmful suicide and self-

 9     injury content (through explore, related, follower suggestions, etc),”471 not because Instagram’s

10     recommendation systems are seeking out posts about those topics, but because the system is
11     combing through user behavior data to find the post that is most likely to keep the user on
12     Instagram.472 As a result of this prioritization of engagement above all else, any harmful feeling or
13     impulse that keeps users on Instagram longer it is amplified by Instagram—turning the platform
14     into a mechanical echo chamber screaming their most upsetting thoughts back at them.
15             396.   Meta conducted research into dangerous spirals—dubbed the “Rabbithole project”—
16     yet it did nothing to stop harm to its young users.
17             397.   Meta has been clear about the problem: for young users, “our recommendations
18

19
      468
20          META3047MDL-003-00068860 at META3047MDL-003-00068861.
      469
       META3047MDL-003-00121808 at META3047MDL-003-00121808. Meta employees
21
   sometimes refer to this “spiral” as a “rabbit hole.” See also META3047MDL-003-00077939 at
22 META3047MDL-003-00077939.
   470
       META3047MDL-003-00121808 at META3047MDL-003-00121808.
23
   471
       META3047MDL-003-00068863 at META3047MDL-003-00068905, META3047MDL-003-
24 00068878; see also META3047MDL-003-00042548 (“[P]eople who are suffering from depression
   and self-harm go down IG, and explore functionality compounds this issue.”).
25
   472
       META3047MDL-003-00068863 at META3047MDL-003-00068905, META3047MDL-003-
26 00068878; see also META3047MDL-003-00042548 (“[P]eople who are suffering from depression
   and self-harm go down IG, and explore functionality compounds this issue.”).
27

28                                                    134
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 140 of 325




 1     algorithms will start pushing you down a rabbit hole.”473 They have been clear about potential

 2     solutions: targeted changes to the algorithm do lead to a “meaningful drop in exposure” to

 3     problematic material.474 But they have been resistant to making changes—including any change to

 4     collect less data to fuel its recommendation algorithms—for the starkly profit-minded reason that

 5     such tweaks “came with a clear engagement cost.”475

 6                          d.      Facebook and Instagram are designed to promote addictive use by
                                    child users
 7
             398.   In addition to behavior-driven recommendation systems, Facebook and Instagram rely
 8
       on a series of design features that are carefully calibrated to exploit young users’ neurobiology to
 9
       drive user engagement (and thereby drive data collection and advertising revenue). These features
10
       promote addictive engagement. Meta understands this, with internal studies reflecting the fact that
11
       “teens tell us that they try to take a break but feel compelled back onto the app.”476 But it does not
12
       warn prospective or current users about the following features or their safety risks, which are
13
       particularly harmful to children and result in serious problems in Plaintiffs’ schools and
14
       communities. Instead, Meta continues to be driven by a belief that for “long-term retention” “the
15
       young ones are the best ones. . . . You want to bring people to your service young and early.”477
16
             399.   First, Meta’s recommendation systems and algorithms exploit its exhaustive content-
17
       agnostic data point about users’ interaction with Meta’s platforms—from click patterns to location
18
       to social networks—to maximize the amount of time users spend on Defendants’ platform and
19
       otherwise fuel Meta’s addiction and advertising machine.
20
             400.   Second, Meta programs IVR into its platforms. Behavioral training via intermittent
21

22    473
       META3047MDL-003-00077939; see also META3047MDL-003-00068860 at *60 (users
   “seeking” bad experiences can “get into a rabbithole of getting more and more bad content on our
23
   surfaces.”); META3047MDL-003-00087111 at 7112 (acknowledging that a majority of “negative
24 experiences” come from algorithmically-powered features like explore and hashtags).
   474
       META3047MDL-003-00077939.
25
   475
       Id.
26 476
       META3047MDL-003-00093303.
27 477 META3047MDL-003-00085000.

28                                                    135
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 141 of 325




 1     variable rewards keeps users endlessly scrolling in search of a dopamine release, oftentimes despite

 2     their desire to put their device down and move onto other activities. Children, who are less likely to

 3     have adequate impulse control than adults, are more susceptible to being drawn into this engineered

 4     flow state and more likely to grow dependent on Facebook or Instagram.

 5           401.   Facebook and Instagram utilize “Likes” and other notifications to control the release

 6     of dopamine in children. This feature, which Meta first created for Facebook and “introduced … to

 7     the world” in 2010, allows users to indicate that they approve a post, and visibly tallies the number

 8     of “Likes” any given post has earned.478 Instagram launched in 2010 with the Like feature built-

 9     in—a user can “Like” a post simply by tapping a heart-shaped button.

10           402.   As with a slot machine, users never know when a “Like” will come. Rather than
11     delivering “Likes” in real time, Meta’s platforms space out “Likes” (and other notifications such as
12     comments and follows) to trigger on a schedule most likely to strengthen users’ addiction, e.g.,
13     when they would otherwise end their use sessions. This design conditions users to stay on the
14     platforms, including through social comparison and feedback seeking, creating detrimental effects
15     on minors’ physical and mental health. Indeed, Meta knows from its own internal research that the
16     “Like” feature negatively impacts its younger users.479 In that research, Meta acknowledged how
17     much users care about the number of “Likes” they received.480
18           403.   A June 2018 internal presentation even more explicitly recognized the dangers of
19     dopamine manipulation, stating that that “[i]t may be a problem if Facebook seems rewarding [to

20     users] based on the principle of unpredictability, while the inherent value of the reward is lacking.”

21     This includes “[n]otifications with little or no relevance, and that come at unpredictable times,”

22     “[p]rominent novel content that creates unwanted distractions,” “[n]ews feed stories with seemingly

23
      478
24       Ray C. He, Introducing new Like and Share Buttons, Meta (Nov. 6, 2013),
      https://developers.facebook.com/blog/post/2013/11/06/introducing-new-like-and-share-buttons/.
25    479
       See Haugen_00008207 at Haugen_00008210 (explaining the stress and anxiety that likes cause
26 teens).
   480
       Haugen_0008207 at Haugen_0008232.
27

28                                                    136
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 142 of 325




 1     ‘random’ content and unpredictable order,” and “[o]ther use of unpredictable rewards, such as

 2     delays to load.” The same document cautioned that dopamine “rewards available through Facebook

 3     may contribute to problems for some people.”481

 4           404.    Despite this knowledge, Meta has expanded the “Likes” feature in both Facebook and

 5     Instagram. In December 2016, Meta began allowing users to “Like” comments, not just posts. In

 6     February 2022, Meta began allowing users to “Like” Instagram Stories.482 Expanding the “Like”

 7     feature has intensified and multiplied the body of feedback that teen users receive (or don’t receive)

 8     on their posts, preying on their desire to seek validation through comparison with others and acts as

 9     an additional agent of addiction.

10           405.    Meta’s research confirms that hiding “Likes” for all its users would decrease social
11     comparison on the apps.483 Yet its research also demonstrated that hiding “Likes” would decrease
12     the rates at which users click on advertisements (and thereby lower Meta’s ad revenue).484
13           406.    For that reason—despite its ability to alleviate the negative impact of “Likes” on
14     younger users—Meta chose only to implement ineffective, nominal measures as a public relations
15     strategy. Meta first created the option for users to hide “Like” counts in May 2021, but it made this
16     an optional setting left off by default.485 Moreover, even when hidden, the number of “Likes”
17     remains visible to the poster. These changes stop short of resolving the issue of negative social
18     comparison and compulsive use that these score-keeping features cause.
19           407.    Third, Meta has designed its video features to create and maximize users’ flow state,

20
      481
21       State of Arizona, et al v. Meta Platforms, Inc. et al. (N.D. Cal.) (Oct. 24, 2023) (“AG Compl.”)
      para. 164 (ECF No. 495-1).
22    482
       Jhinuk Sen, Instagram is adding Likes to Stories so it doesn’t clog up people’s inboxes, Business
23 Today (Feb. 15, 2022), https://www.businesstoday.in/technology/news/story/instagram-is-adding-
   likes-to-stories-so-it-doesnt-clog-up-peoples-inboxes-322661-2022-02-15.
24 483
       Haugen_0008207 at Haugen_0008232.
25 484 Haugen_0008207 at Haugen_0008250.
      485
26    Meta, Giving People More Control on Instagram and Facebook (May 26, 2021),
   https://about.fb.com/news/2021/05/giving-people-more-
27 control/https://about.fb.com/news/2021/05/giving-people-more-control/.

28                                                    137
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504       Filed 12/18/23      Page 143 of 325




 1     which also keeps them immersed in its platforms for longer periods of time. Video clips on

 2     Facebook Reels and Instagram Reels automatically play as users scroll, and automatically restart

 3     once scrolling is concluded. Reels cannot be paused, and tapping on the video will simply mute its

 4     audio. In addition, Meta imposes limits on the length of videos on Reels (currently 90 seconds, and

 5     at times as short as 15 seconds). These limits ensure that users do not become bored by long videos

 6     and end their sessions.

 7           408.    Meta designed the comment features of Reels to minimize any disruption to users’

 8     heightened flow state. The interface of Reels displays the “Like,” “Comment,” “Save,” and “Share”

 9     buttons on the bottom right of tDhe screen. This placement avoids the milliseconds of delay or

10     discomfort that could disrupt the flow state of right-handed users if placed elsewhere on the screen.
11     Furthermore, these buttons are overlaid on top of the continuously playing clips, to eliminate any
12     temporal or visual interruption during which a user might evaluate whether to continue using the
13     platform. Likewise, when a user taps to view the comments on a Reel, the video’s audio and the top
14     quarter of the video continue to play behind the comments section. Again, this design feature keeps
15     the user’s attention on the feed.
16           409.    In keeping with its study of IVR, Meta knows when to strategically interrupt a user’s
17     flow. Occasionally, while a video is playing, a comment from the video will appear on the bottom
18     of the screen, even without the user tapping to view the comments section. These comments are
19     selected based on the trove of user data that Meta algorithms collect and then displayed and timed

20     intentionally to retain a user’s attention by engaging with the comments section.

21           410.    Fourth, Meta carefully calibrates the notifications it sends outside of the Facebook

22     and Instagram apps, to maximize success in drawing back users who are not presently using the

23     platforms. By default, Facebook and Instagram notify users through text and email about activity

24     that might be of interest based on Meta’s collection of user data, which prompts users to open and

25     reengage with the platforms. However, Meta intentionally chooses to display only a limited amount

26     of information in notifications, in order to trigger curiosity and manipulate the user to click or tap

27

28                                                    138
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504       Filed 12/18/23      Page 144 of 325




 1     through to the platform.486 In December 2020, Meta internally acknowledged that the goal of this

 2     feature was to optimize engagement at the expense of value to users: “A few years ago we stopped

 3     sending out emails telling you what happened - e.g., telling you what your friend did - instead we

 4     just say ‘someone comment [sic] on your post,’ in the hope that you’ll click through. This a clear

 5     value-engagement tradeoff.”487 Similarly, Meta stopped sending push notifications about friend

 6     activities, finding that, without notifications, users were forced to go to the platform itself to “check

 7     what’s happening,” thereby initiating a new session, increasing engagement, and improving Meta’s

 8     bottom line.488

 9                411.   Meta pursued its strategy of maximizing engagement through notifications to young

10     users despite knowing from its own internal research that
11

12                                     ”489
13                412.   This was not an isolated finding. In an email thread from late 2017 and early 2018,
14     then Vice President of Analytics Alex Schultz added, “fundamentally I believe that we have abused
15     the notifications channel as a company.” 490
16                413.   In a November 2019 internal presentation entitled “[Instagram Notification Systems
17     Roadshow,” Meta’s research revealed that as a result of its “high volume” push notifications, young
18     users are “overload[ed],” “overwhelm[ed],” and compelled to re-open Instagram repeatedly
19     throughout the day.491 Despite acknowledging users’ concerns that Instagram’s push notifications

20     had the potential to “constantly harm . . . mental health,” Meta deferred the “harmful effect on teen

21
      486
22      Clickbait, Merriam-Webster Dictionary, https://www.merriam-
      webster.com/dictionary/clickbait.https://www.merriam-webster.com/dictionary/clickbait.
23    487
            Haugen_00010114 at Haugen_00010117.
24    488
            Id.
      489
25          Haugen_00021690 at Haugen_00021690.
      490
26          AG Compl. para. 321.
      491
            META304/7MDL-003-00026502-0026503.
27

28                                                      139
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 145 of 325




 1     usage” for further investigation.492

 2             414.   Similarly, in May 2020, Meta conducted research entitled “Teen Fundamentals.” This

 3     research showed that because “[a]pproval and acceptance are huge rewards for teens,” notifications

 4     are highly effective in encouraging teens to continue coming back the Meta’s platforms over and

 5     over again in hopes of receiving an “award,” i.e., some type of positive social validation.493 Indeed,

 6     the research noted that teen brains have “insatiable” need for these “feel good dopamine effects.”494

 7             415.   The harms caused by Meta’s deployment of notifications to boost engagement are

 8     compounded by the fact that Meta sends push notifications in the middle of the night, prompting

 9     children to re-engage with Instagram and Facebook when they should be sleeping. Disturbed and in

10     sufficient sleep is associated with poor health outcomes.495
11             416.   But even with this knowledge, Meta makes changing notifications difficult (because
12     it knows that they drive engagement and dollars) — many users reported that changing notification
                                         496
13     settings was
14             417.   Fifth, the “Stories” and live features of both Facebook and Instagram is designed to
15     create artificial urgency so that users return to the apps more frequently.
16             418.   “Stories” was added by Meta in response to the growing popularity of Snapchat with
17     teenagers in 2016. “Stories” appear at the top of a user’s home page upon opening the app and are
18     available to view for only 24 hours, after which they disappear. This creates pressure to use the
19     platform daily, or else risk missing out on dopamine-causing stimuli or social interactions. This

20     feature is particularly addictive to adolescent users, like those in Local Government and School

21     District Plaintiffs’ schools and communities, who feel increased social pressure to view all their

22
      492
23          META3047MDL-003-00026502-00026503.
      493
            META3047MDL-003-00132793
24    494
            META3047MDL-003-00132762.
25    495
       Nat’l Inst. of Mental Health, The Teen Brain: Still Under Construction 6 (2011),
26 http://www.ncdsv.org/images/NIMH_TeenBrainStillUnderConstruction_2011.pdf.
   496
       Haugen_00011969-Haugen_00011983.
27

28                                                     140
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23    Page 146 of 325




 1     contacts’ stories each day before they disappear, thus increasing their compulsive usage and

 2     potential addiction to the platform.497 The ephemeral nature is a ploy intended to inspire urgent

 3     perusal, and it works.498

 4             419.   Meta’s internal data shows that

 5

 6

 7
                            499
 8

 9             420.   Instagram’s “Live” feature, launched 2016, creates similar artificial urgency and

10     FOMO. Through the “Live” feature, an Instagram user can broadcast livestream videos for their
11     followers or the public to watch and react to in real time.500 As the feature’s name suggests, these
12     videos are only accessible and can be interacted with during the time that the user is going “Live.”
13             421.   When an Instagram account “goes Live,” Instagram sends out a notification on the
14     mobile devices of users that follow that account that reads, “[@user] started a live video. Watch it
15     before it ends!”501 Instagram sends this notification even when a user does not have the Instagram
16     app open to induce them to re-open and revisit the platform.
17             422.   Emails to Instagram executives show that the “Live” feature was designed to
18

19    497
       Sarah Lempa, Why Are Instagram Stories So Addicting?, Healthline (April 5, 2021),
20 https://www.healthline.com/health/why-are-instagram-stories-so-addicting#The-story-behind-the-
   Stories.
21 498
       Madiha Jamal, Ephemeral Content — The Future of Social Media Marketing, Better Marketing
22 (March 2, 2021), https://bettermarketing.pub/ephemeral-content-the-future-of-social-media-
   marketing-996d265916c2#:~:text=Ephemeral%20content%20relates%20to%20the,WhatsApp%20
23 Stories%2C%20and%20LinkedIn%20Stories.
      499
24          META3047MDL-003-00023933.
   500
       Live, Instagram Help Ctr., https://help.instagram.com/272122157758915/?helpref=hc_fnav (Last
25 visited Nov. 14, 2023).

26    501
         Notification Settings, Instagram Help Ctr., https://help.instagram.com/105448789880240 (Last
      visited Nov. 14, 2023).
27

28                                                      141
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23       Page 147 of 325




 1     maximize young users’ time spent on Instagram. In a December 2015 strategy email to Meta’s

 2     executives, including former Instagram CEO Kevin Systrom and CTO Mike Krieger, Meta

 3     employees set goals “[to] drive substantial watch time via Live” by “[finding] partners to appeal to

 4     teens” and “driving time spent” for teens by “supporting initiatives” around “Live Events.”

 5             423.   Sixth, Instagram and Facebook have recognized that by prioritizing engagement above

 6     all else, their algorithms are structured to recommend “keywords” or “hashtags” to its young users

 7     that navigate them to dangerous content.502

 8

 9

10

11

12

13
               503
14

15             424.   As another set of Meta researchers acknowledged, the majority of negative
16     experiences on Instagram come not from direct interactions with others (i.e., through comments or
17     direct messages) but rather through algorithmically-generated recommendations, via Explore, Feed,
18     or hashtags, fueled by algorithm-collected user data.504
19             425.   This effect is especially pronounced on Instagram’s Explore Feed. As one internal

20     research paper stated:

21
                      Pooled across all topics, seeing more unconnected content [i.e., content
22                    from accounts that a user has not chosen to follow] is associated with worse
                      appearance comparison. Women who spend proportionally more time on
23                    Explore (where we promote unconnected content) also have higher levels
24    502
       See META3047MDL-003-00068863 at META3047MDL-003-00068905 (“We are leading users
25 to content that can intensify their feelings through suggested/related hashtags”).
      503
26          META3047MDL-003-00184583
      504
            META3047MDL-003-00087111 at 7112.
27

28                                                     142
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23     Page 148 of 325




 1                       of appearance comparison. . . . In a recent listening session, one creator
                         described Explore as “a landmine for everything I want to avoid on IG” . . .
 2                       because it triggers appearance comparison.505
 3                426.   The danger that these features pose to young users, and by extension their communities
 4     as a whole, was not a mystery to Meta.
 5                427.   In 2017, Meta investigated Facebook users who were addicted to the platform—that
 6     is, those who “cannot stop using [the] product to the point where it can cause them harm.”506 The
 7     research found that, “[i]n a given week, approximately 5.9 million people leave Facebook” because
 8     they “spent too much time” or because they were taking a temporary break and “planned to
 9     return.”507 “[T]his subset provided a good signal for people who could be addicted, who ultimately
10     leave Facebook as a solution.”508 The analysis also found that this subset had a higher number of
11     sessions per day, received more notifications, and responded quicker to notifications compared to
12     all users.509 In 2018, Meta examined the issue of what its researchers called “Facebook addiction”
13     through a study titled “Problematic Facebook Use: When People Feel Like Facebook Negatively
14     Affects Their Life.”510 The investigators defined “problematic use” as meaning: “Serious problems
15     with sleep, work or relationships that they attribute to Facebook AND concerns or preoccupations
16     about how they use Facebook (e.g., a fear of missing out (FOMO) or lack of control).”511 Notably,
17     the investigators did not target the heaviest Facebook users in their research.512
18

19

20    505
            META3047MDL-003-00048726.
21    506
         Haugen_00016893 at Haugen_00016895. This group’s investigation also included meeting with
      Nir Eyal, author of the book Hooked: How to Build Habit-Forming Products.
22
      507
            Haugen_00016893 at Haugen_00016898.
23    508
            Id.
24    509
            Haugen_00016893 at Haugen_00016899-Haugen_00016802.
      510
25          Haugen_00021690 at Haugen_00021690.
      511
26          Haugen_00021690 at Haugen_00021692.
      512
            Haugen_00021690 at Haugen_00021697.
27

28                                                        143
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23     Page 149 of 325




 1                428.   The study found that up to 5% of teens ages 13-20 were problematic users.513

 2     “Problematic use is highest among teens and people in their 20s, consistent with previous findings

 3     that younger people generally have more problems with self-regulation.514 Additionally,

 4     “problematic users” evidenced common tendencies, such as (a) accessing and spending more time

 5     on Facebook; (b) using Facebook late at night; (c) receiving more and responding more quickly to

 6     push notifications; (d) temporarily deactivating their account in the past; and (e) sending far more

 7     messages per minute with a higher ratio of messages sent to messages received.515 Meta understands

 8     that “teens feel addicted to IG and feel a pressure to be present” and “like addicts, they feel that they

 9     are unable to stop themselves from being on IG.”516

10                429.   A study into Instagram user behaviors from that same year similarly found that “high
11     time spent users do tend to be disproportionately younger users, and these users may warrant extra
12     attention.”517 The study found that “[a]s time spent increases, we see a larger proportion of users
13     that are high school, college or early work life-stages, with additional increases in high school when
14     we zoom in on the top 1% of time spent users.”518
15                430.   Meta knows that “problematic use” of Facebook and Instagram leads to real problems.
16     In one internal company document, Meta acknowledged that the pressure to be present and obtain
17     validation on Instagram meant that teens lacked the capacity to “switch off and shut down,” noting
18     that teens “can get addicted to things that make them feel bad.”519 One of Meta’s data scientists did
19     not mince words when describing this phenomenon to their colleagues:

20                       I worry that driving sessions incentivize us to make our product more
                         addictive, without providing much more value. How to keep someone
21
      513
            Haugen_00021690 at Haugen_00021699.
22
      514
            Haugen_00021690 at Haugen_00021697.
23    515
            Haugen_00021690 at Haugen_00021695-Haugen_00021697.
24    516
            META3047MDL-003-00157036 at META3047MDL-003-00157036.
      517
25          Haugen_00017177 at Haugen_00017181.
      518
26          Id.
      519
            Haugen_00017069 at Haugen_00017128, Haugen_00017132.
27

28                                                       144
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23      Page 150 of 325




 1                    returning over and over to the same behavior each day? Intermittent rewards
                      are most effective (think slot machines), reinforcing behaviors that become
 2                    especially hard to distinguish—even when they provide little reward, or
                      cease providing reward at all.520
 3

 4 Another Meta employee was clear-eyed that “little reward” was too charitable—and that addictive

 5 use was actively harming kids’ mental health:

 6                    In the focus groups teens told us that they don’t like the amount of time they
                      spend on the app but feel like they have to be present. They often feel
 7                    ‘addicted’ and know that what they’re seeing is bad for their mental health
                      but feel unable to stop themselves. This makes them not feel like they get a
 8                    break [sic] or to can’t switch off social media. . . .
 9                    [A]bout 30% (and an even larger proportions of those who are unsatisfied
10                    with their lives) said that the amount of time they spend on social media
                      makes them feel worse. About half of teens in both markets want Instagram
11                    to take a break or to get off the app. . . . [In another survey], we found that
                      time spent is among one of the most negative experiences for IG (25%+ say
12                    they spend too much time on social media and it’s worst on Instagram and
                      Facebook). At the same time, they didn’t think there was anything they
13
                      could do about it and had fairly negative things to say about the time spent
14                    tools we have (particularly that the tools are easy to ignore).521

15             431.   In January 2021, another Meta employee wrote: “No one wakes up thinking they want
16     to maximize the number of times they open Instagram that day. But that’s exactly what our product
17     teams are trying to do.”522
18             432.   Meta failed to invest in the development and design of adequate tools to limit the harm
19     their platforms inflicted on users. As one employee candidly put it: “the tools we currently have

20     aren’t effective at limiting [users’] time on the app.”523 Nonetheless, Meta publicly presented certain

21     of these tools as solutions, despite knowing of their ineffectiveness. For example, Meta offered its

22     users a feature that purported to show how much time users had spent on Instagram, and Meta touted

23

24    520
            Haugen_00010114 at Haugen_00010127.
      521
25          Haugen_00017069 at Haugen_00017171.
      522
26          META3047MDL-003-00161686 at META3047MDL-003-00161686.
      523
            META3047MDL-003-00157036 at META3047MDL-003-00157036.
27

28                                                      145
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504         Filed 12/18/23      Page 151 of 325




 1     this feature “when speaking to consumers, the press, and stakeholders about our efforts to combat

 2     social media addiction.”524 But internally, Meta acknowledged that the data reported by this tool

 3     was fundamentally “incorrect”: “It’s not just that Apple / Google have better data. Ours is wrong.

 4     Far worse. We’re sharing bad metrics externally. We’ve been unable to right it despite several

 5     person-months of efforts. . . . So it’s wrong (bad enough in itself), can’t be fixed easily (we’ve tried),

 6     has been half-rolled-out for a while . . . the group that audits metrics we provide to the outside world,

 7     has called us out on it…The reason this is relevant is we vouch for these numbers. Any day they’re

 8     out there is a legal liability.”525

 9                433.   Meta’s failure to prevent, and indeed business decision to pursue, compulsive use by

10     children, and the harms resulting therefrom, are a function of its misplaced priorities. One “integrity
11     researcher” at Facebook wrote an internal article in August 2020 with her parting thoughts as she
12     left the company. She explained that Meta’s leadership consistently ignored concerns about user
13     safety:
14                       Integrity teams are facing increasing barriers to building safeguards. . . .
                         [T]ime and time again I’ve seen promising interventions from integrity
15                       product teams, with strong research and data support be prematurely stifled
                         or severely constrained by key decision makers—often based on fears of
16
                         public and policy stakeholder responses. Similarly (though even more
17                       concerning), I’ve seen already built & functioning safeguards being rolled
                         back for the same reasons . . . While mountains of evidence is (rightly)
18                       required to support a new intervention, none is required to kill (or severely
                         limit) one. . . . [This] is intended as a call to reflection for those decision-
19                       makers imposing constraints.526
20                434.   Meta’s business decision to addict teenage users by rewiring their brains has not aged
21     well for some of its former employees. Chamath Palihapitiya, the former Vice President of User
22     Growth at Facebook, admitted that he feels “tremendous guilt” about his contributions to social
23     media, saying “[t]he short-term, dopamine-driven feedback loops that we have created are
24
      524
25          Id.
      525
26          META3047MDL-003-00157133 at META3047MDL-003-00157133.
      526
            Haugen_00021096 at Haugen_00021097-Haugen_0002110 (emphasis omitted).
27

28                                                         146
                                                                                PLAINTIFFS’MASTER COMPLAINT
                                                                     (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                    CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 152 of 325




 1     destroying how society works.”527

 2                          e.      Meta makes it extremely difficult for children to discontinue their
                                    products.
 3
             435.   Even if a child realizes the harm Meta’s products are inflicting, and wants out of the
 4
       cycle of compulsive use Meta creates, Meta has intentionally designed its platforms so that children
 5
       users face significant impediments obstacles when trying to delete or deactivate their accounts.
 6
       These obstacles stand in stark contrast to the ease with which users can create those accounts,
 7
       effectively creating a one way door into Meta’s manipulative design.
 8
             436.   To delete or deactivate an Instagram or Facebook account, a user must locate and tap
 9
       on approximately seven different buttons (through seven different pages and popups) from the main
10
       feed. Some users have undoubtedly given up in their attempt to quit because it was too difficult to
11
       navigate through the interface to completion.
12
             437.   Even if a user successfully navigates these seven pages, Meta still won’t immediately
13
       delete their account. Instead, Meta preserves the account for 30 days. If at any time during those 30
14
       days a user’s addictive craving becomes overwhelming and they access the account again, the
15
       deletion process starts over. The user must go through all the above steps again, including the 30-
16
       day waiting period, if they again wish to delete their account.
17

18

19

20

21

22

23

24
   527
       Amy B. Wang, Former Facebook VP says social media is destroying society with ‘dopamine-
25 driven feedback loops’, Wash. Post (Dec. 12, 2017), https://www.washingtonpost.com/news/the-

26 switch/wp/2017/12/12/former-facebook-vp-says-social-media-is-destroying-society-with-
   dopamine-driven-feedback-loops/.
27

28                                                     147
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 153 of 325




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21             438.   Moreover, the deletion process includes what Meta readily acknowledges are

22     “aggressive” attempts to dissuade users from deleting their accounts.528 Before a user can delete

23     their Facebook account, Meta “lists some of your friends to remind you that they will no longer be

24     able to contact you through the site and more importantly, [requires] the user to choose a reason for

25

26
      528
            Haugen_00016893 at Haugen_0001689398.
27

28                                                    148
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23      Page 154 of 325




 1     why they’re leaving.”529 Meta also requires users attempting to leave Instagram to select a reason

 2     why they are leaving.

 3                439.   As an additional barrier to deletion, Meta urges users of both platforms to deactivate,

 4     rather than delete, their accounts. For example, Instagram users who choose to delete their accounts

 5     are immediately shown a screen with their profile picture and asked: “Deactivate your account

 6     instead of deleting?” The option to deactivate is conspicuously highlighted. Similarly, Facebook

 7     displays a screen that automatically selects the option of deactivating rather than deleting a user

 8     account.

 9                440.   Meta’s aggressive efforts to prevent users from discontinuing their use of Facebook

10     and Instagram is particularly problematic because unsuccessful efforts to discontinue use are a
11     hallmark of addiction, incorporated as the sixth criteria in the Bergen Social Media Addiction Scale,
12     discussed above.
13                              f.      Meta’s dangerous and harmful features cause negative body image
                                        and harmful impacts on youth mental health.
14
                  441.   Meta has known since at least 2018 that Instagram has a corrosive effect on the mental
15
       health of pre-teen and teenage users.530
16
                  442.   Meta has an internal research team comprised of employees with expertise in, inter
17
       alia, computer science, psychology, and quantitative and qualitative analysis. From 2019 to 2021,
18
       this team conducted a “teen mental health deep dive” which included focus groups, diary studies,
19
       and online surveys. One large-scale study paired a survey of tens of thousands of Instagram users
20

21

22

23

24    529
            Id.
      530
25    Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram
   Kids, Documents Show, Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-
26 instagram-kids-tweens-attract-11632849667; META3047MDL-003-00146240 at META3047MDL-
   003-00146256.
27

28                                                        149
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504       Filed 12/18/23     Page 155 of 325




 1     with data about the time each respondent spent on Instagram and the type of posts they viewed.531

 2             443.   The evidence collected by Meta’s research team is damning. Among other findings,

 3     Defendants’ researchers learned that:

 4                           a. 41% of teen users of Instagram in the U.S. and U.K. who reported feeling
                                “unattractive” said the feeling began while using the platform;532
 5
                             b. 32% of teenage girls said that when they felt bad about their bodies,
 6                              Instagram made them feel worse;533
 7
                             c. “We make body issues worse for 1 in 3 teen girls;”534
 8
                             d. “Frequent social comparison is a key driver of subjective well-being and
 9                              teens say IG makes this problem worse;”535

10                           e. One in five teens say that Instagram makes them feel worse about
                                themselves;536
11

12                           f. Two-thirds of teen girls on Instagram experience negative social
                                comparison;537
13

14

15    531
       Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram
16 Kids, Documents Show, Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-
   instagram-kids-tweens-attract-11632849667; Haugen_00017069; META3047MDL-003-00000029.
17 532
       Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram
18 Kids, Documents Show, Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-
   instagram-kids-tweens-attract-11632849667; META3047MDL-003-00000029 at META3047MDL-
19 003-00000043.
      533
20     Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram
   Kids, Documents Show, Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-
21 instagram-kids-tweens-attract-11632849667; Haugen_00019219 at Haugen_00019226;
   META3047MDL-003-00001846 at META3047MDL-003-00001852.
22
   534
       Haugen_00016699 at Haugen_00016707.
23 535
       Haugen_00019219 at Haugen_00019226.
24 536 Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram
   Kids, Documents Show, Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-
25 instagram-kids-tweens-attract-11632849667; Haugen_00017069 at Haugen_00017091;

26 META3047MDL-003-00000029 at META3047MDL-003-00000049.
      537
            Haugen_00019219 at Haugen_00019226.
27

28                                                   150
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504       Filed 12/18/23      Page 156 of 325




 1                          g. 17% of teen girl Instagram users say the platform makes “[e]ating [i]ssues”
                               worse;538
 2
                            h. About a quarter of teens who reported feeling “not good enough” said the
 3                             feeling started on Instagram;539
 4
                            i. Many teens said Instagram undermined their confidence in the strength of
 5                             their friendships;540

 6                          j. Teenagers who struggle with mental health say that Instagram worsens
                               those problems;541
 7
                            k. “Teens blame Instagram for increases in the rates of anxiety and depression
 8                             among teens” in recent years—a response that was unprompted and
 9                             consistent across all groups;542

10                          l. Among teens who reported suicidal thoughts, 13% of British users and 6%
                               of American users traced the desire to kill themselves to Instagram;543 and
11

12

13
      538
14          Haugen_00020135 at Haugen_00020162.
      539
       Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram
15
   Kids, Documents Show, Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-
16 instagram-kids-tweens-attract-11632849667; META3047MDL-003-00000029 at META3047MDL-
   003-00000043.
17 540
       Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram
18 Kids, Documents Show, Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-
   instagram-kids-tweens-attract-11632849667; META3047MDL-003-00000029 at META3047MDL-
19 003-00000043.
      541
20     Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram
   Kids, Documents Show, Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-
21 instagram-kids-tweens-attract-11632849667; META3047MDL-003-00000029 at META3047MDL-
   003-00000054.
22 542
       Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram
23 Kids, Documents Show, Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-
   instagram-kids-tweens-attract-11632849667; META3047MDL-003-00000029 at META3047MDL-
24 003-00000052.
      543
25    Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram
   Kids, Documents Show, Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-
26 instagram-kids-tweens-attract-11632849667 ; META3047MDL-003-00000029 at
   META3047MDL-003-00000043.
27

28                                                  151
                                                                        PLAINTIFFS’MASTER COMPLAINT
                                                             (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                            CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23    Page 157 of 325




 1                              m. 13.5% of teen girl Instagram users say the platform makes thoughts of
                                   “suicide and self-injury” worse.544
 2
                  444.   In Meta’s October 2019 “Teen Mental Health Deep Dive” research, which surveyed
 3
       over 2,500 teenagers who use Instagram on at least a monthly basis, Meta researchers found that
 4
       “[y]oung people are acutely aware that Instagram can be bad for their mental health, yet are
 5
       compelled to spend time on the app . . . .”545
 6
                  445.   The Teen Mental Health Deep Dive also reported that “Teens blame Instagram for
 7
       increases in the rates of anxiety and depression among teens.”546 Teenagers reported that Instagram
 8
       gave them a “fear of missing out” in additional to a laundry list of additional “ways that Instagram
 9
       harms their mental health,” including “inappropriate advertisements targeted to vulnerable groups,”
10
       and “over-sexualization of girls.”547 Teens further relayed that harm resulting from Instagram use
11
       “falls into three categories” and leads to devastating conditions, such as “anxiety,” “insecurity,”
12
       “isolation,” loneliness,” and “depression.”548
13
                  446.   Meta’s researchers were clear in explaining that Instagram platform features were
14
       responsible for these problems. In one chart illustrating the “High” amount of “Body, Appearance
15
       Comparison” on Instagram, researchers cited as contributing factors “Product mechanics
16
       (addicting)” and “Explore, discover, stalk (down the rabbit hole).”549 In another slide, researchers
17
       noted the particular problems with Instagram’s Explore feature, as it contains “[t]ons of body image
18
       triggers” that are “[i]ntimidating” to users.550
19
                  447.   Children are developmentally unprepared for the psychological ramifications of peer
20

21
      544
            Haugen_00016699 at Haugen_00016707.
22
      545
            https://s.wsj.net/public/resources/documents/teen-mental-health-deep-dive.pdf
23    546
            Id.
24    547
            Id.
      548
25          Id.
      549
26          Haugen_00015958 at Haugen_00015987.
      550
            Haugen_00015958 at Haugen_00015989.
27

28                                                        152
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23      Page 158 of 325




 1     judgment and online comparisons.

 2             448.   Meta’s internal researchers were not only clear about the fact that Instagram causes a

 3     high level of social comparison for teenagers; they were clear-eyed about the consequences. They

 4     observed that the addictive nature of the Instagram platform, combined with a pressure to match

 5     unrealistic beauty ideals, can send teens into a downward spiral that includes anger, withdrawal,

 6     insecurity, and body dysmorphia—“a series of emotions that in many ways mimic stages of

 7     grief.”551 They further warned that “[u]sers[’] experience of [this] downward spiral is exacerbated

 8     by our platform.”552 “Instagram can change how young women view and describe themselves,” they

 9     noted, changing a girl’s self-perception from “multi-dimensional” and “centered” to “not in

10     control,” “dark,” boxed in,” “low esteem,” and “anxious.”553 The researchers’ conclusions were
11     stark: “Mental health outcomes related to this can be severe,” and can include “eating disorders,”
12     “body dysmorphia,” “body dissatisfaction,” “depression,” and “loneliness.”554
13             449.   Meta’s research demonstrates that social comparison is particularly bad on Instagram,
14     where Meta exacerbates harm to youth through design features that manufacture and emphasize
15     influence and celebrity.555 In 2021, its researchers found that exposure to “Top Accounts” (i.e., those
16     with the top 0.1% of followers) was most associated with negative comparison and that Instagram’s
17     influence-driven algorithms ensure Top Accounts flood users’ feeds almost half the time.556
18             450.   Still, in an internal research document from 2022, Meta noted that “we primarily
19     recommend top accounts to new users (78% of recs to new users are top accounts) and being

20     recommended more top accounts is associated with seeing more High-Negative Appearance

21     Comparison content a month later.”

22
      551
            Haugen_00015958 at Haugen_00015985.
23    552
            Haugen_00015958 at Haugen_00015990.
24    553
            Haugen_00015958 at Haugen_00015983.
      554
25          Haugen_00015958 at Haugen_00015992.
      555
26          Haugen_00002527 at Haugen_00002555.
      556
            META3047MDL-003-00159559 at META3047MDL-003-00159560.
27

28                                                     153
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 159 of 325




 1             451.   Score-keeping features designed into Instagram amplify these problems and the

 2     resulting compulsive and problematic use. Teenage girls are particularly impacted when comparing

 3     “Like” counts, follower counts, views, and comments on their posts to those of models, celebrities,

 4     and so-called influencers. Meta’s internal research reveals that teen girls are eight times more likely

 5     to engage in negative social comparison than their male counterparts.557

 6             452.   Instagram compounds the foregoing problems with yet another pernicious feature—

 7     image “filters” that allow users to engage in selective self-presentation by altering their appearance

 8     in photos and videos. These filters allow facial structure alteration, body slimming, skin lightening,

 9     skin tanning, blemish clearing, the artificial overlap and augmentation of makeup, and other

10     beautification “improvements.”558 559
11

12

13

14

15

16

17

18

19
               453.   Meta intentionally designed its platforms to not alert adolescent users when images
20
       have been altered through filters or edited. Meta has therefore designed its platforms so that users,
21

22    557
            Haugen_00017263 at Haugen_00017263.
      558
23     T. Mustafa, An ‘Instagram Vs Reality’ filter is showing how toxic photo editing can be, Metro
   (Apr. 30, 2021); https://metro.co.uk/2021/04/30/an-instagram-vs-reality-tool-is-showing-how-toxic-
24 filters-can-be-14498265/.
      559
25    Mariska Kleemans, Serena Daalmans, Ilana Carbaat & Doeschka Anschütz (2018) Picture
   Perfect: The Direct Effect of Manipulated Instagram Photos on Body Image in Adolescent Girls, 21
26 Media Psychology 93, 93-110 (2018), https://www.tandfonline.com/
   doi/pdf/10.1080/15213269.2016.1257392.
27

28                                                     154
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23      Page 160 of 325




 1     including children in Local Government and School District Plaintiffs’ schools and community,

 2     cannot know which images are real and which are fake, deepening obsessive, negative appearance

 3     comparison.

 4 All these design features have harmed young users in multiple ways, both independently and in concert

 5 with Instagram’s other harmful features, in the name of increasing user engagement.560

 6             454.   For example, the easy accessibility of filters, combined with features such as “Likes,”

 7 encourages adolescents to artificially change their appearance.561 As noted, adolescents naturally seek

 8 social validation. When they notice increased interaction and favorable responses to their filter-edited

 9 photos (more “Likes” and “comments”), many are led to believe they are only attractive when their

10 images are edited.562 These young people, including those in Local Government and School District

11 Plaintiffs’ schools and community, begin to prefer how they look using filters, not as they appear

12 naturally.563 In a 2016 study, 52% of girls said they use image filters every day, and 80% have used

13 an app to change their appearance before age 13.564 Meta’s own findings showed teen girls spend

14 hours editing images by altering their appearance before posting on Instagram,565 and that “teen girls

15

16
      560
17     Anna Haines, From “Instagram Face” to “Snapchat Dysmorphia”: How Beauty Filters Are
   Changing the Way We See Ourselves, Forbes (Apr. 27, 2021),
18 https://www.forbes.com/sites/annahaines/2021/04/27/from-instagram-face-to-snapchat-dysmorphia-
   how-beauty-filters-are-changing-the-way-we-see-ourselves/?sh=3c32eb144eff.
19 561
       Tate Ryan-Mosley, Beauty Filters Are Changing the Way Young Girls See Themselves, MIT
20 Tech. Rev. (Apr. 2, 2021), https://www.technologyreview.com/2021/04/02/1021635/beauty-filters-
   young-girls-augmented-reality-social-media/amp/.
21 562
       Id.
22 563 Poojah Shah, How Social Media Filters Are Affecting Youth, Parents (Apr. 28, 2022),
   https://www.parents.com/kids/health/childrens-mental-health/how-social-media-filters-are-
23
   affecting-youth/.
24 564 Anna Haines, From “Instagram Face” to “Snapchat Dysmorphia”: How Beauty Filters Are
   Changing the Way We See Ourselves, Forbes (Apr. 27, 2021),
25 https://www.forbes.com/sites/annahaines/2021/04/27/from-instagram-face-to-snapchat-dysmorphia-

26 how-beauty-filters-are-changing-the-way-we-see-ourselves/?sh=3c32eb144eff.
      565
            Haugen_00019219 at Haugen_00019255.
27

28                                                     155
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 161 of 325




 1 in particular” are “some of the biggest users of these filters.”566 Pictures must be “Instagrammable”

 2 to be worthy of posting.

 3             455.   Instagram also causes youth to compare their real-life appearances to the edited

 4     appearances only achievable by filters and Meta’s tools.567 These false and unrealistic body image

 5     standards further lead teenagers like those in Plaintiffs’ schools and communities to develop

 6     negative perceptions of their appearance. Seventy-seven percent of girls reported trying to change

 7     or hide at least one part of their body before posting a photo of themselves, and 50% believe they

 8     did not look good without editing.568

 9             456.   The specific changes filters make to an individual’s appearance can cause negative

10     obsession or self-hatred surrounding aspects of their appearance.569 The filters alter specific facial
11     features such as eyes, lips, jaw, face shape, and slimness, which often require medical intervention
12     to alter in real life.570 The pervasiveness of Meta-designed filters through the algorithm permeates
13     Instagram and causes adolescent users to negatively compare their real appearances against a false
14     physical reality.571 In one recent study, even users who reported a higher initial self-esteem level
15
      566
            META3047MDL-003-00157020 at META3047MDL-003-00157020.
16
      567
       See Teen Girls Body Image and Social Comparison on Instagram – An Exploratory Study in the
17 U.S., Wall. St. J. (Sept. 29, 2021), https://s.wsj.net/public/resources/documents/teen-girls-body-
   image-and-social-comparison-on-instagram.pdf (explaining that users forget that Instagram only
18 shows the highlights of people’s lives and is not depicting reality); Haugen_00019219 at
   Haugen_00019255.
19
   568
       Anna Haines, From “Instagram Face” to “Snapchat Dysmorphia”: How Beauty Filters Are
20 Changing the Way We See Ourselves, Forbes (Apr. 27, 2021),
   https://www.forbes.com/sites/annahaines/2021/04/27/from-instagram-face-to-snapchat-dysmorphia-
21
   how-beauty-filters-are-changing-the-way-we-see-ourselves/?sh=3c32eb144eff.
22 569 Tonya Russell, Social Media Filters Are Changing How Young People See Themselves, Teen
   Vogue (Jan. 25, 2022), https://www.teenvogue.com/story/social-media-filters-how-young-people-
23
   see-themselves/amp.
24 570 Id.
      571
25    https://www.teenvogue.com/story/social-media-filters-how-young-people-see-themselves/amp
   Tonya Russell, Social Media Filters Are Changing How Young People See Themselves, Teen
26 Vogue (Jan. 25, 2022), https://www.teenvogue.com/story/social-media-filters-how-young-people-
   see-themselves/amp.
27

28                                                    156
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 162 of 325




 1     felt they looked 44% worse before their image was edited using a filter.572 “[W]hen the . . . filter

 2     increased the gap between how participants wanted to look and how they felt they actually looked,

 3     it reduced their self-compassion and tolerance for their own physical flaws.”573

 4           457.   Heavily edited and unrealistic beauty, modeling, fitness, talent, and success-related

 5     posts are highly amplified by Meta’s algorithms, especially on the Feeds of young users.

 6           458.   Social comparisons on social media are frequent and are especially likely to be

 7     upward, as social media provides a continuous stream of information about other people’s

 8     accomplishments. Research suggests that social comparisons occur automatically; when individuals

 9     encounter information about another person, their self-perceptions will be affected. The sheer

10     number of posts in a News Feed, each offering a thumbnail sketch of each person’s carefully curated
11     and predominantly ostentatious lives, yields numerous opportunities for social comparison.
12     Although people do not typically post false information about themselves online, they engage in
13     selective self-presentation. As a result, individuals browsing their News Feeds are more likely to
14     see posts about friends’ exciting social activities rather than dull days at the office, affording
15     numerous opportunities for comparisons to people seemingly better-off. Individuals with vacillating
16     levels of self-esteem and certitude, characteristics notoriously endemic to the adolescent cohort, are
17     particularly oriented to making frequent and extreme upward social comparisons on social media.
18     Social-media-induced social comparison often results in a discrepancy between the ideal self and
19     the real self, thus evoking a sense of depression, deprivation, and distress, resulting in an overall

20     aggravation of a person’s mental state. Since the early 2000s, studies have shown that frequent

21     upward social comparison results in lower self-esteem and reduced overall mental health. It is well-

22

23
      572
       Ana Javornik, Ben Marder, Marta Pizzetti, & Luk Warlop, Research: How AR Filters Impact
24 People’s Self-Image, Harvard Business Review (December 22, 2021),
   https://hbr.org/2021/12/research-how-ar-filters-impact-peoples-self-image.
25
   573
       https://hbr.org/2021/12/research-how-ar-filters-impact-peoples-self-image Ana Javornik, Ben
26 Marder, Marta Pizzetti, & Luk Warlop, Research: How AR Filters Impact People’s Self-Image,
   Harvard Business Review (December 22, 2021), https://hbr.org/2021/12/research-how-ar-filters-
27 impact-peoples-self-image.

28                                                    157
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 163 of 325




 1     established that individuals who are more likely to engage in self-comparison are likewise more

 2     likely to suffer harm when using social media. Meta’s design choices have amplified this dynamic

 3     to psychologically harmful levels, as discussed in further detail below.

 4             459.   The impact of the negative social and appearance comparison caused by Meta’s design

 5     choices is profound. Instagram-induced social comparison creates a schism between the ideal self

 6     and the real self, leading to distress and depression. Filters, especially in combination with other

 7     platform features, cause body image issues, eating disorders, body dysmorphia, and related

 8     harms.574

 9             460.   Again, Meta has long been aware of the harms Instagram inflicts on youth by

10     perpetuating social comparison. In one study from 2019, teens ages 13-17 explained that Instagram
11     harms their mental health by creating pressure to conform to social stereotypes, the need for
12     validation through views, “Likes” and followers, and the over-sexualization of girls.575 Meta’s
13     analysis categorized the documented harms into three categories: impacts from comparison to
14     others, the pressure of looks/behaviors, and from others’ behaviors. These impacts were associated
15     with isolation, unhealthy eating habits, depression, anxiety, insecurity, and loneliness.576
16             461.   In its “Social Comparison Exploratory Research” conducted in 2020, Meta
17     acknowledged that body image comparisons are formed in part by its features—filters that flood its
18     app with seemingly unattainable looks like flawless skin, made even worse by the use of “hashtags
19
      574
20        See Sian McLean, Susan Paxton, Eleanor Wertheim, & Jennifer Masters, Photoshopping the
      Selfie: Self Photo Editing and Photo Investment Are Associated with Body Dissatisfaction in
21    Adolescent Girls, 48 Int’l J. of Eating Disorders 1132, 1133 (Aug. 27, 2015),
      https://pubmed.ncbi.nlm.nih.gov/26311205/ (presenting a 2015 study involving 101 adolescent
22    girls, which found that more time spent editing and sharing selfies on social media raised their risk
      of experiencing body dissatisfaction and disordered eating habits.); Scott Griffiths, Stuart Murray,
23
      Isabel Krug, & Sian McLean, The Contribution of Social Media to Body Dissatisfaction, Eating
24    Disorder Symptoms, and Anabolic Steroid Use Among Sexual Minority Men, 21 Cyberpsychology
      Behavior, and Soc. Networking 149, 149 (Mar. 1, 2018),
25    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5865626/.
      575
26          Haugen_00017069 at Haugen_00017122.
      576
            Haugen_00017069 at Haugen_00017126.
27

28                                                     158
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 164 of 325




 1     like no-filters but actually using filters.”577 Meta’s researchers found that nearly half of teen girls

 2     on Instagram feel like they often or always compare their appearance to others using the platform,

 3     and more than one-third feel extreme pressure to look perfect on Instagram.578 In a related survey,

 4     Meta found that around the age of 30, the role of Instagram in social comparison begins to

 5     diminish.579

 6             462.   According to research conducted by Meta in 2019, over 60% of teens believe

 7     Instagram should help them address the effects of social comparison by recommending positive

 8     accounts, reprioritizing their feeds to promote healthy accounts, and help them follow a balance of

 9     accounts.580 One in three teens wished Instagram gave them better user controls.581 Yet a survey

10     conducted two years later revealed that Meta had done little to address its users’ concerns. Topics
11     that elicited social comparison still encompassed over one-third of teen girls’ feeds. And for every
12     post from a friend that appeared in a teen girl’s feed, Instagram’s algorithm drove five times as
13     many posts from popular accounts.582
14             463.   One slide from Meta’s study of social comparison offers a particularly succinct
15     summation of how the various features built into Instagram “exacerbate each other to create a perfect
16

17

18

19

20
      577
21     See Teen Girls Body Image and Social Comparison on Instagram – An Exploratory Study in the
   U.S., Wall. St. J. (Sept. 29, 2021), https://s.wsj.net/public/resources/documents/teen-girls-body-
22 image-and-social-comparison-on-instagram.pdf Supra; Haugen_00015958 at Haugen_00015971-
   Haugen_00015977.
23 578
       Haugen_00007080 at Haugen_00007082.
24 579 Haugen_00007080 at Haugen_00007095.
      580
25          Haugen_00017069 at Haugen_00017145.
      581
26          Haugen_00020135 at Haugen_00020171.
      582
            Haugen_00002527 at Haugen_00002527.
27

28                                                     159
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504       Filed 12/18/23     Page 165 of 325




 1     storm.”583 “Posting ‘For the Gram’” creates a “Pressure to Look Perfect.”584 The ability of

 2     influencers to “Monetiz[e] face + body” creates a “Highlight Reel Norm.”585 And the “Vortex of

 3     Feed + Profile and Explore” promotes a “Hate to love” dynamic for users, which “Feed[s] the

 4     Spiral” of compulsive use.586 Taken together, these three aspects of users’ experiences—all driven

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19
   583
       See Teen Girls Body Image and Social Comparison on Instagram – An Exploratory Study in the
20 U.S., Wall. St. J. (Sept. 29, 2021), https://s.wsj.net/public/resources/documents/teen-girls-body-
   image-and-social-comparison-on-instagram.pdf; Haugen_00015958 at Haugen_00015991.
21
   584
       See Teen Girls Body Image and Social Comparison on Instagram – An Exploratory Study in the
22 U.S., Wall. St. J. (Sept. 29, 2021), https://s.wsj.net/public/resources/documents/teen-girls-body-
   image-and-social-comparison-on-instagram.pdf; Haugen_00015958 at Haugen_00015991.
23
   585
       See Teen Girls Body Image and Social Comparison on Instagram – An Exploratory Study in the
24 U.S., Wall. St. J. (Sept. 29, 2021), https://s.wsj.net/public/resources/documents/teen-girls-body-
   image-and-social-comparison-on-instagram.pdf; Haugen_00015958 at Haugen_00015991.
25
   586
       See Teen Girls Body Image and Social Comparison on Instagram – An Exploratory Study in the
26 U.S., Wall. St. J. (Sept. 29, 2021), https://s.wsj.net/public/resources/documents/teen-girls-body-
   image-and-social-comparison-on-instagram.pdf; Haugen_00015958 at Haugen_00015991.
27

28                                                  160
                                                                        PLAINTIFFS’MASTER COMPLAINT
                                                             (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                            CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504      Filed 12/18/23      Page 166 of 325




 1     by design features of Instagram—create a “Social Comparison Sweet Spot.”587

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15                464.   Meta understands that the social comparison it knowingly promotes through
16     appearance filters creates compulsive behavior among child users, especially when paired with other
17     features such as “Likes” and algorithmic recommendations. Specifically, Meta knows that social
18     comparison creates a negative feedback loop.588 Its internal research reveals that, as teens compare
19     themselves to others, their self-doubt grows, which in turn heightens the degree of attention they
20     give these feelings. As these effects compound, teens experience depression and anxiety, making
21     them more vulnerable and susceptible to addiction to Meta’s platforms.589 Meta observed that long-
22     term, constant self-critique and scrutiny permanently shape how teens view themselves in all
23
      587
24    See Teen Girls Body Image and Social Comparison on Instagram – An Exploratory Study in the
   U.S., Wall. St. J. (Sept. 29, 2021), https://s.wsj.net/public/resources/documents/teen-girls-body-
25 image-and-social-comparison-on-instagram.pdf; Haugen_00015958 at Haugen_00015991.
      588
26          Haugen_00017069 at Haugen_00017127.
      589
            Id.
27

28                                                   161
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 167 of 325




 1     relationships, on and offline.590 Moreover, they found that the incessant social pressure Instagram

 2     inflicted on teens led to obsessive control and attention-seeking behavior to obtain social

 3     validation.591 In other words, Instagram’s design features resulted in an insidious cycle of harm

 4     where teens believed they could only find reprieve by increased Instagram use.

 5             465.   Meta has the technological capabilities to mitigate social comparison harms

 6     significantly, but actively chooses to ignore leading research (including its own) and its product

 7     engineers’ recommendations. One internal presentation recommended several “targeted

 8     interventions” for changes to Instagram that could mitigate these harms, such as a recommendation

 9     that users take a break during a long use session.592 In another, computational social researchers and

10     engineers at Meta proposed numerous, feasible product design changes, including demotions on
11     Explore and Reels using topic and image and video features from an FBLearner model, separating
12     top-account feed from close-friend feed, and not recommending celebrities to follow that post
13     primarily fashion/beauty material as users “can find these accounts on their own, but [Meta]
14     shouldn’t amplify their influence through recommendations.” 593
15             466.   One such example is Project Daisy, an internal experiment conducted by Meta in 2020
16 where it found that it could decrease negative social comparison by hiding “like” counts on Instagram

17 posts.

18             467.   Meta tested two pilot versions of Project Daisy – “Pure Daisy” and “Popular Daisy.”
19             468.   Under “Pure Daisy,” Like counts on all posts except one’s own were hidden.

20             469.   Under “Popular Daisy,” Like counts on posts from certain popular accounts were

21 visible, but the Like counts on the average users’ posts were hidden.

22             470.   Both Pure Daisy and Popular Daisy reduced the negative impact of social comparison.

23

24
      590
            Haugen_00017069 at Haugen_00017130.
25
      591
            Haugen_00017069 at Haugen_00017127.
26    592
            Haugen_00019219 at Haugen_00019272.
27    593
            Haugen_00002527 at Haugen_00002565.
28                                                    162
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504        Filed 12/18/23     Page 168 of 325




 1           471.   According to Meta’s internal documents, young users reported that hiding Like counts

 2 made them care less about the number of Likes that their posts had received.

 3           472.   A March 2020 internal document acknowledged this impact, recognizing that hiding

 4 Like counts may be an effective intervention to reduce social comparison for users in the United

 5 States.

 6           473.   In the Project Daisy analysis, Meta also tracked the effects of different variants of

 7 Daisy on engagement and their impact on Meta’s advertising revenue.

 8           474.   And after assessing the impact of Project Daisy on user engagement and revenue—

 9 including an estimated 1% negative effect on Meta’s advertising revenue—Meta’s leadership decided

10 not to implement Project Daisy and, as of December 2023, like counts on all users’ posts remain

11 visible by default on Instagram and Facebook. This is despite Meta’s senior leadership

12 acknowledging that social comparison is a critical issue with serious consequences for its users,

13 particularly for Instagram.

14           475.   Although Meta is aware that negative social comparison is a problem for teens, and

15 that seeing high Like counts on others’ posts makes users feel worse, Meta continues to quantify and

16 display social statistics such as Likes on its Platforms by default.

17           476.   This choice was made to reject project Daisy, notwithstanding that high-ranking Meta

18 employees “HUGELY pushed for Daisy” to be implemented. For example, in an internal email from

19 April 2021, Instagram’s Head of Public Policy Karina Newton noted, “we have continued to get the

20 advice [from experts] that we should have Daisy on by default for teens.”

21           477.   This decision was contrary to Meta’s public promises. For example, on November 8,

22 2019, Mosseri when discussing the social impact of “likes” generally, publicly stated that “[w]e will

23 make decisions that hurt the business if they’re good for people’s well-being and health … .”

24           478.   In reality, when Meta discovered that visible Like counts were harmful for user well-

25 being but associated with higher advertising revenues, Meta decided to keep the visible Like counts

26 at the expense of user well-being.

27

28                                                   163
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23       Page 169 of 325




 1             479.   Other internal documents confirm the reasons for rejecting Project Daisy were due to

 2 concerns over the negative impact specific to teen engagement, explain that any efforts to improve

 3 teen safety and well-being should be accompanied by “retaining our focus on teen engagement.”

 4             480.   Through numerous subsequent public statements, Meta represented that Project Daisy

 5 was not implemented because Meta lacked sufficient evidence that the Platform changes tested in

 6 Project Daisy would be beneficial to the mental health of its users. But these statements were contrary

 7 to what Meta knew—that it had tested, validated, and documented that removing visible Like counts

 8 as a default would be generally beneficial for its users.

 9             481.   Meta’s own researchers expressed concern that public “statements like ‘Daisy didn’t

10 improve well-being’ are misleading,” including because Project Daisy did, as their own work had

11 shown, cause statistically significant improvements according to certain reliable measures of user

12 well-being.

13             482.   Meta knew that its decision to reject implementation of project Daisy would be

14 received negatively among the public and by lawmakers, and it therefore took significant measures

15 to “manage negative reactions about us ‘walking back’ our progress to address well-being . . . .”

16             483.   Galling, these measures even included a delay in the announcement of Meta’s
17     decision on Daisy in order “to separate it from Mental Health Awareness Month and avoid
18     conflating Daisy with direct ties to mental health … .”
19             484.   Despite its vast knowledge of the harms that Instagram’s features were causing to

20     adolescents, in Meta’s 2021 Milestone Tracker, the action item of reducing the negative effects from

21     social comparison through controls had yet to even be started.594 In other words, despite awareness

22     that the deliberate design of Instagram was drastically damaging teen mental and physical health,

23     Meta ignored the problem, failing to implement its own researchers’ recommendations.

24

25

26    594
            Haugen_00025741 at Haugen_00025763.
27

28                                                    164
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23     Page 170 of 325




 1                    4.     Meta has concealed from Plaintiffs, the public, and Congress the harmful
                             effects that Instagram’s and Facebook’s design features have on children.
 2
               485.   Meta has engaged in a years-long pattern of concealing critical information about the
 3
       safety of Instagram and Facebook from the public, including children in Local Government and
 4
       School District Plaintiffs’ schools and communities. In one internal document from February 2018,
 5
       employees at Meta communicated about how best to “refin[e] counter-messaging around the
 6
       addiction narrative that’s been propagating.” This effort to conduct “message testing around
 7
       addiction PR responses” included the ideas that “[t]he whole dopamine thing is completely made
 8
       up and based on no research,” “[t]here’s no agreement on what is meant by addiction,” and
 9
       (contradictorily) “[w]e’re taking it seriously, doing research, [and] launching new tools to help
10
       people.”595
11
               486.   Meta knew that none of this was true. For instance, in the summer of 2019, Zuckerberg
12
       met with a psychologist and leading expert on the mental health effects of social media on young
13
       people. This leading expert countered Zuckerberg’s contention that harms from social media are
14
       trivial and explained how, to the contrary, Instagram and other platforms have been a major
15
       contributor to the spike in young girls’ mental health problems since 2012. The psychologist
16
       addressed his research “on the dramatic rise in rates of teenage anxiety, depression, and self-harm”
17
       and explained how the research on social media’s role “points heavily to a connection, not just from
18
       correlational studies but from true experiments, which strongly indicate[s] causation, not just
19
       correlation.”596
20
               487.   The psychologist’s research was matched by Meta’s internal findings. in October
21
       2019, Meta conducted a “Teen Mental Healthy Deep Dive” to “get a nuanced understanding of
22
       teens’ perception of how Instagram effects their mental health.” The results of this research showed
23
       that Instagram’s teen users “have an addicts’ narrative about their use” “recognize the amount of
24

25
      595
26       META3047MDL-003-00082165 at META3047MDL-003-00082165- META3047MDL-003-
      00082165.
27    596
            META3047MDL-003-00089174 at META3047MDL-003-00089176.
28                                                    165
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23     Page 171 of 325




 1     time they spend online isn’t good for them,” “but at the same time know they lack the willpower to

 2     control the time spent themselves.”

 3             488.   Similarly, in June 2020, Meta’s Senior User Experience (“UX”) Researcher noted in

 4     an internal report entitled “What Makes Teens Tick?” that “our own product foundation research

 5     has shown teens are unhappy with the amount of time they spend on our app” and that “[d]ue to the

 6     immature [teen] brain, they have a much harder time stopping even though they want to.”597 The

 7     report further noted that because “[t]een brains are much more sensitive to dopamine,” the risk of

 8     “addiction” is higher and that is what “keeps them scrolling and scrolling.”598

 9             489.   Meta had also researched and analyzed addictive or “problematic use” reported by

10     young users on its platforms. According to Meta’s 2019 “Hard Life Moments —Mental Health Deep
11     Dive” research, which studied “the reach, intensity, [and] impact of Instagram” “[a]cross 13 mental
12     health and well-being issues,” “[over 30% of users across age cohorts” told Meta that “Instagram
13     made problematic use [Meta’s euphemism for compulsive use] worse.”599 In a separate study,
14     researchers noted that “sleep problems” can “be part of [Facebook] addiction” and confirmed “it is
15     true that negative impacts on sleep is one possible outcome of problematic social media use.”600
16     And in February 2019, Meta’s VP of Research, David Ginsberg circulated a summary of external
17     and internal research on Instagram and “Teen Well-Being” to executives, including then-COO
18     Sheryl Sandberg and Head of Instagram Adam Mosseri, that acknowledged “when social media use
19     displaces sleep in adolescents (via nighttime social ‘media use), it is negatively correlated to

20     indicators of mental health.”601

21             490.   Moreover, Meta knows that its addictive features, especially when paired with a

22     sophisticated recommendation system powered by content-agnostic user behavior data, harm young

23
      597
24          META3047MDL-003-00191215.
      598
            META3047MDL-003-00191215.
25
      599
            META3047MDL-003-001 70055; META3047MDL-003-00166559.
26    600
            META3047MDL-003-00117636.
27    601
            META3047MDL-003-00050423.
28                                                    166
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23      Page 172 of 325




 1     users because they encourage passive consumption.

 2              491.   Despite knowing better, Meta’s high-ranking executives then began pushing

 3     intentionally misleading talking points to the public. Instead of informing the public about Meta’s

 4     internal research demonstrating Instagram’s and Facebook’s negative impacts on the health and

 5     well-being of the nation’s youth, Meta repeatedly omitted key facts and misrepresented its platforms

 6     in service of an overall message touting the safety of its platforms for children.

 7              492.   Meta maintained a set of internal data showing shockingly high rates of harm

 8     experienced by users of its Social Media Platforms. But it published the favorable Community

 9     Standard Enforcement Reports (CSER) data, while concealing the alarming internal Bad

10     Experiences & Encounters Framework (BEEF) and Tracking Reach of Integrity Problems Survey
11     (TRIPS) data showing frequent user harms. Accordingly, Meta represented to the public that its
12     Social Media Platforms were far safer for young users than they actually were.
13              493.   Further, in response to the BEEF survey, Meta conducted an internal experiment that
14     alerted users if their comment or post had upset other users who viewed that content. The experiment
15     demonstrated that many users would delete the post or comment following that notification.
16     However, Meta did not adopt that experiment or other proposed remediations. Rather, Meta
17     personnel, including managers and even Meta’s leadership refused to implement changes as a result
18     of the survey.602
19              494.   Again and again, instead of “taking [this] seriously” and “launching new tools” to

20     protect kids,603 Meta did the opposite. By late 2019, Meta’s “mental health team stopped doing

21     things,” “it was defunded” and “completely stopped.”604 But rather than own up to the consequences

22     of its own actions, Meta allowed safety tools it knew were broken to be held out as fixes.605 All the

23
      602
            https://www.wsj.com/tech/instagram-facebook-teens-harassment-safety-5d991be.
24    603
      META3047MDL-003-00082165 at META3047MDL-003-00082165- META3047MDL-003-
25 00082165.
      604
26          META3047MDL-003-00011697 at META3047MDL-003-00011698.
      605
            See Haugen_00012303 at Haugen_00012314.
27

28                                                    167
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504         Filed 12/18/23       Page 173 of 325




 1     while, Meta ignored cries from their well-being researchers to aggressively confront its youth safety

 2     problem: “[T]here’s so much more we could have done here … [but] there was the explicit decision

 3     last half not to fund this anymore.”606

 4                495.   Because of Meta’s concealment, Plaintiffs, children, parents, the public, and Congress

 5     were left in the dark and reasonably relied on Meta’s reassurances. Had Meta disclosed the truth

 6     regarding its platforms, Plaintiffs may not have suffered the harms they did, and the harms it

 7     continues to suffer resulting from children’s use of its platforms. Instead, Meta pursued a knowing

 8     pattern of concealment to Plaintiffs’ detriment.

 9                496.   In the year leading up to Meta’s acquisition of Instagram, Meta publicly acknowledged

10     its duty to children and worked to create false expectations about its platforms’ safety. For example:
11                       a. Zuckerberg (3/25/2011): “So, we’re really focused on, on safety, especially
                            children’s safety. So we’re having folks under the age of 18, um we, we just take a
12                          lot of extra precautions for it, to make sure that it’s just a safe environment for them
                            um, to use this service that you know, the default for, for people sharing things isn’t
13
                            that they’re sharing with everyone but that they’re sharing with a smaller
14                          community … But I think, I think that’s a lot of it. We really try to build a safe
                            environment. Um, and um, that’s gonna be the key long term.”607
15
                         b. Zuckerberg (3/25/2011): “Right, and they, they feel like Facebook is this really
16                          secure place and that it’s a hundred percent safe, and um, we’re always thinking
17                          about little and big things like that that we can do to keep it safe for, for the people
                            who use our service.”608
18
                         c. Zuckerberg (5/25/2011): “I mean, we do not allow people under the age of 13 to
19                          sign up and I think if we ever were, we would need to try to figure out a lot of ways
                            to make sure that they were safe, right, because that’s just extremely important and
20                          that’s just not the top of the list in terms of things for us to figure out right now.”609
21                497.   Following Meta’s acquisition of Instagram, high-ranking executives continued to
22
      606
23          META3047MDL-003-00103260 at META3047MDL-003-00103260.
      607
24       Mark Zuckerberg at BYU with Senator Orrin Hatch, YouTube, March 25, 2011,
      http://www.youtube.com/watch?v=zRsbWOmmvNo.
25    608
            Id.
26    609
         Maurice Levy, Conversation with Mark Zuckerberg at E-G8 Forum, YouTube, May 25, 2011,
      http://www.youtube.com/watch?v=Gy0bq9FAJRs.
27

28                                                          168
                                                                                PLAINTIFFS’MASTER COMPLAINT
                                                                     (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                    CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504        Filed 12/18/23      Page 174 of 325




 1     make public pronouncements about the safety of Meta’s platforms, including, but not limited to, the

 2     following statements:

 3                  a. Zuckerberg (12/1/2015): “We will do our part to make this [better world] happen,
                       not only because we love you, but also because we have a moral responsibility to
 4                     all children in the next generation.”610
 5                  b. Zuckerberg (4/11/2018): “Congressman, we have a number of measures in place to
 6                     protect minors specifically. We make it so that adults can’t contact minors who they
                       - they aren’t already friends with. We make it so that certain content that may be
 7                     inappropriate for minors, we don’t show.”611

 8                  c. Zuckerberg (4/10/2018): when asked by members of the U.S. Senate Committee on
                       Commerce, Science, and Transportation whether his companies “[h]ire consulting
 9                     firms to help them figure out how to get more dopamine feedback loops so that
10                     people don’t want to leave the platform”: “No . . . that’s not how we talk about this
                       or how we set up our product teams. We want our products to be valuable to people,
11                     and if they’re valuable, then people choose to use them.”612

12                  d. Zuckerberg (7/12/2018): “There are really two core principles at play here. There’s
                       giving people a voice, so that people can express their opinions. Then, there’s
13
                       keeping the community safe, which I think is really important.”613
14
                    e. Zuckerberg (7/25/2018): “[W]e will continue to invest heavily in security and
15                     privacy because we have a responsibility to keep people safe. But as I’ve said on
                       past calls, we’re investing so much in security that it will significantly impact our
16                     profitability.”614
17

18    610
         Mark Zuckerberg, Facebook (Dec. 1, 2015), https://www.facebook.com/zuck/posts/
      10153375081581634.
19
   611
       Transcript of Zuckerberg’s appearance before House committee, Wash. Post (April 11, 2018)
20 https://www.washingtonpost.com/news/the-switch/wp/2018/04/11/transcript-of-zuckerbergs-
   appearance-before-house-committee/?utm_term=.e7b476fb8ac7&noredirect=on.
21
   612
       Facebook, Social Media Privacy, and the Use and Abuse of Data: Hearing Before the S. Comm.
22 on Commerce, Sci., and Transp. and H. Comm’s on the Judiciary and Commerce, Sci., and Transp.,
   115th Cong. (Apr. 10, 2018), https://www.commerce.senate.gov/2018/4/facebook-social-media-
23
   privacy-and-the-use-and-abuse-of-data.
24 613 Kara Swisher, Zuckerberg: The Record Interview, Vox (July 12, 2018)
   https://www.vox.com/2018/7/18/17575156/mark-zuckerberg-interview-facebook-recode-kara-
25 swisher.

26    614
         Facebook, Inc., Second Quarter 2018 Results Conference Call (July 25, 2018)
      https://s21.q4cdn.com/399680738/files/doc_financials/2018/Q2/Q218-earnings-call-transcript.pdf.
27

28                                                   169
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR       Document 504        Filed 12/18/23      Page 175 of 325




 1                f. Zuckerberg (8/21/2018): “One of the most important responsibilities we have as a
                     company is to keep people safe and stop anyone from abusing our service.”615
 2
                  g. Zuckerberg (9/7/2018): “What I’ve learned so far is that when you build services
 3                   that are used by billions of people across countries and cultures, you will see all of
 4                   the good humanity is capable of, and people will try to abuse those services in every
                     way possible. It is our responsibility to amplify the good and mitigate the bad.”616
 5
                  h. Zuckerberg (11/15/2018): “[W]e have a responsibility to keep people safe on our
 6                   services.”617
 7                i. Zuckerberg (1/1/2019): “We ended 2018 with more than 30,000 people working on
                     safety and security -- up from 10,000 people a couple of years ago.”618
 8

 9                j. Zuckerberg (1/30/2019): “[O]n all the content and safety and security issues, there’s
                     more to do here but I’m proud of the work that we have done to get in front of a lot
10                   more of these issues.”619
11                k. Zuckerberg (3/30/2019): “[W]e have a responsibility to keep people safe on our
                     services.”620
12

13

14

15
   615
       Mark Zuckerberg, Facebook (Aug. 21, 2018),
16 https://www.facebook.com/zuck/posts/10105188590724391?__tn__=K-R.
      616
17     Mark Zuckerberg, Facebook (Sept. 7, 2018),
   https://www.facebook.com/zuck/posts/10105224999156601?__xts__%5B0%5D=68.ARB273c8TJk
18 MqNAclfl-i0UB6fVWHZ_hO4k0KASCy8XfVdyC9XEVqoPLsPUPDh94zSHboQiB1t3mSlP9yE
   UyjvaEF50UxoUqVca4ZcM4nnkQ3MWz3dBGRQYm7lJMj_Cbl25p7a9-HX-aXjkjNdS21Xza
19
   AThg9PfkrzJ_dTLszwUZ3H6b3Q4biIc&__tn_.
20 617 Mark Zuckerberg, Facebook (Nov. 15, 2018), https://www.facebook.com/notes/mark-
   zuckerberg/a-blueprint-for-content-governance-and-enforcement/10156443129621634/.
21
   618
       Meta Investor Relations, Earnings Call Transcript, Meta (Jan. 1, 2019),
22 https://investor.fb.com/investor-events/event-details/2019/Facebook-Q4-2018-
   Earnings/default.aspx.
23
   619
       Meta Investor Relations, Earnings Call Transcript, Meta (Jan. 30, 2019),
24 https://investor.fb.com/financials/default.aspx.
      620
25    Mark Zuckerberg, Mark Zuckerberg: The Internet needs new rules. Let’s start in these four
   areas, Wash. Post (March 30, 2019), https://www.washingtonpost.com/opinions/mark-zuckerberg-
26 the-internet-needs-new-rules-lets-start-in-these-four-areas/2019/03/29/9e6f0504-521a-11e9-a3f7-
   78b7525a8d5f_story.html?noredirect=on.
27

28                                                 170
                                                                       PLAINTIFFS’MASTER COMPLAINT
                                                            (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                           CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504        Filed 12/18/23      Page 176 of 325




 1                  l. Zuckerberg (4/24/2019): “You should expect we’ll do everything we can to keep
                       you safe on our services, within the bounds of an encrypted service.”621
 2
                    m. Sheryl Sandberg (1/29/2020): “[We] have to keep people safe and give them control
 3                     over their experience on our apps. And we are.”622
 4
                    n. Sheryl Sandberg (10/29/2020): “While we continue to invest in helping businesses,
 5                     we are equally focused on keeping our platform safe.”623

 6                  o. Mark Zuckerberg (11/202): when asked whether he believed Meta’s platforms can

 7                      be addictive, “we certainly do not design the product in that way.”624

 8                  p. Meta (12/23/2020), when asked by the Senate Committee on the Judiciary whether
                       it could “determine whether increased use of their platform among teenage girls has
 9                     any correlation with increased signs of depression [or anxiety]”: “No.” And, when
                       asked what research Meta had conducted internally on the mental health impacts of
10
                       social media use: “[t]he effects of social media are still being studied.”625
11
                    q. Zuckerberg (3/25/21), when asked by members of the U.S. House of
12                     Representatives Committee on Energy and Commerce, “Do you believe that your
                       platform harms children?”: “I don’t believe so. This is something that we study and
13                     we care a lot about; designing products that improve peoples’ well-being is very
14                     important to us. And what our products do is help people stay connected to people

15

16

17
   621
       Mark Zuckerberg, Facebook (April 24, 2019),
18 https://www.facebook.com/zuck/posts/10107243286682221.
      622
19       Meta Investor Relations, Earnings Call Transcript, Meta (Jan. 29, 2020),
      https://investor.fb.com/investor-events/default.aspx.
20    623
      Meta Investor Relations, Earnings Call Transcript, Meta (Oct. 29, 2020),
21 https://investor.fb.com/investor-events/default.aspx.
      624
22    Breaking the News: Censorship, Suppression, and the 2020 Election: Hearing Before the S.
   Comm. on the Jud., 116 Cong. (2020) (Statement of Mark Zuckerberg); See also CEO Mark
23 Zuckerberg on Whether Products are Addictive: “We Certainly Do Not Design the Product in that
   Way,” The Recount, (Nov. 17, 2020), https://therecount.com/watch/facebook-ceo-mark-zuckerberg-
24 on/2645864077.
      625
25     Facebook, Inc. Responses to Questions for the Record from the Comm. on the Judiciary
   November 17, 2020 Hearing: Breaking the News: Censorship, Suppression, and the 2020 Election,
26 at 124-125 (December 23, 2020),
   https://www.judiciary.senate.gov/imo/media/doc/Zuckerberg%20Responses%20to%20QFRs.pdf.
27

28                                                   171
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23       Page 177 of 325




 1                      they care about, which I think is one of the most fundamental and important human
                        things that we do, whether that’s for teens or for people who are older than that.”626
 2
                    r. David Wehner, Chief Financial Officer of Meta (4/28/2021): “I mean, the only
 3                     thing I’d add . . . is that, I think more than anyone else in the industry, we invest on
 4                     the safety and security side to sort of keep bad content off the site before it gets
                       ranked and put into what people see. So we’ve got 35,000 -- over 35,000 people on
 5                     the safety and security side. We’ve got the most robust set of content policies out
                       there. We do a quarterly call, public call around our content review process and
 6                     procedures. So I think that on the front, before it even gets into the algorithm, I
                       think we really do more than anyone else in the industry on the safety and security
 7
                       front to prevent things like misinformation and a bad content going into the system
 8                     in the first place.”627

 9                  s. Adam Mosseri (5/2021): in statement to reporters, dismissing concerns around
                       Instagram’s negative impact on teens as “quite small.”628
10
                    t. Antigone Davis Meta’s Global Head of Safety (9/21) “I disagree with calling our
11                     product addictive … . [T]hat’s not how we build products.”629
12
                    u. Adam Mosseri (12/21): “I don’t believe that research suggests that our products
13                     are addictive.”630

14           498.   On each of the above occasions, and many others, Meta falsely touted the safety of its

15     platforms; it could have but failed to disclose information it knew concerning the significant risks

16     associated with its platforms, even though it knew that the public lacked access to this information.

17
   626
       Disinformation Nation: Social Media’s Role in Promoting Extremism and Misinformation
18 Hearing Before H. Energy and Commerce Subcomm. on Communications and Technology (March
   25, 2021), https://www.congress.gov/117/meeting/house/111407/documents/HHRG-117-IF16-
19
   Transcript-20210325.pdf.
20 627 Meta Investor Relations, Earnings Call Transcript, Meta (April 28, 2021),
   https://investor.fb.com/investor-events/event-details/2021/Facebook-Q1-2021-Earnings-
21
   /default.aspx.
22 628 Taylor Hatmaker, Facebook Knows Instagram Harms Teens. Now its Plan to Open the App to
   Kids Looks Worse than Ever, TechCrunch (Sept. 16, 2021),
23
   https://techcrunch.com/2021/09/16/facebook-instagram-for-kids-mosseri-wsj-teen-girls/.
24 629 See https://www.commerce.senate.gov/2021/9/protecting-kids-online-facebook-instagram-and-
   mental-health-harms.
25
   630
       Taylor Hatmaker, Instagram’s Adam Mosseri Defends the App’s Teen Safety Track Record to
26 Congress, TechCrunch (Dec. 8, 2021), https://techcrunch.com/2021/12/08/instagrams-adam-
   mosseri-senate-hearing-teen-safety/.
27

28                                                    172
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 178 of 325




 1     As Meta’s Chief Technology Officer remarked in a 2019 memo, the media had “limited information

 2     to work with” about the company and that this limitation was by Meta’s “own design.”631

 3           499.   Meta’s pattern of intentional concealment came to a head in August 2021, just weeks

 4     before Frances Haugen dropped her bombshell revelations on the public. On August 4, 2021,

 5     Senators Marsha Blackburn and Richard Blumenthal wrote to Mark Zuckerberg. The Senators’

 6     letter observed that “[a]n expanding volume of scientific research shows that social media platforms

 7     can have a profoundly harmful impact on young audiences” and noted “grave concerns about

 8     [Meta’s] apparent effort to ensnare children into social media platforms at earlier and earlier

 9     ages.”632 The letter concluded by asking Zuckerberg six “pretty straightforward questions about how

10     the company works and safeguards children and teens on Instagram.”633
11           500.   In its August 17, 2021, written response to Senators Blackburn and Blumenthal, Meta
12     omitted any reference to the internal research it had conducted demonstrating the negative impact
13     Instagram can have on kids’ mental health.634
14           501.   The Senators’ letter asked whether Meta had ever developed products or features “that
15     it had reason to believe could have a negative effect on children’s and teens’ mental health or well-
16

17
      631
18      Haugen_00007350 at Haugen_00007350 (Dec. 30, 2019 memo by Andrew Bosworth regarding
      “Thoughts for 2020”).
19    632
       Letter from Richard Blumenthal, U.S. Senator, to Mark Zuckerberg, Chief Executive Officer of
20 Facebook    (Aug. 4, 2021), https://www.blumenthal.senate.gov/imo/media/doc/8.4.21%20-
   %20Facebook%20-%20Mental%20Health%20and%20Kids%20Letter.pdf.
21 633 Protecting Kids Online: Testimony from a Facebook Whistleblower Hearing before Subcomm.

22 On Consumer Protection, Product Safety, and Data Security (Oct. 5, 2021),
   https://www.commerce.senate.gov/2021/10/protecting%20kids%20online:%20testimony%20from
23 %20a%20facebook%20whistleblower; See also, Letter from Richard Blumenthal, U.S. Senator, to
   Mark Zuckerberg, Chief Executive Officer of Facebook (Aug. 4, 2021),
24 https://www.blumenthal.senate.gov/imo/media/doc/8.4.21%20-%20Facebook%20-
   %20Mental%20Health%20and%20Kids%20Letter.pdf.
25
   634
       Letter from Facebook, Inc. to Richard Blumenthal, U.S. Senator, and Marsha Blackburn, U.S.
26 Senator (Aug. 17, 2021),
   https://www.blumenthal.senate.gov/imo/media/doc/817.21facebookresponseletter.pdf.
27

28                                                     173
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23     Page 179 of 325




 1     being.”635 Meta responded by claiming it had “built many special protections for teens.”636 But it

 2     failed to mention, for example, that it employed “growth hackers” who internally advised: “we can

 3     be very aggressive with our notifications to create a habit.”637

 4                502.   The Senators’ letter also asked if Meta’s research had “ever found that its platforms

 5     and products can have a negative effect on children’s and teens’ mental health or well-being.”638

 6     Meta responded that the matter was “still being studied,”639 that it was challenging to conduct such

 7     research,640 and that the company was “not aware of a consensus among studies or experts about

 8     how much screen time is ‘too much.’”641 While Meta reiterated its vague and already public position

 9     that “passive” use of social media can correlate with “negative outcomes,”642 it failed to disclose

10     any more specific findings.643
11                503.   Meta failed to disclose, in response to the Senators’ direct question, its detailed
12     research regarding addiction to its platforms, which the company terms problematic usage;644 its
13
      635
            Id.
14
      636
            Id.
15    637
      Haugen_00016893 at Haugen_00016914 (Aug. 3, 2017 memo entitled “Have we made people
16 addicted to Facebook?”).
      638
17     Letter from Facebook, Inc. to Richard Blumenthal, U.S. Senator, and Marsha Blackburn, U.S.
   Senator 2 (Aug. 17, 2021),
18 https://www.blumenthal.senate.gov/imo/media/doc/817.21facebookresponseletter.pdf.
   639
       Id.
19
   640
       Id.
20 641
       Id.
21 642 Id.; see also Meta Investor Relations, Earnings Call Transcript, Meta (April 25, 2018),

22 https://s21.q4cdn.com/399680738/files/doc_financials/2018/Q1/Q1-18-Earnings-call-transcript.pdf.
   643
       Letter from Facebook, Inc. to Richard Blumenthal, U.S. Senator, and Marsha Blackburn, U.S.
23 Senator 6 (Aug. 17, 2021),

24 https://www.blumenthal.senate.gov/imo/media/doc/817.21facebookresponseletter.pdf.
   644
       Haugen_00016373 at Haugen_00016379 (Mar. 9, 2020 internal presentation and discussion
25 about problematic use with a slide stating that problematic use “is sometimes referred to as ‘social
   media addiction’ externally”); Haugen_00016373 at Haugen_00016373 (Mar. 9, 2020 internal
26
   presentation and discussion regarding problematic use in which a Meta employee shared a post
27 stating: “In Q4 2019, our Well-being Product Team conducted global qualitative research to better

28                                                       174
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23       Page 180 of 325




 1     assessment that “[t]he best external research indicates that Facebook’s impact on people’s well-

 2     being is negative”;645 its identification of “Problematic Use,” loneliness, and social comparison as

 3     the three drivers of this negative impact;646 its finding that up to 25% of people on Facebook

 4     experience so-called problematic use;647 its data showing that “high time spent users do tend to be

 5     disproportionately younger users”;648 its conclusion that so-called problematic use causes profound

 6     harms, including loss of productivity, sleep disruption, relationship impacts, and safety risks;649 its

 7     identification of multiple Meta platform features that act as triggers for so-called problematic use;650

 8     its knowledge that teens who feel addicted to a Meta app “know that what they’re seeing is bad for

 9     their mental health but feel unable to stop themselves”;651 its studies regarding body image and

10     social comparison;652 its knowledge that Instagram makes body image issues worse “for one in three
11

12

13 understand ‘problematic’ use (sometimes called ‘social media addiction’ externally”);
   Haugen_00005458 at Haugen_00005473 (Nov. 5, 2019 report by Meta employee regarding “Hard
14
   Life Moments – Mental health deep dive”); Haugen_00007055 at Haugen_00007055 (May 6, 2019
15 memo by Meta employee regarding “Problematic use / time-spent papers at CHI”).
      645
         Haugen_00016373 at Haugen_00016381 (Mar. 9, 2020 internal presentation and discussion
16
      about problematic use).
17    646
            Haugen_00016373 at Haugen_00016381.
      647
18          Haugen_00016373 at Haugen_00016383.
      648
       Haugen_ 00017177 at Haugen_00017181 (Oct. 30, 2018 report by Meta employee regarding
19
   “How Behavior on Instagram Varies with Overall Time Spent”); Haugen_00005458 at
20 Haugen_00005750-Haugen_00005751 (Sept. 18, 2019 presentation containing slides about brain
   maturation).
21 649
       Haugen_00016373 at Haugen_00016414 (Mar. 9, 2020 presentation stating “All problematic
22 users were experiencing multiple life impacts”).
      650
         Haugen_00016373 at Haugen_00016410 (“We heard about 10+ triggers contributing to PU
23
      habits”).
24    651
         Haugen_00017069 at Haugen_00017171 (Oct. 10, 2019 report by Meta employee and
      discussion about teens’ mental health).
25
      652
      Haugen_00005458 at Haugen_00005484 (Sept. 18, 2019 presentation regarding “Mental Health
26 Findings”); Haugen_00000797 at Haugen_00000797 (Nov. 16, 2018 report regarding “IG Social
   Comparison Research Findings”).
27

28                                                     175
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504      Filed 12/18/23     Page 181 of 325




 1     teen girls”;653 its analysis showing that topics eliciting appearance comparison comprise one third

 2     of what teen girls see on Instagram;654 its research concluding that negative social comparison on

 3     Instagram gets worse for users over time;655 its awareness that teens report Instagram as a source of

 4     increased anxiety and depression;656 its finding that Instagram has a “consistent bias in favor of

 5     harmful content”;657 its knowledge that Meta’s recommendation algorithms “create an echo

 6     chamber” of suicide and self-harm content;658 its researchers’ conclusion that teens “[h]ave an

 7     addict’s narrative about their use” of Instagram;659 and its survey finding that “[o]ver one third of

 8     teens felt they have only a little control of no control at all over how Instagram makes them

 9     feel”660—in addition to the other findings described in this Complaint.

10                504.   Meta’s years-long concealment of its research was revealed just weeks later, when
11     Frances Haugen released these studies, along with a trove of other internal Meta documents, to the
12     Wall Street Journal. Even these disclosures did not reveal the full scope and extent of Meta’s
13

14    653
       Haugen_00005458 at Haugen_00005500 (Sept. 18, 2019 presentation containing a slide stating
15 “But, We Make Body Image Issues Worse for 1 in 3 Teen Girls”).
   654
       Haugen_00002527 at Haugen_00002527 (Mar. 9, 2021 report regarding “How the topics people
16
   see are linked to appearance comparison on IG”).
17 655 Haugen_00000797 at Haugen_00000875 (Nov. 16, 2018 report containing a page displaying
   data about negative social comparison over time).
18
   656
       Haugen_00017069 at Haugen_00017121 (Oct. 10, 2019 presentation containing a slide
19 regarding “Teens blame Instagram for increases in the rates of anxiety and depression among
   teens”).
20
   657
       Haugen_00003739 at Haugen_00003739 (Undated report regarding “Is Instagram Reels Favoring
21 badness?”).
      658
22      Haugen_00005378 at Haugen_00005379 (Dec. 2, 2020 report regarding “Tackle Community-
      Based Harm in Dangerous Content”).
23    659
      Subcomm: Protecting Kids Online: Facebook, Instagram, and Mental Health Harms
24 Hearing  before Subcomm. On Consumer Protection Product Safety, and Data Security
   (Sept. 30, 2021), https://www.commerce.senate.gov/2021/9/protecting-kids-online-
25 facebook-instagram-and-mental-health-harms ).
      660
26          Id.

27

28                                                     176
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504         Filed 12/18/23      Page 182 of 325




 1     misrepresentations, discussed elsewhere in this Complaint.

 2                505.   On September 21, 2021, Senator Blumenthal confronted a Meta representative about

 3     the conspicuous omissions in Meta’s response to his letter:

 4                       Last month, on August 4, Senator Blackburn and I wrote to Mark
                         Zuckerberg and asked him specifically about this issue. We asked, and I’m
 5                       quoting, “Has Facebook’s research ever found that its platforms and
                         products can have a negative effect on children’s and teens’ mental health
 6
                         or well-being such as increased suicidal thoughts, heightened anxiety,
 7                       unhealthy usage patterns, negative self-image, or other indications of lower
                         well-being?”
 8
                         It wasn’t a trick question. It preceded the reports in the Journal. We had no
 9                       idea about the whistleblower documents that were ultimately revealed.
10                       Facebook dodged the question. “We are not aware of a consensus among
11                       studies or experts about how much screen time is too much.”

12                       We are not aware. Well, we all know now that representation was simply
                         untrue.661
13
                  506.   Senator Blumenthal went on to ask the witness, Steve Satterfield, Facebook’s Vice
14
       President of Privacy & Public Policy, “why did Facebook misrepresent its research on mental health
15
       and teens when it responded to me and Senator Blackburn?” After disputing the characterization,
16
       Satterfield responded, “The safety and well-being of the teens on our platform is a top priority for
17
       the company. We’re going to continue to make it a priority. This was important research.” Senator
18
       Blumenthal then went on: “Why did you conceal it?” Satterfield responded, “we didn’t make it
19
       public because we don’t, with a lot of the research we do because we think that is an important way
20
       of encouraging free and frank discussion within the company about hard issues.”662
21
                  507.   Meta unilaterally decided to prioritize “free and frank” internal discussion over honest
22

23
      661
      Richard Blumenthal, Blumenthal Demands Facebook Appear at Next Week’s Consumer
24 Protection Subcomm. Hearing to Explain Coverup of its Platforms’ Negative Impact on Teens and
   Children (Sept. 21, 2021), https://www.blumenthal.senate.gov/newsroom/press/release/blumenthal-
25 demands-facebook-appear-at-next-weeks-consumer-protection-subcommittee-hearing-to-explain-

26 coverup-of-its-platforms-negative-impact-on-teens-and-children.
      662
            Id.
27

28                                                        177
                                                                               PLAINTIFFS’MASTER COMPLAINT
                                                                    (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                   CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504        Filed 12/18/23      Page 183 of 325




 1     and transparent responses to direct questions from sitting United States Senators. When it “dodged,

 2     ducked, sidetracked, [and] in effect misled” Senators Blumenthal and Blackburn, Meta also

 3     deceived the public.663

 4           508.   Moreover, Satterfield’s “free and frank discussion” excuse has been contradicted both

 5     internally and publicly by Meta employees. On January 8, 2020, a Meta software engineer

 6     participated in an internal “ask me anything” session on the last day of his four-year tenure at the

 7     company. When asked how the Meta Defendants should respond to outside pressures and critiques,

 8     the software engineer stated: “Right now, many employees feel that if they whistleblow, dissent,

 9     give feedback to unethical decisions, etc, then they are at risk for being fired. We can fix that by

10     giving people the safety to speak up when they see something wrong going on.”664
11           509.   Frances Haugen echoed this sentiment in her testimony before the Senate, citing
12     evidence that Meta “is so scared of even basic transparency that it goes out of its way to block
13     researchers who are asking awkward questions.”665 Ms. Haugen further testified that Meta’s culture
14     emphasizes insularity and promotes the idea that “if information is shared with the public, it will
15     just be misunderstood.”666
16

17    663
         Protecting Kids Online: Testimony from a Facebook Whistleblower Hearing before Subcomm.
18    On Consumer Protection, Product Safety, and Data Security (Oct. 5, 2021)
      https://www.commerce.senate.gov/2021/10/protecting%20kids%20online:%20testimony%20from
19    %20a%20facebook%20whistleblower; see also Protecting Kids Online: Testimony from a
      Facebook Whistleblower Hearing before Subcomm. On Consumer Protection, Product Safety, and
20    Data Security (Oct. 5, 2021)
      https://www.commerce.senate.gov/2021/10/protecting%20kids%20online:%20testimony%20from
21
      %20a%20facebook%20whistleblower (statement by Senator Brian Schatz to Frances Haugen that
22    he had “a long list of misstatements, misdirections and outright lies from the company”).
      664
        Haugen_00007481 at Haugen_00007492 (Jan. 8, 2020 report regarding “Political Ads
23
      Announcement Preview [Confidential]”).
24    665
       Protecting Kids Online: Testimony from a Facebook Whistleblower Hearing before Subcomm.
   On Consumer Protection, Product Safety, and Data Security (Oct. 5, 2021)
25 https://www.commerce.senate.gov/2021/10/protecting%20kids%20online:%20testimony%20from

26 %20a%20facebook%20whistleblower.
   666
       Id.
27

28                                                   178
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 184 of 325




 1           510.   The above representations of former employees are consistent with reports from

 2     Facebook content moderators that there is a “culture of fear and excessive secrecy” within Meta that

 3     “prevent[s] [them] from speaking out.”667

 4           511.   Notably, Meta’s pattern of concealment did not end after Frances Haugen came

 5     forward. On September 30, 2021, Antigone Davis, Facebook’s Head of Safety, testified before the

 6     Senate. Ms. Davis represented that, when Instagram “do[es] ads to young people, there are only

 7     three things that an advertiser can target around: age, gender, location. We also prohibit certain ads

 8     to young people, including weight-loss ads.”668 She further testified, “We don’t allow the

 9     sexualization of minors on our platform.”669 A study by the Technology Transparency Project

10     proved this was false.670
11           512.   Ms. Davis’s statements were subsequently proven false by Senator Mike Lee. During
12     an October 2021 hearing, Senator Lee explained that a group called the Technology Transparency
13     Project (“TTP”) alerted the U.S. Senate that it had gained Facebook’s approval to target a series of
14     harmful ads to up to 9.1 million users between the ages of 13 and 17.671 While TTP did not actually
15

16
      667
      Zoe Schiffer, Facebook Content Moderators Call for Company to Put an End to Overly
17 Restrictive NDAs, The Verge (Jul. 22, 2021),
   https://www.theverge.com/2021/7/22/22587757/facebook-content-moderators-ireland-end-
18 restrictive-ndas.
      668
19     Subcomm: Protecting Kids Online: Facebook, Instagram, and Mental Health Harms Hearing
   before Subcomm. On Consumer Protection Product Safety, and Data Security (Sept. 30, 2021),
20 https://www.commerce.senate.gov/2021/9/protecting-kids-online-facebook-instagram-and-mental-
   health-harms.
21
   669
       Protecting Kids Online: Testimony from a Facebook Whistleblower Hearing before Subcomm.
22 On Consumer Protection, Product Safety, and Data Security (Oct. 5, 2021)
   https://www.commerce.senate.gov/2021/10/protecting%20kids%20online:%20testimony%20from
23
   %20a%20facebook%20whistleblower.
24 670 See Id.
      671
25    See Protecting Kids Online: Testimony from a Facebook Whistleblower Hearing before
   Subcomm. On Consumer Protection, Product Safety, and Data Security (Oct. 5, 2021)
26 https://www.commerce.senate.gov/2021/10/protecting%20kids%20online:%20testimony%20from
   %20a%20facebook%20whistleblower.
27

28                                                    179
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504       Filed 12/18/23      Page 185 of 325




 1     run the ads, approval from Meta to do so demonstrates that the company allows harmful targeted

 2     advertising toward minors. Senator Lee showed three examples of these Meta-approved ads, shown

 3

 4

 5

 6

 7

 8

 9

10

11

12
       below672:
13

14           513.    The first ad encourages children to “[t]hrow a skittles party like no other” and displays

15     the suggestion against a background of colorful prescription pills. The second ad promotes an “Ana

16     Tip” instructing the viewer to “visit pro-ana sites to feed your motivation and reach your goal” when

17     feeling hungry. The third ad informs the viewer that they “look lonely” and encourages them to

18     “[f]ind your partner now to make a love connection.”

19           514.    Senator Lee stated that based on the Meta Defendants’ approval of these pro-drug,

20     pro-anorexia, pro-sexualization ads targeted to children aged 13 to 17, “[o]ne could argue that it

21     proves that Facebook is allowing and perhaps facilitating the targeting of harmful adult-themed ads

22     to our nation’s children.”673

23
      672
       These screen captures were taken from a video of the October 5, 2021 Senate Hearing with
24 witness Frances Haugen. See Protecting Kids Online: Testimony from a Facebook Whistleblower
   Hearing before Subcomm. On Consumer Protection, Product Safety, and Data Security (Oct. 5,
25 2021)

26 https://www.commerce.senate.gov/2021/10/protecting%20kids%20online:%20testimony%20from
   %20a%20facebook%20whistleblower.
27 673 Id.

28                                                     180
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23     Page 186 of 325




 1             515.    In addition to the litany of misrepresentations and omissions identified above, Meta

 2     has repeatedly failed to tell the truth about the age of users on Instagram. In statements to Congress

 3     and elsewhere, Zuckerberg has represented that Meta does not allow users under the age of 13 to

 4     use the platform. For example, in testimony before the U.S. House of Representatives Committee

 5     on Energy and Commerce, Zuckerberg stated: “There is clearly a large number of people under the

 6     age of 13 who would want to use a service like Instagram. We currently do not allow them to do

 7     that.”674

 8             516.    However, as shown above, Meta has long known that its platforms are widely used by

 9     children under the age of 13. In fact, Meta knows through retrospective cohort analyses that “up to

10     10 to 15% of even 10 year-olds in a given cohort may be on Facebook or Instagram.”675 Meta is
11     also aware that teenagers coach tweens, defined by them as 10- to 12-year-olds, on how to use its
12     platforms.676
13             517.    Indeed, far from acknowledging the serious problems with its platforms and warning
14
      674
15        Disinformation Nation: Social Media’s Role in Promoting Extremism and Misinformation
      Hearing Before H. Energy and Commerce Subcomm. on Communications and Technology 175
16    (March 25, 2021), https://www.congress.gov/117/meeting/house/111407/documents/HHRG-117-
      IF16-Transcript-20210325.pdf (Zuckerberg: “[O]ur policies on-on the main apps that we offer
17
      generally prohibit people under the age of 13 from using the services.”); See also Transcript of
18    Zuckerberg’s appearance before House committee, Washington Post (April 11, 2018),
      https://www.washingtonpost.com/news/the-switch/wp/2018/04/11/transcript-of-zuckerbergs-
19    appearance-before-house-committee/?utm_term=.e7b476fb8ac7&noredirect=on (When asked if it
      is correct that children can get a Facebook account starting at age 13, Zuckerberg confirmed that it
20    was correct); see also NewSchools Venture Fund, NewSchools Summit 2011: John Doerr and Mark
      Zuckerberg on innovation and education (May 24, 2011),
21
      https://www.youtube.com/watch?v=n03zAOadyMA (Zuckerberg: “[A]nd so basically, we don’t
22    allow people under the age of 13 on Facebook . . . today we don’t allow people under the age of 13
      to sign up”).
23    675
      Protecting Kids Online: Testimony from a Facebook Whistleblower Hearing before Subcomm.
24 On  Consumer Protection, Product Safety, and Data Security (Oct. 5, 2021),
   https://www.commerce.senate.gov/2021/10/protecting%20kids%20online:%20testimony%20from
25 %20a%20facebook%20whistleblower.
      676
26          Haugen_00016728 at Haugen_00016736-Haugen_00016740.

27

28                                                     181
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504       Filed 12/18/23     Page 187 of 325




 1     children and parents of the same, Meta has launched advertising campaigns designed to encourage

 2     more children to use its platforms—by touting the purported safety of those platforms. For example,

 3     in a recent television ad, Meta claimed that it “build[s] technology that gives you more control and

 4     helps keep you safe[,]” including through its “industry leading AI” and other “tools that can

 5     protect—so you can connect.” This advertisement featured children, as in the screenshot below.

 6     Other advertising campaigns have similarly touted Meta’s AI as being a feature that contributes to

 7     its platforms’ safety—without disclosing the serious problems identified in this Complaint.677

 8                518.   In another example of advertising that promotes use by children, a Meta 2021 online

 9     advertisement actively highlighted the posts available for fifth grade children on its Facebook

10     platform, highlighting the experience of an art teacher who used Facebook to communicate with
11     students during the pandemic—an experience the video noted was “a lot to unpack for little, tiny
12     people.” 678
13                519.   Meta only continues to hide the harms its platforms cause. On November 7, 2023, a
14     second Meta whistleblower testified before a Senate subcommittee about the ways in which Meta
15     has failed to act to protect its teenage users.679 Arturo Bejar, a former Facebook engineering director
16     and Instagram consultant, testified that Meta leadership was aware of prevalent harms to its
17     youngest users but declined to take adequate action in response.
18                520.   Bejar testified that he informed Chief Product Officer Chris Cox of research into
19     platform harms to teens and that Cox acknowledged he was already aware of the statistics. Bejar

20     found this response “heartbreaking because it meant that they knew it and they were not acting on

21     it.”680

22
      677
23          See AG Compl. para. 390.
      678
24          See Id. at para. 391.
   679
       Lauren Feiner, Meta Failed to Act to Protect Teens, Second Whistleblower Testifies, CNBC
25 (Nov. 7, 2023), https://www.cnbc.com/2023/11/07/meta-failed-to-act-to-protect-teens-second-

26 whistleblower-testifies.html.
      680
            Id.
27

28                                                      182
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23     Page 188 of 325




 1           521.   Similarly, Bejar turned over emails that showed he raised similar concerns to top Meta

 2     leaders. In an email to Mark Zuckerberg, then-Meta COO Sheryl Sandberg, and Instagram CEO

 3     Adam Mosseri dated October 5, 2021, Bejar noted that “51% of Instagram users say ‘yes’ to having

 4     had a bad or harmful experience in the last 7 days.”681 Bejar also flagged to Zuckerberg that one

 5     survey showed almost 40 percent of 13-15 year olds said “they experienced negative comparison”

 6     while on Instagram.682

 7           522.   Less than two weeks later, on October 14, 2021, Bejar raised similar concerns to Adam

 8     Mosseri.683 Bejar testified that he never received a response from or met with Zuckerberg or

 9     Sandberg.684 He further testified that he thought Meta would “take [his] concerns and

10     recommendations seriously. Yet years have gone by and millions of teens are having their mental
11     health compromised and are still being traumatized.”685
12           523.   Bejar drew three conclusions in his Senate testimony. “One, Meta knows the harm that
13     kids experience on their platform. And executives know that their measures fail to address it. Two,
14     there are actionable steps that Meta could take to address the problem. And three, they are deciding
15     time and time again to not tackle these issues.”686
16

17    681
       Bejar Whistleblower Documents at 109,
18 https://www.blumenthal.senate.gov/imo/media/doc/1172023bejardocuments.pdf.
   682
       Id.
19
   683
       Id. at 112-13.
20 684
       Lauren Feiner, Meta Failed to Act to Protect Teens, Second Whistleblower Testifies, CNBC
21 (Nov. 7, 2023), https://www.cnbc.com/2023/11/07/meta-failed-to-act-to-protect-teens-second-
   whistleblower-testifies.html.
22 685
        Id.
23 686 Former Meta Executive Testifies on Social Media and Youth Mental Health, at 27:30-27:59, C-

24 SPAN (Nov. 7, 2023), https://www.c-span.org/video/?531650-1/meta-executive-testifies-social-
   media-youth-mental-health.
25 Protecting Kids Online: Testimony from a Facebook Whistleblower Hearing before Subcomm. On
   Consumer Protection, Product Safety, and Data Security (Oct. 5, 2021)
26
   https://www.commerce.senate.gov/2021/10/protecting%20kids%20online:%20testimony%20from
27 %20a%20facebook%20whistleblower; see also Protecting Kids Online: Testimony from a

28                                                    183
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504       Filed 12/18/23      Page 189 of 325




 1                   5.      Meta facilitates the spread of CSAM and child exploitation.

 2           524.    Various design features of Meta’s platforms promote and dramatically exacerbate
 3     sexual exploitation, the spread of CSAM, sextortion, and other socially maladaptive behavior that
 4     harms children.
 5           525.    Meta’s design features and conduct exacerbating the spread of CSAM causes Plaintiffs
 6     to be required to divert and increase resources and expenditures to provide education, counselling,
 7     disciplinary and other social services to harmed minors.
 8           526.    Meta has long known about these outcomes.687 In 2010, the Daily Mail in the United
 9     Kingdom reported that a pedophile used Facebook to groom up to 1,000 children for sex. Detectives
10     “praised the ‘brave young people’ who helped” catch this predator but attacked Meta, saying “many
11     sickening incidents could have been avoided if the social networking site had installed a ‘panic
12     button’ which allows youngsters to alert authorities if they suspect they were being groomed.”688
13           527.    In 2013, the Christian Science Monitor reported that Facebook is a “favorite recruiting
14     ground[]” for child sex traffickers.689
15           528.    In 2017, The Times in the U.K. reported that Facebook “failed to take down dozens of
16     images and videos that were ‘flagged’ to its moderators, including . . . several violent paedophilic
17

18

19

20 Facebook Whistleblower Hearing before Subcomm. On Consumer Protection, Product Safety, and
   Data Security (Oct. 5, 2021).
21
   687
       See, e.g., Michael H. Keller and Gabriel J.X. Dance, The Internet Is Overrun With Images of
22 Child Sexual Abuse,” N.Y. Times (Sept. 29, 2019),
   https://www.nytimes.com/interactive/2019/09/28/us/child-sex-abuse.html.
23
   688
       Michael Seamark, Paedophile postman used Facebook and Bebo to groom up to 1,000 children
24 for sex, DailyMail.com (May 28, 2010), https://www.dailymail.co.uk/news/article-
   1282157/Facebook-grooming-How-pervert-postman-used-site-groom-hundreds-children.html.
25
   689
       Marjorie Kehe Staff, Kimberly Ritter stands up to child sex trafficking in US hotels, The
26 Christian Science Monitor (Mar. 15, 2013), https://www.csmonitor.com/World/Making-a-
   difference/2013/0315/Kimberly-Ritter-stands-up-to-child-sex-trafficking-in-US-hotels.
27

28                                                    184
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23     Page 190 of 325




 1     cartoons” and “a video of an apparent sexual assault on a child.”690

 2           529.     In 2019, the Sunday Times, also in the U.K., reported that “Instagram is steering

 3     paedophiles towards accounts belonging to children as young as 11, who should not be on the

 4     platform in the first place.”691

 5           530.    Despite its awareness from over a decade of red flags, Meta promotes its platforms as

 6     safe and family-friendly and claims that its platform features are designed to remind adolescent

 7     users who they are sharing with and to limit interactions with strangers.692 This is simply not the

 8     case. Meta not only tolerates child exploitation, it knowingly assists, supports, and/or facilitates

 9     child exploitation through its platform features.

10           531.    Meta also fails to enforce its own policies regarding adolescent users and does not
11     incorporate simple, cost-effective technologies into the design of its platforms that would help
12     reduce the prevalence of CSAM. Adolescent users are harmed by Meta’s platforms, which are
13     unreasonably dangerous for them.
14           532.    For example, Facebook’s “People You May Know” feature helps predators connect
15     with underage users and puts them at risk of sexual exploitation, sextortion, and production and
16     distribution of CSAM; 80% of “violating adult/minor connections” on Facebook were the result of
17     this friend recommendation system.693 Instagram’s “Suggested for You” and “Because You
18     Watched” features are similarly dangerous because they connect strangers, including adult
19     predators, with adolescent users. As The Sunday Times revealed, “[p]redators who follow users

20
      690
       Alexi Mostrous, Facebook publishing child pornography, The Times (Apr. 13, 2017),
21
   https://www.thetimes.co.uk/article/facebook-publishing-child-pornography-
22 pdgt87nm6?region=global.
   691
       Shanti Das & Geoff White, Instagram sends paedophiles to accounts of children as young as 11,
23
   The Sunday Times (Dec. 1, 2019), https://www.thetimes.co.uk/article/instagram-sends-predators-
24 to-accounts-of-children-as-young-as-11-j2gn5hq83.   Meta was aware of this report.
   META3047MDL-003-00153063.
25 692 Safety Resources for Parents, Meta Privacy, Safety, and Security

26 https://www.facebook.com/help/1079477105456277?helpref=faq_content.
   693
       META3047MDL-003-00013254 at META3047MDL-003-00013255.
27

28                                                    185
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23     Page 191 of 325




 1     posting photos of young models, dancers or gymnasts are shown a stream of other images they will

 2     like and targeted with personalised recommendations of accounts to follow. Among the suggested

 3     accounts are newly created profiles belonging to children who would otherwise be almost

 4     impossible to find unless you had their user name.”694

 5                533.   Similarly, the absence of effective age verification measures, as described above,

 6     allows predators to lie about their ages and masquerade as children, with obvious dangers to the

 7     actual children on Meta’s platforms. Prior to November 2022, the default setting for Facebook users’

 8     profiles allowed posts to be publicly viewable by any user. This allowed predators to discover and

 9     connect with adolescent users. The same is true for users’ friends lists.

10                534.   Instagram is similarly flawed, having transitioned to private profiles for users under
11     16 only in July 2021. Up until that change—and even after—millions of minors are left exposed to
12     predation and at risk of extortion and abuse by default. Indeed, The Sunday Times reported that
13     “[o]ne of those brought to the surface by Instagram’s algorithm contained selfies of a young girl
14     and a profile description that read: “Hey people hope you decide to follow me im 11.”695
15                535.   Distressingly, Meta considered making teenage users’ profiles “private by default” at
16     least as early as July 2020, but chose not to do so after pitting “safety, privacy, and policy wins”
17     against “growth impact.”696
18                536.   Meta’s platforms also include direct messaging features. Instagram’s direct messaging
19     system is equipped with a platform feature called a “photo bomb,” which is an image or video sent

20     from a smartphone that automatically disappears from the recipient’s inbox. Both Facebook’s and

21     Instagram’s messaging systems also have a “Vanish Mode” option, which makes the message

22     disappear after it has been read.

23
      694
24    Shanti Das & Geoff White, Instagram sends paedophiles to accounts of children as young as 11,
   The Sunday Times (Dec. 1, 2019), https://www.thetimes.co.uk/article/instagram-sends-predators-
25 to-accounts-of-children-as-young-as-11-j2gn5hq83.
      695
26          Id.
   696
       META3047MDL-003-00028226 at META3047MDL-003-00028226; META3047MDL-003-
27 00013254 at META3047MDL-003-00013254.

28                                                       186
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23       Page 192 of 325




 1             537.   Meta’s messaging features allow users to exchange private messages with other

 2     platform users. In addition, users do not have to be connected as friends or followers to initiate

 3     conversations, which enables predators to communicate privately with youth, with virtually no

 4     evidence of what was exchanged. This feature enables predators to identify children who are willing

 5     to respond to a stranger’s message, and then prey on their insecurities. Even though “this is the kind

 6     of thing that pisses Apple off to the extent of threatening to remove us from the App Store,” as of

 7     mid-2020, Meta had no timeline for “when we’ll stop adults from messaging minors in IG

 8     Direct.”697 That remained true even after Meta received reports that a 12-year-old minor solicited

 9     on its platform “was [the] daughter of [an] Apple Security Exec.”698

10             538.   An internal study conducted in or around June 2020 concluded that 500,000 underage
11     Instagram accounts “receive IIC”—which stands for “inappropriate interactions with children”—
12     on a daily basis.699 Yet, at the time, “Child Safety [was] explicitly called out as a non-goal . . . So if
13     we do something here, cool. But if we can do nothing at all, that’s fine, too.”700
14             539.   Meta’s platforms also permit users to operate multiple accounts simultaneously.
15     Operating multiple accounts enables adolescent users to have multiple unique online identities. In
16     addition, parents are often unaware that more than one account exists, and therefore do not monitor
17     the additional accounts as they would the primary, known account. By permitting multiple accounts,
18     Meta compounds children’s exposure to danger on its platforms and hampers parents’ attempts to
19     monitor their children’s activities.

20             540.   Meta’s platforms also utilize a location feature that allows users to geotag the location

21     where a photo was taken or from where a post is being made. On Facebook, users can search posts

22     by location and find pages and groups by the location tagged in a user’s post. Similarly, Instagram

23

24    697
            META3047MDL-003-00028019 at META3047MDL-003-00028019.
      698
25          META3047MDL-003-00028019 at META3047MDL-003-00028020.
      699
26       META3047MDL-003-00028214 at META3047MDL-003-00028216-META3047MDL-003-
      00028218.
27    700
            META3047MDL-003-00028214 at META3047MDL-003-00028215.
28                                                      187
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23       Page 193 of 325




 1     users can use the Explore tool to search for posts based on location tags.

 2           541.

 3           542.    Meta’s policies fail to adequately protect children, especially teens. Meta created its

 4     own definition of CSAM that fails to sufficiently meet the clear requirements provided in 18 U.S.C.

 5     § 2256(8) and related case law. Meta relies on its own definitions to fail to report harmful CSAM

 6     to the authorities as required by law.701 For example, Meta utilizes the Tanner Stages, a classification

 7     system used to track children’s physical development during puberty, to assist with making

 8     moderation decisions related to potential CSAM. The scale’s creator, Dr. James Tanner, has called

 9     this approach “wholly illegitimate.”702

10           543.    In fact, the United States Department of Justice (“DOJ”) urged Zuckerberg to refrain
11     from implementing dangerous design modifications to his platforms, “embed the safety of the public
12     in system designs,” and “act against illegal content effectively with no reduction to safety,” in ways
13     that safeguard victims.703
14           544.    In November 2021, Meta indicated that it would postpone certain platform design
15     changes, such as encrypting direct messages on Instagram, that would create an increased risk and
16     volume of CSAM within its platforms. However, in January 2022, it implemented those changes to
17     its Messenger application, increasing risks to vulnerable children and the volume of predators and
18     CSAM without sufficient warning.704 In 2019, FBI Director Christopher Wray stated that, with the
19     design decision to encrypt Messenger, absent additional protections for children, Facebook would

20

21    701
       Michael H. Keller, Adults or Sexually Abused Minors? Getting It Right Vexes Facebook, N.Y.
22 Times (Mar. 31, 2022), https://www.nytimes.com/2022/03/31/business/meta-child-sexual-
   abuse.html.
23 702
       Id.
24 703 Letter to Mark Zuckerberg from Department of Justice 2 (October 4, 2019),
   https://www.justice.gov/opa/press-release/file/1207081/download .
25
   704
       Timothy Buck, Express Yourself in Messenger’s End-to-End Encrypted Chats, Messenger News
26 (Jan. 27, 2022), https://messengernews.fb.com/2022/01/27/express-yourself-in-messengers-end-to-
   end-encrypted-chats/.
27

28                                                     188
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23     Page 194 of 325




 1     become “a dream-come-true for predators and child pornographers. A platform that allows them to

 2     find and connect with kids, and like-minded criminals, with little fear of consequences. A lawless

 3     space created not by the American people, or their elected officials, but by the owners of one big

 4     company.”705

 5                545.   Even further compounding these problems, Meta has “instructed content moderators

 6     for its platforms to ‘err on the side of an adult’ when they are uncertain about the age of a person in

 7     a photo or video, according to a corporate training document.”706

 8                546.   Shortly after Frances Haugen disclosed how Meta’s platforms harm children, an

 9     unnamed whistleblower and former Facebook employee revealed in a five-page document that

10     Meta’s efforts to address the prevalence of CSAM within its platforms were “inadequate” and
11     “under-resourced.”707 This whistleblower also stated that Meta “doesn’t track” the full scale of the
12     CSAM problem within its platforms because senior executives consistently limit the funds available
13     for child protection design efforts, by instead focusing on the company’s “return on investment.”708
14                547.   Instead of taking these crucial, life-saving actions, Meta misleadingly asserts that
15     when it “become[s] aware of apparent child exploitation, we report it to the National Center for
16     Missing and Exploited Children (NCMEC), in compliance with applicable law.”709 But Meta’s
17     response to law enforcement inquiries is often significantly delayed, if they respond at all, and Meta
18

19    705
      Raphael Satter & Sarah N. Lynch, FBI Director Warns Facebook Could Become Platform Of
20 ‘Child Pornographer’, Reuters (Oct. 4, 2019), https://www.reuters.com/article/us-facebook-
   security/fbi-director-warns-facebook-could-become-platform-of-child-pornographers-
21 idUSKBN1WJ1NQ.
      706
22    Michael H. Keller, Adults or Sexually Abused Minors? Getting It Right Vexes Facebook, N.Y.
   Times (Mar. 31, 2022), https://www.nytimes.com/2022/03/31/business/meta-child-sexual-
23 abuse.html.
      707
24      Angus Crawford, Whistleblower: Facebook’s response to child abuse ‘inadequate’, BBC News,
      (Oct. 28, 2021) https://www.bbc.com/news/technology-59063768.
25    708
            Id.
26    709
         Meta, Meta’s Child Sexual Exploitation, Abuse and Nudity, Facebook Community Standards,
      https://transparency.fb.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/.
27

28                                                       189
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 195 of 325




 1     further frustrates law enforcement investigations by failing to promptly report child sexual

 2     exploitation.710

 3             548.   As a result, Meta’s platforms are polluted with illegal material that promotes and

 4     facilitates the sexual exploitation of minors. Meta benefits from increased user activity (and

 5     increased advertising revenue) for disseminating these materials on its platforms.

 6             549.   Meta knows that its platforms are used for the production, possession, distribution,

 7     receipt, transportation, and dissemination of millions of materials that depict obscene visual

 8     representations of the sexual abuse of children each year. Meta also knows that its defective

 9     algorithms worsen the problem: “CEI (Child Expolitative [sic] Imagery) is . . . something people

10     seek out, and our recommendations can make worse.”711
11             550.   Meta knowingly fails to take adequate and readily available measures to remove these
12     contraband materials from its platforms in a timely fashion.
13             551.   In violation of 18 U.S.C. § 2258A, Meta knowingly fails to report massive amounts
14     of material in violation of 18 U.S.C. § 2256 and 18 U.S.C. § 1466A.
15             552.   Meta knows, or reasonably should have known, that its platforms are increasingly
16     unsafe for children each year, and yet fails to implement safeguards to prevent children from
17     accessing its platforms.
18             553.   In addition to these dangerous features that enable CSAM and child exploitation,
19     Meta’s platforms hamper identification and reporting of CSAM or child pornography. For example,

20     they do not allow a person to report harmful content without first logging into and using the

21

22

23
      710
      See Michael H. Keller & Gabriel J. X Dance, The Internet Is Overrun With Images Of Child
24 Sexual Abuse. What Went Wrong?, N.Y. Times (Sept. 29, 2019),
   https://www.nytimes.com/interactive/2019/09/28/us/child-sex-abuse.html (describing the
25 proliferation of CSAM on social media apps and the way the apps have hampered law enforcement

26 investigations).
      711
            META3047MDL-003-00068860 at META3047MDL-003-00068861.
27

28                                                    190
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23     Page 196 of 325




 1     platforms, which requires them to sign up for an account and provide a name and email address.712

 2                554.   Neither Instagram nor Facebook contain platform features that allow users to report

 3     harmful images or videos directly from their direct messaging features.713

 4                555.   Meta’s platforms also offer unreasonably inadequate parental controls; for example,

 5     parents cannot monitor their child’s account without logging into the child’s account directly.

 6                556.   Collectively, these features, and lack of features, make it difficult for parents to

 7     monitor their child’s use of Meta’s platforms, and they enable predators to identify, connect to, and

 8     exploit children.714

 9                557.   Moreover, the exploitation of children has devastating impacts on their mental and

10     emotional health. Accordingly, a direct and foreseeable consequence of Meta’s conduct is harm to
11     Local Government and School District Plaintiffs, who are tasked with caring for minors on a nearly
12     daily basis and providing critical educational, counseling, mental health, and other social, legal, and
13     disciplinary services to minors. Plaintiffs are left addressing the harms caused by Defendants’
14     enabling of predators to exploit children.
15                       6.     Meta failed to adequately warn Plaintiffs or the public about the dangers
                                and harms caused by Instagram and Facebook, or provide instructions
16                              regarding safe use.
17                558.   Meta has failed to adequately warn the public, including Plaintiffs and the children
18     and parents within their schools and communities, about the physical and mental health risks posed
19     by Instagram and Facebook and the increased resources that Plaintiffs would need expend to address
20     the youth mental health crisis it caused. The risks to minors include a plethora of mental health
21     disorders, such as compulsive use, addiction, eating disorders, anxiety, depression, insomnia,
22

23    712
      Canadian Centre for Child Protection, Reviewing Child Sexual Abuse Material Reporting
24 Functions   on Popular Platforms 16,
   https://protectchildren.ca/pdfs/C3P_ReviewingCSAMMaterialReporting_en.pdf (last accessed
25 December 28, 2022).
      713
26          Id.
   714
       Hany Farid, Reining in Online Abuses, 19 Technology and Innovation 593-599 (2018),
27 https://farid.berkeley.edu/downloads/publications/nai18.pdf.

28                                                       191
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23        Page 197 of 325




 1     exacerbated executive dysfunction, sexual exploitation from adult users, suicidal ideation, self-

 2     harm, and death. The risks to Plaintiffs include having to increase and divert human and financial

 3     resources to address the mental health and disciplinary issues of students and minors in their

 4     communities as Plaintiffs seek to fulfill their mission (and obligation) to provide America’s youth

 5     with educational, counselling, health, and other social and disciplinary services and public facilities.

 6           559.    Meta knew or should have known its design choices and conduct would have a

 7     detrimental effect on the wellbeing of youth in Plaintiffs’ schools and communities, and would lead

 8     to Plaintiffs’ increased expenditures and diverted resources and should have warned of such.

 9           560.    Meta targets adolescent users via advertising and marketing materials distributed

10     throughout digital and traditional media that fail to provide sufficient warnings to potential
11     adolescent consumers or their parents, teachers, or caregivers, of the physical and mental risks
12     associated with using Facebook and Instagram.
13           561.    Meta also fails to adequately warn the students and schools and local governments that
14     utilize the platform during the platform registration process. At account setup, neither Instagram nor
15     Facebook contain warning labels, banners, or conspicuous messaging to adequately inform
16     adolescent users or their parents of the known platform risks and potential physical and mental
17     harms associated with usage. Instead, Meta allows adolescent users, including those under the age
18     of 13, to easily create an account (or multiple accounts) and fully access these platforms.
19           562.    Meta’s failure to warn continues even as adolescents exhibit problematic signs of

20     addiction to, and compulsive use of, Facebook or Instagram. For example, Meta does not warn users

21     when their screen time reaches harmful levels or when adolescents are accessing the platform

22     habitually or provide instructions on how to safely use its platforms.

23           563.    Despite proactively providing adolescent users with countless filtering and editing

24     tools, Meta also does not appropriately warn adolescent users regarding which images have been

25     altered, or the mental health harms associated with the heavily filtered images that Meta presents

26     and recommends.

27           564.    Meta also failed to warn Plaintiffs about the dangerous, addictive nature of its

28                                                     192
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 198 of 325




 1     platform, the resulting harms that occur from use of its platforms, and that Plaintiffs would be

 2     required to divert and expend additional human and financial resources to provide support to harmed

 3     minors through education, counseling, mental health, and other social, and disciplinary services

 4     required to be provided by Plaintiffs to address the youth mental health crisis.

 5           565.    Meta’s failure to properly warn and instruct adolescent users and their parents as well

 6     as its failure to warn Plaintiffs has proximately caused significant harm to Plaintiffs, who have

 7     expended, and continue to expend, significant resources addressing the impact of Meta’s conduct

 8     on Plaintiffs’ operations, including expending additional resources to provide support to impacted

 9     children and families.

10           C.      FACTUAL ALLEGATIONS AS TO SNAP

11                   1.     Background and overview of Snapchat.
12           566.    Snap owns and operates the Snapchat social media platform, an application that is
13     widely marketed by Snap and available to users throughout the United States. The company was
14     founded in 2011 by three Stanford students, Reggie Brown, Evan Spiegel, and Bobby Murphy. It
15     began as a simple application designed to allow a user to send pictures, called “Snaps,” to a friend
16     that disappear after they are viewed. As Snap’s founder and CEO Evan Spiegel has explained,
17     “today . . . pictures are being used for talking. So when you see your children taking a zillion photos
18     of things that you would never take a picture of, it’s cos [sic] they’re using photographs to talk. And
19     that’s why people are taking and sending so many pictures on Snapchat every day.”715
20           567.    Despite only gaining 127 users a few months after its launch, Snapchat began to
21     market to high school students, who were drawn to the ephemeral nature of the platform's content.
22     By 2012, Snapchat’s user base had grown to more than 100,000 users and the company added video
23     capabilities to its platform, pushing the number of Snaps to 50 million per day. Three years later, in
24

25
      715
      Stuart Dredge, What is Snapchat? CEO Evan Spiegel explains it all for parents, The Guardian
26 (June 17, 2015), https://www.theguardian.com/technology/2015/jun/17/what-is-snapchat-evan-
   spiegel-parents.
27

28                                                     193
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504       Filed 12/18/23      Page 199 of 325




 1     2015, the app had over 75 million daily active users—users who open Snapchat at least once during

 2     a 24-hour period.716

 3           568.   As their userbase expanded Snap worked to quickly add new features to its platform.717

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15
             569.   Today, Snapchat is one of the world’s most widely used apps. By its own estimates,
16
       Snapchat has 363 million daily users, including 100 million daily users in North America.718 In
17
       addition, research has shown that 59% of teens report using the app daily and nearly half of all
18
       smartphone users in the United States, which equates to nearly 5 billion Snaps per day.719
19

20
      716
21       Brian O’Connell, History of Snapchat: Timeline and Facts, TheStreet (Feb. 28, 2020),
      https://www.thestreet.com/technology/history-of-snapchat.
22    717
      Id.; see also Snap Inc., Registration Statement (Form S-1 ) (hereafter “Form S-1”) at 1 (Feb. 2,
23 2017), https://www.sec.gov/Archives/edgar/data/1564408/000119312517029199/d270216ds1.htm.
      718
24       October 2022 Investor Presentation at 5, Snap Inc. (Oct. 20, 2022),
      https://investor.snap.com/events-and-presentations/presentations/default.aspx.
25    719
      See Jennifer Kingson, Pew: Many Teens Use Social Media “Almost Constantly”, AXIOS (Dec.
   11, 2023), https://www.axios.com/2023/12/11/social-media-teens-pew-tiktok-youtube-instagram-
26
   facebook-bereal-snapchat; Pew Research Center, Teens, Social Media and Technology 2022 (Aug.
27 10, 2022), https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-technology-

28                                                   194
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23     Page 200 of 325




 1            570.      Like the other Defendants, Snap decided to monetize its userbase by selling

 2     advertisement space on its platform. Snap makes no secret of this practice, recently acknowledging

 3     that it relies

 4            heavily on our ability to collect and disclose data, and metrics to our advertisers so we
              can attract new advertisers and retain existing advertisers. Any restriction or inability,
 5            whether by law, regulation, policy, or other reason, to collect and disclose data and
              metrics which our advertisers find useful would impede our ability to attract and retain
 6
              advertisers.720
 7
       Under this business model, advertisements became pervasive on Snapchat, and by 2018, 99% of
 8
       Snapchat’s total revenue came from advertising. In 2022, Snap’s revenue was approximately $4.6
 9
       billion.721
10
              571.      To further effectuate this business strategy—and maximize its revenue—Snap
11
       incorporated several features into its platform that capitalize on children’s attachment to quick,
12
       instantaneous exchanges and exploit children’s need for social acceptance. These features have also
13
       been shown to cause users, particularly teens, to experience anxiety, depression, body dysmorphia,
14
       shame, sleep deprivation, and other serious mental and physical harms by manipulating them into
15
       sending an ever-increasing number of photographs and videos, sharing sensitive material—such as
16
       their geolocation, and rewarding users who maximize their engagement with elevated status.
17
              572.      Snap knows, or should know, that these features are harmful to adolescents, but
18
       consistently opts to prioritize increased profits over the well-being of its young users. And yet,
19
       despite this knowledge, Snap continues to update Snapchat with features intentionally designed to
20
       entice, exploit, and addict children to its platform.
21
              573.      Snap also knows, or should have known, that its conduct has negatively affected youth.
22

23

24 2022/; Snap Inc. Q4 2022 Investors Meeting Transcript at p. 7 (Jan. 31, 2023),
   https://s25.q4cdn.com/442043304/files/transcript/snap-inc.-q4-2022-transcript.pdf.
25 720 Id.

26    721
         Snap Inc. Form 10-K at 18 (Dec. 31, 2022), https://d18rn0p25nwr6d.cloudfront.net/CIK-
      0001564408/c22ae9bd-7418-456e-82d4-48129de1df54.pdf.
27

28                                                      195
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 201 of 325




 1     For example, Snap’s conduct has been the subject of inquiries by the United States Senate, where

 2     Senator Ed Markey remarked “[t]he problem is clear: Big Tech preys on children and teens to make

 3     more money.”722 Senators from across the ideological spectrum have introduced bills that would

 4     ban many of Snapchat’s features that are particularly addictive to adolescents.723 Despite these calls

 5     for oversight from Congress, Snap has failed to curtail its use of features.

 6           574.    As described in detail below, Snap designed Snapchat to target adolescents and

 7     maximize their time spent on the platform through a variety of features, such as Snap streaks,

 8     badges, and other awards that reward users’ level of engagement with Snapchat, which, ultimately,

 9     causes them harm.

10                   2.     Snap targets children.

11                          a.      Snap designed its Snapchat platform to cause excessive use by
                                    children to drive the company’s revenue.
12
             575.    In May 2012, less than eight months after launching, CEO Evan Spiegel reported that
13
       the company was “thrilled” to learn that most of Snapchat’s users were high school students sending
14
       “behind-the-back photos of teachers and funny faces” to each other during class. According to
15
       Spiegel, Snap’s server data showed peaks of activity during the school day.724
16
             576.    More recently, in an October 2019 interview, Spiegel stated that “we’ve seen a lot of
17
       engagement with our 13-34 demographic, which for us is strategically a critical demographic, not
18
       only because that’s a demographic that enjoys using new platforms but also because I think they
19

20    722
      Bobby Allyn, 4 Takeaways from the Senate child safety hearing with YouTube, Snapchat and
21 TikTok, National Public Radio (Oct. 26, 2021),
   https://www.npr.org/2021/10/26/1049267501/snapchat-tiktok-youtube-congress-child-safety-
22 hearing.
      723
23    See Abigal Clukey, Lawmaker Aims To Curb Social Media Addiction With New Bill, National
   Public Radio (Aug. 3, 2019), https://www.npr.org/2019/08/03/747086462/lawmaker-aims-to-curb-
24 social-media-addiction-with-new-bill; see also, e.g., Social Media Addiction Reduction Technology
   Act, S. 2314, 116th Cong. (2019); Kids Internet Design and Safety Act, S. 2918, 117th Cong.
25 (2021).

26    724
         Team Snapchat, Let’s Chat, Snapchat Blog at http://blog.snapchat.com (May 9, 2012),
      https://web.archive.org/web/20120518003029/http://blog.snapchat.com:80/..
27

28                                                    196
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23      Page 202 of 325




 1     represent, really, the future. . . . So that’s obviously been a group that’s been really fun to build for,

 2     and really it started because those are our friends.”725

 3                577.   As part of its “pitch” to prospective advertisers, Snap touts its influence over what it

 4     calls the “Snapchat Generation.”726 For example, in a December 2022 statement to advertisers, Snap

 5     claimed that “Snapchat delivers on the emotions that Gen Z seeks and it does so consistently across

 6     the platform in areas like Discover, Stories and the Camera.”727 To prove this, Snapchat “used a

 7     neuroscience measurement called Immersion to measure reactions to different brand messaging—

 8     specifically brand purpose messaging vs. non-brand purpose messaging. Immersion captures

 9     attention and emotional resonance through variations in heart rate rhythm collected by

10     smartwatches.”728
11                578.   According to Snap, “[a]ny brand or marketer can get on any app and start targeting
12     Gen Z [emphasis added]. After all, Gen Z is digitally native. But to effectively connect and engage
13     with this generation, that takes a different, more intentional type of platform: Snapchat.”729
14                579.   In addition, Snap’s internal research indicates the Snapchat experience is “more
15     immersive” than its competitors’ platforms, which means users are more likely to keep watching
16     videos (and advertising) than on other apps.730 Other research shows that Snapchat’s daily active
17     users are constantly using its platform; compared to other apps, users are most likely to use Snapchat
18     “right when I wake up,” “before work/school,” “during work/school,” “after work/school,” “on
19     vacations,” and “when I’m with others[.]”731 The effectiveness of this strategy is reflected in the

20
      725
      Evan Spiegel, Co-Founder and CEO of Snap, Inc., Goldman Sachs, at 4:43-6:23. (Oct. 2, 2019),
21 https://www.youtube.com/watch?v=PQiKv-GCQ-w.
      726
22          SNAP0000137 at 0139.
      727
23       Snap for Business, What Does Gen Z Want From Brands? Dec. 15, 2022),
      https://forbusiness.snapchat.com/en-US/blog/what-does-gen-z-want.
24    728
            Id.
      729
25          Id.
      730
26          SNAP0000103 at 0120.
      731
            SNAP0000103 at 0113.
27

28                                                        197
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504       Filed 12/18/23      Page 203 of 325




 1     growth of Snap’s advertising revenues was driven by changes Snap made to Snapchat that

 2     incentivized compulsive and addictive use at the expense of its users’ health.

 3             580.   Snap understands that its user experience must be immersive and all-encompassing to

 4     maximize its advertising revenue. Indeed, Snap recently admitted to its investors that its revenue

 5     could be harmed by, among other things, “a decrease in the amount of time spent on Snapchat, a

 6     decrease in the amount of content that our users share, or decreases in usage of our Camera, Visual

 7     Messaging, Map, Stories, and Spotlight platforms.”732

 8                           b.     Snap promotes Snapchat to children

 9             581.   Snap specifically promotes and designs Snapchat to and for children because they are
10     a key demographic for Snap’s advertising business. In its first post on its website, Snapchat observed
11     that:
12                    [t]o get a better sense of how people were using Snapchat and what we could
                      do to make it better, we reached out to some of our users. We were thrilled
13                    to hear that most of them were high school students who were using
14                    Snapchat as a new way to pass notes in class—behind-the-back photos of
                      teachers and funny faces were sent back and forth throughout the day.733
15

16

17

18

19

20

21

22

23

24
   732
       Snap Inc., Annual Report (Form 10-K), at 19 (Dec. 31, 2022),
25 https://d18rn0p25nwr6d.cloudfront.net/CIK-0001564408/c22ae9bd-7418-456e-82d4-

26 48129de1df54.pdf.
   733
       Team Snapchat, Let’s Chat, Snapchat Blog (May 9, 2012),
27 https://web.archive.org/web/20220523084954/https://newsroom.snap.com/lets-chat/.

28                                                    198
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 204 of 325




 1           582.   As shown in this capture of a Snapchat feature page, created by Snap, Snap uses bright

 2     colors, cartoonish designs, and other features that appeal to younger audiences.
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16           583.   Snap also added as a feature, the ability for users to create cartoon avatars, called
17     “Bitmojis,” which are 2-D avatars modeled after themselves.734 By using an artform generally
18     associated with and directed at younger audiences, Snap further designed Snapchat to entice
19     teenagers and younger children.
20           584.   Snap has also targeted a younger audience by designing Snapchat in a manner that
21     older individuals find hard to use.735 The effect of this design is that Snapchat is a platform where
22     its young users are insulated from older users, including their parents. As Snap’s CEO explained,
23

24    734
      Kif Leswing, Snapchat just introduced a feature it paid more than $100 million for, Bus. Insider
   (July 19, 2016), https://www.businessinsider.com/snapchat-just-introduced-a-feature-it-paid-more-
25 than-100-million-for-2016-7.

26    735
         See Hannah Kuchler & Tim Bradshaw, Snapchat’s Youth Appeal Puts Pressure on Facebook,
      Fin. Times (Aug. 21, 2017), https://www.ft.com/content/07e4dc9e-86c4-11e7-bf50-e1c239b45787.
27

28                                                    199
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23      Page 205 of 325




 1     “[w]e’ve made it very hard for parents to embarrass their children[.]”736 In addition, Snapchat to

 2     encourages teens to hide their activity from their parents by ensuring that photos, videos, and chat

 3     messages quickly disappear. Further insulating them from parental oversight.

 4                585.   In 2013, Snap launched a new feature called “Snapkidz” aimed at and designed to

 5     attract younger child users, while hedging against the potential user loss due to the new age limits.

 6     The Snapkidz feature allowed children under the age of 13 to take filtered photos, draw on them,

 7     save them locally on their devices, send them to others, and upload them to other apps.737 Although

 8     this version prevented children from sharing “Snaps” on the platform, it nonetheless exposed

 9     children to Snapchat’s features, which normalized and acclimatized children to using Snapchat. In

10     addition, nothing prevented children from creating an unrestricted account with a false date of birth
11     on Snapchat and using the platform outside the SnapKidz’s limited features.738
12                586.   Due to backlash from parents and in the news, SnapKidz was discontinued in 2016.
13                587.   Snapchat’s appeal to children is also reflected in the advertisements shown on the
14     platform. Advertisers for brands like Sour Patch Kids, ToysRUs, and Kool-Aid have all run
15     successful advertising campaigns on Snapchat, frequently using augmented reality tools developed
16     in collaboration with Snap.
17                588.   Snapchat’s age verification systems are ineffective at best. For the first two years of
18     its existence, Snap did not even purport to limit user access to those 13 or older.739 Users were not
19

20
      736
        Max Chafkin & Sarah Frier, How Snapchat Built a Business by Confusing Olds, Bloomberg
21
      (Mar. 3, 2016), https://www.bloomberg.com/features/2016-how-snapchat-built-a-business/.
22    737
            Id.
      738
23    See Larry Magid, Snapchat Creates SnapKidz – A Sandbox for Kids Under 13, Forbes (June 23,
   2013), https://www.forbes.com/sites/larrymagid/2013/06/23/snapchat-creates-snapkidz-a-sandbox-
24 for-kids-under-13/?sh=7c682a555e5a; Anthony Cuthbertson, Snapchat admits its age verification
   system does not work, Independent (Mar. 19, 2019), https://www.independent.co.uk/tech/snapchat-
25 age-verification-not-work-underage-ageid-a8829751.html.

26    739
         Team Snapchat, iOS Update: Bug Fixes and More!, Snapchat Blog (June 22, 2013),
      https://web.archive.org/web/20130627073951/http://blog.snapchat.com:80/.
27

28                                                        200
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23     Page 206 of 325




 1     required to input a date of birth when creating an account.740

 2                589.   Although the SnapKidz feature was discontinued in or around 2016. Snap now

 3     purports to prohibit users under the age of 13, but nothing prohibits the minor user from simply

 4     altering their birthdate during the same session where they were just denied an account for being an

 5     underage user. Snap could have implemented robust, effective age verification protocols. Instead, it

 6     has set up its business and platform so that there is no genuine effort to verify the age of its users,

 7     or to enforce its age limitations. Snap could, but intentionally does not, verify the phone number,

 8     email address, or birthdate used to create accounts, and it allows users to create multiple accounts

 9     using the same email address or phone number. In contrast, Snap will only cut off a user from its

10     platform based on age if Snap has “actual knowledge that [the user is] under the age of 13.”741
11                590.   Snap’s executives have admitted that Snapchat’s age verification “is effectively
12     useless in stopping underage users from signing up to the Snapchat app.”742 Not surprisingly,
13     underage use is widespread. As of 2021, 13% of children aged 8-12 use Snapchat.743
14                591.   Once Snapchat is installed on a user’s mobile phone, the platform continues to
15     download and install updates, design changes, and new features from Snapchat directly to its users.
16                592.   Similarly, the absence of effective age-verification measures means that users who are
17     older can claim to be children—which is an obvious danger to the actual children on Snap’s
18     platform.
19                593.   The lack of effective age verification also precludes parents from implementing

20     parental controls for minor Snapchat users, and compounds the effect of design feature harms to

21

22    740
            Id.
23    741
            Snap Terms of Service, https://snap.com/en-US/terms.
24    742
      Isobel Asher Hamilton, Snapchat admits its age verification safeguards are effectively useless,
   Bus. Insider (Mar. 19, 2019), https://www.businessinsider.com/snapchat-says-its-age-verification-
25 safeguards-are-effectively-useless-2019-3.
      743
26    Victoria Rideout et al., Common Sense Census: Media use by tweens and teens, 2021 at 5,
   Common Sense Media, https://www.commonsensemedia.org/sites/default/files/research/report/8-
27 18-census-integrated-report-final-web_0.pdf.

28                                                       201
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 207 of 325




 1     children.

 2                  3.      Snapchat is designed to addict children through features that use
                            targeted psychological manipulation techniques.
 3
             594.   Once Snap entices and enables children to use its platform, it uses a series of features
 4
       that are designed to addict children. These features can be broadly grouped into two categories: (1)
 5
       features that use manipulation techniques that are highly effective on youth or (2) features designed
 6
       to weaponize a user’s data to keep users using Snapchat. These features, are known to cause
 7
       addiction, compulsive use, and other severe mental and physical harm to Snapchat’s young users,
 8
       including children in Local Government and School District Plaintiffs’ schools and communities.
 9
                            a.      Snap designed Snapchat to drive compulsive using a variety of
10                                  social metrics invented by Snap.
11
             595.   Snapchat includes a variety of social metrics—such as Snapscores, Snap Streaks, and
12
       Snap Awards—that reward users when they engage with other users on Snapchat. Internal research
13
       by Snap has found these features are highly effective at instilling anxiety about not using Snapchat
14
       frequently enough—and competitor research has confirmed these features are addictive. In tandem
15
       with IVR—e.g., push notifications, and design choices that make it difficult to stop using the
16
       Snapchat platform—these features induce compulsive use of the platform by children.
17
             596.   These manipulation techniques are so effective, in part, because ephemeral messaging
18
       creates a compulsion to engage with the Snapchat platform. Since Snaps typically disappear within
19
       ten seconds of being viewed, users feel compelled to reply immediately through a psychological
20
       desire to reciprocate the social gesture of sending a Snap.744
21
                                            (i)     Snapscores
22
             597.   Snapscores were one of the earliest features of the Snapchat platform. Originally
23

24

25

26
   744
       Nir Eyal, The Secret Psychology of Snapchat, Nir & Far (Apr. 14, 2015),
27 https://www.nirandfar.com/psychology-of-snapchat/.

28                                                    202
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 208 of 325




 1     called “Hiscore,” Snapscore keeps a running profile score based on a user’s Snapchat activity, such

 2     as the number of Snaps sent and received or Stories posted.745

 3

 4

 5

 6

 7

 8

 9

10

11           598.   Although Snap does not disclose precisely how Snapscores work, sending and

12     receiving a Snap increases the score by one point. Interacting with other platform features provides

13     additional points. A user’s Snapscore is visible on their profile, serves as a signifier of the user’s
14
       “worth,” and encourages users to further engage with Snapchat’s features to increase their score.
15
       Snapscores are important to users, especially young users, because they operate as a form of social
16
       validation, similar to an Instagram “Like.” Google has reported millions of searches for “How to
17
       improve Snap score.” YouTube contains numerous videos with titles like “How to Increase
18

19     Snapchat Score Fast.”746

20           599.   Snapscores also reward users who post videos that are viewed extensively. This
21     encourages many to use Snapchat in harmful and dangerous ways, to increase the virality of their
22     videos, and increase their Snapscore. As more users engage with and forward that video to others,
23

24    745
         Snapchat Support, What is a Snap Score?, (“Your Snapchat score is determined by a super-
      secret, special equation . . . ”) https://support.snapchat.com/en-US/a/my-score.
25
      746
      FozTech, How to Increase Snapchat Score Fast! (100% Works in 2023), YouTube (Oct. 1,
26 2019), https://www.youtube.com/watch?v=m7s0hvQdTok (How to Increase Snapchat Score Fast
   has 4.3 million views as of April 17, 2023).
27

28                                                    203
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504       Filed 12/18/23       Page 209 of 325




 1     its creator is awarded with an increased Snapscore. Snapchat’s rewards incentivize this dangerous

 2     behavior, resulting too often in physical harm or humiliation in the obsessive pursuit of social

 3     significance.

 4           600.      The sole purpose of Snapscore is to increase platform use and drive revenue.747

 5                                           (ii)   Trophies, Charms, and Stickers
 6           601.      Snap has also designed Snapchat to include user rewards, including trophies and other
 7     social recognition signals, similar to “Likes” on other apps. These features are highly addictive and
 8     drive compulsive use.
 9           602.      “Trophies” are emojis awarded for achieving engagement milestones or performing
10     certain activities, such as increasing one’s Snapscore, sending creative Snaps, or posting a live story.
11     A user’s “Trophies” are displayed in a “trophy box” viewable by their friends. Snap designed this
12     feature to encourage users to share their videos and posts with the public, promote greater use of
13     Snapchat, and deepen young users’ addiction to, and compulsive use of, the platform.
14           603.      In 2020, Snap phased out Trophies and replaced them with “Charms.” Unlike
15     Trophies, where users were rewarded for unlocking individual accomplishments like sending 1,000
16     selfies, Charms reward users for achieving certain milestones in their relationship with other users.
17     Typically, the more users interact with one another, the more Charms they unlock in their
18     relationship. Charms are private and viewable only by users’ mutual contacts.
19           604.      For example, if two users are at the top of each other’s friends list, meaning they
20     exchange frequent Snaps, they may unlock a “BFF (Best Friends Forever)” Charm. Conversely, the
21     “It’s Been Forever” and “It’s Been a Minute” Charms may be awarded to friends who are
22     infrequently in contact, to prompt their engagement with one another on Snapchat. Although there
23     are a number of different Charms awarded for various reasons, all of them encourage user
24     interaction, furthering engagement and buy-in to Snap’s reward system. This in turn exacerbates
25
      747
26    Brad Barbz, *2020 NEW * How To Increase Snapscore By Up To 1000 Per Minute On IOS And
   Android - Working 2020, YouTube (Dec. 4, 2019),
27 https://www.youtube.com/watch?v=Mo_tajuofLA..

28                                                     204
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 210 of 325




 1     social-comparison harms and undermines self-esteem.

 2

 3

 4

 5

 6

 7

 8

 9

10           605.    Snap incorporates other platform features that, like Charms and Trophies, serve no
11     functional purpose, but make Snapchat more appealing and lead to excessive use by children and
12     teens. For example, Snap has developed images called “Stickers” for users to decorate the pictures
13     or videos they post. Snap also offers app-specific emojis and animations that users can apply to their
14     photos or videos.
15                                          (iii)   Ephemeral Design
16           606.    Time limited features also create pressure to use the platform daily. Users can post
17     stories that will only be available for 24 hours. Snap’s Stories feature includes a running view count
18     and list of viewers for each Story, both of which provide users with dopamine-triggering feedback
19     that encourages users to make their Stories visible to everyone in order to increase the view count.
20     The view count, view list, and ephemeral nature of Stories also reinforces the principle of reciprocity
21     and compels users to monitor Stories, so they do not miss out. Many teens feel an obligation to view
22     all their contacts’ stories each day before they disappear, or risk hurting the feelings of friends or
23     “missing out.”
24           607.    Snap designed each of these features to function as rewards for increased engagement,
25     exploit underage users’ desire for social validation, and ultimately compel them to use Snapchat
26     excessively. Because many of these rewards and scores are visible to others, these features tap into
27     adolescents’ deep-seated need for acceptance. By exploiting this need, Snap increases time spent
28                                                     205
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23    Page 211 of 325




 1     engaging with its platform, and thereby its profits.

 2                                          (iv)    Snap Streak

 3           608.   The “Snap Streak” is feature that is unique to Snapchat and is “especially [addictive]

 4     to teenagers.”748 Snap Streaks provide users with a reward based on the number of consecutive days

 5     they communicate with another user. In other words, the longer two users are able to maintain a

 6     streak of consecutive Snaps—by sending each other at least one Snap a day—the higher their Snap

 7     Streak counter rises. This counter is depicted as a cartoon emoji that appears next to the users

 8     conversation on Snapchat that changes the longer the streak is maintained. Each emoji represents a

 9     different milestone, for example, the flame emoji along with the number of days the streak has

10     lasted. According to Snap, the flame emoji encourages users to “keep it going and watch the number
11     (and pressure to continue) rise” (see below).
12

13

14

15

16

17

18

19

20

21
      748
22        See Cathy Becker, Experts warn parents how Snapchat can hook in teens with streaks, ABC
      News (July 27, 2017), https://abcnews.go.com/Lifestyle/experts-warn-parents-snapchat-hook-teens-
23    streaks/story?id=48778296; Avery Hartmans, These are the sneaky ways apps like Instagram,
      Facebook, Tinder lure you in and get you ‘addicted’, Bus. Insider (Feb. 17 2018),
24
      https://www.businessinsider.com/how-app-developers-keep-us-addicted-to-our-smartphones-2018-
25    1#snapchat-uses-snapstreaks-to-keep-you-hooked-13; see generally Virginia Smart & Tyana
      Grundig, ‘We’re designing minds’: Industry insider reveals secrets of addictive app trade, CBC
26    (Nov. 3, 2017), https://www.cbc.ca/news/science/marketplace-phones-1.4384876;ulian Morgans,
      The Secret Ways Social Media is Built for Addiction, Vice (May 17, 2017),
27    https://www.vice.com/en/article/vv5jkb/the-secret-ways-social-media-is-built-for-addiction.
28                                                     206
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR   Document 504     Filed 12/18/23    Page 212 of 325




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                           207
                                                               PLAINTIFFS’MASTER COMPLAINT
                                                    (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                   CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23     Page 213 of 325




 1                609.   However, not all of these emojis are “positive.” To manufacture deeper addiction to

 2     its platform, Snap sends notifications to users with an hourglass emoji when Streaks are about to

 3     expire—to create extra urgency, nudge users to keep their Streaks alive, and maintain a system

 4     where a user must “check constantly or risk missing out.”749

 5

 6

 7

 8

 9

10

11

12
                  610.   This feature hijacks teens’ craving for social success and connectedness, and causes
13

14     teen users to feel pressure to use Snapchat daily or suffer social consequences. As some academics

15     and mental health treatment providers have described, streaks “provide a validation for the

16     relationship. . . . Attention to your streaks each day is a way of saying ‘we’re OK.’ . . . The makers
17
       built into the app a system so you have to check constantly or risk missing out.”750 “It taps into the
18
       primal fear of exclusion, of being out of the tribe and not able to survive.”751 For teens, streaks can
19
       become a metric for self-worth and popularity. By design, the user’s mental wellbeing becomes
20
       connected to performance in Snap’s platform.752
21

22
      749
23       Lizette Chapman, Inside the Mind of a Snapchat Streaker, Bloomberg (Jan. 30, 2017),
      https://www.bloomberg.com/news/features/2017-01-30/inside-the-mind-of-a-snapchat-streake.
24    750
            Id.
      751
25          Id.

26

27

28                                                       208
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504      Filed 12/18/23      Page 214 of 325




 1
             611.     This phenomenon is reflected in teens use of the platform as well. For example,
 2
       teenage users have reported that Streaks are “a vital part of using the app and their social lives as a
 3

 4     whole.”753 In fact, some children become so obsessed with maintaining their Streaks that they give

 5     their friends access to their accounts when they may be away from their phone for a day or more.754
 6     Snap has even launched a special form on its support website allowing users who lost their streak
 7
       to petition to get it back.755
 8
             612.     Snap Streaks also contribute to feelings of social pressure and anxiety when users lose
 9
       or break a Streak. Researchers have found that losing a Streak can cause feelings of betrayal for
10
       some users, especially girls, who reported “negative” feelings when losing a Streak with one of their
11
       friends.756
12
             613.     In 2018, Snap conducted its own internal research on Snap Streaks, which found that
13
       over a third of users reported it was “extremely” or “very important” to keep a Streak going, and
14
       some users reported that the stress level to keep a Streak was “intolerable” or “large.” Snap’s users
15
       reported that Streaks are equally important to Likes on Instagram.757 In fact, Snap’s own competitors
16
       acknowledge Snap Streak’s effectiveness at maintaining and fostering user engagement. For
17

18    753
       Avery Hartmans, These are the sneaky ways apps like Instagram, Facebook, Tinder lure you in
   and get you ‘addicted’, Bus. Insider (Feb. 17, 2018), https://www.businessinsider.com/how-app-
19
   developers-keep-us-addicted-to-our-smartphones-2018-1#snapchat-uses-snapstreaks-to-keep-you-
20 hooked-13.
   754
       Caroline Knorr, How to resist technology addiction, CNN (Nov. 9, 2017),
21
   https://www.cnn.com/2017/11/09/health/science-of-tech-obsession-partner/index.html; Jon Brooks,
22 7 Specific Tactics Social Media Companies Use to Keep You Hooked, KQED (June 9, 2017),
   https://www.kqed.org/futureofyou/397018/7-specific-ways-social-media-companies-have-you-
23 hooked.
      755
24       Snapchat Support, Contact Form, https://support.snapchat.com/en-US/i-need-
      help?start=5695496404336640.
25    756
       Hristoya et al., “Why did we lose our snapchat streak?” Social media gamification and
26 metacommunication.     Computers in Human Behavior Reports, 5, 100172 (2022).
   757
       SNAP0000008.
27

28                                                     209
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504       Filed 12/18/23      Page 215 of 325




 1     example, in an internal document analyzing Snapchat’s features, Meta bluntly acknowledged that

 2     “[s]treaks are a very important way for teens to stay connected. They are usually with your closest

 3     friends and they are addictive.”758

 4             614.   Despite the overwhelming evidence of the addictiveness and harms to youth mental

 5     health, Snap continues to provide Snap Streaks to its adolescent users.

 6                                           (v)    Snap Map

 7             615.   “Snap Map,” is a feature of Snapchat that shows the location of other users on a map.

 8     Like other Snapchat features, it drives adolescent engagement. The human desire to belong to an

 9     “ingroup” is powerfully connected to self-worth, especially for teens. In a recent study, young

10     respondents reported that they check Snap Map to see where their friends were to avoid exclusion,
11     followed by an increased amount of anxiety. The study found that:
12                    [A]dolescent users reported feeling “sad,” “inadequate,” and “isolated”
                      after checking Snap Map, even if they were attempting to avoid these
13                    feelings in the first place. [P]articipants who were unsure of their friends’
14                    whereabouts or felt excluded (the uncertain situation), were compelled to
                      check Snap Map and reported experiencing higher levels of anxiety and
15                    low-self esteem after doing so. . . Participants expressed how immediate
                      access to locational information directly impacted their mood, especially
16                    when they saw something that confirmed their doubts.759
17             616.   Snap Map also functions as a social metric. A report by 5Rights, a United Kingdom-
18     based children’s online safety advocacy group, highlighted the experience of John, a 14-year-old
19     boy, who explained that “[h]aving more connections on Snapchat makes his Snap Map look more
20     crowded, and therefore appear more ‘popular,’which he can then show off to people in real life.”760
21

22
      758
            Haugen_00008303 at 8307.
23
      759
      Jenna Sachs, Psychological Repercussions of Location-Based Social Networks in Today’s Youth,
24 9 Elon J. of Undergraduate Res. in Comm. 64, 73 (2018), https://eloncdn.blob.core.
   windows.net/eu3/sites/153/2018/12/06-Sachs.pdf; See also, Dunn et al., “Oh, Snap!”: A Mixed-
25 Methods Approach to Analyzing the Dark Side of Snapchat, The Journal of Social Media in Society,

26 9(2), 69-104 (2020).
   760
       5Rights Foundation, Pathways: How digital design puts children at risk (July 2021),
27 https://5rightsfoundation.com/uploads/Pathways-how-digital-design-puts-children-at-risk.pdf.

28                                                     210
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 216 of 325




 1                                          (vi)    Push Notifications

 2           617.   In addition to Snapchat’s in-app reward features, Snap also sends push notifications

 3     and emails to encourage addictive engagement and increase use. Notifications are triggered based

 4     on information Snap collects from, and about, its users. Snap “pushes” these communications to

 5     users excessively and at disruptive times of day. Snap has even designed the format of these

 6     notifications to pull users back onto its app by preying on their fear of missing out—never mind the

 7     consequences to their health and well-being.

 8                                          (vii)   Impediments to Discontinuing Use

 9           618.   Snap has intentionally designed its platforms so child users face significant

10     navigational obstacles and hurdles when trying to delete or deactivate their Snapchat accounts,
11     despite the ease with which a user can create one. For example, when a user elects to delete their
12     account, they cannot do so on demand. The data and the account are preserved for 30 days. In
13     addition, after initiating the deletion process, the user is presented with a black screen depicting a
14     crying emoji and a message that reads, “Your account will be deactivated, which means friends
15     won’t be able to contact you on Snapchat. You’ll also lose any Chats you’ve saved and Snaps and
16     Chats you haven’t opened.”761
17           619.   This cumbersome process prioritizes user retention and continues use over the well-
18     being of Snapchat’s users.
19                  b.      Snap’s features feed on content-agnostic user interaction data to create
                            tailor-made experiences which promote compulsive and excessive use.
20
                                    (i)     Snap “Stories” and “Discover” Interface
21
             620.   In October 2013, Snap added “Stories,” a feature that generates a compilation of its
22
       users’ designated photos and videos that expire in 24 hours and can be viewed an unlimited number
23

24

25

26    761
        See Snapchat Support, How do I delete my Snapchat account?, https://support.snapchat.com/en-
      US/a/delete-my-account1 (last accessed Dec. 13, 2023).
27

28                                                    211
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 217 of 325




 1     of times by friends or anyone on Snapchat—if the user sets the visibility setting to “Everyone.”762

 2     Within eight months of launching Stories, users were viewing more Stories per day than Snaps.763

 3           621.   Snap’s Stories feature includes a running view count and list of viewers for each Story,

 4     which encourages users to make their Stories visible to “Everyone” in order to increase the view

 5     count. The view count, view list, and ephemeral nature of Stories also reinforces the principle of

 6     reciprocity and compels users to monitor Stories, so they do not miss out.

 7           622.   In 2016, Snap updated the Stories feature to include recommendations based on

 8     suggestions made by an algorithm that considers “proximity, time, interestingness, or other such

 9     metrics,” in conjunction with other user data that Snap has acquired.764 These recommendations are

10     “endless” and leads to a cycle of endless scrolling that is detrimental to users’ mental health. 765
11     Unsurprisingly, one study of over 2,000 UK residents found 68% of respondents who used Snapchat
12     reported that “the platform prevented them from sleeping.”766
13           623.   Snap has built upon Stories with the “Discover” feature that displays an endless feed
14     of advertisements to Snapchat’s captive audience. Using Discover, users may subscribe to an
15     advertiser’s “channel,” watch its Stories, and also see what their friends are watching.
16           624.   Both Stories and Discover encourage user engagement with Snapchat and increase the
17     amount of time users spend using the platform by wielding user data as a weapon of addiction at the
18
      762
       Darrell Etherington, Snapchat Gets Its Own Timeline With Snapchat Stories, 24-Hour Photo &
19
   Video Tales, TechCrunch (Oct. 3, 2013), https://techcrunch.com/2013/10/03/snapchat-gets-its-own-
20 timeline-with-snapchat-stories-24-hour-photo-video-tales/.
   763
       Ellis Hamburger, Surprise: Snapchat’s most popular feature isn’t snaps anymore, The Verge
21
   (Jun. 20, 2014), https://www.theverge.com/2014/6/20/5827666/snapchat-stories-bigger-than-snaps-
22 electric-daisy-carnival.
      764
        Snapchat, Inc., Content Collection Navigation and Autoforwarding, US 20170289234, USPTO
23
      (Mar. 29, 2016), https://patents.justia.com/patent/20170289234.
24    765
      See, e.g., Gino Gugushvili et al., Facebook use intensity and depressive symptoms: a moderated
   mediation mode of problematic Facebook use, age, neuroticism, and extraversion at 3, BMC Psych.
25 10, 279 (2022), https://doi.org/10.1186/s40359-022-00990-7..

26    766
         Frazer Deans, Curb Your Snapchat Addiction, https://www.wholesome.design/advent-2018/2-
      curb-your-snapchat-addiction/.
27

28                                                    212
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504         Filed 12/18/23     Page 218 of 325




 1     expense of users’ mental health and well-being.

 2                                         (ii)    “Spotlight”

 3           625.   Snapchat’s “Spotlight” feature pushes to users “an endless feed” that Snap curates

 4     from its 300 million daily Snapchat users.767 Spotlight functions and appears nearly identical to

 5     TikTok, with similar addictive qualities and harms. Snapchat’s Spotlight feature also allows users

 6     to make videos that anyone can view, and Snap pays users whose Spotlight videos go viral, thus

 7     serving as yet another reward system that encourages user engagement. After Snap introduced

 8     Spotlight, user time spent on the platform increased by over 200%.768

 9           626.   In February 2022, Snap CEO Evan Spiegel told investors that users are spending more

10     time on Spotlight than almost any other aspect of Snapchat. A year prior, Snap announced “Spotlight
11     Challenges,” which provided users with cash prizes for creating Spotlight videos with specific
12     lenses, sounds, or topics, further integrating the user into the Snap ecosystem. Snap claims it paid
13     out more than $250 million in cash prizes to Spotlight Challenge participants in 2021 alone.769
14           4.     Snap designed Snapchat with features that harm children directly or expose
                    children to harm.
15
                    a.      Disappearing “Snaps” and “My Eyes Only” thwart parental control and
16                          encourage destructive behavior among Snap’s teen users.
17
             627.   As discussed above, Snapchat’s allows users to send and receive ephemeral, or
18
       “disappearing,” audiovisual messages. Prior to sending a Snap, users can designate the period of
19
       time—typically no more than a few seconds—that the recipient will be allowed to view the Snap.
20
       According to Snapchat, once the allotted time expires, the Snap disappears forever.
21

22
      767
       Salvador Rodriguez, Snap is launching a competitor to TikTok and Instagram Reels, CNBC
23
   (Nov. 23, 2020), https://www.cnbc.com/2020/11/23/snap-launching-a-competitor-to-tiktok-and-
24 instagram-reels.html.
   768
       See Snap Q4 Earnings Beat Estimates, User Growth Aids Top Line, Zacks Equity Research (Feb.
25 5, 2021), https://finance.yahoo.com/news/snap-q4-earnings-beat-estimates-153003950.html..

26    769
         Mia Sato, Snapchat will put ads within stories and share the money with creators (Feb. 14,
      2022), https://www.theverge.com/2022/2/14/22927656/snapchat-snap-stars-stories-ads.
27

28                                                   213
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 219 of 325




 1           628.   Snapchat’s limited display time reduces teenagers’ communication apprehension and

 2     encourages users to send photos depicting themselves, or their friends, engaging in risky behaviors.

 3     Sexting—a practice involving sending or receiving sexually explicit audiovisual content via Snaps

 4     or other text messaging mediums—is a prime example. A 2016 survey of pre-teens and teens ages

 5     12-17 found that “dick pics” were among some of the unwanted content that users—predominantly

 6     females—received while using the app.770

 7           629.   However, despite Snap’s representations, Snaps do not automatically disappear. For

 8     example, recipients can use their mobile phones or tablets to screenshot or record any Snaps they

 9     receive. Yet, despite these dangers, Snap does not warn users, including children and teenagers, that

10     Snaps may not disappear in all instances.
11           630.   In addition, Snapchat’s parental controls are ill-equipped to mitigate the risks posed
12     by the possibility of recipients capturing the messages or photos they receive. For example, even
13     with parental controls activated, parents are unable to view Snaps their children send or receive and
14     therefore cannot adequately protect and/or prevent their children from engaging in dangerous
15     behavior on Snapchat.
16           631.   “My Eyes Only” is yet another dangerous feature of Snapchat that enables and
17     encourages teenage users to hide certain Snaps or conversations from their parents in a special tab
18     that requires a passcode.
19           632.   When Snap designed “My Eyes Only” it knew or should have known that the feature

20     would likely be used to store potentially illegal and injurious photos and images like sexts and

21     CSAM. This dangerous platform feature unreasonably increases the risk that Snapchat’s adolescent

22     users, many under age 13, will be targeted and sexually exploited and/or trafficked by child

23     predators.

24           633.   Pictures and videos stored in My Eyes Only self-destruct if a user attempts to access

25     the hidden folder with the wrong code. My Eyes Only has no practical purpose or use other than to

26
   770
       Kofoed et al., (2016) A snap of intimacy: Photo-sharing practices among young people on social
27 media, First Monday 21(11), https://doi.org/10.5210/fm.v21i11.6905.

28                                                    214
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23     Page 220 of 325




 1     hide potentially dangerous activity from parents and/or third parties, such as law enforcement,

 2     seeking to access the content stored in an individuals Snapchat account.

 3           634.    Moreover, while this information and evidence should be in Snap’s possession and

 4     control, it has designed this feature in a way that causes the permanent loss of relevant, material,

 5     and incriminating evidence. According to Snap, it is impossible to recover data stored in “My Eyes

 6     Only” if the passcode has been lost or forgotten.

 7                   b.        Snapchat’s “Quick Add” feature endangers children.

 8           635.    Snapchat’s “Quick Add” feature recommends new, sometimes random friends, using
 9     an algorithm that considers a user’s friends, interests, and location. Quick Add encourages users to
10     expand their friends list to increase their Snapscore by interacting with an ever-expanding group of
11     friends, which—in addition to expanding their time online—can result in exposure to dangerous
12     strangers. Of particular concern, until 2022, Quick Add’s suggestions included profiles for users
13     Snap knew to be between the ages of 13-17. As a result, Quick Add could, and in fact did,
14     recommend that a minor “add” an adult user who they did not know personally.
15           636.    In 2022, Snap revised the Quick Add feature to limit the friend suggestions promoted
16     to minors. For example, Quick Add would only suggest friends who shared a certain number of
17     common friends with the minor users between 13-17 years old. However, Snap has not disclosed
18     how many common connections prospective “friends” must be share to satisfy this safety feature.
19     Further, this modification to the Quick Add feature still does not prohibit the connection of minors
20     with adult strangers.
21           637.    Despite these dangers, Snap continues to utilize Quick Add because it increases the
22     odds that users will add friends, send more Snaps, and spend more time using Snapchat.
23                   c.        Snapchat’s “Snap Map” feature endangers children.
24           638.    Snapchat also contains a feature called “Snap Map” that allows users to share their
25     geolocation with their followers (and the public) on an activity-level-based, color-coded heatmap.
26     At all relevant times, this feature has been available to all users, including minors.
27           639.    Snap Map is a dangerous feature for underage users because it provides strangers with
28                                                     215
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23     Page 221 of 325




 1     their locations, exposing them to potential harm.

 2                   d.     Snapchat’s Lenses and Filters features promote negative appearance
                            comparison.
 3
             640.    Snapchat also incorporates numerous custom-designed lenses and filters, which allow
 4
       users to edit their Snaps with augmented-reality special effects and sounds. Many these lenses and
 5
       filters change users’ appearance and faces, creating unrealistic, idealized versions of themselves that
 6
       cause profound body dysmorphia in children, especially teenage girls.
 7
             641.    Examples of these features include (1) the Smoothing Filter, which blurs facial
 8
       imperfections and evens out skin tone; (2) Bold Makeup, which adds makeup over the user’s face,
 9
       blurs imperfections, and evens out skin tone; (3) Sunkissed and Cute Freckles, which adds freckles
10
       over the nose and cheeks, blurs imperfections, evens out skin tone, and adjusts skin color; (3) Face
11
       and Body Mellow Glow, which smooths the face and body and adjusts skin color; and (4) Fluffy
12
       Eyelashes, which alters the shape of the user’s face by lifting their eyes and adding more pronounced
13
       cheek bones. The common theme among all of these filters is that they remove the subject’s
14
       perceived blemishes to create the perfect “selfie.”
15

16

17

18

19

20

21

22

23
             642.    A 2017 study found that these features made Snapchat one of the worst social media
24
       platforms for the mental health of children and adolescents, behind only Instagram.771 In recent
25
      771
26    Kara Fox, Instagram worst social media app for young people’s mental health, CNN (May 19,
   2017), https://www.cnn.com/2017/05/19/health/instagram-worst-social-network-app-young-people-
27 mental-health/index.html.

28                                                     216
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23      Page 222 of 325




 1     years, plastic surgeons have reported an increase in requests for alterations that correspond to

 2     Snapchat’s filters. This has led researchers to coin the term “Snapchat Dysmorphia,” in which the

 3     effect of Snapchat’s filters triggers body dysmorphic disorder by causing a “sense of unattainable

 4     perfection” that leads to self-alienation and damages a person’s perception of their body and their

 5     self-esteem.772 One social psychologist summarized the effect as “the pressure to present a certain

 6     filtered image on social media [which] can certainly play into [depression and anxiety] for younger

 7     people who are just developing their identities.”773

 8           643.    Snap also created and promoted “smart filters” that allowed users to stamp the

 9     date/time, temperature, battery life, altitude, and speed on their Snaps.774 These filters utilize sensor

10     data on users’ devices to provide the desired filter stamp.
11           644.    A particularly dangerous smart filter was the "Speed Filter,” which, from 2013 to 2021
12     allowed users to record their real-life speed and overlay that speed onto Snaps. Shortly after the
13     Speed Filter was introduced, it became a viral game for users—particularly teenage users—to
14     capture photos and videos of themselves driving at 100 miles-per-hour or more. Tragically, the quest
15     to capture a 100 mile-per-hour Snap caused a number of fatal vehicle accidents involving teens and
16     young adults.775
17

18    772
       Chen et al., Association Between Social Media and Photograph Editing Use, Self-esteem, and
   Cosmetic Surgery Acceptance, JAMA Facial Plastic Surgery, 2019; See also Nathan Smith & Allie
19 Yang, What happens when lines blur between real and virtual beauty through filters, ABC News

20 (May 1, 2021), https://abcnews.go.com/Technology/lines-blur-real-virtual-beauty-
   filters/story?id=77427989..
21 773 Nathan Smith & Allie Yang, What happens when lines blur between real and virtual beauty

22 through filters, ABC News (May 1, 2021), https://abcnews.go.com/Technology/lines-blur-real-
   virtual-beauty-filters/story?id=77427989.
23 774 Karissa Bell, Snapchat adds an altitude filter to show how high you are, (Aug.19, 2016),

24 https://mashable.com/article/snapchat-altitude-filter-how-to.
   775
       See Did Snapchat play role in deaths of 3 young women?, ABC6 Action News (Feb. 16, 2016),
25 https://6abc.com/action-news-investigation-snapchat-fatal-car-crash-philadelphia/1196846/;
   Manpreet Darroch, Snapchat and driving . . . you could be sending your last snap (Apr.25, 2016),
26
   http://www.youthforroadsafety.org/news-blog/news-blog-item/t/snapchat-and-driving-hellip-you-
27 could-be-sending-your-last-snap; The Most Dangerous App on Your Phone,

28                                                     217
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23      Page 223 of 325




 1           645.    Snap knew, or should have known, its speed filter created an unreasonable risk of harm

 2     to its users and the public. Yet, despite public outcry to disable the filter, Snap refused to remove

 3     the filter from its application until 2021.776

 4           646.    By including features like lenses, cartoonish filters, and stamps to attract ever-

 5     increasing numbers of children to use and engage with its platform, Snap has knowingly created a

 6     platform that leads to excessive use by children and teens causing them to suffer harm and causing

 7     harm to the Plaintiffs.

 8           5.      Snap implemented ineffective and misleading parental controls, further
                     endangering children.
 9
             647.    Despite having a userbase primarily comprised of children under the age of 18,
10
       Snapchat had no parental controls between its launch in 2011 until mid-2022 when, in response to
11
       growing public outcry about the dangers of its platform, Snap introduced the “Family Center” to
12
       Snapchat.
13
             648.    However, the features and processes offered through the Family Center are woefully
14
       inadequate to protect underage users. For example, although the Family Center allows a parent or
15
       guardian to link their Snapchat account to their child’s account, they can only see who their child is
16
       communicating with. However, the substance of these communications remains hidden and still
17
       disappears after the allotted time. In addition, Family Center does not allow a parent or guardian to
18
       block minors from sending private messages, control their child’s use or engagement with many of
19
       Snapchat’s platform features, control their child’s use of Snapchat’s geolocation feature, or control
20
       who their child may add to their friend list. Finally, the Family Center fails to help a parent monitor
21
       their child’s account parents when the child has secretly created a Snapchat account without the
22
       parents’ knowledge in the first place.
23

24
   DistractedDriverAccidents.com, https://distracteddriveraccidents.com/the-most-dangerous-app-on-
25 your-phone/..
      776
26     Bobby Allyn, Snapchat Ends ‘Speed Filter’ That Critics Say Encouraged Reckless Driving, NPR
   (June 17, 2021), https://www.npr.org/2021/06/17/1007385955/snapchat-ends-speed-filter-that-
27 critics-say-encouraged-reckless-driving.

28                                                      218
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23      Page 224 of 325




 1           649.    Failure to implement effective parental controls augments he addictive design features

 2     and the harms it inflicts on is underage users.

 3           6.      Snap failed to adequately warn Plaintiffs and the public about the harms its
                     platform causes or provide instructions regarding safe use.
 4
             650.    Snap has failed to adequately warn the public, including Plaintiffs and the children
 5
       and parents within their schools and communities, about the physical and mental health risks posed
 6
       by its platforms, and the increased resources that Plaintiffs would need expend to address the youth
 7
       mental health crisis it caused. The risks to minors include a plethora of mental health disorders, such
 8
       as compulsive use, addiction, eating disorders, anxiety, depression, insomnia, exacerbated executive
 9
       dysfunction, sexual exploitation from adult users, suicidal ideation, self-harm, and death. The risks
10
       to Plaintiffs include having to increase and divert human and financial resources to address the
11
       mental health and disciplinary issues of students and minors in their communities as Plaintiffs seek
12
       to fulfill their mission (and obligation) to provide America’s youth with educational, counselling,
13
       health, and other social and disciplinary services and public facilities.
14
             651.    Snap knew or should have known its design choices and conduct would have a
15
       detrimental effect on the wellbeing of youth in Plaintiffs’ schools and communities and would lead
16
       to Plaintiffs’ increased expenditures and diverted resources and should have warned of such.
17
             652.    Snap targets adolescent users via advertising and marketing materials distributed
18
       throughout digital and traditional media that fail to provide sufficient warnings to potential
19
       adolescent consumers or their parents, teachers, or caregivers, of the physical and mental risks
20
       associated with using the platform.
21
             653.    Snap further fails to warn students and schools and local governments that utilize the
22
       platform about the possibility of the above harms during the platform registration process by
23
       displaying a warning label, banner, or conspicuous messaging to inform adolescent users of the
24
       known risks and potential physical and mental harms associated with usage of its platform. Instead,
25
       Snap allows adolescent users to easily create an account (or multiple accounts) and fully access the
26
       platform.
27

28                                                       219
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23       Page 225 of 325




 1           654.    Nor does Snap adequately inform adolescent users that their data will be tracked, used

 2     to help build a unique algorithmic profile, and potentially sold to Snap’s advertising clients, who

 3     will in turn use the data to target and profile the user.

 4           655.    Alarmingly, Snap also does not warn adolescent users before facilitating adult

 5     connections and interactions that adult predators use its platform. It also fails to instruct adolescent

 6     users on ways to avoid unknown adults on Snap.

 7           656.    Snap also fails to warn adolescent users who exhibit problematic signs of addiction or

 8     are habitually and compulsively accessing the app. Instead, Snap utilizes push notifications to

 9     encourage engagement with Snapchat.

10           657.    In addition, despite proactively providing adolescent users with countless filtering and
11     editing tools, Snap does not warn its adolescent users regarding the mental health harms associated
12     with those heavily filtered images.
13           658.    Snapchat also offers minors Retouch and Enhance features that allow minors to change
14     their appearance without letting other users know such a change has been made and without
15     demarcation of the photos and/or videos as retouched or enhanced.
16           659.    Snap also failed to warn Plaintiffs about the dangerous, addictive nature of its
17     platform, the resulting harms that occur from use of its platforms, and that Plaintiffs would be
18     required to divert and expend additional human and financial resources to provide support to harmed
19     minors through education, counseling, mental health, and other social, and disciplinary services

20     required to be provided by Plaintiffs to address the youth mental health crisis.

21           660.    Snap’s failure to properly warn and instruct adolescent users and their parents as well

22     as its failure to warn Plaintiffs has proximately caused significant harm to Plaintiffs, who have

23     expended and continue to expend, significant resources addressing the impact of Snap’s conduct on

24     Plaintiffs’ operations, including expending additional resources to provide support to impacted

25     children and families.

26           7.      Snap facilitates the spread of CSAM and child exploitation.

27           661.    Despite being marketed to and designed for children, Snapchat includes a number of
28                                                      220
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 226 of 325




 1     features that promote and dramatically exacerbate sexual exploitation, the spread of CSAM,

 2     sextortion, and other socially maladaptive behavior that harms children. For example, by failing to

 3     age-restrict its Discover feature, Snapchat’s algorithm has recommended inappropriate sexual

 4     content to adolescent users. By promoting the connection between minors and adults, it is

 5     facilitating child exploitation and predation. In addition, by failing to implement parental controls

 6     that give parents true control over their children’s activity until August 2022, Snap allows harmful

 7     interactions with predators to continue unnoticed.

 8           662.   Snap’s design features and conduct exacerbating the spread of CSAM causes Plaintiffs

 9     to be required to divert and increase resources and expenditures to provide education, counselling,

10     disciplinary and other social services to harmed minors.
11           663.   Like the other Defendants, as a direct consequence of the child exploitation that occurs
12     on its platform, Snapchat is tainted by illegal material that promotes and facilitates the continued
13     sexual exploitation of minors. Snap receives value in the form of increased user activity for the
14     dissemination of CSAM on its platform.
15           664.   Furthermore, Snapchat’s disappearing-content design, while appealing to minors,
16     makes it more difficult for parents to monitor their children’s social-media activity. This feature
17     also contributes to a sense of impunity for many users, encouraging and fomenting exploitation and
18     predatory behavior, which has been observed in multiple empirical studies.777 According to these
19     studies, Snapchat users believe their conduct is hidden and accordingly feel empowered to engage

20     in criminal behavior through the platform without fear of getting caught.

21           665.   These feelings are promoted by design. Snap intends for the platform’s disappearing

22     messaging to entice users to share highly personal photos and information that many users would

23

24

25

26    777
         Snapchat by the Numbers: Stats, Demographics & Fun Facts, Omnicore (Mar. 2, 2022),
      https://www.omnicoreagency.com/snapchat-statistics/.
27

28                                                    221
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23     Page 227 of 325




 1     otherwise feel uncomfortable sharing on “higher-stake” apps.778 In short, this design choice not only

 2     allows, but encourages minors to share harmful, illegal, and sometimes sexually explicit images.

 3           666.    In addition, by allowing users to voice or video call one another in the app, Snapchat

 4     enables sexual predators to call and video chat with minor users in private, with virtually no

 5     evidence of the contents of those communications.779 This problem is exacerbated by other features

 6     such as Quick Add and Snap Map, which predators use to identify children willing to add and speak

 7     with a stranger, and then prey on the child’s vulnerabilities.

 8           667.    Furthermore, the introduction of “Snapcash,” a peer-to-peer mobile payment service.

 9     Snapcash provided a way for users to pay each other for “private” content with little to no

10     oversight.780 While it was available on the platform, Snapcash facilitated some users efforts to send,
11     receive, create, publish, save, accept, or otherwise participate in the distribution of CSAM or other
12     types of sexual exploitation, such as extorting money from adolescent users by threatening to
13     disseminate CSAM to other users, the child’s parents, or law enforcement.
14           668.    Snapcash was abruptly removed from Snapchat in 2018 after Snap discovered that
15     some users were sending sexually explicit photos and using Snapcash for payment.781Despite the
16     presence of this extremely harmful, and illegal content, on its platform, Snapchat users cannot
17     specifically report CSAM that is sent via direct messaging, including from another user’s camera
18     roll. Collectively, these platform features promulgate communication and conduct with a false sense
19
   778
       See Evelyn Lopez et al., The Gratifications of Ephemeral Marketing Content, the Use of
20 Snapchat by the Millenial Generation and Their Impact on Purchase Motivation, Global Bus. Rev.
   (2021), https://journals.sagepub.com/doi/pdf/10.1177/09721509211005676.
21
   779
       Snapchat Support, How to Start a Video Chat on Snapchat, https://support.snapchat.com/en-
22 GB/a/video-
   chat#:~:text=You%20can%20Video%20Chat%20with,into%20a%20full%2Dscreen%20Chat.
23
   780
       Kurt Wagner, Snapchat to Let You Send Money to Friends, Thanks to Square, Vox,
24 https://www.vox.com/2014/11/17/11632930/snapchat-to-let-you-send-money-to-friends-thanks-to-
   square.
25
   781
       Christian Hargrave, Snapcash Goes Away After Excessive Feature Misuse. App Developer
26 Magazine (July 25, 2018), https://appdevelopermagazine.com/snapcash-goes-away-after-excessive-
   feature-misuse/.
27

28                                                     222
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504        Filed 12/18/23      Page 228 of 325




 1     of intimacy between users and encourage predators to use Snapchat to target children for grooming,

 2     sexual exploitation, sextortion, and CSAM.

 3           669.   As a result, Snapchat is one of the go-to platforms for sexual predators.782

 4           8.     Snap possesses the technology to detect, identify, and prevent the spread of
                    CSAM on its platform.
 5
             670.   In November 2019, a bipartisan group of Senators sent a letter to leading tech
 6
       companies, including Snapchat. The letter sought answers about Snap’s knowledge about online
 7
       sexual grooming of children on its platform and Snap’s CSAM detection technologies.783
 8
             671.   In response, Snap stated that it uses “technology to identify known illegal images and
 9
       videos of CSAM and report them to NCMEC,” but it did not address how Snapchat’s design
10
       contributes to the ongoing proliferation of CSAM materials and the sexual exploitation of its
11
       adolescent users. Nor did it address how it could utilize the data and information it collects about
12
       Snapchat’s users to detect, report, and take action to prevent instances of sexual grooming,
13
       sextortion, and CSAM distribution.
14
             672.   In addition, despite receiving numerous reports regarding how its platform’s features
15
       contribute to child exploitation, Snap has elected to keep many of them in place.784
16
             673.   For example, in 2020, ParentsTogether, a national parent group, delivered a petition
17
       from 100,000 parents to Snap demanding that the company do more to “protect children from sexual
18
       abuse and exploitation” on Snapchat.785 The petition listed numerous examples of widespread online
19

20
      782
         See, e.g., Rebecca Woods, What Are The Dangers Of Snapchat To Avoid?, PhoneSpector (June
21
      16, 2021), https://phonespector.com/blog/what-are-the-dangers-of-snapchat-to-avoid/.
22    783
         Letter to Sundar Pichai and 36 other Tech Companies by Senate Committee (Nov. 18, 2019),
      https://www.blumenthal.senate.gov/imo/media/doc/11.18.19%20-%20Google%20-%20CSAM.pdf.
23
      784
      See, e.g., Zak Doffman, Snapchat Has Become A ‘Haven For Child Abuse’ With its “Self-
24 Destructing Messages’, Forbes (May 26, 2019),
   https://www.forbes.com/sites/zakdoffman/2019/05/26/snapchats-self-destructing-messages-have-
25 created-a-haven-for-child-abuse/?sh=411b8e1d399a.

26    785
         Snapchat: Prevent Pedophiles from Sharing Abuse Videos, https://parents-together.org/snapchat-
      petition.
27

28                                                   223
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23     Page 229 of 325




 1     sexual grooming of children, including a high school coach in New Mexico who used Snapchat to

 2     extort sexual videos from several girls as young as fourteen; a Cleveland man who posed as a

 3     therapist and blackmailed a thirteen-year-old girl into sending him sexual videos and photos; and a

 4     Virginia man who was arrested for running a sextortion ring on Snapchat, coercing children into

 5     sending sexually explicit material.786

 6                674.   Notwithstanding these glaring flaws, Snap advertises and promotes its platform as safe

 7     and fun. Snap’s Vice President of Global Public Policy, Jennifer Stout, stated in written testimony

 8     to a Senate Subcommittee that Snap takes “into account the unique sensitivities and considerations

 9     of minors when we design products”787 when, in fact, Snap intentionally designed its platform to

10     promote compulsive and excessive use and help underage users conceal information from their
11     parents. Stout also claimed that Snap makes it harder for strangers to find minors when, in fact,
12     Snapchat’s “Quick Add” feature is responsible for introducing minors to complete strangers, and its
13     “Snap Map” feature has enabled threats, exploitation, and location of minors by complete strangers.
14                675.   Likewise, Snap’s Head of Global Platform Safety, Jacqueline Beauchere, represented
15     to the public that “Snapchat is designed for communications between and among real friends; it
16     doesn’t facilitate connections with unfamiliar people like some social media platforms.”788 But
17     again, this is not true and/or historically was not the case.
18                676.   Snap knows or should have known, that its platforms facilitate and encourage the
19     production, possession, distribution, receipt, transportation, and dissemination of millions of

20     materials that exploit children and violate child pornography laws. Snap further knows, or should

21     have known, that its platform facilitates the production, possession, distribution, receipt,

22     transportation, and dissemination of materials that depict obscene visual representations of the

23
      786
24          Id.
   787
       Snap’s Senate Congressional Testimony - Our Approach to Safety, Privacy and Wellbeing,
25 https://values.snap.com/news/senate-congressional-testimony-our-approach-to-safety-privacy-and-

26 wellbeing.
   788
       Snap’s Meet Our Head of Global Platform Safety, https://values.snap.com/news/meet-our-head-
27 of-global-platform-safety.

28                                                       224
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 230 of 325




 1     sexual abuse of children.

 2             677.   Upon information and belief, Snap has developed, or is developing, artificial

 3     intelligence technology that detects adult users of Snapchat who send sexually explicit content to

 4     children and receive sexually explicit images from children. This technology furnishes Snap with

 5     actual knowledge that a significant number of minor users of Snapchat are solicited to send, and do

 6     send, sexually explicit photos and videos of themselves to adult users in violation of 18 U.S.C. §

 7     1591(a)(1)-(2).789

 8             D.     FACTUAL ALLEGATIONS AS TO BYTEDANCE

 9                    1.     Background and overview of TikTok.
10             678.   In 2012, Beijing-based technologist Zhang Yiming paired up with American venture
11     capitalist Matt Huang to launch ByteDance, and its first platform Jinri Toutiao (“Today’s
12     Headlines”), which utilized AI to gather and present world news to users on a single feed.
13             679.   Following the success of its first platform, ByteDance created Douyin in 2016, a
14     music-based app loosely modeled on the popular app Musical.ly. Musical.ly was a hit in the U.S.,
15     as American teens gravitated to the platform, which allowed users, including minor users, to create
16     15-second videos of themselves lip-syncing, dancing, etc. to popular songs and movie scenes, and
17     then post them to a scrollable feed for other users to see.
18             680.   In 2017, ByteDance launched TikTok, a version of Douyin for the non-Chinese market
19     outside of China, and acquired Musical.ly—which, by then, boasted a user base of almost 60 million
20     monthly active users—for $1 billion. Nine months later, ByteDance merged its newly acquired app
21     into its existing platform, and a global version of TikTok was born.
22             681.   ByteDance’s design of TikTok predecessor Douyin is profoundly different than
23     TikTok. Douyin limits young people 14-and-under to just 40 minutes per day.790 TikTok, however,
24
      789
            See SNAP0000001-SNAP0000002.
25
      790
      Sapna Maheshwari, Young TikTok Users Quickly Encounter Problematic Posts, Researchers
26 Say, N.Y. Times (Dec. 14, 2022), https://www.nytimes.com/2022/12/14/business/tiktok-safety-
   teens-eating-disorders-self-harm.html.
27

28                                                     225
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23       Page 231 of 325




 1     is built on an algorithm designed to encourage addictive and compulsive use and, until recently, did

 2     not even have optional usage limits for minor users.791

 3             682.   As TikTok’s own research shows,

 4                           and
       792
 5

 6             683.   Since its launch, TikTok has grown exponentially. In late 2021, its owner and creator

 7     ByteDance publicly stated that TikTok had 1 billion active global users, up from 55 million in early

 8     2018 and 700 million in mid-2020.793 TikTok CEO Shou Chew recently testified that the app

 9     currently has over 150 million monthly active users in the United States.794

10             684.   Children comprise a large portion of TikTok’s U.S. user base. In July 2020, TikTok
11     reported that more than one-third of its 49 million daily users in the United States were 14 or
12     younger.795 Internal documents reveal
                                                                                  796
13                                                                                      A 2022 Pew Research
14     Center survey reported that 67% of American teenagers (age 13-17) use TikTok, with most
15     American teenagers (58%) using the platform daily. Among teenage TikTok users, a quarter say
16
      791
            See TIKTOK3047MDL-001-000060470
17

18

19
      792
            TIKTOK3047MDL-001-000060470.
20
      793
      Jessica Bursztynsky, TikTok says 1 billion people use the app each month, CNBC (Sept. 27,
21 2021), https://www.cnbc.com/2021/09/27/tiktok-reaches-1-billion-monthly-users.html.
      793
22     Shou Chew, Written Statement of Testimony Before the U.S. House Committee on Energy and
   Commerce, March 23, 2023,
23 https://d1dth6e84htgma.cloudfront.net/Written_Testimony_of_Shou_Chew_c07504eccf_084e8683f
   3.pdf?updated_at=2023-03-22T03:10:22.760Z.
24 794
       Id.
25 795 Raymond Zhong & Sheera Frenkel, A Third of TikTok’s U.S. Users May Be 14 or Under,

26 Raising Safety Questions, N.Y. Times (Aug. 14, 2020),
   796
       UT AG Compl. at 10, para. 26.
27

28                                                    226
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504       Filed 12/18/23     Page 232 of 325




 1     they use the platform almost constantly.797 In another recent report, more than 13% of young users

 2     declared they “wouldn’t want to live without” TikTok.798

 3           685.   Internal documents reveal

 4

 5

 6

 7

 8

 9                                  .799

10           686.   TikTok’s capture of the youth market has been the result of a carefully executed
11     campaign. Early on, Alex Zhu, one of TikTok’s creators, recognized that “[t]eenagers in the U.S.
12     [were] a golden audience” for this emerging social media platform.800 To cash in on this gold,
13     ByteDance implemented a series of platform features designed to attract and addict young users. As
14     Zhu explained in 2019: “[e]ven if you have tens of millions of users, you have to keep them always
15     engaged.”801 This engagement has come at the cost of young users’ health and with significant
16     impact to the school districts, counties, and municipalities charged with educating, serving, and
17     protecting those youth.
18           2.     TikTok’s operations are controlled by ByteDance.

19           687.   ByteDance Ltd. exclusively controls and operates the TikTok platform. In his recent
20
      797
21       Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug. 10, 2022),
      https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-technology-2022/.
22    798
       Victoria Rideout et al., Common Sense Census: Media use by tweens and teens, 2021 at 31,
23 Common Sense Media (2022), www.commonsensemedia.org/sites/default/files/research/report/8-
   18-census-integrated-report-final-web_0.pdf.
24 799
       UT AG Compl. at 17, para. 49.
25 800 Paul Mozur, Chinese Tech Firms Forced to Choose Market: Home or Everywhere Else, N.Y.

26 Times (Aug. 9, 2016).
   801
       Biz Carson, How A Failed Education Startup Turned into Musical.ly, The Most Popular App
27 You’ve Probably Never Heard Of, Bus. Insider (May 28, 2016) (emphasis added).

28                                                  227
                                                                        PLAINTIFFS’MASTER COMPLAINT
                                                             (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                            CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504        Filed 12/18/23     Page 233 of 325




 1     testimony before the House Energy and Commerce Committee, TikTok CEO Shou Chew admitted

 2     that he reports directly to ByteDance Ltd. CEO Liang Rubo. ByteDance Ltd. admits that its

 3     personnel outside the United States can access information from American TikTok users including

 4     public videos and comments. On information and belief, ByteDance Ltd. also has access to United

 5     States TikTok users’ private information.

 6          688.    Despite efforts to portray TikTok as separate from Douyin (the version of TikTok

 7     distributed in China), the two companies share many overlapping personnel and technologies, as

 8     the recent report “TikTok, ByteDance and Their Ties to the Chinese Communist Party,” produced

 9     by the Australian Senate Select Committee on Foreign Interference Through Social Media, makes

10     clear. TikTok’s engineering manager works on both TikTok and Douyin, and TikTok Inc.’s
11     development processes are closely intertwined with Douyin’s processes. TikTok Inc.’s employees
12     and data systems are also deeply interwoven into Byte Dance Ltd.’s ecosystem.
13          689.    Indeed, TikTok’s algorithms were created by ByteDance Ltd. and contain some of the
14     same underlying basic technology as Douyin.802
15          690.    TikTok’s algorithms still belong to ByteDance Ltd., which declined to sell the
16     technology to a U.S. company.803
17          691.    ByteDance Ltd. also plays a role in hiring key personnel at TikTok.804
18          692.    High-level ByteDance Ltd. employees served in dual roles for both ByteDance Ltd.
19     and TikTok Inc. at least as recently as 2021. These employees include (1) Vanessa Pappas, the Head

20
      802
21     Letter from Shou Zi Chew, CEO, TikTok to the Hon. Marsha Blackburn, Roger Wicker, John
   Thune, Roy Blunt, Ted Cruz, Jerry Moran, Shelley Moore Capito, Cynthia Lummis, and Steve
22 Daines, U.S. Senate (June 30, 2022) at 4, https://bit.ly/3hqccLL (“June 2022 Letter to U.S.
   Senators”).
23
   803
       Z. Xin & T. Qu, TikTok’s algorithm not for sale, ByteDance tells US, S. CHINA MORNING
24 Post (Sept. 13, 2020), https://bit.ly/3 UjeQHQ.
      804
25    Letter from Shou Zi Chew, CEO, TikTok to the Hon. Marsha Blackburn, Roger Wicker, John
   Thune, Roy Blunt, Ted Cruz, Jerry Moran, Shelley Moore Capito, Cynthia Lummis, and Steve
26 Daines, U.S. Senate (June 30, 2022) at 5, https://bit.ly/3hqccLL (“June 2022 Letter to U.S.
   Senators”).
27

28                                                  228
                                                                        PLAINTIFFS’MASTER COMPLAINT
                                                             (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                            CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 234 of 325




 1     of TikTok Inc. and interim head of the global TikTok business for ByteDance Ltd.; (2) Roland

 2     Cloutier, former Global Chief Security Officer, who provided cyber risk and data security support

 3     for both TikTok Inc. and ByteDance Ltd.; and (3) Shou Zi Chew, TikTok’s CEO and CFO of

 4     ByteDance Ltd., who reports to the CEO of ByteDance.805

 5           693.   In addition to showing that ByteDance Ltd. is highly integrated with TikTok Inc., the

 6     Australian Senate Report notes that ByteDance Ltd. is heavily influenced by the Chinese

 7     Communist Party. The report notes ByteDance Ltd.’s Editor in Chief, Zhang Fuping, is a Chinese

 8     Communist Party Secretary. The Australian Senate report concludes that ByteDance Ltd. is a hybrid

 9     state-private entity at least partially controlled by the Chinese government.

10           694.   ByteDance Ltd. designed and operates the Lark communication platform for use by
11     all its subsidiaries, including Bytedance, Inc. and TikTok, Inc. All Bytedance, Ltd., Bytedance, Inc.
12     and TikTok, Inc. personnel have a Lark account and accompanying profile. All oral, video, and
13     written communications between Bytedance Ltd., ByteDance, Inc., and TikTok, Inc. employees are
14     either conducted face-to-face or through Lark. All written communications or documents exchanged
15     through Lark are stored on Lark’s database. Lark also provides real-time translation subtitling for
16     oral and video communications between English-speaking and Chinese-speaking personnel.
17     Transcripts of these translated oral and video conversations are stored on Lark’s database.
18           695.   Other public reports demonstrate that multiple former TikTok employees have
19     reported that ByteDance Ltd. exercises significant control over TikTok’s decision making and

20     operations. Twelve former TikTok and ByteDance Ltd. Employees and executives reported that

21     CEO Shou Zi Chew has “limited” decision making power.806 Instead, major decisions related to

22     TikTok are made by ByteDance Ltd. founder Zhang Yiming and other ByteDance Ltd. officials in

23

24    805
      See TikTok Names CEO and COO, TikToK (Apr. 30, 2021), https://bit.ly/3OVyvWh; R. Mac &
   C. Che, TikTok's CEO Navigates the Limits of His Power, N.Y. TIMES (Sept. 16, 2020),
25 https://nyti.ms/3OT6grk.

26    806
         Mac & C. Che, TikTok’s CEO Navigates the Limits of His Power, N.Y. TIMES (Sept. 16,
      2020), https://nyti.ms/3OT6grk.
27

28                                                    229
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504       Filed 12/18/23     Page 235 of 325




 1     China.807

 2                696.   Senior TikTok employees hired to head departments have left the company after

 3     learning they would not be able to significantly influence decision making.808

 4                697.   ByteDance Ltd.s own internal audit team prepared a risk assessment in late 2021 and

 5     found that numerous senior employees felt “that themselves and their teams are just ‘figureheads’

 6     or ‘powerless ombudsmen’ who are ‘functionally subjection to the control of [China]-based

 7     teams.’”809

 8                698.   As recently as 2022, employees that work on product, engineering, and strategy at

 9     TikTok said they reported directly to ByteDance leadership in China, bypassing TikTok’s executive

10     suite.810 Similarly, former TikTok employees have stated that “nearly 100% of TikTok’s
11     development is led by Chinese ByteDance employees.”811
12                699.   Other employees have described ByteDance Ltd. as being “heavily involved” in
13     decision making and operations at TikTok, with “blurry” boundaries between the two companies.812
14     According to employees, these blurred lines included U.S.-based employees working during
15     Chinese business hours to answer their ByteDance Ltd. counterparts’ questions.813 Further, one
16

17
      807
            Id.
18
      808
      Emily Baker-White, TikTok is Bleeding U.S. Execs Because China is Still Calling the Shots,
19 Forbes (Sept. 21, 2022), https://bit.ly/3XTSnNF.
      809
20     Emily Baker-White, A China-Based ByteDance Team Investigated TikTok’s Global Security
   Chief, Who Oversaw U.S. Data Concerns, Forbes (Oct. 25, 2022),
21 https://www.forbes.com/sites/emilybaker-white/2022/10/25/bytedance-tiktok-investigation-global-
   chief-security-officer-roland-cloutier/?sh=3dda7fa26640.
22
   810
       Emily Baker-White, TikTok is Bleeding U.S. Execs Because China is Still Calling the Shots,
23 Forbes (Sept. 21, 2022), https://bit.ly/3XTSnNF.
      811
24    Salvador Rodriguez, TikTok Insiders Say Social Media Company is Tightly Controlled by
   Chinese Parent Bytedance, CNBC (Jun. 25, 2021), https://www.cnbc.com/2021/06/25/tiktok-
25 insiders-say-chinese-parent-bytedance-in-control.html.
      812
26          Id.
      813
            Id.
27

28                                                      230
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504       Filed 12/18/23    Page 236 of 325




 1     TikTok employee stated ByteDance Ltd. employees could access U.S. user data.814

 2                700.   Statements from other TikTok employees suggest the lines between the TikTok and

 3     ByteDance Ltd. are almost nonexistent, with ByteDance Ltd. being the “central hub for pretty much

 4     everything … . Beijing managers sign off on major decisions involving U.S. operations, including

 5     from the teams responsible for protecting Americans’ data and deciding which videos should be

 6     removed.”815 Further, TikTok employees stated ByteDance Ltd. officials “lead TikTok’s design and

 7     engineering teams and oversee the software that U.S. employees use to chat with colleagues and

 8     manage their work. They’re even the final decision-makers on human resources matters, such as

 9     whether an American employee can work remotely.”816

10

11
                                                                                         817
12

13
                                             818
14

15                701.   One former TikTok employee reported to Forbes that their paycheck listed ByteDance
16     as the check’s drawer, not TikTok.819And another employee reported their contract listed TikTok as
17     their employer, but their tax returns listed ByteDance.820
18

19
      814
20          Id.
      815
21    Drew Harwell and Elizabeth Dwoskin, As Washington Wavers on TikTok, Beijing Exerts
   Control, Washington Post (Oct. 30, 2022),
22 https://www.washingtonpost.com/technology/interactive/2022/bytedance-tiktok-privacy-china/.
      816
23          Id.
      817
            UT AG Compl. at 53, paras.145-147.
24    818
            Id. at 53-54, para.148.
25    819
       Emily Baker-White, TikTok is Bleeding U.S. Execs Because China is Still Calling the Shots,
26 Forbes  (Sept. 21, 2022), https://bit.ly/3XTSnNF.
   820
       Id.
27

28                                                      231
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 237 of 325




 1           3.     TikTok has aggressively marketed by Defendants to children, driving revenue
                    for ByteDance.
 2
             702.   ByteDance has designed and aggressively marketed TikTok to attract and profit from
 3
       young users in the U.S.
 4
             703.   Like the other Defendants’ platforms, TikTok sells itself as a social media company,
 5
       but its actual source of revenue is ad sales, which have boomed. TikTok was projected to receive
 6
       $11 billion in advertising revenue in 2022, over half of which is expected to come from the United
 7
       States.821
 8
             704.   Central to these revenues is TikTok’s ability to attract young users, a demographic
 9
       that ByteDance has aggressively pursued the product’s launch.
10
             705.   The initial iteration of TikTok allowed users to lip sync pop music by celebrities who
11
       appealed primarily to teens and tweens (e.g., Selena Gomez and Ariana Grande). It labeled folders
12
       with names attractive to youth (e.g., “Disney” and “school”); and included in those folders songs
13
       such as “Can You Feel the Love Tonight” from the movie “The Lion King,” “You’ve Got a Friend
14
       in Me” from the movie “Toy Story,” and other renditions covering school-related subjects or school-
15
       themed television shows and movies.822
16
             706.   Even TikTok’s sign-up process demonstrates that young users are what ByteDance
17
       values most. In 2016, the birthdate for those signing up for the app defaulted to the year 2000 (i.e.,
18
       16 years old).823 In December 2016, one of TikTok’s founders, Alex Zhu, confirmed the company
19

20
      821
21     Jessica Bursztynsky, TikTok says 1 billion people use the app each month, CNBC (Sept. 27,
   2021), https://www.cnbc.com/2021/09/27/tiktok-reaches-1-billion-monthly-users.html; Bhanvi
22 Staija, TikTok’s ad revenue to surpass Twitter and Snapchat combined in 2022, Reuters (Apr. 11,
   2022), https://www.reuters.com/technology/tiktoks-ad-revenue-surpass-twitter-snapchat-combined-
23
   2022-report-2022-04-11/.
24 822 Complaint for Civil Penalties, Permanent Injunction, and Other Equitable Relief (“Musical.ly
   Complaint”) at p. 8, ¶¶ 26–27, United States v. Musical.ly, 2:19-cv-01439-ODW-RAO (C.D. Cal.
25 Feb. 27, 2019) Dkt. # 1.

26    823
        Melia Robinson, How to Use Musical.ly, The App With 150 million Users That Teens Are
      Obsessed With, Bus. Insider (Dec. 7, 2016).
27

28                                                    232
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23     Page 238 of 325




 1     had actual knowledge that “a lot of the top users are under 13.”824

 2                707.   In 2019 FTC alleged that despite the company’s knowledge of these and a “significant

 3     percentage” of other users who were under 13, the company failed to comply with the COPPA.825

 4                708.   TikTok settled those claims by agreeing to pay what was then the largest ever civil

 5     penalty under COPPA as well as a consent decree setting forth several forms of injunctive relief.826

 6                709.   Then, in what it portrayed as an attempt to come into compliance with the consent

 7     decree and COPPA, TikTok made available to users under 13 what it describes as a “limited,

 8     separate app experience.”827 The child version of TikTok restricts users from posting videos through

 9     the app. Children can still, however, record and watch videos on TikTok.828 For that reason, experts

10     fear the app is “designed to fuel [kids’] interest in the grown-up version,” a business growth strategy
11     disguised as a compliance tool.829
12                710.   These efforts to create and maintain a young userbase are reflections of Zhu’s
13     convictions about the importance of user engagement to growing TikTok. Zhu describes“[t]eenagers
14     in the U.S. [as] a golden audience.”830
15                4.     TikTok is designed to promote addictive use by children and adolescents.

16                711.   Once Snap ByteDance entices and enables children to use its platform, it uses a series
17

18    824
       Jon Russell, Muscal.ly defends its handling of young users, as it races past 40M MAUs at 8:58–
19 11:12, TechCrunch (Dec. 6, 2016), https://techcrunch.com/2016/12/06/musically-techcrunch-
   disrupt-london/.
20 825 Musical.ly Complaint”) at p. 8, ¶¶ 26–27.
      826
21    Lesley Fair, Largest FTC COPPA settlement requires Musical.ly to change its tune, FTC (Feb.
   27, 2019), https://www.ftc.gov/business-guidance/blog/2019/02/largest-ftc-coppa-settlement-
22 requires-musically-change-its-tune.
      827
23     Dami Lee, TikTok stops young users from uploading videos after FTC settlement, Verge (Feb.
   27, 2019), https://www.theverge.com/2019/2/27/18243510/tiktok-age-young-user-videos-ftc-
24 settlement-13-childrens-privacy-law.
      828
25          Id.
      829
26       Leonard Sax, Is TikTok Dangerous for Teens?, Inst. Fam. Stud. (Mar. 29, 2022),
      https://ifstudies.org/blog/is-tiktok-dangerous-for-teens-.
27    830
            Id.
28                                                       233
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 239 of 325




 1     of platform features that are designed to addict children. As laid out below, those features can be

 2     broadly grouped into two, often overlapping, categories: features that use manipulation techniques

 3     that are highly effective on youth and features designed to weaponize a user’s data to promote

 4     endless passive usage of the platform. These features, in tandem with each other and the other

 5     harmful features described throughout this Complaint, induce compulsive use, and other severe

 6     mental and physical harm to young users of TikTok, including children in Plaintiffs’ schools and

 7     communities.

 8                  a.      TikTok’s deficient age-verification practices encourage use by children.

 9           712.   TikTok’s growth among youth in the U.S. has been enabled by its ineffective age
10     verification and parental control procedures, which allow children under 13 unfettered access to the
11     platform, without regard to parental consent, despite the fact that TikTok’s terms of service require
12     consent of parents or guardians for minors.
13           713.   When a user first opens TikTok, they are prompted to “Login in to TikTok” or “Sign
14     up” for an account using a phone number or email address. TikTok then asks, “When’s your
15     birthday?”
16

17

18

19

20

21

22

23

24

25

26

27           714.   ByteDance does not verify the age that TikTok users report. Nor does it use any
28                                                    234
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 240 of 325




 1     method to verify that users who acknowledge they are minors have the consent of their parents or

 2     legal guardians to use the platform. In fact, at least as of 2020, TikTok still had not developed a

 3     company position on age verification.831

 4             715.   ByteDance also allows users to utilize TikTok without creating an account, which

 5     allows users to circumvent even the wholly ineffective age restrictions TikTok has for registered

 6     users. Indeed, TikTok allows users, no matter what age, to “browse as [a] guest,” and watch

 7     TikTok’s “For You” page, while TikTok’s algorithm collects data about that user and their viewing

 8     behavior.832

 9             716.   ByteDance knows that many U.S. TikTok users under the age of 13 fail to report their

10     birthdates accurately.833 In July 2020, TikTok reported that more than a third of its 49 million daily
11     users in the United States were 14 years old or younger. While some of those users were 13 or 14,
12     at least one former employee reported that TikTok had actual knowledge of children even younger
13     based on videos posted on the TikTok platform—yet failed to promptly take down those videos or
14     close those accounts.834
15             717.   ByteDance’s Trust and Safety team recognizes that one of the biggest challenges it
16     faces is “determining who is a minor (defined as users 13-17 years old).”835
17             718.   Moreover, users under 13 can easily delete their age-restricted accounts and sign up
18

19    831
       TIKTOK3047MDL-001-00060941 at *85 (“Minor Safety Policy & PnP,’" PowerPoint, January
20 2021).
   832
       Browse as Guest, TikTok Support, https://support.tiktok.com/en/log-in-troubleshoot/log-
21
   in/browse-as-guest.
22 833 Jon Russell, Musical.ly Defends its Handling of Young Users, As it Races Past 40M MAUs,
   TechCrunch (Dec. 6, 2016), https://techcrunch.com/2016/12/06/musically-techcrunch-disrupt-
23
   london/.
24 834 Raymond Zhong & Sheera Frenkel, A Third of TikTok’s U.S. Users May Be 14 or Under,
   Raising Safety Questions, N.Y. Times, Aug. 14, 2020,
25 https://www.nytimes.com/2020/08/14/technology/TikTok-underage-users-

26 ftc.htmlhttps://www.nytimes.com/2020/08/14/technology/TikTok-underage-users-ftc.html
      835
            TIKTOK3047MDL-001-00060811 at *16.
27

28                                                    235
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504       Filed 12/18/23     Page 241 of 325




 1     for an over-13 account on the same mobile device—without any restriction or verification—by

 2     simply inputting a fake birthdate. Representative Anne Kuster raised this issue with TikTok CEO

 3     Show Chew in his March 23 congressional testimony.836 Rep. Kuster indicated that her staff was

 4     able to impersonate a minor and create a different account with a more advanced age by merely

 5     deleting one and creating another.837 The staff members did not even need to switch emails. Chew

 6     promised to “look at [this].”838

 7                719.   The absence of effective age verification measures also means that some adult users

 8     (including predators) claim to be children—with obvious dangers to the actual children on

 9     ByteDance’s platform.

10                       b.     TikTok’s approach to parental controls are dangerously deficient.

11                720.   In April 2020, following the FTC settlement, ByteDance created a “Family Pairing”
12     feature on TikTok. The supposed purpose of this feature was to allow parents to link their accounts
13     to their children’s accounts and enforce certain controls (such as screentime limits and restriction
14     of “content that may not be appropriate for all audiences”).839
15                721.   “Family Pairing” is meant to allow parents to prevent their children from direct
16     messaging other TikTok users. But ByteDance has designed TikTok’s “Family Pairing” feature so
17     that it is not mandatory for minor users. It is also unwieldy for adults to use, requiring a parent or
18     guardian must create their own TikTok account to pair it with their child’s account. Further, the
19     “Family Pairing” feature is available only on the TikTok mobile app. It provides no protection when
20     a child accesses TikTok through a web browser. And because this feature requires parents to know
21

22    836
      Energy and Commerce Committee, TikTok: How Congress can Safeguard American Data
23 Privacy and Protect Children from Online Harms, Pending Transcript (March 23, 2023)
   https://energycommerce.house.gov/events/full-committee-hearing-tik-tok-how-congress-can-
24 safeguard-american-data-privacy-and-protect-children-from-online-harms.
      837
25          Id.
      838
26          Id.
   839
       TikTok Introduces Family Pairing, TikTok Newsroom (Apr. 15, 2020)
27 https://newsroom.tiktok.com/en-us/tiktok-introduces-family-pairing.

28                                                      236
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504         Filed 12/18/23      Page 242 of 325




 1     the name of their child’s account to pair it, youth can easily evade the protections of the “Family

 2     Pairing” feature by creating anonymous accounts, again without parental approval or knowledge.

 3               722.     ByteDance further stymies parents’ ability to supervise minor childrens’ use of

 4     TikTok by permitting minor users to block their parents’ profiles, post ephemeral videos called

 5     “Stories” that disappear after 24 hours, and post those Stories to “Friends Only.”

 6               723.     TikTok is aware that many youth are using the platform late at night

 7

 8                                                          .840

 9
                    841
10

11                                                                  .842 Further depleting parents’ and guardians’
12     ability to supervise children’s use of TikTok, until August 2021, TikTok would send push
13     notifications to young users at all hours of the day or night to persuade them to log back on to
14     TikTok. Since then, push notifications have been cut off at 9 pm for users self-identified as 13 to 15
15     years old, and after 10 pm for users self-identified as 16 or 17 years of age, but parents remain
16     unable to set further limits on notification frequency and timing.
17               724.     Until January 13, 2021, ByteDance also interfered with parental supervision and
18     endangered children by defaulting all accounts, including those registered to children as young as
19     13, to “public.” That allowed strangers to contact minor users regardless of age or location.

20     ByteDance also intentionally and actively promoted these types of connections by suggesting

21     accounts to follow through the “Find Friends” or “People You May Know” features.

22               725.     Today, for users self-identified as 16 and over, ByteDance still sets the default privacy

23     setting for all registered accounts to “public,” meaning that anyone can view a user’s profile, on or

24
      840
25          UT AG Compl. at 16, para. 42.
      841
26          Id. at 3, para. 5.
      842
            Id. at 16, para. 42.
27

28                                                          237
                                                                                PLAINTIFFS’MASTER COMPLAINT
                                                                     (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                    CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 243 of 325




 1     off TikTok, request the user as a friend, or engage with the user’s videos.843

 2                  c.      TikTok relies on manipulative design techniques to maximize compulsive
                            use by children.
 3
             726.   Like each of the other Defendants, ByteDance has designed TikTok with features that
 4
       foster addictive and compulsive use by youth, leading to a cascade of mental and physical injuries.
 5
             727.   Most of these features are fueled by the extremely granular user behavior data that
 6
       ByteDance is constantly collecting.
 7
             728.   A prominent example is one of TikTok’s defining features—its “For You” page (or
 8
       “FYP”). According to ByteDance, it is “central to the TikTok experience and where most of our
 9
       users spend their time.”844
10
             729.   TikTok’s FYP uses ByteDance’s powerful machine-learning algorithms to keep users
11
       on their platforms. As one commentator put it, “you don’t tell TikTok what you want to see. It tells
12
       you.”845 And it tells you whatever will increase engagement.846
13
             730.   TikTok’s internal documents make clear that habit formation is a core “mission” of
14
       the company:
15

16

17

18

19

20
      843
       See, e.g., Lauren E. Sherman et al., The Power of the Like in Adolescence: Effects of Peer
21
   Influence on Neural and Behavioral Responses to Social Media, 27(7) Psych. Sci. 1027–35 (July
22 2016), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5387999.
   844
       How TikTok recommends videos #ForYou, TikTok (June 18, 2020),
23
   https://newsroom.tiktok.com/en-us/howtiktok-recommends-videos-for-you.
24 845 Drew Harwell, How TikTok Ate the Internet, Wash. Post. (Oct. 14, 2022),
   https://www.theday.com/business/20221015/how-tiktok-ate-the-internet/.
25
   846
       Joseph Steinberg, Meet Musical.ly, the Video Social Network Quickly Capturing the Tween and
26 Teen Markets, Inc. (June 2, 2016), https://www.inc.com/joseph-steinberg/meet-musically-the-
   video-social-network-quicklycapturing-the-tween-and-teen-m.html.
27

28                                                    238
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504          Filed 12/18/23     Page 244 of 325




 1
                                                                                                     47
 2
                731.   An internal document titled “TikTok Algo 101,” which TikTok has confirmed is
 3
       authentic, “explains frankly that in the pursuit of the company’s ‘ultimate goal’ of adding daily
 4
       active users, it has chosen to optimize for two closely related metrics in the stream of videos it
 5
       serves: ‘retention’—that is, whether a user comes back—and ‘time spent.’”848
 6
                732.   “This system means that watch time is key,” explained Guillaume Chaslot, the founder
 7
       of Algo Transparency.849 Chaslot noted that “rather than giving [people] what they really want,”
 8
       TikTok’s “algorithm tries to get people addicted[.]”850
 9
                733.   To fulfill this goal, the TikTok algorithm analyzes a slew of data not about actual
10
       messages and content of videos but about users’ behavior in relation to videos, focusing on the fact
11
       of a reaction not the information that prompted it.
12
                734.   As TikTok describes it, the algorithms populate each user’s FYP feed by “ranking
13
       videos based on a combination of factors” that include, among others, any interests expressed when
14
       a user registers a new account, videos a user likes, accounts they follow, hashtags, captions, sounds
15
       in a video they watch, certain device settings, such as their language preferences and where they are
16
       located, and finally, the likelihood of the user’s interest.851
17
                735.   ByteDance has designed TikTok’s algorithms so that certain factors, such as time
18
       spent watching a video, are more important to the algorithms than others. For example, “whether a
19

20
      847
            UT AG Compl. at 12, para. 31.
21    848
       Ben Smith, How TikTok Reads Your Mind, N.Y. Times (Dec. 5, 2021),
22 https://www.nytimes.com/2021/12/05/business/media/tiktok-algorithm.html.
   849
       Id.
23
   850
       Id.
24 851
       Investigation: How TikTok’s Algorithm Figures Out Your Deepest Desires, Wall St. J. (Jul. 21,
25 2021), https://www.wsj.com/video/series/inside-tiktoks-highly-secretive-algorithm/investigation-
   how-tiktok-algorithm-figures-out-your-deepest-desires/6C0C2040-FF25-4827-8528-
26 2BD6612E3796; see also How TikTok recommends videos #ForYou | TikTok Newsroom,
   https://newsroom.tiktok.com/en-us/how-tiktok-recommends-videos-for-you.
27

28                                                      239
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504          Filed 12/18/23    Page 245 of 325




 1     user finishes watching a longer video from beginning to end, would receive greater weight than . . .

 2     whether the video’s viewer and creator are both in the same country.”852

 3                736.   TikTok’s design features are therefore designed to give young users immediate

 4     gratification and boost rewards

 5

 6                                                                             ”853

 7                737.   TikTok knows that its presence in people’s lives monopolizes their time. For example,

 8     an internal TikTok Powerpoint

 9

10

11
                                               854
12
                                                      855
13

14                738.   This single-minded focus on capturing users’ attention, without concern for what
15     they’re paying attention to is consistent with the simple formula that determines TikTok’s revenues:
16     the more time users spend on TikTok, the more advertising revenue TikTok reaps. Upon knowledge,
17     information, and belief, formed after a reasonable inquiry under the circumstances, TikTok has
18     designed its algorithms to addict users through advanced analytics that create a variable reward
19     system, thereby causing users to spend increased amounts of time on the platform. Upon opening

20     the TikTok application, users are automatically shown an endless stream of videos selected

21     specifically for them by algorithms and the vast amounts of user data that TikTok collects. These

22     choices are not made by examining the content of videos, but by observing every action that a user

23

24    852
            Id.
      853
25          UT AG Compl. at 14, para. 37.
      854
26          Id. at 12-13, para.32.
      855
            Id. at 16, para. 44.
27

28                                                          240
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504         Filed 12/18/23       Page 246 of 325




 1     takes—on and off the platform—in minute detail.

 2                739.   TikTok’s algorithms are designed to begin working the minute a user opens the

 3     platform. The FYP shows the user a single, full-screen stream of videos, then records how the user

 4     reacts. “A second of viewing or hesitation indicates interest; a swipe suggests a desire for something

 5     else.”856 With each data point collected, TikTok’s algorithms winnow a mass of videos to a single

 6     feed, continually refined to keep users engaging often and at length.

 7                740.   An estimated 90-95% of the videos viewed on TikTok comes from its algorithms (as

 8     opposed to user selection), the highest among Defendants’ platforms.857

 9                741.   This algorithmic encouragement of continuous scrolling and interaction makes it hard

10     for users to disengage from the app. A recent ByteDance-funded study, which imaged the brains of
11     TikTok and other social media platform users, found that users engaged with TikTok about 10 times
12     a minute, twice as often as with peer apps.858
13                742.   Rather than treating its users’ inability to disengage as flashing alarm that its business
14     practices hurt children, ByteDance leverages it as a selling point for advertisers. A recent TikTok
15     marketing document observed that “the TikTok audience is fully leaned in.”859 Marketing research
16     commissioned by TikTok found that, compared to other social media platforms, TikTok users
17     evidenced a higher frequency of rate per minute. TikTok boasted, “[o]ur algorithm and shorter video
18     formats create continuous cycles of engagement, making TikTok the leading platform for
19     Information Density.”860

20                743.   TikTok’s quest to monopolize user attention also often forces users down “rabbit

21

22    856
            Id.
      857
23       Investigation: How TikTok’s Algorithm Figures Out Your Deepest Desires, Wall St. J. (Jul. 21,
      2021),
24    858
      TikTok Ads Break Through Better Than Tv and Drive Greater Audience Engagement, TikTok,
25 https://www.tiktok.com/business/library/TikTokDrivesGreaterAudienceEngagement.pdf.
      859
26          Id.
      860
            Id.
27

28                                                         241
                                                                               PLAINTIFFS’MASTER COMPLAINT
                                                                    (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                   CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23        Page 247 of 325




 1     holes.” TikTok’s internal documents show that it knew about (and studied)
                                                                         861
 2                                                                             Users end up in these rabbit holes,

 3     and become trapped in them, because TikTok has optimized its algorithms’ design for retention and

 4     time spent on the app, honing in on signal showing user engagement even if the engagement is

 5     negative.862 TikTok is designed to give users more of whatever will keep them looking at the app,

 6     without any consideration of what users want or the information that gets conveyed.

 7                744.   Once users are in a rabbit hole, it is extremely difficult to climb out.863 In general,

 8     escaping a rabbit hole requires a user to repeatedly and actively strategize ways to counter the

 9     algorithm, pitting individual users’ David against TikTok’s machine-learning Goliath.

10                745.   The Wall Street Journal has documented how ByteDance’s content-agnostic
11     algorithms, by amplifying even the slightest signals of user behavior, can quickly surround users
12     with a torrent of dangerous information. The experimenters used bots, each programmed with
13     various interests such as sports, forestry, dance, astrology, and animals. They did not disclose these
14     interests upon registration with TikTok. Instead, TikTok’s algorithms quickly learned the assigned
15     interests from the bots’ behavior—that is, “by rewatching or pausing on videos” related to the bots’
16     programmed interests.864
17                746.   One bot watched 224 videos in 26 minutes, lingering over videos with hashtags for
18     “depression” or “sad.” The algorithms quickly refined its output. Afterward, 93% of the videos
19     TikTok showed that both were about depression or sadness. One post implored the bot to: “Just go.

20     Leave. Stop trying. Stop pretending. You know it and so do they. Do Everyone a favor and leave.”865

21

22    861
         TIKTOK3047MDL-001-000060248; TIKTOK3047MDL-001-000060268; TIKTOK3047MDL-
      001-000060258.
23
      862
            Ben Smith, How TikTok Reads Your Mind, N.Y. Times (Dec. 5, 2021).
24    863
      Kaitlyn Tiffany, I’m Scared of the Person TikTok Thinks I Am, The Atlantic (June 21, 2021),
25 https://www.theatlantic.com/technology/archive/2021/06/your-tiktok-feed-embarrassing/619257/.
      864
26       Inside TikTok’s Algorithm: A WSJ Video Investigation, Wall St. J. (July 21, 2021),
      https://www.wsj.com/articles/tiktok-algorithm-video-investigation-11626877477.
27    865
            Id.
28                                                        242
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504        Filed 12/18/23      Page 248 of 325




 1           747.   EKO, a consumer watchdog group based in Washington D.C., likewise recently

 2     investigated how the TikTok algorithms push videos about suicide to young children. Using

 3     accounts registered to fictitious 13-year-olds, researchers “liked” or “bookmarked” up to 10 videos

 4     with suicide promotion or other dark, depressing material. They then monitored the next 50 videos

 5     the TikTok algorithms pushed to the accounts. They found that TikTok “served up dangerous

 6     suicide content, including videos with guns being loaded and text suggesting suicide, alongside

 7     hundreds of comments in agreement and some listing exact dates to self-harm or attempt suicide.

 8     Beyond videos explicitly pushing suicide, TikTok’s For You Page was filled with videos promoting

 9     content that pushes despondent and hopeless commentary.” Researchers tracked suicide related

10     hashtags on TikTok with millions of posts and billions of views. For example, posts with the “sh”
11     hashtag, which stands for “self-harm,” have over six billion views.866
12           748.   In a follow-up experiment by The Wall Street Journal, bots were registered as users
13     between 13 and 15 years old. One of those bots, programmed to pause on videos referencing drugs,
14     lingered briefly on “a video of a young woman walking through the woods with a caption” referring
15     to “stoner girls.” The next day, the algorithms showed the bot a video about a “marijuana-themed
16     cake.” Then the “majority of the next thousand videos” that TikTok’s algorithms produced “tout[ed]
17     drugs and drug use,” including marijuana, psychedelics, and prescription drugs.867
18           749.   The algorithms immersed another bot—registered as a 13-year-old boy—into a rabbit
19     hole of videos related to bondage and sex, including videos explaining, among other things, “how

20     to tie knots for sex, recover from violent sex acts and discussing fantasies about rape.”868 The bot

21     simply searched for the term “onlyfans”—a site known for hosting adult entertainment—and

22

23
      866
24       Suicide, Incels and Drugs: How TikTok’s Deadly Algorithm Harms Kids, EKO, March 2023,
      https://s3.amazonaws.com/s3.sumofus.org/images/eko_Tiktok-Report_FINAL.pdf.
25    867
       Rob Barry et al., How TikTok Serves Up Sex and Drug Videos to Minors, Wall St. J. (Sept. 8,
26 2021),  https://www.wsj.com/articles/tiktok-algorithm-sex-drugs-minors-11631052944.
   868
       Id.
27

28                                                   243
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23      Page 249 of 325




 1     watched a handful of videos in the results before returning to the FYP.869 The algorithms

 2     subsequently bombarded the bot with videos about sex, and, as the bot lingered on those videos, the

 3     bot’s feed became almost entirely dominated by sex-related videos. At one point, “more than 90

 4     percent of [the] account’s video feed was about bondage and sex.”870

 5                750.   These streams of harmful content are neither an intended nor an unintended

 6     consequence of TikTok’s algorithm; they are irrelevant to the algorithm, which uses inputs about

 7     users’ reactions to select whatever outputs are most likely to generate more user reactions, the actual

 8     messages that are conveyed collateral damage in TikTok’s single-minded quest for children’s

 9     attention.

10                751.   But collateral though these rabbit holes are, their impacts are severe. The Wall Street
11     Journal concluded “that through its powerful algorithms, TikTok can quickly drive minors—among
12     the biggest users of the app—into endless spools of content about sex and drugs.”871 In another
13     follow-up experiment, The Wall Street Journal found that, once TikTok’s algorithms determined
14     that the bots would rewatch videos related to weight loss, it “speedily began serving more, until
15     weight-loss and fitness content made up more than half their feeds—even if the bot never sought it
16     out.”872 Indeed, TikTok’s algorithms recommended over 32,000 weight-loss videos over a two-
17     month period, “many promoting fasting, offering tips for quickly burning belly fat and pushing
18     weight-loss detox programs and participation in extreme weight-loss competitions.”873
19                752.   Alyssa Moukheiber, a treatment center dietitian, explained that TikTok’s algorithms

20

21

22    869
            Id.
      870
23          Id.
      871
24          Id.
   872
       Tawnell D. Hobbs, ‘The Corpse Bride Diet’: How TikTok Inundates Teens With Eating-Disorder
25 Videos, Wall St. J. (Dec. 17, 2021), https://www.wsj.com/articles/how-tiktok-inundates-teens-with-

26 eating-disorder-videos-11639754848.
      873
            Id.
27

28                                                        244
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23      Page 250 of 325




 1     can push children into unhealthy behaviors or trigger a relapse of disordered eating.874 Indeed,

 2     several teenage girls interviewed by The Wall Street Journal reported developing eating disorders

 3     or relapsing after being influenced by extreme diet videos TikTok promoted to them.875

 4                753.   Their experiences are not unique. Katie Bell, a co-founder of the Healthy Teen Project,

 5     explained that “the majority of her 17 teenage residential patients told her TikTok played a role in

 6     their eating disorders.”876

 7                754.   Others, like Stephanie Zerwas, an Associate Professor of Psychiatry at the University

 8     of North Carolina at Chapel Hill, could not even recount how many of her young patients told her

 9     that “I’ve started falling down this rabbit hole, or I got really into this or that influencer on TikTok,

10     and then it started to feel like eating-disorder behavior was normal, that everybody was doing
11     that.”877
12                755.   In December 2022, the Center for Countering Digital Hate (“CCDH”) conducted a
13     similar study, creating TikTok accounts with a registered age of 13 in the United States, United
14     Kingdom, Canada, and Australia.878 For the first 30 minutes on the app, the accounts paused briefly
15     on videos about body image and mental health and liked them. “Where researchers identified a
16     recommended video matching one of the below categories, they viewed the video for 10 seconds
17     and liked it. For all other videos, researchers would immediately scroll the For You feed to view the
18     next video recommended by TikTok.”879 TikTok’s algorithms, with their focus on time spent
19     watching, seized on this pattern and, within minutes, began recommending videos about eating

20

21    874
            Id.
22    875
            Id.
      876
23          Id.
      877
24          Id.
   878
       Deadly by Design, Center for Countering Digital Hate (Dec. 2022), https://counterhate.com/wp-
25 content/uploads/2022/12/CCDH-Deadly-by-Design_120922.pdf.
      879
26    Tawnell D. Hobbs, ‘The Corpse Bride Diet’: How TikTok Inundates Teens With Eating-Disorder
   Videos, Wall St. J. (Dec. 17, 2021), https://www.wsj.com/articles/how-tiktok-inundates-teens-with-
27 eating-disorder-videos-11639754848.

28                                                        245
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23     Page 251 of 325




 1     disorders and self-harm.

 2              756.   The CCDH report further illustrated TikTok’s algorithms at work, noting that, for an

 3     account that “Liked” videos about body image and mental health, the algorithms recommended

 4     similar material every 39 seconds. As the 30 minutes went on, TikTok recommended more videos

 5     related to eating disorders, suicide, and self-harm, as the graph below shows.

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19              757.   TikTok’s rabbit holes are particularly problematic for young people, whose

20     undeveloped frontal lobes lack the executive function and necessary impulse control to stop

21     watching. The more young users engage by viewing or hesitating on a particular video, the more

22     TikTok’s algorithms learn about the user.

23

24

25            ”880 ByteDance uses this feature to exploit the vulnerabilities of children and teenagers and

26

27    880
            UT AG Compl. at 42, para. 115.
28                                                     246
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23     Page 252 of 325




 1     addict them to its platform.

 2                758.   Indeed, ByteDance admits that its recommendation algorithms create a “risk of

 3     presenting an increasingly homogeneous stream of videos,” which feeds and creates addiction.881

 4                759.   Rather modifying the algorithms’ s relentless focus on engagement to prevent children

 5     from falling down these harmful rabbit holes or minimizing its reliance on addictive design

 6     techniques that keep them immersed in them, ByteDance threw up its hands, insisting “[i]t is not

 7     TikTok’s place to decide for people what is or is not ‘appropriate’ for them or their teens.”882

 8                760.   This course of conduct resulted in the United Kingdom’s Information Commissioner’s

 9     Office bringing a fine of £12.7 million ($15.8 million) for breaches of data protection law, including

10     the misuse of children’s personal data.883 The fine rested on TikTok’s failure to obtain authorization
11     from the appropriate responsible adults before processing and using children’s data, failure to
12     adequately inform users about how the platform uses and shares data, and failure “to ensure that
13     U.K. users’ information was processed lawfully and transparently.”884
14                761.   In addition to its’ reliance on algorithmic recommendations, ByteDance uses a series
15     of interrelated design features that exploit known mental processes to induce TikTok’s users to use
16     the platform more frequently, for more extended periods, and with more intensity (i.e., providing
17     more comments and “Likes”). ByteDance knows or should have known that children, whose brains
18     are still developing, are particularly susceptible to these addictive features.
19                762.   ByteDance designed the app so users cannot disable the auto-play function on the

20     FYP.885 As noted above, when a user opens the TikTok app or visits the TikTok website, the

21
   881
       How TikTok recommends videos #ForYou, TikTok (June 18, 2020),
22 https://newsroom.tiktok.com/en-us/howtiktok-recommends-videos-for-you.

23
      883
24    Tom Fish, TikTok Handed £12.7M UK Fine For Misusing Children’s Data, (Apr 4, 2023, 1:26
   PM BST) https://www.law360.com/articles/1593391/tiktok-handed-12-7m-uk-fine-for-misusing-
25 children-s-data.
      884
26          Id.
   885
       2 Best Ways You Can Turn off TikTok Autoplay, Globe Calls (Dec. 16, 2022),
27 https://globecalls.com/2-best-ways-you-can-turn-off-tiktok-autoplay/.

28                                                       247
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 253 of 325




 1     platform immediately begins playing a video on the user’s FYP. The user may request more videos

 2     with a simple upward swipe, and the platform will deliver a seemingly endless video stream. If a

 3     user does not proceed from a video, it continues to play on an endless loop. The ability to scroll

 4     continuously induces a “flow-state” and distorts users’ sense of time.

 5           763.   The TikTok app interface is designed with only a limited number of buttons and

 6     sections of the app for users to navigate, such that the design does not impede “flow.”

 7           764.   The FYP also leverages principles of IVR to encourage compulsive usage, in the same

 8     fashion as Instagram Reels. A user swipes to receive the next video, and each swipe offers the

 9     prospect (but not the certainty) of dopamine-releasing stimuli.

10           765.   The cumulative effect of these features is addictive, compulsive engagement. As
11     researchers at the Brown University School of Public Health explained:
12                  Although the similarity may not be immediately evident, analysis of social
                    media apps reveals that they are designed to function like slot machines —
13                  the “swipe down” feature required to refresh one’s feed mirrors pulling a
14                  slot machine lever, and the variable pattern of reward in the form of
                    entertaining videos on TikTok simulates the intermittent reward pattern of
15                  winning or losing on a slot machine; this pattern keeps individuals engaged
                    under the impression that the next play might be “the one.” . . . Provided
16                  that social media apps are functionally akin to slot machines, it is likely that
                    the use of these apps is just as addictive as slot machines and fosters social
17
                    media addiction, much like how slot machines contribute to gambling
18                  addiction.886

19           766.   Dr. Julie Albright, a Professor at the University of Southern California, similarly

20     explained that TikTok is so popular because users will “just be in this pleasurable dopamine state,

21     carried away. It’s almost hypnotic, you’ll keep watching and watching.” Users “keep scrolling,”

22     according to Dr. Albright, “because sometimes you see something you like, and sometimes you

23

24

25
      886
      Sophia Petrillo, What Makes TikTok so Addictive?: An Analysis of the Mechanisms Underlying
26 the World’s Latest Social Media Craze, Brown Univ. (Dec. 13, 2021),
   https://sites.brown.edu/publichealthjournal/2021/12/13/tiktok/.
27

28                                                    248
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23      Page 254 of 325




 1     don’t. And that differentiation—very similar to a slot machine in Vegas—is key.”887 TikTok also

 2     provides its own set of beauty enhancing filters, which cause insecurities and psychological injury

 3     in teens leading to body dysmorphia, eating disorder, self-harm, and in more severe cases, suicide.

 4                767.   Aza Raskin, the engineer who designed infinite scroll, described the feature as being

 5     “as if [social media companies are] taking behavioral cocaine and just sprinkling it all over your

 6     interface, and that’s the thing that keeps you coming back and back and back.” Because the infinite

 7     scroll does not “give your brain time to catch up with your impulses . . . you just keep scrolling.”888

 8                768.   To reinforce this addictive experience, ByteDance intentionally distorts the concept of

 9     time on its platform by omitting certain information such as when a user uploaded a video. Similarly,

10     TikTok’s UI is designed to cover the clock displayed at the top of some types of smartphones to
11     prevent users from keeping track of the time they spend on TikTok.889
12                769.   In June 2022, after receiving public criticism regarding its platform’s effects on
13     people’s mental health, ByteDance introduced various tools to purportedly encourage users to take
14     a break from infinite scrolling, such as a “Take a Break” reminder and time-limit caps. ByteDance
15     chose not to activate these tools by default
16                                               .890 Instead, TikTok merely “reminds” users that the Take A
17     Break tools exist once they have exceeded 100 minutes of usage a day.
18                770.   In March of 2023, TikTok announced additional measures to quell public further
19     criticism about the addictiveness of its platform. Once these changes are implemented, minors under

20     age 18 will by default have their use limited to one hour. However, this limit is only effective for

21     children whose accounts are paired with a parent’s account because it requires them to provide a

22
      887
23    John Koetsier, Digital Crack Cocaine: The Science Behind TikTok’s Success, Forbes (Jan. 18,
   2020), https://www.forbes.com/sites/johnkoetsier/2020/01/18/digital-crack-cocaine-the-science-
24 behind-tiktoks-success/?sh=765d1b4178be.
      888
25          Id.
      889
26       Louise Matsakis, On TikTok, There is No Time, Wired (October 3, 2019),
      https://www.wired.com/story/tiktok-time/.
27    890
            See UT AG Compl. at 16, para. 43.
28                                                        249
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 255 of 325




 1     code generated on the parent’s account to extend the time limit. Even then, minors can simply create

 2     another, anonymous, unpaired account to avoid this limitation and their parent’s oversight.

 3     Similarly, children with unpaired accounts can simply extend the time limit or even disable this

 4     feature themselves.

 5           771.    In addition to infinite scroll, ByteDance has designed TikTok so it has other design

 6     features that exploit social psychological impulses to induce children to use TikTok daily and for

 7     extended periods of time, adding to the platform’s addictive nature. Other features actively

 8     encourage users to generate ephemeral photos and videos. For example, users can post expiring

 9     “Stories,” short videos that disappear after 24 hours. These videos do not otherwise appear in a

10     user’s feed.891
11           772.    Another relatively new feature, “TikTok Now,” pushes daily notifications to users to
12     share “authentic, real-time images or 10-second videos at the same time as your friends.”892 This
13     feature is designed so that once a user gets the notification, the user has three minutes to post an
14     image or video. That user cannot view friends’ “TikTok Now” posts without sharing one of their
15     own, and posts submitted outside of the three-minute window are marked as “late.” TikTok
16     preserves a user’s TikTok Now history in a calendar view, which adds to the pressure to visit the
17     app daily.
18           773.    Like “Snap Streaks,” “TikTok Now” does not enhance the communication function of
19     the platform, but simply exploits young users’ susceptibility to persuasive design, teenage social

20     anxiety, and FOMO. ByteDance’s insidious design of “TikTok Now” also employs point scoring

21     and competition with others to drive frequent and continuous engagement by children, who

22     otherwise risk checking in late and alienating other peers participating in the exchange.

23           774.    ByteDance also designed TikTok to leverage the principle of IVR by encouraging

24
   891
       Hilary Anderson, Social media apps are ‘deliberately addictive to users, BBC (July 4, 2018),
25 https://www.bbc.com/news/technology-44640959.

26    892
         TikTok Now, TikTok, https://www.tiktok.com/creators/creator-portal/product-feature-
      updates/tiktok-now.
27

28                                                    250
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23     Page 256 of 325




 1     users to “like,” share, or reshare videos that others have created or posted. Receiving a “Like” or

 2     “Reshare” indicates that others approve of a user’s posts, and satisfies the user’s natural,

 3     developmentally predictable desire for acceptance. As discussed above, “Likes” activate the reward

 4     region of the brain and release dopamine to create a positive feedback loop.893 Users return to

 5     TikTok again and again, hoping for yet another pleasurable experience.894

 6           775.   In addition, ByteDance designed TikTok to use reciprocity to manipulate users into

 7     using the platform. One example is the “Duet” feature, which allows users to post a video side-by-

 8     side with a video from another TikTok user. Users utilize “Duet” to react to the videos of TikTok

 9     creators. ByteDance intends the response to engender a reciprocal response from the creator of the

10     original video, inducing them to return to the app.
11           776.   Other platform features that work in combination to cause addiction and other harms
12     include the following.
13           777.   First, a platform-imposed limit to the length of videos. Initially, the maximum video
14     time was 60 seconds. The limit was later increased to 3 minutes and is currently 10 minutes. This
15     limit is imposed to keep users in a flow-like focused state. A user is more likely to become bored
16     and end their session during a long video than during several varying videos. Video length limits in
17     Defendants’ platforms have conditioned users to have a shorter attention span across years of use.
18           778.   Second, the interface of TikTok positions buttons on the bottom right of the screen, to
19     avoid the milliseconds of delay of discomfort that could disrupt the flow-like state of the majority

20     right-handed users tapping the like or comment buttons if placed elsewhere on the screen. (3) Unlike

21     other platforms, TikTok continues to play a video’s audio, and the top quarter of the video, while

22     users view comments on the video. This design decision avoids disrupting a user’s heightened

23     focused “flow-state.” (5) TikTok’s interface places buttons and profiles overlaid on top of the

24
   893
       Rasan Burhan & Jalal Moradzadeh, Neurotransmitter Dopamine (DA) and its Role in the
25 Development of Social Media Addiction, 11(7) J. Neurology & Neurophysiology 507 (2020),

26 https://www.iomcworld.org/open-access/neurotransmitter-dopamine-da-and-its-role-in-the-
   development-of-social-media-addiction-59222.html.
27 894 Id.

28                                                    251
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR              Document 504        Filed 12/18/23      Page 257 of 325




 1     videos, rather than in a separate area. This design prevents there from being any barrier between

 2     videos (such as a horizontal bar across the screen on the bottom of one video and on top of the next)

 3     and prevents users from having any pause time between videos to evaluate whether they should

 4     continue using the app before more algorithmically selected videos are played on their screen. (6)

 5     Videos automatically start playing as a user scrolls. Videos automatically restart once they conclude.

 6     In some circumstances, such as when a user sends a link of a video on TikTok to another user that

 7     views it in a web browsing app, the next video after that video will automatically play without the

 8     user scrolling. (7) Upon opening the app, users’ view of the first video loaded is obstructed with a

 9     message saying, “swipe for more” and a graphic of a hand and figure swiping up. The user must

10     scroll down to see an unobstructed video. This design feature trains users to reflexively scroll to the
11     next video once one video ends. Thus, addiction is initiated by the app before the user even sees the
12     first piece of content.
13                       d.     TikTok inflicts impossible beauty standards on young users.

14                779.   ByteDance designed TikTok with image-altering filters that harm users. These filters
15     allow children to artificially change their appearance, for example, by lightening their skin and eyes,
16     giving them glowing tan skin, changing facial structure, or giving them larger lips or fluttering
17     eyelashes.
18                780.   Young people often compare their filtered images to their real-life appearance,
19     developing a negative self-image based on unrealistic, artificial images.895 Many young girls use
20     image-altering filters every day, with the filters subconsciously making them feel imperfect and
21     ugly and “reduc[ing] their self-compassion and tolerance for their own physical flaws.”896
22                781.   The desire to resemble a filtered ideal is so compelling that there are online tutorials
23     explaining how to recreate certain filters using makeup. Children’s idealization of their filtered
24     image is externally reinforced when the filtered images receive more “Likes,” comments, and other
25
      895
26      Anna Haines, From ‘Instagram Face’ To ‘Snapchat Dysmorphia’: How Beauty Filters Are
      Changing The Way We See Ourselves, Forbes (Apr. 27, 2021).
27    896
            Id.
28                                                        252
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 258 of 325




 1     interaction. Young people also compare these interaction “scores” to those of friends and celebrities

 2     who use filters, reinforcing the idea that beauty depends on matching a digital ideal.

 3

 4

 5

 6

 7

 8

 9

10

11

12

13           782.   The newest TikTok filter “Bold Glamour” uses artificial intelligence to subtly reshape

14     the user’s face, enlarging the eyes, lifting the cheek bones while thinning the cheeks, smoothing the

15     skin and plumping the lips. The result is a highly “idealized” yet realistic version of the user.

16     Moreover, the filter is difficult to detect since the effect moves with user movements in real time.

17

18

19

20

21

22

23

24

25
             783.   TikTok permits minors to use the Bold Glamour and other features without informing
26
       other users that the photos and/or videos have been re-touched or enhanced.
27

28                                                    253
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 259 of 325




 1                  e.      TikTok encourages dangerous, costly “challenges”.

 2           784.   Challenges are campaigns that compel users to create and post in TikTok certain types
 3     of videos, such as performing a dance routine or a dangerous prank. Challenge videos have been
 4     described as a “cornerstone” of TikTok and are among the most popular features of the platform.897
 5           785.   Challenges are incorporated into TikTok’s architecture and user interface. TikTok also
 6     actively promotes Challenges it determines to be the “best,” i.e., most likely to keep users engaged,
 7     challenges to its users and fosters the associated competition and social rewards to achieve near-
 8     continuous engagement with the platform. 898
 9

10

11

12

13

14

15

16

17

18

19

20           786.   ByteDance also encourages businesses to create challenges as a form of marketing,

21     explaining that challenges are “geared towards building awareness and engagement,” and “research

22     shows that they can deliver strong results” and increased return on ad spending “at every stage of

23

24

25

26    898
         See TIKTOK3047MDL-001-00000813 (“The algorithm is designed to surface viral content,
      regardless of its source.”).
27

28                                                    254
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23       Page 260 of 325




 1     the funnel.”899

 2           787.    The challenges promoted by TikTok include ones that specifically target school

 3     districts. For example, the “devious licks” challenge, discussed above, encourages students to

 4     damage and vandalize school property.900 As a result of this challenge, school districts have

 5     sustained property damage, ranging from stolen urinals to smashed floor tiles.

 6           788.    In response, schools have been forced to lock down bathrooms for large portions of

 7     the day.901 Other schools have resorted to diverting staff to monitor bathrooms during the school

 8     day.902 Repairing damages resulting from the Devious Licks challenge puts strain on schools that

 9     already have budget constraints. Even for schools that do not suffer property damage, responding

10     to threats of the challenge and communicating with students and families diverts significant time
11     away from classroom instruction and other administrative activities.
12           789.    Young users themselves also face serious harms, as the challenges’ stakes grow more
13     extreme and dangerous, a foreseeable consequence of TikTok’s engagement-driven design.
14     Numerous child users have injured or even killed themselves or others participating in viral pranks
15     to obtain rewards and increase the number of “Likes,” views, and followers.
16           790.    A study of adolescents and young adults who participated in dangerous challenges
17     found that “engaging in online challenges to gain likes and views was reported as highly important”
18     to the participants. The study also found that “participants overlooked or were unaware of the short-
19     term and long-term risks associated with the challenges.” Moreover, “participants also frequently

20
      899
       Branded Hashtag Challenge: Harness the Power of Participation, TikTok for Business (Mar.
21
   16, 2022), https://www.tiktok.com/business/en-US/blog/branded-hashtag-challenge-harness-the-
22 power-of-participation.
   900
       Megan Maples, “The ‘Devious Licks’ TikTok Challenge has Students Stealing Toilets and
23
   Vandalizing Bathrooms, CNN (Sept. 18, 2021), https://www.cnn.com/2021/09/18/health/devious-
24 licks-tiktok-challenge-wellness/index.html.
   901
       Id.
25
   902
       Viral ‘Devious Licks’ TikTok Challenge Encourages Kids to Steal from School, PBS (Oct. 25,
26 2021), https://www.pbs.org/newshour/show/viral-devious-licks-tiktok-challenge-encourages-kids-
   to-steal-from-school.
27

28                                                    255
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 261 of 325




 1     encouraged others to perform the same or similar challenges in their posts, thus potentially

 2     contributing to social media through propagating the challenge.”903

 3           791.   This is not news to ByteDance. Its own internal platform research has found that the

 4     number one most identified reason for teen participation in challenges is “[g]etting

 5     views/likes/comments,” followed by “[i]impressing others online.” ByteDance therefore knows, or

 6     should know, that young users’ quest for social acceptance will cause them to participate in

 7     dangerous online challenges to get “likes” or impress their peers. It is also foreseeable that the

 8     challenge architecture on TikTok will be used by young users to promote dangerous, destructive,

 9     and sometimes even deadly challenges.

10           792.   Deaths, injuries, and destruction of property are the result of design choices made by
11     ByteDance in the TikTok platform, including but not limited to (1) failure to verify age and identity
12     of users, which allowed children as young as 8 or 9 to see these dangerous challenges; (2) defaulting
13     the youngest users into public accounts, where some post dangerous stunts to increase their views
14     or “Likes”; (3) designing the TikTok algorithms to push this material to young children without
15     regard to safety; and (4) failing to include warnings to children or their parents that many of the
16     challenges users see on TikTok are dangerous and potentially fatal.
17           793.   Importantly, challenges are a key part of TikTok’s strategy to expand user engagement
18     through compulsive use. Challenges “go viral” in substantial part because users who have been
19     induced to use the platform compulsively are encouraged to copy the challenge and post a TikTok

20     video of themselves doing so. By TikTok’s design, this then induces other users to view the videos

21     and copy the challenge themselves.

22           5.     TikTok puts in place significant impediments to discontinuing use.

23           794.   Even if a user escapes the addictiveness of TikTok’s design and decides to delete their
24     account, ByteDance makes doing so a lengthy and complex undertaking. The deletion process is
25
      903
26    R. Roth, A Study on Adolescents’ and Young Adults’ TikTok Challenge Participation in TikTok
   in South India, Human Factors in Health Care (Dec. 2021).
27 https://www.sciencedirect.com/science/article/pii/S2772501422000021.

28                                                    256
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23       Page 262 of 325




 1     designed to encourage users to retain their accounts, even if their stated reason for deletion is that

 2     the platform is endangering their safety or health.

 3           795.    When a user selects the “Deactivate or delete account” in the “Account” section of the

 4     TikTok app, the user is presented an option: “Delete or deactivate?” Deactivating an account will

 5     preserve the user’s data, but hide it from the platform; deleting, on the other hand, will permanently

 6     delete all data associated with the account.

 7           796.    However, ByteDance designed TikTok so that deletion is not immediate. The data and

 8     account are preserved for 30 days, during which time the user can reactivate their account.

 9           797.    In addition, if a user selects the “Delete account permanently” option, the user is asked

10     “Why are you leaving TikTok?” The user must select from the following list: (1) I’m leaving
11     temporarily; (2) I’m on TikTok too much; (3) Safety or privacy concerns; (4) Too many irrelevant
12     ads; (5) Trouble getting started; (6) I have multiple accounts; or (7) Another reason.
13           798.    If a user selects “I’m on TikTok too much,” ByteDance makes a last-ditch effort to
14     retain the user by reminding the user that a limit can be set on the user’s watch time on the platform.
15     If a user selects “Safety or privacy concerns,” the user is provided a list of resources to “secure” the
16     account. If the user selects “[a]nother reason,” a written explanation must be provided. The only
17     option that does not provide or require further information is “I have multiple accounts.” ByteDance
18     isn’t worried about users deleting merely one account if they already have multiple others.
19           799.    Once a user selects a reason for deletion, the next screen prompts the user to download

20     their TikTok data.

21           800.    Then, TikTok requires the user to check a box at the bottom of the screen that says,

22     “[b]y continuing, you reviewed your data request and wish to continue deleting your account.” This

23     contrasts with the process of a user “agreeing” to the Terms of Service and Privacy Policy during

24     the registration process, which does not require a separate confirmation.

25           801.    Once the user reaffirms their desire to continue with the deletion process, the platform

26     takes the user to yet another screen, which once again asks whether the user wants to “delete this

27     account?” The text also explains that the account will be deactivated for 30 days, during which the

28                                                     257
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504        Filed 12/18/23      Page 263 of 325




 1     user may reactivate the account, and after 30 days, the account and data associated with it will be

 2     permanently deleted. It goes on to warn that if a user deletes the account, the user will no longer be

 3     able to do many things in the app.

 4           802.    Once a user again confirms that they want to delete their account, TikTok requires

 5     validation with a 6-digit code sent to the telephone number or email address associated with the

 6     account. Only after the user receives and enters the code may they finally “delete” their account

 7     (after waiting 30 days).

 8           803.    ByteDance’s account deletion process is inadequate for children attempting to escape

 9     its addictive and harmful platform. By requiring a child to go through multiple steps, while

10     repeatedly offering alternatives, as well as a list of things they are giving up, the process is designed
11     to convince them to change their mind rather than facilitate account deletion. Moreover, requiring
12     the user to maintain a deactivated account for 30 days, rather than deleting it on demand, increases
13     the chance that an addicted user will relapse and return to the app.
14           804.    ByteDance’s intentionally cumbersome deletion process prioritizes the retention of
15     young users, and ad revenue that they generate, over their well-being.
16           6.      TikTok facilitates the spread of CSAM and child exploitation.

17           805.    ByteDance has designed various TikTok features that promote and dramatically
18     exacerbate sexual exploitation, the spread of CSAM, sextortion, and other socially maladaptive
19     behavior that harms children.
20           806.     TikTok’s design features and ByteDance’s conduct exacerbating the spread of CSAM
21     causes Plaintiffs to be required to divert and increase resources and expenditures to provide
22     education, counselling, disciplinary and other social services to harmed minors.
23           807.    TikTok’s design features enable the spread of this illegal material, and it receives value
24     in the form of increased user activity for disseminating these materials on the platform.
25           808.    TikTok allows users to add a location to publicly shared videos of themselves.904
26
   904
       Location Information on TikTok, TikTok, https://support.tiktok.com/en/account-and-
27 privacy/account-privacy-settings/location-services-on-tiktok.

28                                                     258
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23     Page 264 of 325




 1     TikTok encourages the use of location services, “prompt[ing] [users] to turn on Location Services

 2     when [users] browse the For You feed.”

 3                809.   By providing access to a child user’s present physical location, ByteDance encourages

 4     predators to locate nearby children for purposes of sexual exploitation, sextortion, and CSAM.

 5                810.   TikTok also possesses a “Your Private Videos” feature where users can create and

 6     store private videos that are only visible to the user, better known as “Post-in-Private” accounts,

 7     where adult predators store, create, post, and share CSAM. Within days of following a small number

 8     of “Post-in-Private” accounts, TikTok’s algorithms begin recommending dozens of other “Post-in-

 9     Private” accounts to follow, making it easy for predators to view and share even more CSAM.905

10                811.   Another defective feature of TikTok is its livestream product, “TikTok LIVE.”
11     Although ByteDance’s policy restricts access to “TikTok LIVE” for anyone under eighteen,
12     TikTok’s inadequate age verification protocols make it easy for underage users to access this
13     feature.906
14                812.   Within “TikTok LIVE,” another feature called “LIVE Gifts” allows “viewers to react
15     and show their appreciation for [] LIVE content in real-time.”907 TikTok then awards “Diamonds”
16     to LIVE creators based on the popularity of their content. “One way for creators to collect
17     “Diamonds is to receive Gifts from viewers on [their] LIVE videos.” Creators awarded “Diamonds”
18     “may obtain a Reward Payment in money or in virtual items.”908
19                813.   ByteDance’s design of the “LIVE Gifts” and “Diamonds” rewards greatly increases

20     the risk of adult predators targeting adolescent users for sexual exploitation, sextortion, and CSAM.

21     According to Leah Plunket, an assistant dean at Harvard Law School, “TikTok LIVE” is “the digital

22
      905
23          Id.
      906
24        What is TikTok LIVE?, TikTok, https://support.tiktok.com/en/live-gifts-wallet/tiktok-live/what-is-
      tiktok-live.
25    907
       LIVE Gifts on TikTok, TikTok, https://support.tiktok.com/en/live-gifts-wallet/tiktok-live/live-
26 gifts-on-tiktok.
   908
       Id.
27

28                                                       259
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23     Page 265 of 325




 1     equivalent of going down the street to a strip club filled with 15-year-olds.”909 “Livestreams on

 2     [TikTok] are a popular place for men to lurk and for young girls—enticed by money and gifts—to

 3     perform sexually suggestive acts.”910

 4                814.   Another of TikTok’s features enables predators to communicate privately with youth,

 5     with virtually no evidence of what was exchanged. The private messaging or “Direct messaging”

 6     feature allows a user to send a direct private message to another user. Predators use these messages

 7     to identify children willing to respond to a stranger's message and then prey on the child’s

 8     vulnerabilities.

 9                815.   Although TikTok’s features enable predators, TikTok does not have any feature to

10     allow users to specifically report CSAM.911
11                816.   Federal law mandates that ByteDance reports suspected CSAM to NCMEC under 18
12     U.S.C. § 2258A. For example, TikTok publicly announced to the Office of the United Nations High
13     Commissioner for Human Rights that it was using NCMEC’s image hashing technology to detect
14     CSAM material, but
15
                                                                                                        912
16                                                                                                            In
17     violation of 18 U.S.C. § 2258A, ByteDance knowingly fails to report massive amounts of material
18     in violation of 18 U.S.C. § 2256 and 18 U.S.C. § 1466A.
19                817.   ByteDance knowingly fails to take feasible, adequate, and readily available measures

20     to remove these contraband materials from its platform in a timely fashion. TikTok has

21
      909
22     Alexandra Levine, How TikTok Live Became a Strip Club Filled with 15 Year Olds, Forbes (Apr.
   27, 2022), https://www.forbes.com/sites/alexandralevine/2022/04/27/how-tiktok-live-became-a-
23 strip-club-filled-with-15-year-olds/?sh=5d6cf08d62d7.
      910
24          Id.
   911
       Canadian Centre for Child Protection, Reviewing Child Sexual Abuse Material Reporting
25 Functions on Popular Platforms,

26 https://protectchildren.ca/pdfs/C3P_ReviewingCSAMMaterialReporting_en.pdf.
      912
            UT AG Compl. at 36, para. 97.
27

28                                                       260
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504          Filed 12/18/23     Page 266 of 325




 1     acknowledged internally that the problem continues to grow out of control, in large part because it

 2     never implemented its promises to launch detection and reporting strategies for sexual abuse

 3     material. As one TikTok team leader put it:

 4

 5                                                                         .913
 6
                818.
 7

 8

 9

10

11

12
                                                 .914
13
                819.
14

15

16

17
                  915
18
                820.
19

20
                                                                                          ”916
21
                821.
22

23

24    913
            Id. at 34, para. 90.
      914
25          Id. at 35, para. 93.
      915
26          Id. at 36, para. 94.
      916
            Id. at 36, para. 95.
27

28                                                      261
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504        Filed 12/18/23     Page 267 of 325




 1

 2

 3                                 .917 Similarly, users have reported “Post-in-Private” CSAM videos to TikTok,

 4     and ByteDance responded that no violations of its policy were found. One user searched for and

 5     contacted multiple TikTok employees to sound the alarm that CSAM was being created and shared

 6     within TikTok’s “Post-in-Private” accounts. This user did not receive a single response to her

 7     concerns.918

 8              822.     ByteDance nonetheless continues to make false representations that they will “take

 9     immediate action to remove content, terminate accounts, and report cases to NCMEC and law

10     enforcement as appropriate.”919
11              823.     ByteDance gains revenue for every daily user on TikTok in North America. Each user
12     and their data are worth income, and ByteDance continues to benefit financially from predators who
13     commit sexual abuse against children and/or share CSAM using ByteDance’s platform.
14              7.       ByteDance failed to adequately warn Plaintiffs and the public about the harms
                         its platform causes and failed to provide instructions regarding safe use.
15
                824.     Bytedance has failed to adequately warn the public, including Plaintiffs and the
16
       children and parents within their schools and communities, about the physical and mental health
17
       risks posed by its platforms, and the increased resources that Plaintiffs would need expend to address
18
       the youth mental health crisis it caused. The risks to minors include a plethora of mental health
19
       disorders, such as compulsive use, addiction, eating disorders, anxiety, depression, insomnia,
20
       exacerbated executive dysfunction, sexual exploitation from adult users, suicidal ideation, self-
21
       harm, and death. The risks to Plaintiffs include having to increase and divert human and financial
22

23
      917
24          Id. at 36, para. 99.
   918
       Gracelynn Wan, These TikTok Accounts Are Hiding Child Sexual Abuse Material In Plain Sight,
25 Forbes (Nov. 14, 2022), https://www.forbes.com/sites/alexandralevine/2022/11/11/tiktok-private-

26 csam-child-sexual-abuse-material/?sh=290dbfa63ad9
   919
       Protecting Against Exploitative Content, TikTok, https://newsroom.tiktok.com/en-us/protecting-
27 against-exploitative-content.

28                                                         262
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504        Filed 12/18/23      Page 268 of 325




 1     resources to address the mental health and disciplinary issues of students and minors in their

 2     communities as Plaintiffs seek to fulfill their mission (and obligation) to provide America’s youth

 3     with educational, counselling, health, and other social and disciplinary services and public facilities.

 4           825.      Bytedance knew or should have known its design choices and conduct would have a

 5     detrimental effect on the wellbeing of youth in Plaintiffs’ schools and communities, and would lead

 6     to Plaintiffs’ increased expenditures and diverted resources and should have warned of such.

 7           826.      ByteDance targets young users via advertising and marketing materials distributed

 8     throughout traditional as well as digital media, including other social media platforms. ByteDance

 9     fails to provide adequate warnings in advertising and marketing campaigns to the public or potential

10     adolescent consumers of the physical and mental harms associated with using TikTok.
11           827.      Despite its funny, cheerful ads featuring smiling families and funny images, TikTok,
12     as designed, presents serious risks to young users on the platform, through its distinctive and
13     manipulative platform features, including a lack of adequate age and identity verification tools, as
14     well as inadequate parental controls.
15           828.      ByteDance fails to adequately warn young users of these risks beginning with the first
16     stages of the platform registration process. At account setup, TikTok contains no warning labels,
17     banners, or conspicuous messaging to adequately inform adolescent users of platform risks,
18     potential dangers, and physical and mental harm associated with usage of the platform. Instead,
19     ByteDance allows underage users to easily create an account (or multiple accounts) and fully access

20     the platform.

21           829.      ByteDance’s failure to adequately warn young users about the risks of the platform

22     continues even if they display signs of addiction or habitual and compulsive use. Besides the

23     disabled by default “Take a Break” reminder, ByteDance does not warn users when their screen

24     time reaches harmful levels or when young users are accessing the platform on a habitual basis.

25           830.      Not only does ByteDance fail to adequately warn users about the risks associated with

26     TikTok, but it also does not provide sufficient instructions on how children can safely use the

27     platform. A reasonable and responsible company would instruct children on best practices and

28                                                     263
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23       Page 269 of 325




 1     safety protocols when using a platform known to contain danger and health risks.

 2           831.   ByteDance also failed to warn Plaintiffs about the dangerous, addictive nature of its

 3     platform, the resulting harms that occur from use of its platforms, and that Plaintiffs would be

 4     required to divert and expend additional human and financial resources to provide support to harmed

 5     minors through education, counseling, mental health, and other social, and disciplinary services

 6     required to be provided by Plaintiffs to address the youth mental health crisis.

 7           832.   ByteDance’s failure to properly warn and instruct adolescent users and their parents

 8     as well as its failure to warn Plaintiffs has proximately caused significant harm to Plaintiffs, who

 9     have expended and continue to expend, significant resources addressing the impact of ByteDance’s

10     conduct on Plaintiffs’ operations, including expending additional resources to provide support to
11     impacted children and families.
12           8.     ByteDance Knows That TikTok Harms Many Young Users.

13           833.   ByteDance has a Trust and Safety division charged with identifying issues in the
14     TikTok platform that are injurious to young users, monitoring malign and exploitative videos sent
15     to young users, and recording, analyzing, and tabulating the mental and physical injuries young
16     users sustain through their use of the TikTok platform.
17           834.   TikTok Trust and Safety division personnel have engaged in thousands of
18     communications through Lark discussing safety and health concerns arising from young users’
19     addictive use of the TikTok platform; algorithmic designs that direct TikTok users to malign videos
20     promoting depression, suicidality, eating disorders and negative body image; dangerous and deadly
21     TikTok challenges; sexual exploitation of minor users; and the exchange of CSAM on TikTok.
22     These concerns have been shared throughout the highest levels of TikTok Inc. and with engineers
23     at ByteDance, Ltd. who designed the TikTok platform.
24           835.   TikTok is fully aware of the risks its platform poses for adolescents and acknowledges
25     that children are
26

27

28                                                    264
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504        Filed 12/18/23     Page 270 of 325



                920
 1                    Specifically, TikTok’s head of Mental Health Policy has acknowledged that

 2

 3

 4

 5

 6

 7

 8
                                                                                              921

 9

10 E.          FACTUAL ALLEGATIONS AS TO GOOGLE
11             836.     Eric Schmidt, the former CEO of Google and more recently, parent company
12      Alphabet, Inc., recently acknowledged the powerful, and purposeful, addictive effect of social
13      media. Social media platforms are about “maximizing revenue,” Mr. Schmidt said, and the best way
14      to maximize revenue is to “maximize engagement.” As Mr. Schmidt continued, in pursuit of their
15      goal of maximizing engagement to increase revenues, social media platforms “play[] into the
16      addiction capabilities of every human.”922
17             837.     Google’s YouTube platform is no exception. It includes specific, carefully calibrated
18      features that are known to exploit the mental processes of its users to keep them engaged for as long,
19      as frequently, and as intensely as possible. Google knows that children and teenagers who flock in
20      droves to its YouTube platform are particularly susceptible to these features. The impact of
21      YouTube’s addictive power on American youth has been devastating.
22             1.       Background and overview of YouTube.
23             838.     YouTube is a social media platform that allows users to post and consume countless
24

25    920
            TIKTOK3047MDL-001-00061434.
      921
26          UT AG Compl. at 18-19, ¶ 52.
   922
       Issie Lapowsky, Eric Schmidt: Social Media Companies ‘Maximize Outrage’ for Revenue,
27 Protocol (Jan. 6, 2022), https://www.protocol.com/bulletins/eric-schmidt-youtube-criticism.

28                                                      265
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504       Filed 12/18/23    Page 271 of 325




 1     hours of videos about virtually any topic imaginable. YouTube is available without any age

 2     verification feature or adequate parental controls, and comes pre-installed in many Smart-TVs,

 3     mobile devices, various digital media players like Roku, and video game consoles like PlayStation,

 4     Wii, Xbox and Nintendo.

 5           839.      YouTube allows users to search for specific videos. It also employs a powerful

 6     algorithm that exploits detailed user information to target each individual user with hours upon

 7     hours of videos recommended by YouTube.

 8           840.      A group of design experts and computer scientists created YouTube and launched the

 9     platform for public use in December 2005.

10           841.      Technology behemoth Google quickly recognized YouTube’s huge profit potential.
11     In 2006, just a year after YouTube’s launch, Google acquired YouTube for more than $1.65 billion
12     in Google stock. At the time, Google’s acquisition of YouTube was one of the largest-ever tech
13     acquisitions.
14           842.      YouTube primarily generates revenue by selling advertising. The more people who
15     use YouTube and spend time on the site, the more ads YouTube can sell.923 The ads are then
16     embedded or placed within the endless stream of videos recommended to the user by YouTube’s
17     algorithms.
18           843.      By 2012, YouTube users were watching close to four billion hours of video every
19     month. Yet, the average YouTube user spent just fifteen minutes daily engaged with the platform.924

20     Users “were coming to YouTube when they knew what they were coming to look for.”925 They

21

22    923
       Mark Bergen, YouTube Executives Ignored Warnings, Letting Toxic Videos Run Rampant,
   Bloomberg (Apr. 2, 2019), https://www.bloomberg.com/news/features/2019-04-02/youtube-
23
   executives-ignored-warnings-letting-toxic-videos-run-rampant.
24 924 John Seabrook, Streaming Dreams: YouTube Turns Pro, New Yorker (Jan. 16, 2012),
   https://www.newyorker.com/magazine/2012/01/16/streaming-dreams.
25
   925
       Casey Newton, How YouTube Perfected the Feed, Verge (Aug. 30, 2017),
26 https://www.theverge.com/2017/8/30/16222850/youtube-google-brain-algorithm-video-
   recommendation-personalized-feed.
27

28                                                    266
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504       Filed 12/18/23     Page 272 of 325




 1     employed the platform to identify and watch certain videos, and then they were done.

 2           844.   To drive greater revenue, “YouTube . . . set a company-wide objective to reach one

 3     billion hours of viewing a day[.]”926

 4           845.   As Susan Wojcicki, YouTube’s CEO explained, the goal of a “billion hours of daily

 5     watch time gave our tech people a North Star.”927

 6           846.   Google decided that “the best way to keep eyes on the site” was to introduce a feature

 7     that would “[recommend] videos, [that were playing] or after one was finished.”928

 8           847.   That new platform feature uses a recommendation algorithm to identify and push

 9     additional videos to users, which YouTube plays automatically through a feature called “autoplay.”

10     Autoplay begins the next video as soon as the previous video ends, creating a constant stream to
11     keep users watching.
12           848.   Google’s design changes worked. Today, YouTube “has over 2 billion monthly
13     logged-in users.”929 And that 2 billion figure does not capture all platform usage because YouTube,
14     by design, allows users to consume videos without logging in or registering an account.
15           2.     Google intentionally encourages youth to excessively use YouTube and then
                    leverages that use to increase revenue.
16
             849.   Google knows that children and teenagers use YouTube in greater proportions than
17
       older demographics. YouTube now ranks as the world’s most popular social media platform for
18
       minors. According to one recent report, more than 95% of children ages 13-17 have used
19

20

21    926
       Mark Bergen, YouTube Executives Ignored Warnings, Letting Toxic Videos Run Rampant,
22 Bloomberg (Apr. 2, 2019), https://www.bloomberg.com/news/features/2019-04-02/youtube-
   executives-ignored-warnings-letting-toxic-videos-run-rampant.
23 927
       Id.
24 928 John Koetsier, Digital Crack Cocaine: The Science Behind TikTok’s Success, Forbes (Jan. 18,
   2020), https://www.forbes.com/sites/johnkoetsier/2020/01/18/digital-crack-cocaine-the-science-
25 behind-tiktoks-success/?sh=765d1b4178be.

26    929
         The Most Surprising Youtube Channel Statistics and Trends in 2023, Gitnux Blog (March 24,
      2023), https://blog.gitnux.com/youtube-channel-statistics/.
27

28                                                   267
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23     Page 273 of 325




 1     YouTube.930 Nearly 20% of U.S. teens use YouTube “almost constantly.”931 Among U.S. teenagers

 2     who regularly use social media, 32% “wouldn’t want to live without” YouTube.932

 3                850.   Rather than ensuring minors are not inappropriately or excessively using YouTube,

 4     Google has sought to dominate their attention.

 5                851.   YouTube’s age controls are ineffective (or non-existent, since registration is not

 6     required). In addition, Google has developed and marketed a version of YouTube, YouTube Kids,

 7     explicitly targeted at children under 13. Google developed this platform to encourage early—and

 8     therefore lasting—adoption of YouTube by children.

 9                852.   Google knows that a robust and committed base of young users is key to maximizing

10     advertising revenue. Indeed, it has aggressively touted its hold on child users to advertisers.
11                853.   In 2014, for example, Google pitched its YouTube platform to Hasbro, a popular toy
12     manufacturer, and specifically boasted of the platform’s immense popularity among children, noting
13     that it was “unanimously voted as the favorite website of kids 2-12” and that “93% of tweens” use
14     the platform.933
15                854.   In 2015, Google gave a similar presentation to toy manufacturer Mattel, the maker of
16     Barbie and other popular kids’ toys, highlighting children’s widespread use of YouTube to persuade
17     Mattel to display digital ads on the site.934
18                855.   The FTC has aptly summarized Google’s pitch to advertisers concerning the value of
19
      930
20       Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug. 10, 2022),
      https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-technology-2022.
21    931
            Id.
22    932
       Victoria Rideout et al., Common Sense Census: Media Use by Tweens and Teens, 2021 at 31,
   Common Sense Media (2022),
23
   https://www.commonsensemedia.org/sites/default/files/research/report/8-18-census-integrated-
24 report-final-web_0.pdf.
   933
       Complaint for Permanent Injunction, Civil Penalties, and Other Equitable Relief, FTC v. Google
25 LLC et al., No. 1::19-cv-02642-BAH, at 6 (D.D.C. Sept. 4, 2019) Dkt. #1-1 (“FTC Complaint”)

26 https://www.ftc.gov/system/files/documents/cases/youtube_complaint_exhibits.pdf.
      934
            FTC Complaint, at 3.
27

28                                                       268
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504       Filed 12/18/23      Page 274 of 325




 1     its youth user base.935 For example, Google boasted that YouTube “is today’s leader in reaching

 2     children aged 6-11;” “the new ‘Saturday Morning Cartoons’;” “and the #1 website regularly visited

 3     by kids.”936

 4           856.     Many of YouTube’s most-viewed videos are kid-focused, and the most subscribed to

 5     and highest-paid YouTubers are children. With over 12 billion views, “Baby Shark Dance,” a video

 6     aimed at toddlers, is the most viewed video in the history of YouTube – and it and five other child-

 7     focused videos make up the top ten YouTube videos of all time.937 Child creators also dominate top-

 8     earner lists year after year. Ryan Kaji of Ryan’s World (f/k/a Ryan ToysReview), a channel

 9     featuring now 12-year-old Ryan Kaji unboxing children’s toys, has been among YouTube’s Top 10

10     most-subscribed channels in the United States since 2016.938 Ryan started Ryan’s World in 2015
11     when he was only 3. By 2017, his videos had over 8 billion views, and by 2018, he was the highest-
12     earning YouTuber in the world.939
13

14    935
       Google and YouTube Will Pay Record $170 Million for Alleged Violations of Children’s Privacy
   Law, FTC (Sept. 4, 2019), https://www.ftc.gov/news-events/news/press-releases/2019/09/google-
15
   youtube-will-pay-record-170-million-alleged-violations-childrens-privacy-law. (”YouTube touted
16 its popularity with children to prospective corporate clients”, said FTC Chairman Joe Simons.)
   936
       FTC Complaint at 3,12, and 6-7.
17
   937
       Most Viewed Videos of All Time • (Over 700M views) - YouTube.
18 https://www.youtube.com/playlist?list=PLirAqAtl_h2r5g8xGajEwdXd3x1sZh8hC.
      938
19     Madeline Berg, The Highest-Paid YouTube Stars of 2019: The Kids Are Killing It, Forbes (Dec.
   18, 2019), https://www.forbes.com/sites/maddieberg/2019/12/18/the-highest-paid-youtube-stars-of-
20 2019-the-kids-are-killing-it/?sh=4c3df9a438cd; Madeline Berg, The Highest-Paid YouTube Stars
   2017: Gamer DanTDM Takes The Crown With $16.5 Million, Forbes (Dec. 7, 2017),
21 https://www.forbes.com/sites/maddieberg/2017/12/07/the-highest-paid-youtube-stars-2017-gamer-

22 dantdm-takes-the-crown-with-16-5-million/?sh=72de79413979.
   939
       https://www.forbes.com/sites/maddieberg/2017/12/07/the-highest-paid-youtube-stars-2017-
23 gamer-dantdm-takes-the-crown-with-16-5-million/?sh=72de79413979 Gamer DanTDM Takes The

24 Crown With $16.5 Million, Forbes (Dec. 7, 2017),
   https://www.forbes.com/sites/maddieberg/2017/12/07/the-highest-paid-youtube-stars-2017-gamer-
25 dantdm-takes-the-crown-with-16-5-million/?sh=72de79413979; Natalie Robehmed & Madeline
   Berg, Highest-Paid YouTube Stars 2018: Markiplier, Jake Paul, PewDiePie And More, Forbes
26 (Dec. 3, 2018), https://www.forbes.com/sites/natalierobehmed/2018/12/03/highest-paid-youtube-
   stars-2018-markiplier-jake-paul-pewdiepie-and-more/?sh=7d909c3f909a.
27

28                                                   269
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23      Page 275 of 325




 1                857.   As with other Defendants, once Google lures children in, it then mines them (and all

 2     other users) for a breathtaking amount of behavioral data. Google’s current privacy policy, which

 3     includes the YouTube platform’s data collection, reveals how sweeping this data collection is. It

 4     states that Google tracks:

 5                       a.     “information about the apps, browsers, and devices you use to access Google
                                services . . . includ[ing] unique identifiers, browser type and settings, device
 6                              type and settings, operating system, mobile network information including
                                carrier name and phone number, and application version number. We also
 7
                                collect information about the interaction of your apps, browsers, and devices
 8                              with our services, including IP address, crash reports, system activity, and the
                                date, time, and referrer URL of your request.”
 9
                         b.     “your activity in our services . . . includ[ing] Terms you search for[;] Videos
10                              you watch[;] Views and interactions with content and ads[;] Voice and audio
                                information[;] Purchase activity[;] People with whom you communicate or
11
                                share content[;] Activity on third-party sites and apps that use our services[;]
12                              and Chrome browsing history you’ve synced with your Google Account.”

13                       c.     “Your location information [including] GPS and other sensor data from your
                                device[;] IP address[;] Activity on Google services, such as your searches and
14                              places you label like home or work[;] [and] Information about things near your
                                device, such as Wi-Fi access points, cell towers, and Bluetooth-enabled
15
                                devices;”940
16
                  858.   Google’s privacy policy also indicates that, like other Defendants, it purchases data
17
       about its users from data brokers, which it euphemistically refers to as “trusted partners” or
18
       “marketing partners.”941
19
                  859.   As with other Defendants, YouTube’s collection and analysis of user data allows it to
20
       assemble virtual dossiers on its users, covering hundreds if not thousands of user-specific data
21
       segments. This, in turn, allows advertisers to micro-target marketing and advertising dollars to very
22
       specific categories of users, who can be segregated into pools or lists using YouTube’s data
23
       segments. Advertisers purchase ad real estate space on users’ feeds, which allows them to place the
24
       right ads in front of these micro-targeted segments of users—including children, both in the main
25

26    940
            Information Google Collects. https://policies.google.com/privacy?hl=en#infocollect.
27    941
            Id.
28                                                       270
                                                                             PLAINTIFFS’MASTER COMPLAINT
                                                                  (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                 CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23       Page 276 of 325




 1     YouTube frame and in the YouTube Kids platform. Only a fraction of these data segments come

 2     from material knowingly designated by users for publication or explicitly provided by users in their

 3     account profiles. Instead, many of these data segments are collected by YouTube through

 4     surveillance of each user’s activity while using the platform and even when logged off the

 5     platform.942

 6           860.     As with Meta, Google’s data policy does not inform users that the more time

 7     individuals spend using YouTube, the more ads Google can deliver and the more money it can

 8     make, or that the more time users spend on YouTube, the more YouTube learns about them, and the

 9     more it can sell to advertisers the ability to micro-target highly personalized ads.

10           861.     Google’s secret virtual dossiers on its users, including child users, fuel its algorithms.
11     The company relies on this data—including data plainly reflecting use by children—to train its
12     algorithms. A Google engineer explained in a 2014 presentation:
13                    What do I mean by a training example? It’s a single-user experience. On
                      YouTube, perhaps it’s that one [Thomas the Tank Engine] webpage my son
14                    saw six months ago, along with all the recommendations that we showed
15                    him. We also record the outcome to know whether the recommendations we
                      made are good or whether they’re bad. That’s a single training exercise. On
16                    a large property, you can easily get into hundreds of billions of these.943

17 The engineer illustrated this with a slide, excerpted below, presenting how algorithmic analysis both

18 structured the format of recommendations of Thomas the Tank Engine YouTube videos and

19 provided information to inform algorithmic training through user engagement:

20

21

22

23

24
   942
       About Targeting for Video Campaigns, Google,
25 https://support.google.com/youtube/answer/2454017?hl=en.
      943
26    Alex Woodie, Inside Sibyl, Google’s Massively Parallel Machine Learning Platform, Datanami
   (Jul. 17, 2014), https://www.datanami.com/2014/07/17/inside-sibyl-googles-massively-parallel-
27 machine-learning-platform/.

28                                                      271
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504      Filed 12/18/23     Page 277 of 325




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17
             862.     Through these and other efforts, YouTube has delivered massive amounts of
18
       advertising revenue to Google. In 2021 alone, YouTube generated about $29 billion in revenue
19
       selling ads on its site.944
20
             3.       Google intentionally designed platform features to addict children and
21                    adolescents.
22
             863.     Google devised and continues to employ interrelated platform features to increase
23

24    944
      Andrew Hutchinson, YouTube Generated $28.8 Billion in Ad Revenue in 2021, Fueling the
25 Creator Economy, Social Media Today (Feb. 2, 2022),
   https://www.socialmediatoday.com/news/youtube-generated-288-billion-in-ad-revenue-in-2021-
26 fueling-the-creator/618208/; Jennifer Elias, YouTube Is a Media Juggernaut That Could Soon Equal
   Netflix in Revenue, CNBC (Apr. 27, 2021), https://www.cnbc.com/2021/04/27/youtube-could-soon-
27 equal-netflix-in-revenue.html.

28                                                  272
                                                                        PLAINTIFFS’MASTER COMPLAINT
                                                             (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                            CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23     Page 278 of 325




 1     usage and maximize engagement by teenagers and children. Simply put, YouTube’s platform

 2     features are engineered to induce excessive use and to addict adolescents and children to the

 3     platform.

 4                   a.     Google’s age-verification measures and parental controls are ineffective.

 5           864.    Google’s strategy to entrench minor users begins with access. The company purports
 6     to impose a minimum age requirement and claims to verify the age of its users. But those features
 7     are ineffective, as they do little to prevent children and teenagers from using the platform.
 8           865.    Anyone with access to the Internet, regardless of age, can use YouTube and access
 9     every video available through the platform without registering an account or verifying their age.
10     YouTube does not even ask for age information before allowing users to consume YouTube videos.
11           866.    A user needs an account to post videos or like (or comment) on videos. But to get one,
12     a user needs only enter a valid email address and a birthday. Google does nothing to verify the
13     birthday entered by users in the U.S.—and the platform freely permits users to change their
14     birthdays in their account settings after creating an account.
15           867.    YouTube’s ineffective age verification feature means that Google fails to protect
16     children from other platform features discussed below that Google knows to be harmful to kids.
17           868.    For example, for users 13-17, Google claims to disable YouTube’s autoplay feature.
18     However, that measure is virtually meaningless because children can use YouTube without logging
19     into any account or by logging in but misreporting their age.
20           869.    Even if children use YouTube Kids, that platform contains many of the same problems
21     YouTube does, including a harmful, manipulative algorithm, as discussed below.
22

23

24

25

26

27

28                                                    273
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504       Filed 12/18/23      Page 279 of 325




 1          870.    Google cannot credibly claim that it is unaware of the fact and extent of youth usage

 2     of YouTube. Google’s system can “identify children as being much younger than 13.”945 According

 3     to Tracking Exposed, YouTube can rapidly identify a user as a child.946

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21          871.    Google engineers have publicly admitted YouTube’s algorithms tracks user age. As
22     Google engineers outlined in a 2016 paper on YouTube’s recommendation system, “[d]emographic
23     features are important for providing priors so that the recommendations behave reasonably for new
24

25    945
       Tracking Exposed Special Report: Non-Logged-In Children Using YouTube at 6 (July 1, 2022),
26 https://tracking.exposed/pdf/youtube-non-logged-kids-03July2022.pdf.
   946
       Id.
27

28                                                  274
                                                                        PLAINTIFFS’MASTER COMPLAINT
                                                             (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                            CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 280 of 325




 1     users. The user’s geographic region and device are embedded and concatenated. Simple binary and

 2     continuous features such as the user’s gender, logged-in state and age are input directly into the

 3     network as real values normalized to [0; 1].”947

 4           872.    The Tracking Exposed Report indicates that there is “strong evidence” that Google’s

 5     systems continue to refine and develop a more precise estimate for under 18 users, but the platform

 6     does not “redirect them to YouTube Kids.”948

 7                   b.     YouTube is designed to inundate users with features that use intermittent
                            variable rewards and reciprocity.
 8
             873.    Google uses a series of interrelated design features that exploit known mental
 9
       processes to induce YouTube’s users to use the platform more frequently, for more extended
10
       periods, and with more intensity (i.e., providing more comments and likes). Google knows children
11
       and adolescents, whose brains are still developing, are particularly susceptible to these addictive
12
       features.
13
             874.    These can be grouped as design features that dictate the app’s presentation and those
14
       that use individual user data as a weapon of addiction. Google designed its YouTube platform to be
15
       visually addicting to child users. When children and teenagers use it, they are inundated with
16
       interface design features specifically designed to dominate their attention and encourage excessive
17
       use. Every aspect of how YouTube presents the format of a given page with a video is structured to
18
       ensure unimpeded viewing of the videos, alongside Download, Like, and Share buttons, plus
19
       recommendations for more videos to watch. The organization of these features is carefully
20
       calibrated to adjust to the space constraints of a user’s device, such that minimal effort is needed to
21
       watch a video unimpeded. YouTube even has an ambient mode that uses dynamic color sampling
22
       so that the YouTube platform adapts to the video being watched and the user is not distracted by the
23

24
   947
       Paul Covington et al., Deep Neural Networks for YouTube Recommendations, Google (2016),
25 https://storage.googleapis.com/pub-tools-public-publication-data/pdf/45530.pdf.

26    948
         Tracking Exposed Special Report: Non-Logged-In Children Using YouTube at 6, 19 (July 1,
      2022), https://tracking.exposed/pdf/youtube-non-logged-kids-03July2022.pdf.
27

28                                                     275
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504       Filed 12/18/23     Page 281 of 325




 1     video’s borders.949

 2           875.     Like the other Defendants, Google has designed YouTube with features that exploit

 3     endless troves of user data and neuropsychology to maximize the time users (including children)

 4     spend using the platform.

 5                                  (i)    IVR Features.

 6           876.     IVR features, such as notifications and Likes, compel YouTube creators and

 7     consumers, particularly children, to use the platform habitually and excessively. For example, in

 8     order to create and upload videos to YouTube, a user under 13 may submit a fictitious birthdate to

 9     gain access to posting privileges. Once the young user has a logged–in account, they can receive

10     notifications and Likes. For example, the logged-in user can subscribe to various YouTube channels,
11     which in turn will send them notifications from various channels they follow. Similarly, young
12     creators who upload videos to YouTube can track the Likes received by the video. These features
13     psychologically reward creators who upload videos to YouTube. As explained above, receiving a
14     “Like” shows others’ approval and activates the brain’s reward region.950 Thus, users’ ability to
15     Like videos encourages creators to use the platform compulsively, seeking additional pleasurable
16     experiences.
17           877.     YouTube uses two design features that induce flow state. The first is its panel of
18     recommended videos. YouTube recommends videos both on the home page and on each video page
19     in the “Up Next” panel.951 This panel pushes an endless stream of videos that YouTube’s algorithms

20     select and “suggest” to keep users watching by teasing a pipeline of upcoming videos.

21           878.     The second feature is Autoplay, which complements the Up Next panel and seamlessly

22

23    949
       YouTube rolling out black dark theme, ‘Ambient Mode,’ and other video player updates (Oct.
24 24, 2022). https://9to5google.com/2022/10/24/youtube-ambient-mode/.
   950
       See, e.g., Lauren E. Sherman et al., The Power of the Like in Adolescence: Effects of Peer
25 Influence on Neural and Behavioral Responses to Social Media, 27(7) Psych. Sci. 1027–35 (July

26 2016), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5387999/.
   951
       Recommended Videos, YouTube, https://www.youtube.com/howyoutubeworks/product-
27 features/recommendations/.

28                                                   276
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504       Filed 12/18/23      Page 282 of 325




 1     takes users through the list of upcoming videos without users having to affirmatively click on or

 2     search for other videos. This constant video stream—comprised of videos recommended by

 3     YouTube’s algorithms—is the primary way Google increases the time users spend using its

 4     platform. This endless video succession induces users to enter a flow state of consumption, which

 5     is particularly dangerous for children.

 6           879.   In an April 2021 letter to YouTube CEO Susan Wojcicki, the House Committee on

 7     Oversight and Reform criticized the Autoplay feature:

 8                  This places the onus on the child to stop their viewing activity, rather than
                    providing a natural break or end point. Without that natural stopping point,
 9                  children are likely to continue watching for long periods of time.952
10           880.   Google engineers also deploy strategies to induce “flow” state among users of
11     YouTube, which, as described above, is dangerous to children because it induces excessive use and
12     poses a risk of addiction, compulsive use, and sleep deprivation.
13                                          (ii)   Shorts
14           881.   This is particularly acute for Google’s recently launched YouTube Shorts. YouTube
15     Shorts enables users to create short videos up to 60 seconds in length, in a full-screen format
16     popularized by TikTok and copied by Instagram Reels. As in Reels and TikTok, Shorts are presented
17     in an algorithmically generated feed; users can watch new videos by swiping up on their
18     smartphones. Instead of presenting videos chronologically, they are organized in a manner to drive
19     the most watch time, as dictated by the algorithms. Indeed, Google hired TikTok’s North American
20     head, Kevin Ferguson, and other TikTok engineers to develop YouTube Shorts.953
21           882.   An important target audience for YouTube Shorts is children. For example, YouTube
22

23
      952
      Letter from Rep. Raja Krishnamoorthi, Chairman, Subcomm. on Economic and Consumer
24 Policy, to Susan Wojcicki, CEO, YouTube (Apr. 6, 2021),
   https://oversightdemocrats.house.gov/sites/democrats.oversight.house.gov/files/2021-04-
25 06.RK%20to%20Wojcicki-YouTube%20re%20YouTube%20Kids%20Content.pdf.
      953
26    Richard Nieva, In the Age of TikTok, YouTube Shorts Is a Platform in Limbo, Forbes (Dec. 20,
   2022), https://www.forbes.com/sites/richardnieva/2022/12/20/youtube-shorts-monetization-
27 multiformat/.

28                                                   277
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 283 of 325




 1     Shorts features videos, such as child “influencers,” that appeal to children. YouTube Shorts contains

 2     dangerous features similar to other Defendants’ short form platforms, including the ability to scroll

 3     continuously through YouTube Shorts, inducing a “flow-state” that distorts users’ sense of time and

 4     facilitates extended use, and dangerous exploitation of “social comparison” techniques by

 5     promoting misleadingly idealized portrayals from influencers and others who are rewarded for

 6     posting popular material.

 7           883.   Almost immediately upon launch, Google began marketing YouTube Shorts to

 8     children. For example, Google launched an advertisement featuring images of children and

 9     teenagers (like in the screenshot below) engaging with the YouTube Shorts platform.

10

11

12

13

14

15

16

17

18

19

20
             884.   Similarly, another advertisement for Shorts explains how creators on YouTube can
21
       keep revenue generated by their Shorts’ viewership, while an image of a video creator young enough
22
       to be in braces appears on screen.954
23

24

25

26
   954
       Made on YouTube: New ways to join YPP, Shorts Monetization & Creator Music.
27 https://www.youtube.com/watch?v=h6TrvCV3NdU.

28                                                    278
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 284 of 325




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11           885.    Shorts is one of YouTube’s interrelated design features that exploit known mental

12     processes to induce YouTube users to use the platform more frequently, for more extended periods,

13     and with more intensity, i.e., providing more comments and Likes. Not surprisingly, given its

14     copycat origin, the issues with Shorts replicate the issues with TikTok and Instagram Reels,

15     discussed above. Google knows or should have known that children, whose brains are still

16     developing, are particularly susceptible to such addictive features.

17                                          (iii)   Partner Program

18           886.    YouTube has monetized users’ susceptibility to IVR by allowing creators who obtain

19     more than a thousand subscribers with four-thousand valid public watch hours to qualify for the

20     YouTube Partner Program. Once a creator obtains this elite status, they are rewarded with “Super

21     Chat” and “Super Stickers”—special images or distinct messages that other users can purchase and

22     place on a creator’s channel.955 Paid messages, including the amount donated, are visible to all users.

23     And the more a user pays for these promotions, the more prominent and longer the image is

24     displayed. Both features are intended to allow a user to show support for, or connect with, their

25     favorite YouTube creators. Similar to the “Likes” feature, this paid support activates the reward

26
   955
       YouTube Partner Program: How to Make Money on YouTube,
27 https://www.youtube.com/intl/en_us/creators/how-things-work/video-monetization/.

28                                                     279
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 285 of 325




 1     center of the creator’s brain and releases dopamine while the creator is generating revenue for

 2     YouTube.

 3                    c.     Google’s algorithms are designed to maximize “watch time” by
                             continuously collecting monstrous amounts of user data to fuel
 4                           recommendation engines.
 5           887.     Google’s recommendation systems use content-agnostic user behavior data to fuel
 6     YouTube’s addiction machine.
 7           888.     YouTube began building its recommendation algorithms in 2008.956 Its goal was to
 8     maximize how long users spent watching YouTube videos.957
 9           889.     These algorithms trawl through data about users’ behavior to select the videos that
10     populate a user’s YouTube homepage, rank results in user searches, and push videos for viewers to
11     watch through the “Up Next” auto-play feature.
12           890.     YouTube designed its algorithms to manipulate users and induce them to use YouTube
13     excessively.
14           891.     A former YouTube engineer explained that when he designed YouTube’s algorithm,
15     YouTube wanted to optimize for one key metric: “watch time.”958 The engineer elaborated that
16     “[i]ncreasing users’ watch time is good for YouTube’s business model” because it increases
17     advertising revenue.959 What users are watching is irrelevant, the fact of their attention is what the
18     algorithm capitalizes on and maximizes.
19

20    956
         Cristos Goodrow, On YouTube’s Recommendation System, YouTube (Sept. 15, 2021),
      https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/.
21
      957
       Ben Popken, As Algorithms Take Over, YouTube’s Recommendations Highlight a Human
22 Problem, NBC (Apr. 19, 2018), https://www.nbcnews.com/tech/social-media/algorithms-take-over-
   youtube-s-recommendations-highlight- human-problem-n867596.
23
   958
       William Turton, How YouTube’s Algorithm Prioritizes Conspiracy Theories, Vice (Mar. 5,
24 2018), https://www.vice.com/en/article/d3w9ja/how-youtubes-algorithm-prioritizes-conspiracy-
   theories.
25
   959
       Jesselyn Cook & Sebastian Murdock, YouTube Is a Pedophile’s Paradise, Huffington Post (Mar.
26 20, 2020), https://www.huffpost.com/entry/youtube-pedophile-
   paradise_n_5e5d79d1c5b6732f50e6b4db.
27

28                                                    280
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504        Filed 12/18/23      Page 286 of 325




 1           892.   In 2012, the YouTube Head of Content Creator Communications stated: “When we

 2     suggest videos, we focus on those that increase the amount of time that the viewer will spend

 3     watching videos on YouTube, not only on the next view, but also successive views thereafter.”960

 4           893.   The current recommendation algorithm uses deep-learning neural networks, a type of

 5     software that returns outputs most likely to achieve the goals set by YouTube, based on the data fed

 6     into it, which largely consists of observations about users’ behavior.961 The VP of Engineering at

 7     YouTube explained:

 8                  To provide such custom curation, our recommendation system doesn’t
                    operate off of a ‘recipe book’ of what to do. It’s constantly evolving,
 9                  learning every day from over 80 billion pieces of information we call
                    signals. That’s why providing more transparency isn’t as simple as listing a
10
                    formula for recommendations, but involves understanding all the data that
11                  feeds into our system. A number of signals build on each other to help
                    inform our system about what you find satisfying: clicks, watchtime, survey
12                  responses, sharing, likes, and dislikes.962
13           894.   The algorithm “develops dynamically” to predict which posts will hold the user’s
14     attention.963 That is, it can also determine which “signals” are more important to individual users.
15     For example, if a user shares every video they watch, including those they rate low, the algorithm
16     learns to discount the significance of the user’s shares when recommending videos.964
17           895.   Besides the algorithm’s self-learning capability, Google also consistently refines the
18

19
      960
20       Eric Meyerson, YouTube Now: Why We Focus on Watch Time, YouTube (Aug. 10, 2012),
      https://blog.youtube/news-and-events/youtube-now-why-we-focus-on-watch-time/.
21    961
      Alexis C. Madrigal, How YouTube’s Algorithm Really Works, The Atlantic (Nov. 8, 2018),
22 https://www.theatlantic.com/technology/archive/2018/11/how-youtubes-algorithm-really-
   works/575212/; Paul Covington et al., Deep Neural Networks for YouTube Recommendations,
23 Google (2016), https://storage.googleapis.com/pub-tools-public-publication-data/pdf/45530.pdf.
      962
24       Cristos Goodrow, On YouTube’s recommendation system, Inside YouTube, Sept. 15, 2021,
      https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/.
25    963
       Cristos Goodrow, On YouTube’s Recommendation System, YouTube (Sept. 15, 2021),
26 https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/.
   964
       Id.
27

28                                                   281
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504         Filed 12/18/23     Page 287 of 325




 1     algorithm, updating it “multiple times a month.”965

 2           896.   In 2017, the former technical lead for YouTube recommendations explained that “one

 3     of the key things [the algorithm] does is it’s able to generalize.”966 While older iterations “were

 4     pretty good at saying, here’s another [video] just like” ones the user had watched, by 2017, the

 5     algorithm could discern “patterns that are less obvious,” identifying “adjacent relationships” of

 6     “similar but not exactly the same” videos.967

 7           897.   In this way, the manner in which a user interacts with a post becomes a “signal” to the

 8     process algorithm and increases the data the process algorithm can feed to the content algorithm.

 9           898.   Over time, the algorithm became increasingly successful in getting users to watch

10     recommended videos. By 2018, YouTube Chief Product Officer Neal Mohan said that the YouTube
11     algorithm was responsible for more than 70% of users’ time using the platform.968 That is, more
12     than 70% of the time users spend on YouTube was from recommendations Google’s algorithm
13     pushed to them rather than videos identified by users through independent searches.
14           899.   The algorithm also keeps users watching for longer periods. For instance, Mohan
15     explained that mobile device users watch for more than 60 minutes on average per session “because
16     of what our recommendations engines are putting in front of [them].”969
17           900.   The algorithm is particularly effective at addicting teenagers to the platform. In 2022,
18     Pew Research Center found that “[a]bout three-quarters of teens visit YouTube at least daily,
19

20
      965
       Nilay Patel, YouTube Chief Product Officer Neal Mohan on The Algorithm, Monetization, and
21 the Future for Creators, Verge (Aug. 3, 2021), https://www.theverge.com/22606296/youtube-
   shorts-fund-neal-mohan-decoder-interview.
22
   966
       Casey Newton, How YouTube Perfected the Feed, Verge (Aug. 30, 2017),
23 https://www.theverge.com/2017/8/30/16222850/youtube-google-brain-algorithm-video-
   recommendation-personalized-feed.
24 967
       Id.
25 968 Joan E. Solsman, YouTube’s AI Is the Puppet Master over Most of What You Watch, CNET (Jan.

26 1010, 2018), https://www.cnet.com/tech/services-and-software/youtube-ces-2018-neal-mohan/.
   969
       Id.
27

28                                                     282
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23       Page 288 of 325




 1     including 19% who report using the site or app almost constantly.”970

 2           901.    A software engineer explained that the algorithm is “an addiction engine.”971 He raised

 3     concerns with YouTube staff, who said they had no intention to change the algorithms. After all,

 4     the engineer explained, the algorithm works as intended: “it makes a lot of money.”972

 5           902.    Because users watch more than one billion hours of YouTube videos daily and

 6     approximately 70% of the time is spent on videos pushed to users by YouTube’s “recommendation

 7     engine,” Google’s algorithms are responsible for hundreds of millions of hours users spend

 8     watching videos on YouTube each day.973

 9           903.    Google’s “recommendation engine” is designed to prioritize the distribution of videos

10     that are more likely to be addictive and more likely to lead to harm based on the trove of user data
11     and “signals” it collects. For example, “fear-inducing videos cause the brain to receive a small
12     amount of dopamine,” which acts as a reward and creates a desire to do something over and over.974
13     That dopaminergic response makes it more likely that a user will watch the harmful video, which
14     the algorithm interprets as signaling interest and preference. Former Google engineers told The Wall
15     Street Journal that “[t]he algorithm doesn’t seek out extreme videos . . . but looks for clips that data
16     show are already drawing high traffic and keeping people on the site. Those videos often tend to be
17     sensationalist.”975 An investigation by Bloomberg put it simply: “In the race to one billion hours, a
18
      970
         Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug. 10, 2022),
19
      https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-technology-2022.
20    971
       Mark Bergen, YouTube Executives Ignored Warnings, Letting Toxic Videos Run Rampant,
   Bloomberg (Apr. 2, 2019), https://www.bloomberg.com/news/features/2019-04-02/youtube-
21
   executives-ignored-warnings-letting-toxic-videos-run-rampant.
22 972 Id.
      973
23       See Joan E. Solsman, YouTube’s AI Is the Puppet Master over Most of What You Watch, CNET
      (Jan. 10, 2018), https://www.cnet.com/tech/services-and-software/youtube-ces-2018-neal-mohan/.
24    974
       Josephine Bila, YouTube’s Dark Side Could be Affecting Your Child’s Mental Health, CNBC
25 (Feb. 13, 2018), https://www.cnbc.com/2018/02/13/youtube-is-causing-stress-and-sexualization-in-
   young-children.html.
26 975
       Why is YouTube Suggesting Extreme and Misleading Content (2/7/2018),
27 https://www.youtube.com/watch?v=7AjA3Df6i6o; see also Josephine Bila, YouTube’s Dark Side

28                                                     283
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 289 of 325




 1     formula emerged: Outrage equals attention.”976

 2           904.   Google’s algorithm makes it more likely for children to encounter harmful content by

 3     pushing them down “rabbit holes,” which “[lead] viewers to incrementally more extreme videos or

 4     topics, which . . . hook them in.”977 For example, a user might “[w]atch clips about bicycling, and

 5     YouTube might suggest shocking bike race crashes.” 978 In this way, the algorithm makes it more

 6     likely that youth will encounter content that is violent, sexual, or encourages self-harm, among other

 7     types of harmful content.

 8           905.   YouTube’s “recommendation engine” creates a vicious cycle in its ruthless quest to

 9     grow view time. Users who get pushed down rabbit holes then become models for the algorithm.

10     And the algorithm consequently emphasizes keeping youth on the platform for as long as possible,
11     it applies these patterns to more and more users. That is, because Google designed the algorithm to
12     “maximize engagement,” uncommonly engaged users become “models to be reproduced.”979 Even
13     on YouTube Kids, Google’s platform designed for children under 13 years old, researchers from
14     the Tech Transparency Project found that the platform’s algorithm fed children content related to
15     drugs and guns, as well as beauty and diet tips that risked creating harmful body image issues. For
16     example, the researchers found videos speaking positively about cocaine and crystal meth;
17     instructing users, step-by-step, how to conceal a gun; explaining how to bleach one’s face at home;
18
   Could be Affecting Your Child’s Mental Health, CNBC (Feb. 13, 2018),
19
   https://www.cnbc.com/2018/02/13/youtube-is-causing-stress-and-sexualization-in-young-
20 children.html.
   976
       Mark Bergen, YouTube Executives Ignored Warnings, Letting Toxic Videos Run Rampant,
21
   Bloomberg (Apr. 2, 2019).
22 977 Max Fisher & Amanda Taub, On YouTube’s Digital Playground, an Open Gate for Pedophiles,
   NY Times (June 3, 2019), https://www.nytimes.com/2019/06/03/world/americas/youtube-
23
   pedophiles.html.
24 978 Max Fisher & Amanda Taub, On YouTube’s Digital Playground, an Open Gate for Pedophiles,
   NY Times (June 3, 2019), https://www.nytimes.com/2019/06/03/world/americas/youtube-
25 pedophiles.html.

26    979
         Guillaume Chaslot, The Toxic Potential of YouTube’s Feedback Loop, Wired (Jul. 13, 2019),
      https://www.wired.com/story/the-toxic-potential-of-youtubes-feedback-loop/.
27

28                                                    284
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23    Page 290 of 325




 1     and stressing the importance of burning calories.980

 2           906.   Amy Kloer, a campaign director with the child safety group Parents Together, spent

 3     an hour on her preschool-age child’s YouTube Kids account and found videos “encouraging kids

 4     how to make their shirts sexier, a video in which a little boy pranks a girl over her weight, and a

 5     video in which an animated dog pulls objects out of an unconscious animated hippo’s butt.”981

 6     Another parent recounted how YouTube Kids autoplay feature led her 6-year-old daughter to “an

 7     animated video that encouraged suicide.”982

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21
             907.   These are not isolated examples. According to Pew Research Center, 46% of parents
22
       of children 11 or younger report that children encountered videos that were inappropriate for their
23

24

25    981
       Rebecca Heilweil, YouTube’s Kids App Has a Rabbit Hole Problem, Vox (May 12, 2021),
26 https://www.vox.com/recode/22412232/youtube-kids-autoplay.
   982
       Id.
27

28                                                   285
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504       Filed 12/18/23      Page 291 of 325




 1     age.983 And kids do not “choose” to encounter those inappropriate videos—YouTube’s algorithm—

 2     its “recommendation engine”—directs and pushes them there. Again, YouTube’s algorithm is

 3     responsible for 70% of the time users spend using the platform.984

 4           908.   YouTube’s algorithm also is not choosing to have children encounter specifically

 5     inappropriate videos. The algorithm is largely unconcerned with the actual information in videos it

 6     feeds users, instead focusing on data about how users react to the videos. Why someone reacts is

 7     not important, only that they do.

 8           909.   Other reports have confirmed that YouTube’s algorithm pushes users towards harmful

 9     conduct.

10           910.   In 2021, the Mozilla Foundation studied 37,000 YouTube users, finding that 71% of
11     all reported negative user experiences came from videos recommended to users by Google’s
12     algorithm.985 And users were 40% more likely to report a negative experience from a video
13     recommended by YouTube’s algorithm than from one they searched for.986 Importantly, videos that
14     elicited those negative experiences “acquired 70% more views per day than other videos watched
15     by [study] volunteers.”987
16           911.   These problems combine to compel children and teenagers to overuse a platform that
17     adversely affects their mental health. Mental health experts have warned that YouTube is a growing
18

19    983
       Brooke Auxier et al., Parenting Children in The Age of Screens, Pew Rsch. Ctr. (July 28, 2020),
20 https://www.pewresearch.org/internet/2020/07/28/parental-views-about-youtube/.
   984
       Joan E. Solsman, YouTube’s AI Is the Puppet Master Over Most of What You Watch, CNET (Jan.
21
   10, 2017; 10:05A.M. PT), https://www.cnet.com/tech/services-and-software/youtube-ces-2018-neal-
22 mohan/.
      985
       YouTube Regrets: A Crowdsourced Investigation into YouTube’s Recommendation Algorithm,
23
   Mozilla Foundation 13 (July 2021),
24 https://assets.mofoprod.net/network/documents/Mozilla_YouTube_Regrets_Report.pdf.
   986
       Id.
25
   987
       YouTube Regrets: A Crowdsourced Investigation into YouTube’s Recommendation Algorithm,
26 Mozilla Foundation at 3 (July 2021),
   https://assets.mofoprod.net/network/documents/Mozilla_YouTube_Regrets_Report.pdf.
27

28                                                   286
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504       Filed 12/18/23     Page 292 of 325




 1     source of anxiety and inappropriate sexual behavior among kids under 13 years old. Natasha

 2     Daniels, a child psychotherapist, described treating children between 8 and 10 years old, who were

 3     “found doing sexual things: oral sex, kissing and getting naked and acting out sexual poses.”988 This

 4     kind of behavior “usually indicates some sort of sexual abuse.”989 Previously, Daniels would

 5     typically “find a child who has been molested himself or that an adult has been grooming the child

 6     for abuse.”990 But “in the last five years, when I follow the trail all the way back, it’s YouTube and

 7     that’s where it ends.”991

 8                912.   Daniels has also seen increased rates of anxiety among children using YouTube. And

 9     because of that anxiety, those children “exhibit loss of appetite, sleeplessness, crying fits and

10     fear.”992 Ultimately, she says, “YouTube is an ongoing conversation in my therapy practice, which
11     indicates there’s a problem.”993
12                913.   One study determined that using Google’s platform was “consistently associated with
13     negative sleep outcomes.”994 Specifically, for every 15 minutes teens spent using YouTube, they
14     were 24% less likely to get seven hours of sleep. According to Dr. Alon Avidan, director of the
15     UCLA Sleep Disorders Center, YouTube is particularly sleep disruptive because its
16     recommendation algorithm and Autoplay feature make it “so easy to finish one video” and watch
17

18

19    988
       Josephine Bila, YouTube’s Dark Side Could be Affecting Your Child’s Mental Health, CNBC
20 (Feb. 13, 2018), https://www.cnbc.com/2018/02/13/youtube-is-causing-stress-and-sexualization-in-
   young-children.html.
21 989
       Id.
22 990 Id.
      991
23          Id.
      992
24          Id.
      993
            Id.
25
      994
      Meg Pillion et al., What’s ‘app’-ning to adolescent sleep? Links between device, app use, and
26 sleep outcomes, 100 Sleep Med. 174–82 (Dec. 2022),
   https://www.sciencedirect.com/science/article/abs/pii/S1389945722010991?via%3Dihub.
27

28                                                      287
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504      Filed 12/18/23      Page 293 of 325




 1     the next.995 Similarly, a signal that the YouTube algorithm relies on is the “time of day” a user is

 2     watching—a signal that, when used to maximize length of duration with the YouTube platform,

 3     induces sleep deprivation.996

 4           914.   Sleep deprivation is, in turn, associated with poor health outcomes, and impacts

 5     student learning thereby making it more difficult for schools to educate students. For example,

 6     “insufficient sleep negatively affects cognitive performance, mood, immune function,

 7     cardiovascular risk, weight, and metabolism.”997 Sleep deprivation also interferes with Plaintiffs’

 8     operations as additional resources must be diverted or expended to address children’s inability to

 9     focus, learn, follow directions, and interact positively with other students and teachers when they

10     are sleep deprived.
11           915.   Compulsive YouTube use can also harm brain development. According to Donna
12     Volpitta, Ed.D, “[c]hildren who repeatedly experience stressful and/or fearful emotions may under
13     develop parts of their brain’s prefrontal cortex and frontal lobe, the parts of the brain responsible
14     for executive functions, like making conscious choices and planning ahead.”998
15           916.   Google’s algorithm also promotes the creation of and pushes children towards
16     extremely dangerous prank or “challenge” videos, which often garner thousands of “Likes,” adding
17     to the pressure young people feel to participate. The neurological and psychological techniques by
18     which Google, like other Defendants, fosters excessive, addictive use of YouTube in turn foster
19     watching “challenge” videos, and in turn negatively impact schools who having to deal with the

20
   995
       Cara Murez, One App Is Especially Bad for Teens’ Sleep, U.S. News & World Rep. (Sept. 13,
21 2022), https://www.usnews.com/news/health-news/articles/2022-09-13/one-app-is-especially-bad-

22 for-teens-sleep.
   996
       YouTube, How YouTube Works, https://www.youtube.com/howyoutubeworks/product-
23 features/recommendations/#signals-used-to-recommend-content.

24    997
      Jessica C. Levenson et al., The Association Between Social Media Use and Sleep Disturbance
   Among Young Adults, 85 Preventive Med. 36–41 (Apr. 2016),
25 https://www.sciencedirect.com/science/article/abs/pii/S0091743516000025.
      998
26    Josephine Bila, YouTube’s Dark Side Could be Affecting Your Child’s Mental Health, CNBC
   (Feb. 13, 2018), https://www.cnbc.com/2018/02/13/youtube-is-causing-stress-and-sexualization-in-
27 young-children.html.

28                                                    288
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 294 of 325




 1     fallout.

 2           917.   Even though Google knew or should have known of these risks to its youth users,

 3     Google’s platform lacks any warnings that foreseeable platform use could cause these harms.

 4           918.   And despite all the evidence that YouTube’s design and algorithms harm millions of

 5     children, Google continues to manipulate users and compel them to use the platform excessively, to

 6     enhance Google’s bottom line, often resulting in significant harm.

 7                  d.      YouTube’s features include impediments to discontinuing use.

 8           919.   As with other Defendants, Google has intentionally designed its platforms so that
 9     adolescent users, including young people in Plaintiffs’ schools and communities face significant
10     navigational obstacles and hurdles when trying to delete or deactivate their accounts, in contrast to
11     the ease with which users can create those accounts.
12           920.   First, because YouTube is accessible without a user needing to log in, YouTube users
13     cannot prevent themselves from being able to access YouTube by deleting their YouTube account.
14           921.   Second, YouTube accounts are linked to a user’s broader Google account. These
15     accounts are structured such that, for a user to delete a YouTube account, the user must also delete
16     the user’s entire Google account. This means that if a YouTube user uses Google’s other platforms,
17     such as the popular email service Gmail, those accounts will be lost as well. This structure holds
18     hostage user data—if a child needs to keep their email account through Google (for instance, if that
19     is a requirement of their school), they cannot delete their YouTube account, even if they want to. If
20     a user stores family photos in Google Photos, but wants to delete their YouTube account, they must
21     choose between storage for their photos or deleting their YouTube account. Similarly, if a user has
22     purchased books or movies through Google’s digital market Google Play, the user’s copy of those
23     books or movies will be deleted if the user deletes their Google account to rid themselves of
24     YouTube. Google explicitly threatens users with this consequence on the page where users can
25     delete their account, listing every associated account Google will delete and providing examples of
26     the kinds of videos that will be deleted if a user deletes their YouTube account.
27           922.   Third, Google intentionally designed its platform so that to delete a user’s Google
28                                                    289
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504        Filed 12/18/23     Page 295 of 325




 1     account, a user must locate and tap on six different buttons (through six different pages and popups)

 2     from YouTube’s main feed to delete an account successfully. This requires navigating away from

 3     YouTube and into the webpages of other Google platforms. As with Meta, users are still able to

 4     recover their accounts after deletion—though unlike Meta, Google does not tell users when their

 5     accounts will become unrecoverable, just that it will occur sometime after deletion.

 6                 4.     Google facilitates the spread of CSAM and child exploitation.

 7                 923.   Various design features of YouTube promote and dramatically exacerbate sexual
 8     exploitation, the spread of CSAM, sextortion, and other socially maladaptive behavior that harms
 9     children.
10                 924.   Google’s design features and conduct exacerbating the spread of CSAM causes Local
11     Government and School District Plaintiffs to be required to divert and increase resources and
12     expenditures to provide education, counselling, disciplinary and other social services to harmed
13     minors.
14                 925.   Google is required to comply with COPPA and obtain verifiable parental consent
15     before collecting personal information from children. It fails to do so. In 2019, the FTC and New
16     York Attorney General alleged in a federal complaint that Google and YouTube violated COPPA
17     by collecting personal information from children without verifiable parental consent.999
18                 926.   Google and YouTube collected persistent identifiers that they used to track viewers of
19     child-directed channels across the Internet without prior parental notification, in violation of
20     Sections 1303(c), 1305(a)(1), and 1306(d) of COPPA.1000
21                 927.   Google and YouTube designed the child-centered YouTube Kids product. Despite its
22     clear knowledge of this channel being directed to children under 13 years old, Google served
23

24
   999
       Fed. Trade Comm’n, Google and YouTube Will Pay Record $170 Million for Alleged Violations
25 of Children’s Privacy Law (2022), https://www.ftc.gov/news-events/news/pressreleases/

26 2019/09/google-youtube-will-pay-record-170-million-alleged-violations-childrensprivacy-law.
      1000
             Id.
27

28                                                        290
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504         Filed 12/18/23      Page 296 of 325




 1     targeted advertisements on these channels.1001

 2                 928.   Google pays its users to create content because it benefits from increased user activity

 3     and receives something of value for its YouTube Partner Program.1002

 4                 929.   Google allows users to monetize its product to generate revenue for itself and its users,

 5     including users that violate laws prohibiting the sexual exploitation of children.

 6                 930.   According to its own guidelines, Google prohibits using its social media product in

 7     ways that “[endanger] the emotional and physical well-being of minors.”1003

 8                 931.   Google represents that YouTube “has strict policies and robust operations in place to

 9     tackle content and behavior that is harmful or exploitative to children.”1004

10                 932.   Google maintains that its guidelines prohibit images, videos, and comments that put
11     children at risk, “including areas such as unwanted sexualization, abuse, and harmful and dangerous
12     acts.”1005
13                 933.   While Google “may place an age restriction on the video,”1006 its product fails to
14     implement proper age-verification mechanisms to prevent minor users from accessing age restricted
15     content, as discussed above.
16                 934.   Google fails to prevent collages of images and videos of children showing their
17     exposed buttocks, underwear, and genitals from racking up millions of views on its product, which
18     are then promoted and monetized by displaying advertisements from major brands alongside the
19

20

21    1001
             Id.
22    1002
        YouTube Partner Program overview & eligibility,
23 https://support.google.com/youtube/answer/72851?hl=en.
   1003
        Child safety policy - YouTube help, Google,
24 https://support.google.com/youtube/answer/2801999?hl=en.
      1004
25           Id.
      1005
26           Id.
      1006
             Id.
27

28                                                          291
                                                                                PLAINTIFFS’MASTER COMPLAINT
                                                                     (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                    CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR               Document 504        Filed 12/18/23     Page 297 of 325




 1     content.1007

 2                 935.   Through Google’s product, videos of minors revealing their “bathing suit hauls”;

 3     playing in pools, beaches, and waterparks; or performing gymnastics are recommended, shown, and

 4     promoted to child predators who interact with these videos—including commenting to share “time

 5     codes for crotch shots,” to direct others to similar videos and to arrange to meet up on other social

 6     media products to share and exchange CSAM.1008

 7                 936.   Multiple YouTube channels dedicated to pre-teen models, young girls stretching, and

 8     teen beauty are routinely oversexualized and manipulated by predators.1009

 9                 937.   Google’s product recommends and promotes abusive behaviors towards children and

10     victimizes unsuspecting minors on a mass scale.
11                 938.   When users search for images and videos of minors, Google’s algorithm pushes
12     additional videos, which strictly feature children, and this recommended content often includes
13     promoted content for which Google receives value from advertisers.
14                 939.   Users of Google’s product who search for images and videos of minors are further
15     inundated with comments from other predators that provide hyperlinks to CSAM and opportunities
16     to share CSAM on other products.1010
17                 940.   On average, Google pays its creators $0.50 to $6.00 per 1,000 views of any video they
18     create, including materials depicting minors in violation of 18 U.S.C. §§ 2252, 2252A, 1591, 1466,
19     and other criminal statutes.1011

20                 941.   Google actively participates and receives value for creating content on its product in

21
   1007
        K.G Orphanides, On YouTube, a network of pedophiles is hiding in plain sight WIRED UK
22 (2019), https://www.wired.co.uk/article/youtube-pedophile-videos-advertising.
      1008
23           Id.
      1009
24           Id.
      1010
             Id.
25
      1011
       How YouTube creators earn money - how YouTube works, YouTube,
26 https://www.youtube.com/howyoutubeworks/productfeatures/monetization/#:~:text=Advertising%2
   0is%20the%20primary%20way,directly%20profit %20from%20their%20work.
27

28                                                        292
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504        Filed 12/18/23     Page 298 of 325




 1     violation of 18 U.S.C. §§ 2252, 2252A, 1591, 1466, and other criminal statutes.

 2              942.   Google actively participates and receives value for creating content on its product in

 3     violation of laws prohibiting the sexual exploitation of children.

 4              943.   Google maintains that it is “dedicated to stopping the spread of online child

 5     exploitation videos.”1012 Yet, it fails to implement proper safeguards to prevent the spread of illegal

 6     contraband on its product.

 7              944.   The troves of data and information about its users that Google collects enable it to

 8     detect, report as legally required, and take actions to prevent instances of sexual grooming,

 9     sextortion, and CSAM distribution, but it has failed to do so. Google continues to make false

10     representations its “teams work around-the-clock to identify, remove, and report this content.”1013
11              945.   Google has proprietary technology, CSAI Match, that is supposed to combat CSAI
12     (Child Sexual Abuse Imagery) content online. This technology allows Google to identify known
13     CSAM contraband being promoted, shared, and downloaded on the YouTube product. Google’s
14     CSAI Match can identify which portion of the video matches known and previously hashed CSAM
15     and provide a standardized categorization of the CSAM. When a match is detected by Google using
16     CSAI Match, it is flagged so that Google can “responsibly report in accordance to local laws and
17     regulations.”1014
18              946.   Despite this, Google regularly fails to adequately report known content to NCMEC
19     and law enforcement, and Google fails to take down, remove, and demonetize CSAM.

20              947.   In 2018, Google launched “cutting-edge artificial intelligence (AI) that significantly

21     advances [Google’s] existing technologies,” which Google claimed “drastically improved”

22

23

24    1012
             YouTube, https://www.youtube.csai-match/.
25    1013
        Google’s efforts to combat online child sexual abuse material,
26 https://transparencyreport.google.com/child-sexual-abuse-material/reporting.
   1014
        Id.
27

28                                                     293
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23       Page 299 of 325




 1     detection of CSAM that is distributed by its YouTube product.1015 These claims were false, and

 2     misled parents and children into believing its product is safe for minors. Google failed to drastically

 3     improve the frequency of CSAM detection, reports, and takedowns on its product.

 4           948.    Google claims that it will “continue to invest in technology and organizations to help

 5     fight the perpetrators of CSAM and to keep our products and our users safe from this type of

 6     abhorrent content.”1016 In reality, it fails to do so. Google fails to invest in adequate age verification

 7     and continues to fail to remove CSAM from its product.

 8           949.    Google knows or should have known that YouTube facilitates the production,

 9     possession, distribution, receipt, transportation, and dissemination of millions of materials that

10     depict obscene visual representations of the sexual abuse of children, or that violate child
11     pornography laws, each year.
12           950.    Google knowingly fails to take adequate and readily available measures to remove
13     these contraband materials from its product in a timely fashion.
14           951.    In violation of 18 U.S.C. § 2258A, Google knowingly fails to report massive amounts
15     of material in violation of 18 U.S.C. § 2256 and 18 U.S.C. § 1466A.
16           952.    YouTube is polluted with illegal material that promotes and facilitates the sexual
17     exploitation of minors, and Google receives value in the form of increased user activity for the
18     dissemination of these materials on its products.
19           953.    Google failed to report materials, in violation of the reporting requirements of 18

20     U.S.C. § 2258A.1017

21           954.    Google knows that its product is unsafe for children and yet fails to implement

22

23    1015
        Nikola Todorovic, Using AI to help organizations detect and report Child sexual abuse material
24 online   Google (2018), https://blog.google/around-the-globe/google-europe/using-aihelp-
   organizations-detect-and-report-child-sexual-abuse-material-online/.
25 1016 Id.

26    1017
          NCMEC, 2019 CyberTipline reports by Electronic Service Providers (ESP),
      https://www.missingkids.org/content/dam/missingkids/pdfs/2019-reports-by-esp.pdf.
27

28                                                      294
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23       Page 300 of 325




 1     safeguards to prevent children from accessing its product.

 2           955.    Further, there is effectively no way for users to report CSAM on Google’s YouTube

 3     product. YouTube does not allow users to specifically report any material posted on its product as

 4     CSAM or child pornography.1018

 5           956.    YouTube Mobile does not provide any way to report users, including users who share

 6     CSAM on its product. On the desktop, a viewer can report a user, but Google has made the reporting

 7     function difficult to access. Furthermore, reporting requires a viewer to have a Google account and

 8     be logged in to the account to make the report.1019

 9           5.      Google failed to adequately warn Plaintiffs and the public about the harm its
                     platforms cause and failed to provide instructions regarding safe use.
10
             957.    Google has failed to adequately warn the public, including Plaintiffs and the children
11
       and parents within their schools and communities, about the physical and mental health risks posed
12
       by its platforms, and the increased resources that Plaintiffs would need expend to address the youth
13
       mental health crisis it caused. The risks to minors include a plethora of mental health disorders, such
14
       as compulsive use, addiction, eating disorders, anxiety, depression, insomnia, exacerbated executive
15
       dysfunction, sexual exploitation from adult users, suicidal ideation, self-harm, and death. The risks
16
       to Plaintiffs include having to increase and divert human and financial resources to address the
17
       mental health and disciplinary issues of students and minors in their communities as Plaintiffs seek
18
       to fulfill their mission (and obligation) to provide America’s youth with educational, counselling,
19
       health, and other social and disciplinary services and public facilities.
20
             958.    Google knew or should have known its design choices and conduct would have a
21
       detrimental effect on the wellbeing of youth in Plaintiffs’ schools and communities, and would lead
22
       to Plaintiffs’ increased expenditures and diverted resources and should have warned of such.
23
             959.    Google targets adolescent users via advertising and marketing materials distributed
24

25    1018
        Canadian Centre for Child Protection, Reviewing Child Sexual Abuse Material Reporting
26 Functions on Popular Platforms,
   https://protectchildren.ca/pdfs/C3P_ReviewingCSAMMaterialReporting_en.pdf.
27 1019 Id. at p. 18.

28                                                     295
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23    Page 301 of 325




 1     throughout digital and traditional media platforms. Its advertising and marketing campaigns fail to

 2     provide adequate warnings to potential adolescent consumers of the physical and mental risks

 3     associated with using YouTube.

 4           960.   Google further fails to adequately warn adolescents, students, and schools and local

 5     governments that utilize the platform during the platform registration process. At account setup,

 6     Google’s platform contains no warning labels, banners, or conspicuous messaging to adequately

 7     inform adolescent users of the known risks and potential physical and mental harms associated with

 8     usage of its platform. Instead, Google allows adolescents to easily create an account (or multiple

 9     accounts), and to access YouTube with or without an account.

10           961.   Google’s lack of adequate warnings continues once an adolescent uses YouTube.
11     Google does not adequately inform adolescent users of schools and local governments that utilize
12     the platform that studentdata will be tracked, used to help build a unique algorithmic profile, and
13     potentially sold to Google’s advertising clients.
14           962.   Google’s failure to warn Local Government and School District Plaintiffs and the
15     public continues even as adolescents exhibit problematic signs of addictive, compulsive use of
16     YouTube. Google does not adequately warn users when their screen time reaches harmful levels or
17     when adolescents are accessing the platform on a habitual and uncontrolled basis.
18           963.   Not only does Google fail to adequately warn users including the Local Government
19     and School District Plaintiffs regarding the risks associated with YouTube, it also does not provide

20     adequate instructions on how adolescents can safely use its platform. A reasonable and responsible

21     company would instruct adolescents on best practices and safety protocols when using a platform

22     known to pose health risks.

23           964.   Google also failed to warn Plaintiffs about the dangerous, addictive nature of its

24     platform, the resulting harms that occur from use of its platforms, and that Plaintiffs would be

25     required to divert and expend additional human and financial resources to provide support to harmed

26     minors through education, counseling, mental health, and other social, and disciplinary services

27     required to be provided by Plaintiffs to address the youth mental health crisis.

28                                                    296
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 302 of 325




 1           965.    Google’s failure to properly warn and instruct adolescent users and their parents as

 2     well as its failure to warn Plaintiffs has proximately caused significant harm to Plaintiffs, who have

 3     expended and continue to expend, significant resources addressing the impact of Google’s conduct

 4     on Plaintiffs’ operations, including expending additional resources to provide support to impacted

 5     children and families.

 6     V.    CAUSES OF ACTION

 7                                  COUNT ONE — PUBLIC NUISANCE
 8           966.    Plaintiffs repeat, reassert and incorporate the allegations contained above as if fully
 9     set forth herein.
10           967.    Plaintiffs assert this public nuisance claim against all Defendants under the common
11     law of all states or other jurisdictions whose laws are applicable to any Plaintiffs’ claims.
12           968.    Plaintiffs also assert this claim against all Defendants pursuant to Ala. Code § 6-5-
13     120, Cal. Civ. Code § 3479 et. seq.; Ga. Code Ann. § 41-1-1, et seq.; Idaho Code § 52-101 et seq.;
14     Ind. Code Ann. § 32-30-6-6 et seq.; La. C.C. Art. 2315 et. seq.; Mont. Code Ann. § 27-30-101 et
15     seq.; N.D. Cent. Code Ann. § 42-01-01; N.M. Stat. Ann. § 30-8-1; Okla. Stat. Ann. tit. 50, § 1 et
16     seq.; SDCL § 21-10-1; Utah Code Ann. § 76-10-803 et seq.; and Wash. Rev. Code Ann. § 7.48.120
17     et. seq.
18           969.    A public nuisance is an unreasonable interference with a right common to the general
19     public and behavior that unreasonably interferes with the health, safety, peace, comfort, or
20     convenience of the general community. Restatement (Second) of Torts § 821B (1979).
21           970.    Plaintiffs have been subject to a public nuisance as a result of Defendants’ conduct
22     described herein, which unreasonably interferes with the health, safety, peace, comfort, or
23     convenience of Plaintiffs’ communities and schools. This conduct includes, inter alia, Defendants’
24     design, development, production, operation, promotion, distribution, and marketing of their social
25     media platforms to attract and addict minors to increase their profits at the expense of minors,
26     thereby creating a youth mental health crisis.
27           971.    The public nuisance created by Defendants’ actions is substantial and unreasonable—
28                                                      297
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 303 of 325




 1     it has caused and continues to cause significant harm to local governments, school districts, and the

 2     community, and the harm inflicted outweighs any offsetting benefit.

 3           972.   Defendants knew, or should have known, that the design, development, production,

 4     operation, promotion, distribution, and marketing of their social media platforms to attract and

 5     addict minors, thereby creating a youth mental health crisis, would create a public nuisance.

 6           973.   Plaintiffs have been left to address the youth mental crisis caused by Defendants’

 7     conduct by, inter alia:

 8               a. Expending, diverting, and increasing human and financial resources (including tax
                    dollars) to provide additional mental health resources to minors;
 9
                 b. Hiring additional counselors, staff, and personnel for mental health and disciplinary
10                  services;
11               c. Expending and diverting time and resources, and increasing staff to confiscate cell
                    phones and other devices;
12
                 d. Expending and diverting time and resources, and increasing staff to communicate and
13                  engage with parents and guardians regarding students’ attendance and youth mental
                    health and behavioral issues;
14
                 e. Expending and diverting resources, and increasing staff to address youth and student
15                  discipline issues caused by the mental health crisis;
16               f. Expending and diverting time and resources, and increasing staff to route students and
                    youth to counselors and mental health service providers;
17
                 g. Expending and diverting time and resources, and increasing staff to train staff to
18                  identify students and youth exhibiting symptoms of mental health issues;
19               h. Expending, diverting, and increasing resources for modifications to mental health
                    curriculum;
20
                 i. Expending, diverting, and increasing resources for creating education materials for
21                  youth, parents, and staff addressing social media addiction and harm;
22               j. Expending, diverting, and increasing resources to update student handbooks and
                    policies to address use of Defendants’ platforms;
23
                 k. Expending, diverting, and increasing resources to purchase tools necessary to prevent
24                  or limit student’s access to social media;

25               l. Expending, diverting, and increasing resources to develop new and revised teaching
                    plans to address students’ altered learning habits, e.g. reduced attention span and
26                  inability to communicate effectively due to excessive use of Defendants’ platforms;
27

28                                                    298
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23       Page 304 of 325




 1                m. Expending, diverting, and increasing resources to provide additional learning supports
                     to address students’ declining achievement e.g. after school support as a result of the
 2                   negative impact of problematic social media use on students’ ability and capacity to
                     learn;
 3
                  n. Expending, diverting, and increasing resources to investigate and prosecute crimes that
 4                   result from use of Defendants’ platforms and the youth mental health crisis;
 5                o. Expending, diverting, and increasing resources to investigate threats made against
                     schools, students, and members of the community over social media;
 6
                  p. Expending, diverting, and increasing resources to account for the strain placed on local
 7                   government’s departments of health and human services;
 8                q. Expending, diverting, and increasing resources to account for the strain placed on local
                     government’s community-based services such as outpatient therapy, behavioral health
 9                   services, after school programs and other similar services and programming; and,
10                r. Expending, diverting, and increasing resources to repair property damage as a result
                     of Defendants’ addictive platforms targeted to attract and addict minors.
11
             974.    Plaintiffs, their employees, the minors and other residents in their communities, and
12
       the students who attend and employees who work in their schools and local governments, have a
13
       right to be free from conduct that undermines their health, safety, peace, comfort, and convenience,
14
       and/or right to public education. Yet, Defendants’ conduct described herein, including design,
15
       development, production, operation, promotion, distribution, and marketing of their social media
16
       platforms to attract and addict minors, has substantially interfered with the health, safety, peace,
17
       comfort, convenience, and/or right to public education of the students, teachers, and employees of
18
       Plaintiffs and their schools, and the residents of Plaintiffs’ local communities, including minors.
19
             975.    Each Defendant has created or assisted in the creation of a condition that is injurious
20
       to the health, safety, and welfare of Plaintiffs’ communities, and the residents of those communities,
21
       including minors, and interferes with the educational environment for students, teachers, and
22
       administrators in Plaintiffs’ schools. Defendants have each created or assisted in the creation of a
23
       condition that significantly disrupts the daily operations and functioning of Plaintiffs’ public schools
24
       and disturbs the health, safety, peace, comfort, and convenience of Plaintiffs’ communities and
25
       schools.
26
             976.    Defendants’ conduct caused, contributed to, and/or was a substantial factor in causing
27

28                                                     299
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23       Page 305 of 325




 1     the public nuisance complained of herein. By designing, developing, marketing, supplying,

 2     promoting, advertising, operating, and distributing their platforms in a manner intended to maximize

 3     the time youth spend on their respective platforms—despite knowledge of the harms to youth from

 4     their wrongful conduct—Defendants directly facilitated the widespread, excessive, and habitual use

 5     of their platforms and the public nuisance affecting Plaintiffs. By seeking to capitalize on their

 6     success by refining their platforms to increase the time youth spend on their platforms, Defendants

 7     directly contributed to the public health crisis and the public nuisance affecting Plaintiffs.

 8           977.    Indeed, in order to maximize profits, Defendants have aggressively designed and

 9     marketed their social media platforms to attract and addict minors despite the fact that Defendants

10     knew or should have known that minors are much more likely to sustain serious psychological harm
11     through social media use than adults, especially use at the heavy level Defendants sought to achieve
12     through their design and marketing efforts.
13           978.    Defendants have designed and marketed their social media platforms to attract and
14     addict minors because they view adolescents as valuable commodities. Defendants generate revenue
15     by selling advertisements that target minors because children are more likely than adults to use
16     social media, and are more susceptible to heavy social media use resulting from Defendants’ design
17     and marketing choices. Minors provide a large audience for advertisers, to whom Defendants seek
18     to sell advertising space to generate significant profits. Knowing this, Defendants have designed,
19     developed, produced, operated, promoted, distributed, and marketed their social media platforms to

20     attract and addict minors and have substantially interfered with the health, safety, peace, comfort,

21     convenience, and/or right to public education of Plaintiffs’ students, employees, residents, schools,

22     and communities.

23           979.    In addition, as alleged herein, Defendants have knowingly sought to ensure that minors

24     continuously use their social media platforms by implementing design features and policies that

25     promote addiction and compulsive use, and that cause severe mental harm, while thwarting the

26     ability of parents to keep their children safe and healthy by supervising and limiting the use of

27     Defendants’ social media platforms.

28                                                     300
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 306 of 325




 1           980.    Defendants’ efforts to market their social media platforms to minors have been highly

 2     effective, with nearly all minor teenagers, and a substantial number of younger children, using

 3     Defendants’ social media platforms.

 4           981.    While Defendants’ design, development, production, operation, promotion,

 5     distribution, and marketing of their social media platforms to attract and addict minors has increased

 6     Defendants’ profits, Defendants’ actions have come at substantial cost to Plaintiffs, as well as their

 7     schools and communities.

 8           982.    In particular, Defendants’ actions have had disastrous consequences for public health

 9     in Plaintiffs’ schools and communities. In fact, the current state of youth mental health has caused

10     the American Academy of Pediatrics, the American Academy of Child and Adolescent Psychiatry,
11     and the Children’s Hospital Association to declare a national emergency. Moreover, in 2021, the
12     U.S. Surgeon General issued an advisory alerting the public that “[r]ecent national surveys of young
13     people have shown alarming increases in the prevalence of certain mental health challenges,” and
14     that “[i]n 2019 one in three high school students and half of female students reported persistent
15     feelings of sadness or hopelessness, an overall increase of 40% from 2009.”1020
16           983.    These dramatic increases in youth mental health deterioration were caused by
17     Defendants’ design, promotion, distribution, and marketing of their social media platforms to attract
18     and addict minors.
19           984.    Importantly, as a means of increasing revenue as much as possible, Defendants

20     deliberately design, operate, and market their platforms to maximize minors’ screen time.

21     Defendants accomplish this by building design features intended to exploit human psychology.

22     Defendants deliberately target minor users with these features and exploit adolescent users’ still-

23     developing decision-making capacity, impulse control, emotional maturity, and poor psychological

24     resiliency.

25           985.    Defendants’ actions have a negative effect on minors’ mental health, as there is an

26
   1020
        Protecting Youth Mental Health, U.S. Surgeon General Advisory (Apr. 11, 2023),
27 https://www.hhs.gov/sites/default/files/surgeon-general-youth-mental-health-advisory.pdf.

28                                                    301
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR         Document 504        Filed 12/18/23      Page 307 of 325




 1     established link between social media use and mental health issues in minors, including anxiety,

 2     depression, and self-harm, among others.

 3           986.   Thus, Defendants’ design, development, production, operation, promotion,

 4     distribution, and marketing of their social media platforms to minors has unreasonably interfered

 5     with public health in Plaintiffs’ schools and communities.

 6           987.   Defendants’ actions have also unreasonably interfered with the safety, peace, and

 7     comfort of Plaintiffs’ schools and communities because adolescent use of social media contributes

 8     to increased bullying, vandalism, and criminality in Plaintiffs’ schools and communities.

 9           988.   Nobody except the Defendants—who design their social media platforms to exploit

10     young people’s developing minds, and who deliberately promote, distribute, and market their social
11     media platforms to attract and addict minors—could have foreseen this unprecedented youth mental
12     health crisis and its related harms, which are caused by their social media platforms, and which
13     Plaintiffs are forced to address through funding and resources.
14           989.   School districts and local governments have suffered special injury as a result of
15     Defendants’ unreasonable interference with the health, safety, peace, comfort, and convenience of
16     the general community.
17           990.   Indeed, school districts and local governments are on the front lines of combatting the
18     negative consequences of Defendants’ deliberate choice to promote, distribute, and market their
19     social media platforms to attract and addict minors. The youth mental health crisis is infecting all

20     aspects of education and the ability of young people to participate productively as members of their

21     local communities as adolescents experience record rates of anxiety, depression, and other mental

22     health issues because of Defendants’ conduct. Because of Defendants’ actions, which have led to a

23     substantial mental health crisis among American minors, children and adolescents perform worse

24     in school, are less likely to attend school, are more likely to commit crimes and acts of vandalism

25     or other acts of property damage, and are more likely to engage in substance abuse and to act out

26     negatively in their local community. All of this negatively affects School Districts’ and Local

27     Governments’ ability to provide safe communities and schools, as well as the School Districts’

28                                                   302
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504       Filed 12/18/23      Page 308 of 325




 1     ability to fulfill their educational mission.

 2           991.    Moreover, Plaintiffs have a unique responsibility to operate their public schools and/or

 3     provide social services to their communities.

 4           992.    Defendants’ social media platforms have caused a massive disruption to the

 5     educational process in schools throughout the United States. Indeed, a report by the American

 6     Federation of Teachers “details how school districts across the country are experiencing significant

 7     burdens as they respond to tech’s predatory and prevalent influence in the classroom … .” The report

 8     highlights the impact of students’ social media use on the educational environment, noting the

 9     “dramatic disruption in the teaching and learning ecosystems of all our nation’s schools.”1021 The

10     report confirms that “[d]ealing with social-media related issues detracts from the primary mission
11     of our schools, which is to educate our children” and details the myriad ways in which “[s]chool
12     districts have borne increased costs and expenses in response to the impacts of social media.”1022
13           993.    Defendants have caused an unreasonable interference with the educational process—
14     including the health, safety, peace, comfort, and convenience of students, teachers, and staff
15     members, as well as educators’ ability to teach and students’ ability to learn. Students’ compulsive
16     use of Defendants’ social media platforms greatly frustrates schools’ ability to achieve their mandate
17     of educating their students in a safe and healthy environment. Students are suffering from
18     depression, stress, and anxiety, which are serious obstacles to learning. Most middle school and
19     high school students also fail to get enough sleep on school nights, which contributes to poor

20     academic performance.

21           994.    The youth mental health crisis has also caused a wide range of other behavioral issues

22     among students that interfere with schools’ ability to teach. There has been a substantial increase in

23     behaviors such as classroom disruptions, students skipping class, the use of electronic devices

24

25    1021
        Likes vs. Learning: The Real Cost of Social Media for Schools, American Federation of Teachers
26 et al., (July 2023),
   https://www.aft.org/sites/default/files/media/documents/2023/LikesVSLearning_Report.pdf.
27 1022 Id.

28                                                     303
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 309 of 325




 1     during class, bullying, and fights. Defendants’ design, development, production, operation,

 2     promotion, distribution, and marketing of their social media platforms cause these behaviors and,

 3     therefore, cause the nuisance that exists in Plaintiffs’ schools and communities.

 4           995.   Additionally, by taking unreasonable actions that increase the costs of mental health

 5     services and other school and community services provided by Plaintiffs, Defendants have

 6     interfered with a right common to the general public by diverting tax dollars into projects required

 7     to abate the nuisance caused by the Defendants’ conduct, rather than having that tax money spent

 8     on other public programs and services.

 9           996.   In fact, Plaintiffs have been required to unexpectedly expend, divert, and/or increase

10     their limited resources in an effort to alleviate the rising rates of suicidal ideation, depression,
11     anxiety, and other tragic indices of the youth mental health crisis affecting minors in their schools
12     and communities.
13           997.   Additionally, as one of the primary providers of mental health services, local
14     communities have been inundated, and their resources strained, by the increase in youth mental
15     health issues associated with increased social media use. Local governments’ social services,
16     including those provided by departments of health and human services, district attorney’s criminal
17     investigations and prosecutions, and community-based services such as outpatient therapy, are
18     strained by the ongoing mental health crisis, and Plaintiffs’ local governments and public school
19     systems are struggling to provide students and adolescents in their communities with adequate

20     mental health services and are forced to expend additional financial and human resources because

21     of the youth mental health crisis caused by Defendants.

22           998.   Moreover, local communities and school districts must spend additional time and

23     resources dealing with the increased behavioral disruptions and crimes committed by young people

24     because of Defendants’ actions. The youth mental health crisis has also caused a wide range of other

25     behavioral issues among adolescents in Plaintiffs’ communities that interfere with schools’ ability

26     to teach and local communities’ ability to provide adequate resources to the community. There has

27     been a substantial increase in behaviors such as classroom disruptions, students skipping class, the

28                                                    304
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 310 of 325




 1     use of electronic devices during class, bullying, and fights in schools, and vandalism and crimes in

 2     local communities. Defendants’ design, development, production, operation, promotion,

 3     distribution, and marketing of their social media platforms cause these behaviors and, therefore,

 4     cause the nuisance that exists in the Plaintiffs’ schools and communities.

 5           999.   Defendants’ actions have interfered with the free use and enjoyment of public

 6     property, in particular public-school buildings, as well as other public places such as parks, because

 7     the increased behavioral disruptions and crimes committed by young people has led to the

 8     implementation of additional security measures and otherwise interfered with the peaceful use of

 9     Plaintiffs’ public schools and other public spaces.

10           1000. Defendants’ actions have also caused damage to Plaintiffs’ property, as Plaintiffs must
11     fix property damage caused by minors acting out because of mental, social, and emotional problems
12     and must address vandalism induced by Defendants’ actions.
13           1001. These damages suffered by Plaintiffs have been greater in degree and different in kind
14     than those suffered by the general public.
15           1002. Addressing the harms caused by Defendants’ design, development, production,
16     operation, promotion, distribution, and marketing of their social media platforms to attract and
17     addict minors requires Plaintiffs to expend, divert, and increase resources to take measures to
18     address the public nuisance caused by Defendants, as outlined herein.
19           1003. Fully remedying the nuisance resulting from Defendants’ conduct will require

20     additional funding and resources, as well as changes to Defendants’ social media platforms.

21           1004. Defendants are directly responsible for the harm caused by their design, development,

22     production, operation, promotion, distribution, and marketing of their social media platforms. At all

23     times, Defendants maintained complete control over their social media platforms and the means by

24     which minors are able to access and use them.

25           1005. Because of the nature of social media platforms, Defendants never lose control over

26     the instrumentality that causes the nuisance. Defendants always have the ability to modify their

27     platforms—and, thereby, modify harmful features. Correspondingly, Defendants always have the

28                                                    305
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23      Page 311 of 325




 1     power to abate the nuisance that they have caused and continue to cause.

 2           1006. Further, at all relevant times, Defendants have had control over the conduct that

 3     created and maintained the social media-spurred youth mental health crises. Defendants control how

 4     their social media platforms are designed, developed and operated, and the targeted production,

 5     promotion, distribution, and marketing of their social media platforms to attract and addict minors.

 6           1007. Logic, common sense, policy, and precedent indicate Defendants’ conduct has caused

 7     the damage and harm complained of herein. Defendants knew or had reason to know that their

 8     design, development, production, operation, promotion, distribution, and marketing of their

 9     platforms would cause students to use their platforms excessively and compulsively, that their

10     marketing methods were designed to appeal to youth, and that their active efforts to increase youth
11     use of their platforms were causing harm to youth and to schools, including youth who attend
12     Plaintiffs’ schools and reside in Plaintiffs’ communities.
13           1008. Thus, Defendants knew or reasonably should have known that the harm caused by
14     their behavior outweighed any potential benefit of the use of Defendants’ social media platforms by
15     minors, and the public nuisance caused by Defendants to Plaintiffs was reasonably foreseeable,
16     including the financial and economic losses incurred by Plaintiffs.
17           1009. Defendants’ conduct has thus caused and/or contributed to a public nuisance under the
18     laws of all 50 states and the District of Columbia.
19           1010. As a result of Defendant’s conduct, Plaintiffs have incurred damages and are entitled

20     to compensation therefor. Plaintiffs request all the relief to which they are entitled in their own right

21     and relating to the special damage or injury they have suffered, including actual and compensatory

22     damages in an amount to be determined at trial, declaratory and injunctive relief, and an order

23     providing for the abatement of the public nuisance that Defendants have created, payment to

24     Plaintiffs of monies to abate the public nuisance, and enjoining Defendants from future conduct

25     contributing to the public nuisance described above.

26           1011. Defendants engaged in conduct, as described above, that constituted malice and/or

27     intentional, wanton, willful, or reckless disregard of Plaintiffs’ rights, being fully aware of the

28                                                     306
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23      Page 312 of 325




 1     probable dangerous consequences of the conduct and deliberately failing to avoid those

 2     consequences. Thus, Plaintiffs are also entitled to punitive damages.

 3                                     COUNT TWO — NEGLIGENCE
 4           1012. Plaintiffs repeat, reassert, and incorporate the allegations contained above as if fully

 5     set forth herein.

 6           1013. Plaintiffs assert this negligence claim against all Defendants pursuant to the laws of

 7     the fifty states and the District of Columbia.

 8           1014. Generally, negligent conduct constitutes either acts “which a reasonable [person]

 9     should recognize as involving an unreasonable risk of causing an invasion of an interest of another

10     or . . . a failure to do any act which is necessary for the protection or assistance of another and which
11     the actor is under a duty to do.” Restatement (Second) of Torts § 284 (1965).
12           1015. Courts also generally recognize that a defendant has engaged in negligent conduct
13     where (1) defendant owed a duty; (2) defendant breached their duty; (3) the defendant’s breach
14     caused harm to the plaintiff; and (4) the plaintiff suffered damages and/or injury as a result of the
15     breach.
16           1016. Defendants acted in ways that a reasonable person should recognize as involving an
17     unreasonable risk of invading the interests of another. Specifically, Defendants knew or should have
18     known that by designing, developing, producing, operating, promoting, distributing, and marketing
19     their social media platforms in ways that caused compulsive use and addiction, thereby inflicting

20     severe mental health harms on minors—including students in Plaintiffs’ schools and young residents

21     of Plaintiffs’ local communities—there was an unreasonable risk of invading Plaintiffs’ interest in

22     providing an adequate education, public facilities, mental health, counseling, and other social and

23     disciplinary services. Indeed, the effects of Defendants’ conduct have resulted in a youth mental

24     health crisis that has interfered with Plaintiffs’ interest in providing an adequate education, public

25     facilities, mental health, counseling, and other social and disciplinary services, to young people in

26     their local schools and communities.

27           1017. Moreover, as described above and further detailed below, Defendants’ actions

28                                                      307
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23       Page 313 of 325




 1     constituted a failure to act in a way which was necessary for the protection or assistance of another

 2     and which the actor is under a duty to do. Defendants owed Plaintiffs a duty because, inter alia,

 3     Defendants failed to act as a reasonable person would under the circumstances; Defendants’ acts of

 4     targeting adolescents in Plaintiffs’ schools and communities were, to a substantial extent, intended

 5     to affect Plaintiffs; the harm to Plaintiffs was foreseeable; there was a reasonable degree of certainty

 6     that Plaintiffs would suffer injury because of Defendants’ actions; Defendants’ conduct was closely

 7     related to Plaintiffs’ injury; there is moral blame attached to Defendants’ conduct; any social utility

 8     of Defendants’ conduct is outweighed by the nature of the risk and foreseeability of harm; the

 9     magnitude of Defendants’ harm is significant; the nature of the risk taken by Defendants was

10     serious; there is a strong public policy in favor of preventing future harm caused by Defendants’
11     conduct; curbing the youth mental health crisis caused by Defendants’ conduct will substantially
12     benefit the public; and Defendants can feasibly engage in alternative conduct without incurring
13     significant costs.
14           1018. By purposefully designing, developing, producing, operating, promoting, distributing,
15     and marketing their social media platforms to minors to attract and addict adolescents, Defendants
16     failed to act as a reasonable person would under the circumstances where social media platforms
17     were being offered to minors. Each Defendant knew, or in the exercise of reasonable care should
18     have known, of the hazards and dangers of their social media platforms, and specifically that the
19     addictive, compulsive, and repetitive use of Defendants’ platforms would negatively impact youth

20     mental health and cause harm to the school districts and local communities that must provide

21     adolescents with an adequate education, public facilities, mental health, counseling and other social

22     and disciplinary services. Accordingly, Defendants’ decision to prioritize their own profit making

23     over the substantial negative effects of their conduct on children—and the school districts and local

24     communities on the front lines of combatting the youth mental health crisis caused by Defendants’

25     actions—was unreasonable under the circumstances.

26           1019. Moreover, to a substantial extent, Defendants’ acts were intended to affect Plaintiffs.

27     Indeed, Defendants purposefully targeted the young residents of Plaintiffs’ local communities and

28                                                     308
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR            Document 504           Filed 12/18/23    Page 314 of 325




 1     students in their schools as a key customer group. Defendants sought to attract and addict this

 2     population—to whom Plaintiffs must provide educational, counselling, mental health, and other

 3     social and disciplinary services—to expand the use of their social media platforms and increase their

 4     profits.

 5              1020. Further, Defendants intentionally sought to infiltrate schools to promote their efforts

 6     in attracting and addicting minors to their social media platforms. Illustrative examples of

 7     Defendants’ conduct that intentionally affected Plaintiffs include, but are not limited to:

 8                     a.      Meta categorizing high schools as either Facebook or non-Facebook and
                               analyzing Instagram penetration based on which school Instagram users
 9                             attend.1023
10                     b.      TikTok, as reflected in its internal documents, knowing that it was disrupting
11                             students’ school days and their sleep, thereby making focusing and paying
                               attention at school more difficult;1024
12
                       c.      Snapchat (last year) promoting new features and the ability to access Snapchat
13                             from a desktop computer, not just a phone, “just in time for back to school” to
                               let students “keep conversations with friends going from any device,”
14                             underscoring the importance of student users and further emphasizing
                               Snapchat’s desire to maximize user engagement, i.e. continuous interaction
15
                               with the platform, by this key group.1025 Snapchat, after knowing it had appeal
16                             among school-aged children, “ran with it and never looked back;”1026

17                     d.      Instagram launching Instagram Messaging for personal desktop computers, on
                               April 10, 2020.1027
18
                       e.      YouTube directly advertising itself for use in schools, creating “tips and tricks
19                             for bringing YouTube into the classroom;”1028 and,
20

21

22
      1023
             META3047MDL-003-00134688; META3047MDL-003-00022355.
23    1024
             TIKTOK3047MDL-001-00061318.
24    1025
             https://newsroom.snap.com/fresh-fall-features.
      1026
25        https://www.forbes.com/sites/quora/2018/02/16/how-snapchat-gained-success-by-going-viral-at-
      high-schools-across-los-angeles/?sh=6f1676083b36.
26    1027
             https://about.instagram.com/blog/engineering/launching-instagram-messaging-on-desktop.
27    1028
             https://www.youtube.com/Teachers.
28                                                       309
                                                                              PLAINTIFFS’MASTER COMPLAINT
                                                                   (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                  CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504        Filed 12/18/23      Page 315 of 325




 1                   f.     Defendants’ selling information regarding students’ social media use to
                            advertisers who wish to target youth at school, when they are around other
 2                          youth, thereby increasing the spread of their advertisements.
 3           1021. Moreover, Defendants actions were intended to deliberately attract and addict minors
 4     to their social media platforms, despite the serious dangers these platforms pose to young people’s
 5     mental health, and Defendants knew or should have known that Local Government and School
 6     District Plaintiffs would foot the bill for the increased staff and spending required to address the
 7     youth mental health crisis caused by Defendants’ actions. Therefore, Defendants’ efforts to attract
 8     and addict minors to their social media platforms were necessarily intended to affect Plaintiffs
 9     because Defendants deliberately sought to attract and addict the minors in Plaintiffs’ schools and
10     communities, and knew or should have known that Local Government and School District Plaintiffs
11     would be required to spend their financial and human resources to address the fallout of Defendants’
12     actions.
13           1022.   The harm to Plaintiffs caused by Defendants’ actions was also foreseeable.
14     Defendants purposefully sought to attract and addict minors, who attend Plaintiffs’ schools and
15     reside in Plaintiffs’ communities, to their social media platforms. Defendants engaged in substantial
16     efforts to promote, distribute, and market their social media platforms to minors despite knowing
17     that their deliberate design choices made the social media platforms incredibly dangerous to
18     adolescents. Moreover, while deliberately seeking to attract and addict minors to their platforms,
19     Defendants were aware that school districts and local communities that provide adolescents with
20     critical educational, counseling, mental health, social, and disciplinary services, would be forced to
21     address, through financial and human resources, the consequences of the devastating impact that
22     compulsive social media has on youth mental health. Accordingly, common sense and reason
23     indicate that Plaintiffs were in the foreseeable zone of risk from Defendants’ targeting of minors
24     who reside in Plaintiffs’ local communities and attend Plaintiffs’ schools.
25           1023. Defendants’ actions had disastrous consequences for youth mental health. Indeed, a
26     growing body of scientific research, including Defendants’ own (previously concealed) studies,
27     draws a direct line between Defendants’ conscious, intentional design choices and the youth mental
28                                                    310
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504      Filed 12/18/23      Page 316 of 325




 1     health crisis gripping our nation. The results of this crisis have been overwhelming. For example,

 2     fueled by social media addiction, suicide rates for youth are up an alarming 57%. Emergency room

 3     visits for anxiety disorders are up 117%. In the decade leading up to 2020, there was a 40% increase

 4     in high school students reporting persistent sadness and hopelessness, and a 36% increase in those

 5     who attempted to take their own lives. In 2019, one in five high school girls had made a suicide

 6     plan. In 2021, one in three girls seriously considered attempting suicide. These grave consequences

 7     of Defendants’ actions have naturally caused a multitude of foreseeable injuries to Plaintiffs,

 8     including requiring Plaintiffs to:

 9               a. Expend, divert and increase human and financial resources to provide additional
                    mental health resources to minors;
10
                 b. Hire additional counselors, staff, and personnel for mental health and disciplinary
11                  services;
12               c. Expend, divert, and increase resources, and increase staff to confiscate cell phones and
                    other devices;
13
                 d. Expend, divert and increase time and resources, and increase staff to communicate and
14                  engage with parents and guardians regarding students’ attendance and youth mental
                    health and behavioral issues;
15
                 e. Expend and divert resources, and increase staff to address youth and student discipline
16                  issues caused by the mental health crisis;
17               f. Expend and divert time and resources, and increase staff to route students and youth
                    to counselors and mental health service providers;
18
                 g. Expend and divert time and resources, and increase staff to train staff to identify
19                  students and youth exhibiting symptoms of mental health issues;
20               h. Expend, divert, and increase resources for modifications to mental health curriculum;

21               i. Expend, divert, and increase resources for creating education materials for youth,
                    parents, and staff addressing social media addiction and harm;
22
                 j. Expend, divert, and increase resources to update student handbooks and policies to
23                  address use of Defendants’ platforms;

24               k. Expending, diverting, and increasing resources to purchase tools necessary to prevent
                    or limit student’s access to social media;
25
                 l. Expending, diverting, and increasing resources to develop new and revised teaching
26                  plans to address students’ altered learning habits, e.g. reduced attention span and
                    inability to communicate effectively due to excessive use of Defendants’ platforms;
27

28                                                   311
                                                                         PLAINTIFFS’MASTER COMPLAINT
                                                              (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                             CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504         Filed 12/18/23      Page 317 of 325




 1               m. Expending, diverting, and increasing resources to provide additional learning supports
                    to address students’ declining achievement e.g. after school support as a result of the
 2                  negative impact of problematic social media use on students’ ability and capacity to
                    learn;
 3
                 n. Expend, divert, and increase resources to investigate and prosecute crimes that result
 4                  from Defendants’ conduct and platforms and the youth mental health crisis;
 5               o. Expend, divert, and increase resources to investigate threats made against schools,
                    students, and members of the community over social media;
 6
                 p. Expend, divert, and increase resources to account for the strain placed on local
 7                  governments’ departments of health and human services;
 8               q. Expend, divert, and increase resources to account for the strain placed on local
                    governments’ community-based services such as outpatient therapy, behavioral health
 9                  services, after school programs and other similar services and programming; and,
10               r. Expend, divert, and increase resources to repair property damage as a result of
                    Defendants’ Defendants’ conduct and addictive platforms targeted to attract and addict
11
                    minors.
12           1024. Additionally, Defendants knew their actions were having a serious impact on school
13     districts but refused to change their conduct. Indeed, Defendants recognized the importance of
14     infiltrating high schools to their platforms’ success, and they intentionally and successfully achieved
15     that infiltration. Internally, Meta acknowledged that “[m]ore than half of U.S. school principals say
16     they’re extremely concerned about children’s use of social media outside of school.” This internal
17     knowledge that Meta’s harmful acts would impact Plaintiffs further illustrates that the harm
18     Plaintiffs have suffered due to Defendants’ targeting of minors—and the resulting impact on
19     Plaintiffs—was foreseeable.
20           1025. Moreover, there was a reasonable degree of certainty that Plaintiffs would suffer injury
21     because of Defendants’ actions. Because Plaintiffs care for young people on a nearly daily basis and
22     provide critical educational, counseling, mental health, and other social, legal and disciplinary
23     services to minors, it was inevitable that Defendants’ acts, which have resulted in an expansive and
24     devastating youth mental health crisis, would cause Plaintiffs to suffer injury by having to expend,
25     divert, and increase resources to address the consequences of Defendants’ actions.
26           1026. Further, Plaintiffs’ injury (i.e., having to expend, divert and increase their limited
27     resources to address the ongoing youth mental health crisis) is directly related to Defendants’ design,
28                                                     312
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504          Filed 12/18/23    Page 318 of 325




 1     development, production, operation, promotion, distribution, and marketing of their social media

 2     platforms to attract and addict minors. Social media use by minors negatively impacts their mental

 3     health, and both external and internal studies demonstrate that Defendants’ acts have caused the

 4     youth mental health crisis that Plaintiffs must address. Thus, the connection between Defendants’

 5     conduct and Plaintiffs’ injuries is undeniable.

 6           1027. There is also moral blame attached to Defendants’ conduct. Defendants specifically

 7     sought to target and addict young people to their social media platforms, while simultaneously

 8     making design choices that made their platforms extremely dangerous to children’s developing

 9     brains. These design choices undermined and interfered with Plaintiffs’ ability to provide critical

10     educational, counselling, health, and other social, and disciplinary services.
11           1028. Further, any social utility in Defendants’ design, development, production, operation,
12     promotion, distribution, and marketing of their platforms to adolescents is outweighed by the nature
13     of the risk and foreseeability of harm caused by social media addiction. For example, the National
14     Education Association (“NEA”)—one of the nation’s largest labor unions, and the largest
15     representing teachers—sounded the alarm about the effect of social media use on students. In a 2018
16     article in “NEA Today,” the organization declared: “Research suggests social media is increasing
17     student anxiety and depression, eclipsing any positive role it could potentially play.”1029 The U.S.
18     Surgeon General has also explained that: “In these digital public spaces, which are privately owned
19     and tend to be run for profit, there can be tension between what’s best for the technology company

20     and what’s best for the individual user or for society. Business models are often built around

21     maximizing user engagement as opposed to safeguarding users’ health and ensuring that users

22     engage with one another in safe and healthy ways.”1030 Even President Biden has asserted that: “The

23

24    1029
      Social Media’s Impact on Students’ Mental Health Comes Into Focus at 1, NEA Today (Sept. 27,
   2018) https://www.nea.org/nea-today/all-news-articles/social-medias-impact-students-mental-health-
25 comes-focus.

26    1030
            U.S. Surgeon General’s Advisory, Protecting Youth Mental Health (Dec. 7, 2021),
      https://www.hhs.gov/sites/default/files/surgeon-general-youth-mental-health-advisory.pdf.
27

28                                                       313
                                                                           PLAINTIFFS’MASTER COMPLAINT
                                                                (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                               CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504         Filed 12/18/23      Page 319 of 325




 1     risks Big Tech poses for ordinary Americans are clear. Big Tech companies collect huge amounts

 2     of data on the things we buy, on the websites we visit, on the places we go and, most troubling of

 3     all, on our children.”1031 These statements from respected leaders and organizations highlight the

 4     lack of social utility from Defendants’ harmful conduct. In contrast, as discussed herein, the nature

 5     of the risk and foreseeability of harm to Plaintiffs from Defendants’ conduct was substantial.

 6           1029. Further, the magnitude of Defendants’ harm is significant. As discussed above, leading

 7     teachers’ organizations, the U.S. Surgeon General, and the President of the United States have all

 8     noted the devastating impact of Defendants’ actions on young people. Moreover, this harm

 9     negatively impacts Plaintiffs’ ability to provide a robust education, public facilities, and adequate

10     counselling, mental health, and other social and disciplinary services—all of which have a
11     substantial negative impact on schools and local communities, as well as society as a whole.
12           1030. The nature of the risk taken by Defendants was also serious. Indeed, even as the
13     devastating impact of their conduct was unfolding, leading to record rates of youth mental health
14     distress and behavioral disorders, each Defendant pressed ahead with changes designed to keep kids
15     hooked to their platforms. Defendants knew or should have known those changes had a detrimental
16     effect on the wellbeing of youth in Plaintiffs’ schools and communities and would lead to Plaintiffs’
17     increased expenditures.
18           1031. Moreover, there is a strong public policy in favor of preventing future harm caused by
19     Defendants’ conduct. Defendants’ harmful conduct is ongoing, placing an ever-growing strain on

20     Plaintiffs as they seek to fulfill their mission (and obligation) of providing America’s youth with

21     educational, counselling, health, and other social and disciplinary services and public facilities. It is

22     in the best interest of society at large for Defendants to be held accountable for their conduct and to

23     assist Plaintiffs—who have limited resources and must carefully determine the best ways to expend

24     tax dollars—in addressing the substantial harm inflicted on Plaintiffs as the first responders tasked

25
      1031
26    Joe Biden, Republicans and Democrats, Unite Against Big Tech Abuses, Wall St. J. (Jan. 11,
   2023), https://www.wsj.com/articles/unite-against-big-tech-abuses-social-media-privacy-
27 competition-antitrust-children-algorithm-11673439411.

28                                                     314
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR           Document 504        Filed 12/18/23      Page 320 of 325




 1     with addressing the youth mental health crisis resulting from Defendants’ conduct.

 2           1032. Further, curbing the youth mental health crisis caused by Defendants’ conduct and

 3     providing Plaintiffs with the resources necessary to fully address the youth mental health crisis

 4     resulting from Defendants’ conduct will substantially benefit the public, as America’s youth will be

 5     able to obtain the education, counselling, health, and other social and disciplinary services necessary

 6     for them to thrive and become productive members of society.

 7           1033. Additionally, Defendants can feasibly engage in alternative conduct without incurring

 8     significant costs. Defendants’ decisions to purposefully design their social media platforms to addict

 9     adolescents is simply driven by a desire to maximize profits with complete disregard for the horrible

10     impact of their actions. Defendants will still be able to run and profit off of their social media
11     platforms even if they are held accountable (as they must be) for the consequences their actions
12     have had on Plaintiffs.
13           1034. Defendants failed to adequately warn the Plaintiffs about the physical and mental
14     health risks posed by their platforms and the increased resources that Plaintiffs would need to
15     expend to address the youth mental health crisis Defendants caused. The risks to Plaintiffs include
16     having to increase and divert human and financial resources to address the mental health and
17     disciplinary issues of students and minors in their communities as Plaintiffs seek to fulfill their
18     mission (and obligation) to provide America’s youth with educational, counselling, health, and other
19     social and disciplinary services and public facilities.

20           1035. Defendants knew or should have known their design choices and conduct would have

21     a detrimental effect on the wellbeing of youth in Plaintiffs’ schools and communities, and would

22     lead to Plaintiffs’ increased expenditures and diverted resources and should have warned of such.

23           1036. Instead, Defendants failed to warn Plaintiffs about the dangerous, addictive nature of

24     their platforms, the resulting harms that occur to minors from use of their platforms, and that

25     Plaintiffs would be required to divert and expend additional human and financial resources to

26     provide support to harmed minors through education, counseling, mental health, and other social,

27     and disciplinary services required to be provided by Plaintiffs to address the youth mental health

28                                                     315
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR             Document 504        Filed 12/18/23     Page 321 of 325




 1     crisis.

 2               1037. Defendants’ failure to properly warn Plaintiffs has proximately caused significant

 3     harm to Plaintiffs, who have expended and continue to expend, significant resources addressing the

 4     impact of Defendants’ conduct on Plaintiffs’ operations, including expending additional resources

 5     to provide support to impacted children and families.

 6               1038. At all relevant times, each Defendant could have provided adequate warnings to

 7     prevent the harms described herein.

 8               1039. Each Defendant has breached, and continues to breach, the duties it owes to Plaintiffs

 9     through its affirmative malfeasance, actions, and business decisions, despite the harmful result those

10     actions and decisions impose on Plaintiffs, who are on the front lines of addressing the youth mental
11     health crisis Defendants’ conduct has caused.
12               1040. As a direct and proximate cause of each Defendants’ unreasonable and negligent
13     conduct, Plaintiffs have suffered and will continue to suffer the harm outlined herein.
14               1041. Moreover, this harm has resulted in injury and damages to Plaintiffs who must expend,
15     divert, and increase resources—including financial resources—to address the harm Defendants have
16     inflicted on Plaintiffs’ schools and communities.
17               1042. Plaintiffs have incurred substantial injury caused by Defendants’ conduct and are
18     entitled to damages in an amount to be determined at trial.
19               1043. Defendants’ conduct was also willful, wanton, malicious, fraudulent, and/or grossly

20     negligent, thereby justifying an award of punitive damages against the Defendants.

21     VII. PRAYER FOR RELIEF

22               1044. The Local Government and School District Plaintiffs demand judgment against each
23     of the Defendants to the full extent of the law, including but not limited to:
24                      a. entering judgment for the Local Government and School District Plaintiffs, and
                           against each Defendant;
25

26                      b. entering an Order that the conduct alleged herein constitutes a public nuisance;

27                      c. entering an Order that Defendants are jointly and severally liable;

28                                                      316
                                                                            PLAINTIFFS’MASTER COMPLAINT
                                                                 (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                                CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR      Document 504       Filed 12/18/23     Page 322 of 325




 1               d. entering an Order requiring Defendants to abate the public nuisance described
                    herein and to deter and/or prevent the resumption of such nuisance;
 2
                 e. awarding payment of monies to Plaintiffs abate the public nuisance;
 3
                 f. awarding equitable relief to fund education, counseling, mental health, and other
 4
                    social, and disciplinary services to be provided by Plaintiffs to address the youth
 5                  mental health crisis;

 6               g. enjoining Defendants From engaging in further actions causing and contributing
                    to the public nuisance as described herein;
 7
                 h. awarding actual and compensatory damages;
 8
                 i. awarding punitive damages;
 9
                 j. awarding statutory damages in the maximum amount permitted by law;
10

11               k. awarding attorneys’ fees and costs of suit;

12               l. awarding pre-judgment and post-judgment interest; and,

13               m. awarding any other relief as this Court may deem equitable and just, or that may be
                    available.
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                               317
                                                                     PLAINTIFFS’MASTER COMPLAINT
                                                          (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                         CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR          Document 504      Filed 12/18/23       Page 323 of 325




 1 VI.       DEMAND FOR JURY TRIAL

 2           1045. Plaintiffs hereby demand a trial by jury.
 3
      Dated: December 18, 2023                            Respectfully submitted,
 4

 5
       /s/ Christopher A. Seeger                           /s/ Lexi J. Hazam
 6     CHRISTOPHER A. SEEGER                               LEXI J. HAZAM
       SEEGER WEISS, LLP                                   LIEFF CABRASER HEIMANN &
 7     55 Challenger Road, 6th Floor                       BERNSTEIN, LLP
       Ridgefield Park, NJ 07660                           275 Battery Street, 29th Floor
 8     Telephone: 973-639-9100                             San Francisco, CA 94111-3339
       Facsimile: 973-679-8656                             Telephone: 415-956-1000
 9     cseeger@seegerweiss.com                             lhazam@lchb.com

10     /s/ Previn Warren
       PREVIN WARREN
11     MOTLEY RICE LLC
       401 9th Street NW Suite 630
12     Washington DC 20004
       T: 202-386-9610
13     pwarren@motleyrice.com                              Plaintiffs’ Co-Lead Counsel

14
       MICHAEL M. WEINKOWITZ                               MELISSA L. YEATES
15     LEVIN SEDRAN & BERMAN, LLP                          KESSLER TOPAZ
16     510 Walnut Street, Suite 500                         MELTZER CHECK, LLP
       Philadelphia, PA 19106                              280 King of Prussia Road
17     Telephone: 215-592-1500                             Radnor, PA 19087
       MWeinkowitz@lfsbalw.com                             Telephone: 610-667-7706
18                                                         myeates@ktmc.com
       Plaintiff Leadership Committee
19
       Co-Chair of Local Government Entity Committee      Co-Chair of Local Government Entity
20                                                        Committee

21

22

23

24

25

26

27

28                                                  318
                                                                          PLAINTIFFS’MASTER COMPLAINT
                                                               (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                              CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR       Document 504     Filed 12/18/23     Page 324 of 325




 1     JOSEPH H. MELTZER                               THOMAS CARTMELL
       KESSLER TOPAZ                                   WAGSTAFF & CARTMELL LLP
 2      MELTZER CHECK, LLP                             4740 Grand Avenue, Suite 300
       280 King of Prussia Road                        Kansas City, MO 64112
 3
       Radnor, PA 19087                                Telephone: 816 701-1100
 4     Telephone: 610-667-7706                         tcartmell@wcllp.com
       jmeltzer@ktmc.com
 5                                                     Local Government Entity Committee
 6
       JOSEPH G. VANZANDT                              EMILY C. JEFFCOTT
 7
       BEASLEY ALLEN CROW METHVIN                      MORGAN & MORGAN
 8     PORTIS & MILES, P.C.                            220 W. Garden Street, 9th Floor
       234 Commerce Street                             Pensacola, FL 32502
 9     Montgomery, AL 36103                            Telephone: 850-316-9100
       Telephone: 334-269-2343                         ejeffcott@forthepeople.com
10     joseph.vanzandt@beasleyallen
11                                                     ANDRE MURA
       JAYNE CONROY                                    GIBBS LAW GROUP, LLP
12     SIMMONS HANLY CONROY, LLC                       1111 Broadway, Suite 2100
       112 Madison Ave, 7th Floor                      Oakland, CA 94607
13     New York, NY 10016                              Telephone: 510-350-9717
       Telephone: 917-882-5522                         amm@classlawgroup.com
14     jconroy@simmonsfirm.com
15                                                     MATTHEW BERGMAN
       ALEXANDRA WALSH                                 SOCIAL MEDIA VICTIMS LAW
16     WALSH LAW                                       CENTER
       1050 Connecticut Ave, NW, Suite 500             821 Second Avenue, Suite 2100
17     Washington D.C. 20036                           Seattle, WA 98104
       T: 202-780-3014                                 Telephone: 206-741-4862
18     awalsh@alexwalshlaw.com                         matt@socialmediavictims.org
19
                                                       Plaintiffs’ Leadership Committee
20

21

22

23

24

25

26

27

28                                               319
                                                                    PLAINTIFFS’MASTER COMPLAINT
                                                         (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                        CASE NO. 4:22-MD-0347 (YGR)
     Case 4:22-md-03047-YGR        Document 504     Filed 12/18/23      Page 325 of 325




 1     RON AUSTIN                                       PAIGE BOLDT
       RON AUSTIN LAW                                   WATTS GUERRA LLP
 2     400 Manhattan Blvd.                              4 Dominion Drive, Bldg. 3, Suite 100
       Harvey LA, 70058                                 San Antonio, TX 78257
 3
       Telephone: (504) 227–8100                        T: 210-448-0500
 4     raustin@ronaustinlaw.com                         PBoldt@WattsGuerra.com

 5     JAMES J. BILSBORROW                              SIN-TING MARY LIU
       WEITZ & LUXENBERG, PC                            AYLSTOCK WITKIN KREIS &
 6     700 BROADWAY                                     OVERHOLTZ, PLLC
       NEW YORK, NY 10003                               17 East Main Street, Suite 200
 7
       Telephone: 212-558-5500                          Pensacola, Fl 32502
 8     jbilsborrow@weitzlux.com                         Telephone: 510-698-9566
                                                        mliu@awkolaw.com
 9
       CARRIE GOLDBERG                                  ROLAND TELLIS
10     C.A. GOLDBERG, PLLC                              BARON & BUDD, P.C.
11     16 Court St.                                     15910 Ventura Boulevard, Suite 1600
       Brooklyn, NY 11241                               Encino, CA 91436
12     T: (646) 666-8908                                Telephone: (818) 839-2333
       carrie@cagoldberglaw.com                         rtellis@baronbudd.com
13
       EMMIE PAULOS                                     HILLARY NAPPI
14     LEVIN PAPANTONIO RAFFERTY                        HACH & ROSE LLP
15     316 South Baylen Street, Suite 600               112 Madison Avenue, 10th Floor
       Pensacola, FL 32502                              New York, New York 10016
16     Telephone: 850-435-7107                          Tel: 212.213.8311
       epaulos@levinlaw.com                             hnappi@hrsclaw.com
17
       DIANDRA “FU” DEBROSSE ZIMMERMANN                 JAMES MARSH
18     DICELLO LEVITT                                   MARSH LAW FIRM PLLC
19     505 20th St North, Suite 1500                    31 Hudson Yards, 11th Floor
       Birmingham, Alabama 35203                        New York, NY 10001-2170
20     Telephone: 205.855.5700                          Telephone: 212-372-3030
       fu@dicellolevitt.com                             jamesmarsh@marshlaw.com
21

22     RUTH RIZKALLA
       CARLSON LAW FIRM
23     100 E. Central Texas Expy
       Killeen, TX 76541
24     (254) 526-5688
       RRizkalla@carlsonattorneys.com                   Plaintiffs’ Steering Committee
25

26

27

28                                                320
                                                                     PLAINTIFFS’MASTER COMPLAINT
                                                          (LOCAL GOVERNMENT AND SCHOOL DISTRICT)
                                                                         CASE NO. 4:22-MD-0347 (YGR)
